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                    SEC8
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                                                                Page 1
     THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION



     In the Matter of:        )

                              )    File No. HO-13388-A

                              )

     KIK INTERACTIVE          )



     WITNESS:    Edward "Ted" Livingston

     PAGES:      1 through 314

     PLACE:      U.S. Securities and Exchange Commission

                 100 F Street, N.E.

                 Washington, D.C. 20549

     DATE:       Wednesday, November 7, 2018



             The above-entitled matter came on for hearing,

     pursuant to notice, at 9:48 a.m.




        Diversified Reporting Services, Inc.

                   (202) 467-9200
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 1   APPEARANCES:                                            1             CONTENTS
 2   On behalf of the Securities and Exchange Commission:    2
 3     BRENT MITCHELL, ESQ.                                  3   WITNESS:                            EXAMINATION
 4     JAMES MURTHA, ESQ.                                    4   Edward "Ted" Livingston                 5
 5     JEFF LEASURE, ESQ.                                    5
 6     STEPHAN SCHLEGELMILCH, ESQ.                           6   EXHIBITS      DESCRIPTION                   IDENTIFIED
 7     DAVID MENDEL, ESQ.                                    7   197    Subpoena          8
 8     REID MUOIO, ESQ.                                      8   198    E-mail          271
 9     Securities and Exchange Commission                    9
10     100 F Street, N.E.                                   10
11     Washington, D.C. 20549                               11
12     (202)551-4683                                        12
13     mitchellb@sec.gov                                    13
14                                                          14
15                                                          15
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25                                                          25


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 1      APPEARANCES(CONT.):                                 1             PROCEEDINGS
 2                                                          2          THE VIDEOGRAPHER: Good afternoon. This
 3      On behalf of the Witness:                           3    begins -- sorry. Good morning. This begins Disc
 4        LUKE CADIGAN, ESQ.                                4    Number 1. We are now on the video record.
 5        BRETT DEJARNETTE, ESQ.                            5          The time on the monitor is 9:48 a.m.
 6        PATRICK GIBBS, ESQ.                               6          MR. LEASURE: On the record on
 7        Cooley LLP                                        7    November 7th, 2018, at the SEC's D.C. office.
 8        500 Boylston Street                               8          Sir, can you please raise your right hand.
 9        Boston, Massachusetts 02116                       9          Do you swear to tell the truth, the whole
10        (617)937-2480                                     10   truth, and nothing but the truth?
11        KENNETH LENCH, ESQ.                               11         THE WITNESS: I do.
12        Kirkland & Ellis                                  12   Whereupon,
13        655 Fifteenth Street, N.W.                        13          EDWARD "TED" LIVINGSTON
14        Washington, D.C. 20005                            14   was called as a witness, and having been first sworn, was
15        (202)879-5270                                     15   examined and testified as follows:
16                                                          16                EXAMINATION
17      Also Present:                                       17         BY MR. LEASURE:
18         Steven Jones, Videographer                       18      Q You can put the hand down. Thank you, sir.
19                                                          19      A Thank you.
20                                                          20      Q Can you please state and spell your full
21                                                          21   name for the record?
22                                                          22     A My legal name is Edward Livingston. Do you
23                                                          23   want me to spell it? I go by Ted, though.
24                                                          24      Q Okay. It's all right if you call you Ted?
25                                                          25      A I would prefer Ted. Nobody calls me



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                                                         Page 6                                                       Page 8
 1   Edward.                                                       1            MR. DEJARNETTE: Brett DeJarnette from
 2      Q Understood. I'm a Jeffrey. I understand                  2   Cooley, representing the witness and Kik.
 3   that.                                                         3            MR. MITCHELL: Can you just run the list?
 4           Can you spell your last name just for the             4            MR. DEJARNETTE: Sure. So Cooley and
 5   record?                                                       5   Kirkland jointly represent Kik, Tanner Philp, Phil
 6      A Yeah. L-i-v-i-n-g-s-t-o-n.                               6   Yang, Peter Heinke, Eileen Lyon, and the Kin
 7      Q Good morning. I am Jeff Leasure. And to                  7   Foundation. Cooley represents Eran Ben-Ari, Fred
 8   my left are Brent Mitchell, James Murtha, Steven              8   Wilson, Union Square Ventures, and Erin Clift.
 9   Schlegelmilch, and David Mendel. We are members of the        9            MR. MITCHELL: Thanks.
10   staff of the enforcement division of the United States       10            MR. LEASURE: Thank you.
11   Securities and Exchange Commission and officers of the       11              (SEC Exhibit No. 197 was marked for
12   Commission for purposes of this proceeding.                  12              identification.)
13           This is an investigation by the United               13            BY MR. LEASURE:
14   States Securities and Exchange Commission in the matter      14      Q I've marked a copy of this subpoena as
15   of Kik Interactive, Inc., File Number HO13388, to            15   Exhibit 197. Is this a copy of the subpoena you're --
16   determine whether there have been violations of certain      16   subpoena you are appearing pursuant to here today?
17   provisions of the federal securities laws. However,          17      A Yes.
18   the facts developed in this investigation might              18      Q Thank you. Is there any reason you'd be
19   constitute violations of other federal or state, civil,      19   unable to give complete and accurate testimony today?
20   or criminal laws.                                            20     A Not to my knowledge.
21           Prior to the opening of the record, you              21      Q Okay. How did you prepare to come in for
22   were provided with a copy of the formal order of             22   testimony today?
23   investigation in this matter as supplemented. It will        23      A I met with my legal team last week for two
24   be available for your examination during the course of       24   days in Waterloo. Other than that, that's the only
25   this proceeding.                                             25   thing that specifically comes to mind in preparing for


                                                         Page 7                                                       Page 9
 1           Have you had an opportunity to review the             1   today.
 2   formal order?                                                 2      Q Great. Roughly how many hours did you
 3      A I have.                                                  3   spend with your legal team in Waterloo?
 4       Q Do you have any questions?                              4      A Roughly two eight-hour days.
 5       A I do not.                                               5      Q Great. I gave you this caution before we
 6       Q Prior to the opening of the record, you                 6   went on the record, but I'm going to reiterate it
 7   were provided with a copy of the Commission's                 7   throughout the day. If you're about to tell me
 8   Supplemental Information Form 1662. A copy of this            8   something your legal team told you, pause and look to
 9   notice has previously been marked as Exhibit 1.               9   your right to your lawyers, and they can help you with
10           Have you had the opportunity to read                 10   the appropriate instructions. Okay?
11   Exhibit 1?                                                   11      A Thank you.
12     A I have.                                                  12      Q I can ask this: Roughly how -- did you
13       Q Do you have any questions concerning this              13   review documents with your legal team?
14   notice?                                                      14      A Yes.
15      A I do not.                                               15      Q Roughly how many? Do you have a ballpark?
16       Q Are you represented by counsel today?                  16      A I think there were roughly 100.
17       A I am.                                                  17      Q Okay. And did they help you remember past
18           MR. LEASURE: Would counsel please identify           18   events?
19   themselves?                                                  19      A They did.
20           MR. GIBBS: Patrick Gibbs from Cooley, LLP,           20      Q Okay. Documents to do that sometimes.
21   on behalf of Kik and Mr. Livingston.                         21      A Yeah.
22           MR. LYNCH: Kenneth Lynch, Kirkland &                 22      Q Okay. To start out today, I'd like to
23   Ellis, LLP, representing the witness today.                  23   get a -- we always ask witnesses for sort of their
24           MR. CADIGAN: Luke Cadigan of Cooley, LLP,            24   resume level background and experience. With you,
25   representing the witness and Kik.                            25   though, from what I've seen and read, it seems like



                                                                                               3 (Pages 6 to 9)
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                                                     Page 10                                                   Page 12
 1   your education and then work life is obviously tied up     1   inside the company. I got that job. I spent two co-op
 2   with the founding and growth of the company, Kik,          2   terms in it. And I worked part-time in between, but
 3   K-i-k.                                                     3   it's really more full-time. I was working about
 4            Can you maybe give us a sort of summary           4   40 hours a week while doing full-time engineering.
 5   level of sort of you went to school and then moving on     5           And I was -- sort of me on a team of maybe
 6   from there to the start of Kik?                            6   me plus eight other people, the youngest one in the
 7      A Sure. So I think probably the right place             7   team by ten years, roughly. Got to work with all of
 8   to start is, you know, I went to college in 2005 to the    8   the product managers. That was an amazing job. I did
 9   University of Waterloo for engineering. Lots of things     9   well. They liked me. I liked them. This is now 2008.
10   cool about Waterloo, but the coolest thing from my        10           And they offered me to drop out and come on
11   point of view is in order to graduate, you do six         11   full-time and be the youngest product manager in the
12   four-month co-ops.                                        12   history of the company, which I thought was super cool
13      Q What's a co-op?                                      13   and I was definitely prepared to do. But my boss
14      A So a co-op is a full-time internship. So             14   pulled me aside, he said, "Ted, you're really good at
15   it's basically like going into a real job for four        15   this." And at the same time, I think BlackBerry is in
16   months, but then leaving after four months. I think       16   trouble, because, again, iPhone was just sort of
17   it's the largest co-op program in the world.              17   starting to, like, hit its stride.
18      Q Wow.                                                 18           "I think you shouldn't drop out and come in
19      A So I did my third, fourth, and fifth co-op           19   full-time. I think you should go back to school and
20   term at Blackberry. And so I started at BlackBerry, I     20   start your own company." Best career advice I ever got
21   think, May 2007. So just before the iPhone was            21   in my life. I am very thankful to that boss. So I did
22   announced, I started at BlackBerry. It was awesome.       22   that. So I went back to school in January 2009.
23   They were right beside the university. They hire about    23           Wanted to start a company. I tried
24   2,000 interns every term, if you can imagine.             24   starting a couple of companies before, you know, with
25            So 2,000 kids come in and leave every four       25   friends. It never really worked out. So I wanted to


                                                     Page 11                                                   Page 13
 1   months. That was sort of the high times of BlackBerry.     1   take is seriously this time. And so I went -- they
 2   And the coolest thing about that is they gave us all       2   just started a new dorm called Velocity. It was the --
 3   BlackBerries with full data plans. So I got to live in     3   it was only four months old when I moved into it. It
 4   the world where literally everybody I would converse       4   was basically 80 kids roughly who all wanted to start
 5   with on a daily basis outside my immediate family had a    5   companies.
 6   smart phone that was always on, always connected. And      6        So it was sort of cool because you knew you
 7   this is like a world before iPhones.                       7   could go live there with 80 other kids who were like
 8      Q Right.                                                8   you wanting -- like, we're taking it seriously, wanting
 9      A So I got to live in this, like, world we              9   to start tech companies. So that's what I did.
10   live in today where everybody is always reachable         10   Originally, we were building a music app, but it turned
11   through a smart phone early before most of the world.     11   into a chat app. And it sort of went from there.
12   Started there in sort of a process job by day. I did      12      Q Okay. The University of Waterloo sounds
13   that process job by night. I wrote a piece of software    13   very cool, by the way.
14   to replace myself. They really liked that. So they        14      A Yeah, it is very cool.
15   brought me back part-time. They gave me a team of         15      Q Yeah.
16   developers. I did that.                                   16      A It's the one school, I think, outside the
17         After that, they were like, "You're really          17   U.S. Bill Gates would go talk at and...
18   good at this. Here's our binder of every internship       18     Q Right. Okay.
19   co-op job we have in the company. Which one are you       19      A It was cool. It's a great school.
20   interested in?" So I went through. I was like, "Wow,      20      Q Yeah. So moving ahead to Kik, then.
21   this is awesome." And what caught my eye was a            21         You said you started working on a music app
22   consumer product management job.                          22   that transformed into a chat app.
23        Again, iPhone had just come out. This is             23      A Yeah.
24   when they thought, like, what consumer would want a       24      Q Can you walk me through that?
25   smart phone sort of thing. So it's a very small team      25      A Yeah. So we -- like, we loved our



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                                                     Page 14                                                             Page 16
 1   BlackBerries. I loved BlackBerry. There was a bit of       1   world.
 2   a hometown thing at the time with the iPhone coming        2            You know, like Tencent, the big tech
 3   out, the BlackBerry could compete. Here we are today       3   company in China, said, hey, why don't we build WeChat,
 4   as I have my iPhone. So I looked at -- I looked at my      4   one of the biggest apps in the world. That's when we
 5   BlackBerry. Again, I was coming from consumer product      5   saw Kik go viral. I remember the time my mom calling
 6   management. And I said, this BlackBerry does a lot of      6   me and saying, you know, Whoopi Goldberg is like
 7   things great; messaging, e-mail, calendar, et cetera.      7   talking about Kik on The View. And this is so cool.
 8         But the one thing it really sucks at                 8            And so just chat took off. And we had all
 9   compared to iPhone is music. So we could -- like for       9   these investors fly in. They're like, you know -- and
10   myself, I would want to build for myself a better music   10   isn't there a music thing as well? And we were like,
11   app, but probably a lot of other people would want it     11   no, there's no more music thing. We're just focused on
12   as well. So that's what we started with.                  12   chat.
13         We're like, hey, we're going to build a             13      Q Okay.
14   music app for BlackBerry. We worked with the labels to    14      A So from then on, we were building a chat
15   get licensing. Tried to change for the model for how      15   app.
16   music was tried and purchased and owned. As we were       16      Q What made it take off, looking back?
17   working on licensing with the labels, which takes a       17      A I think they were -- yeah. So, you know,
18   long time with very cool technology, so we started in     18   part of this is like getting a little lucky. And we
19   Canada, but then became Canada and the U.S. That sort     19   definitely got a little lucky. But when I go back and
20   of slowed things down.                                    20   think about, you know, trying to explain -- because it
21         We realized two things. So one is people            21   was the fastest growing thing in, like, human history
22   would want to share music with their friends,             22   at that point in time. Nothing had grown faster. No
23   obviously. And two, those friends would be on multiple    23   disease, no spread of information.
24   different phone platforms. So we said -- we went to       24            It was like -- like, it blew up globally.
25   BlackBerry. Our original plan was to share music          25   It was surreal. And I think it was, one, we were the


                                                     Page 15                                                             Page 17
 1   through their messenger called BlackBerry Messenger.       1   first chat app with great support for all three
 2         So we had a BlackBerry app, they had a               2   platforms, including BlackBerry. So, you know, you had
 3   BlackBerry app, we would connect the two. But we           3   apps that were okay on iPhone, but almost always -- you
 4   realized, hey, people won't just want to share music       4   know, and I would even go so far to say as pretty much
 5   with their friends on BlackBerry, but also their           5   always -- they were terrible on BlackBerry.
 6   friends on iPhone. I think Android was just coming out     6            Why? Because BlackBerry was very hard to
 7   at the time as well. And so if that -- if we were          7   develop for. It was a very, like, archaic platform.
 8   going to make that work, BlackBerry Messenger needs to     8   It was never built with, like, third-party apps in
 9   be on the iPhone as well.                                  9   mind. So if you want to build a great app, it was
10         And they said, "No, we're never going to do         10   very, like, almost impossible to do so. So Kik was the
11   that." And we said okay. And they said to us, "If you     11   first app that was great on iPhone, great on Android,
12   want that, you should build it yourself." So we built     12   and great on BlackBerry.
13   chat functionality into the music app. But we were        13            People had never seen an app like that on
14   waiting for licensing, waiting for licensing. And so      14   BlackBerry before. It was smooth. It was beautiful.
15   we said, hey, while we're waiting for licensing, which    15   It was like a real app. It wasn't just a bunch of text
16   is, you know, always right around the corner, why don't   16   boxes. So I think that was one part. And then you
17   we break out the chat app and launch that as an           17   combine that with BlackBerry users who knew the power
18   independent app.                                          18   of BlackBerry Messenger, loved BlackBerry Messenger,
19         Then you can have chat, you can have music.         19   but at the same time were sort of getting made fun of
20   But if you have both, they'll work together. So that's    20   by their iPhone friends at this point for being on, you
21   what we did. We broke out the chat app. We worked on      21   know, yesterday's platform.
22   that for a while. And then while we were waiting for      22            And then maybe third, actually, is we were
23   licensing, we relaunched the chat app, and it just took   23   also the first to make it really easy to find your
24   off. Went zero to a million users in 15 days, million     24   friends using your phone number and your address book.
25   to 2 million users in seven days, you know, the whole     25   So you had -- we made it really easy to come on board,



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 1   and we built a great experience for everyone. And             1   It's a cross-platform chat. And so it basically wiped
 2   these BlackBerry users basically became our advocates,        2   us out. That was, like, personally very tough for me
 3   like saying, hey, you have to get this. It's great for        3   as well because there was a lawsuit, so, you know, you
 4   not just for you, but also for us, for the first time         4   can't say anything. But they implied a lot of things
 5   ever. And it just blew up.                                    5   about me personally. I had been at BlackBerry.
 6       Q Got it. So the Kik app was created and                  6         I worked at BlackBerry. I signed a
 7   blew up in 2010; is that right?                               7   nondisclosure agreement. I signed an IP agreement.
 8      A Yeah. October 2010.                                      8   It's like, so what are you saying, you stole this? No,
 9       Q Okay. Let's take that half of the decade,               9   we're not saying that. It was, like, a tough time
10   2010 to 2015.                                                10   personally for everyone. Fortunately, some top
11      A Okay.                                                   11   investors in the U.S. realized that this is an amazing
12       Q Did competitors come in, competing chat                12   team. This is just a big incumbent being threatened.
13   apps?                                                        13   These are the guys to back.
14      A So you want the history?                                14        So in March 2011, even though we had almost
15       Q Yeah.                                                  15   no users at this point, we raised $8 million U.S. from
16      A Yeah. Yeah. I can give you the rest of                  16   Union Square Ventures, Spark Capital, and RRE. And
17   the story --                                                 17   that saved the company.
18       Q Oh, yeah, go ahead.                                    18       Q What was the last one?
19      A -- if you want.                                         19       A RRE.
20       Q Yeah.                                                  20       Q Okay.
21      A Competitors definitely came in. So what                 21       A It's an acronym.
22   happened at that time, you know, 2 millions users,           22      Q Sorry.
23   everybody in the world is talking about us, is in            23      A Robinson, Robinson and Ellis, maybe. So
24   hindsight -- we didn't realize this at the time. In          24   here we are in March 2011. I think we announced it
25   hindsight, BlackBerry was viewing Kik as a threat to         25   April 2011, something like that. So we have money, but


                                                        Page 19                                                        Page 21
 1   BlackBerry Messenger, a competitive -- a competitor.         1    we have no users. And so how do we get back in the
 2   And they probably saw it in their data. I don't know         2    game? And so what we focused on was, one, okay, we're
 3   if they did or not, but I assume they did, with seeing       3    never going to be SMS for free because we don't have
 4   BlackBerry Messenger users using BlackBerry Messenger        4    BlackBerry anymore. And so over time, WhatsApp took
 5   less when they became Kik users.                             5    that position. But at the time, we owned it.
 6          Now, we had worked with them for years. I             6          It was sort of unfairly taken away from us,
 7   had worked there. I knew a lot of people there. Not          7    from my point of view. So we couldn't be that. So we
 8   at a senior level, because it was a massive company at       8    focused on the differentiation of while in Kik, we'll
 9   this point, and I was just, like, some intern kid. But       9    give you complete control over your identity. We won't
10   we had worked for them -- with them for a while. And         10   tie it to a phone number. We'll tie it to a username.
11   basically, they tried to kill Kik at that point.             11   So if you just want SMS for free, we can't be that,
12          So they kicked us off their platform. They            12   because we are sort of fundamentally handicapped there.
13   turned off push notifications. So messages would take        13         But if you want to come in, connect with
14   about an hour to deliver. They took us out of the app        14   people all over the world, but have sort of complete
15   store. They took away all access to their tools. And         15   control over who you are, how you present yourself, you
16   they sued us for patent infringement.                        16   should get Kik. So that was one of the things we
17          And so basically, what that meant is at the           17   focused on, and then the second was becoming a
18   time, we had about a third iPhone, a third Android, and      18   platform.
19   a third BlackBerry users. And we lost 99 percent of          19         Do you have a question?
20   those users over by about three weeks. So we went from       20      Q I don't know. Got it. So you -- it sounds
21   literally the hottest thing on the planet to being,          21   like as a result -- correct me if I'm mischaracterizing
22   like, yesterday's news in a matter of weeks.                 22   this. As a result of BlackBerry cutting you off of
23          Because even if you weren't on BlackBerry,            23   their platform and what you perceived as sort of unfair
24   the odds are you were talking to somebody on                 24   threats, shutting --
25   BlackBerry. That was the whole value proposition.            25      A Unfair actions. I don't know about



6 (Pages 18 to 21)
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 1   threats. But unfair actions, yes.                          1          So what we said is Kik from day one was not
 2      Q I didn't want to mischaracterize it. It               2   based on a phone number. It was based on a username.
 3   sounds like you -- Kik pivoted its value proposition to    3   So we could say to them, if you don't have a phone
 4   users to attract them. Am I getting that right?            4   number or you don't want to give away your phone
 5      A Not quite. Let me try to explain.                     5   number, you should get Kik. So it wasn't that we
 6      Q Go ahead. Yeah.                                       6   changed our focus. It's sort of we focused more within
 7      A So Kik was a messenger.                               7   our focus.
 8      Q Yup.                                                  8          So of everybody who wanted to use a
 9      A And so basically, if you want to chat with            9   messenger, someone wanted to use it for this reason,
10   your friends for free, really fast group chats, all of    10   someone wanted to use it for this reason. We focused
11   these different things, you should get a messenger.       11   on these people.
12   And Kik is a messenger. There are two different groups    12       Q Got it. And why did that matter, the
13   who adopted Kik as a messenger when it went viral.        13   ability to just sign up and use Kik just with a
14         There was the people who are adopting it as         14   username and not a phone number?
15   an SMS replacement, and there were people who were        15       A There's lots of people in the world who
16   adopting it as something better than SMS, different       16   don't have phone numbers.
17   than SMS, not tied to a phone number.                     17       Q Sure.
18      Q Got it. SMS being the text message                   18       A So that was part of it. But there's also a
19   function on your phone?                                   19   lot of people who don't want to give up their phone
20      A Text message, yes.                                   20   number, want to connect with people. They come from
21      Q And people would like to not use that                21   all sorts of different backgrounds. And, you know,
22   because I think at the time you had to pay for text       22   some people have great lives, and some people have a
23   messages?                                                 23   less fortunate hand dealt to them.
24     A Correct.                                              24          And for those people to sort of eschew sort
25      Q And so some people saw apps like Kik just            25   of, like, the physical reality that was dealt to them


                                                     Page 23                                                       Page 25
 1   as a substitute for paying for text messages, right?       1   and they had no say in, and then basically take on this
 2      A Correct.                                              2   digital reality where they can be who they want to be
 3      Q But you're saying, no, there was another              3   was a powerful and is a powerful proposition.
 4   value proposition being offered aside from just being a    4      Q Other people suggested to us something I
 5   substitute for SMS?                                        5   just want to run by you --
 6      A Correct.                                              6      A Yeah, yeah, yeah.
 7      Q Okay. And now, tell me about that value               7      Q -- and see if you agree. That one of
 8   proposition.                                               8   the -- one of the key features you're accounting for
 9      A So -- and, you know, I think this is more             9   the messenger app's growth, I guess particularly in
10   clear in hindsight than it was at the time, but we        10   this 2011 period going forward, was that it was a safer
11   could no longer -- all of those users, the 99 percent     11   place for younger people or --
12   left, right? Because they were looking for something      12      A Yeah.
13   to chat with their friends no matter what phone they      13      Q -- other people to express themselves
14   were on for free, quickly, group chats, all those         14   without having to, you know, have a phone, use their
15   different things.                                         15   phone number, that part of their identity.
16         We couldn't offer that anymore because we           16         Does that sound right to you?
17   couldn't -- BlackBerry at the time was like what          17      A Yeah. So within the -- within the "I don't
18   Android would be like today. It was a huge part of the    18   want to use a phone number," it can be for two reasons.
19   ecosystem. So we couldn't do that. WhatsApp               19   It can be because "I don't have a phone number," and
20   ultimately, from my point of view, won that race.         20   that's typically younger people. Or it can be "I don't
21         But for those people who stayed behind,             21   want to give out my number." And that could be young
22   what did we offer them? It's that, you know -- a big      22   people or older people.
23   part of SMS is it's based on your phone number. So you    23      Q Sure.
24   need a phone number and you need to give away your        24      A So yes. I think it's both those things.
25   phone number to everybody you want to talk to.            25      Q Okay. And I think I keep cutting you off.



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 1         Can you roll the camera forward on the Kik           1        Walk me through the history.
 2   story from that point?                                     2      A So we spent a long time working on how to
 3      A Yup. So maybe -- that was one thing.                  3   become a platform. First with plug-in, native apps,
 4   And I -- and I think it's fair to say we only              4   and web apps, and bots. So while all that work is
 5   recognized -- like, really understood the power of that    5   going on, Kik is starting to grow again at the same
 6   later on. Okay? So what was our hypothesis at the          6   time. And this is what I talked about, you know, that
 7   time? So we go viral. We show the world what's             7   we didn't really understand the power at the time.
 8   possible. Everybody in the world is talking about Kik.     8          We do now. But it's just this segment of
 9         From our point of view, we get unfairly              9   the world that doesn't want SMS for free, but wants SMS
10   taken out of that race. But we raised the money. And      10   without a phone number for various reasons. So that
11   so I'm thinking, how are we going to get back in the      11   started to grow. It started to grow really well,
12   game, how are we going to show the world that this        12   culminating in 2014, Tencent investing $50 million at a
13   wasn't just a fluke, that we deserved it. Okay?           13   billion dollar valuation.
14         And the hypothesis at the time was, well,           14      Q So you had more rounds of investment?
15   we don't have BlackBerry anymore, but what's the one --   15      A Yeah. So that was our, like, fourth --
16   so anything we can do, WhatsApp, for example, could       16   like, our Series D, to use the terminology. We raised
17   just copy and put it on BlackBerry. So anything that's    17   our Series A in March, April 2011. Then we had a B, a
18   trying to be SMS for free is going to be a losing game    18   C, and then a D in 2014 with Tencent at a billion
19   because we had this fundamental handicap.                 19   dollar valuation.
20         But the one nice thing about not having             20      Q Okay. What happened after that Series D in
21   BlackBerry is it's really hard to develop apps for        21   2014? Just a broad history of the company, what
22   BlackBerry. So if we were to become a platform that       22   happened after that?
23   other apps could, you know, integrate into and spread     23     A So I think as we were coming into our
24   through and connect into, and those developers only had   24   Series D, our growth chart had flattened out. We were
25   to build for iPhone and Android -- because that's the     25   no longer growing. And we were very open about this


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 1   only platform the Kik is on, Kik is only on iPhone and     1   with Tencent saying, like, hey, you know, we're
 2   Android, and not BlackBerry -- we could build a            2   competing with Facebook. Seems like everything they
 3   platform in a very compelling way that maybe WhatsApp      3   do, they just -- everything we do, they just copy.
 4   couldn't because they'd be trying to score all these       4         And so, you know, we want to become this
 5   BlackBerry users, too.                                     5   platform. We've been working on this platform for a
 6         So when you send them something, you know,           6   long time. It looks a lot like the platform you guys
 7   iPhone and Android is fine. But on the BlackBerry,         7   are building in China. And so what they effectively
 8   they'd be like, wait, I can't use this, this is broken,    8   said to us, they might have literally said to us, but,
 9   this doesn't work. So maybe we could turn it into an       9   you know, the culmination of the investment was, We
10   advantage.                                                10   think chat is going to be hugely powerful in the world.
11      Q Okay.                                                11   We see it ourselves firsthand in China. We think the
12      A And so I think a big part of our story is            12   same thing is going to happen in the west. And right
13   becoming that platform. We were the first chat app in     13   now, if we had to guess who would make that happen, it
14   the world, to my knowledge, to launch an API so that      14   would be Facebook. But if there's anybody else who
15   apps could plug into a mobile messenger. We launched      15   could compete with them to make it happen, it would be
16   that in July 2011. And, you know, we launched a web       16   you guys. And so we'll invest, even though your growth
17   platform a couple of years later. We launched a bot       17   has plateaued, and try to help you to make it you
18   platform a couple of years later.                         18   guys -- to make this happen in the west, because, you
19         And so we've been, you know, trying to turn         19   know, you're really the pioneers here, and they're just
20   chat into a platform to get back into the game for a      20   copying and crushing you.
21   long time.                                                21         So they made that investment. Turned out
22      Q Okay. And what happens next? I think I               22   it was harder than I think either of us thought. We
23   understand the pivots or the changes that happened        23   started to lose users. And as we lost users, we were
24   following the BlackBerry challenge, if I can call it      24   sort of, like, scrambling to try to get growing again
25   that. What happens after those pivots?                    25   because as consumer company, the number one thing you



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 1   must do is grow. So you lose some users. Everybody         1   our screens looked like and what their screens looked
 2   gets more tense. They get more tense.                      2   like, and it was almost a pixel-for-pixel clone of what
 3          They scramble a little bit more. By                 3   we had done.
 4   scrambling a little bit more, you make mistakes, you       4           Same thing with the bot platform. We put
 5   lose more users, and on and on and on. And it sort of      5   out the bot platform. I think it was 9 to 12 months
 6   became a negative reinforcing cycle of things not          6   later, they put in an identical platform. So it was
 7   working. You try to hire different people. And             7   on a -- you know, same things happening with Snapchat,
 8   sometimes they make it better, many times they make it     8   you know. Snapchat puts out stories, super successful.
 9   worse. And we were -- you know, I remember -- we           9   Instagram and all Facebook products put out an almost
10   didn't realize at the time this was actually a systemic   10   identical clone to that product.
11   thing in the mobile industry.                             11       Q And how -- it might be obvious, but explain
12          When people look back, almost -- you know,         12   to me -- I understand the copy piece.
13   Snapchat is losing users at this point. Everybody is      13         How does that crush then?
14   losing users except for these monopolies. So everybody    14       A The copy piece is -- there's two things you
15   behind closed doors was saying, "We're losing users.      15   need to do as a consumer company. You need to grow.
16   What are we going to do?" We didn't know that. We         16   You need more and more consumers using your products.
17   knew we were having those discussions. We didn't know     17   And you need to monetize. The only way to monetize in
18   how many other people were at the time.                   18   a consumer product or in any business, consumer
19          But we were the first ones, I think, in the        19   business, is to either sell something to consumers or
20   world to admit it in the press. You know, a reporter      20   to sell their attention to somebody else who wants to
21   asked me, like, how is growth? And I said, we're not      21   sell something to them, which is advertising.
22   growing anymore. And I remember he looked at me, he       22           So the copy and crush is anything you
23   was, like, shocked that I would say this on the record.   23   wanted to create to monetize, say sell it, they would
24          And then like -- did almost like a                 24   copy it and just make it free. So that was no longer
25   double-take, and then went back, wrote the article, and   25   an option. And so then your only option was to do


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 1   then a bunch of people picked up the article. And at      1    advertising, just like them. The only way to get
 2   the time, that was a tough thing as well. Like, "Why      2    advertising to compete with them -- Google and Facebook
 3   are we admitting it?" Like, "What's going on here?"       3    have a duopoly on advertising -- is get to a
 4   It's like, "Listen, it's just the truth."                 4    significant scale where you become interesting to
 5          So it was this, like, tough time. And, you         5    advertisers.
 6   know, I think what we didn't realize at the time is --    6            The only way to do that is to take on
 7   I think we put a lot of the blame on ourselves at the     7    significant investment, significant growth to try to
 8   time. But I think in hindsight, what we realized is we    8    get to that scale. And so the copy and crush is as
 9   were playing an impossible game.                          9    you're trying to get to that scale where you become
10      Q And if you had to -- I think I've seen you           10   viable and your business becomes viable, they're trying
11   talking about this over the years.                        11   to do anything they can to cut off your growth.
12          The core challenge that Kik is facing --           12   They're trying to copy and crush you.
13   are we in, like, 2014, 2015, 2016, that period?           13           Anything you do, let's copy them and let's
14      A Yeah.                                                14   crush them. Let's put in maximum, sort of, torque
15      Q Okay. The core challenge is that a                   15   there to make them -- to make them lose.
16   behemoth company like Facebook -- I think the phrase      16      Q And the crush idea is they have scale -- so
17   you used is "copy and crush"?                             17   many users that they can cut off your growth and users?
18     A Uh-huh.                                               18      A Anything we can do, they can copy and make
19      Q Walk me through that. Copy, Facebook                 19   free.
20   introduces its own messaging function. Is that it, or     20      Q Right.
21   is there some other aspect to the copy?                   21      A So either we -- it's already free on us.
22       A Copy is like at a feature level. So we              22   But at a minimum, they can copy and then promote it to
23   rolled out our native platform, for example, in July      23   their much bigger audience base. So, you know, the
24   2011. About two years later, they rolled out an almost    24   majority of people, when they see it, they're like,
25   identical platform. I remember actually putting what      25   "Wow, Facebook is so smart. Look at what they've



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 1   built." Whereas, you know, they didn't build it.           1   by one drop out trying to make money. And so our thing
 2           So anything that you can build to get your         2   was we just keep raising money and keep going because
 3   consumers excited, and then you want to take it to new     3   these -- until we figure it out.
 4   consumers, you know, Facebook gets there first. So --      4      Q Why not just advertise?
 5      Q Got it. I'm sorry to interrupt.                       5         Why not just sell user data to advertisers
 6      A Yeah.                                                 6   and let them advertise on the platform?
 7      Q You used the term "monetize."                         7     A I think we always had a problem with
 8      A Yeah.                                                 8   advertising from a philosophical point of view. We
 9      Q Like monetize the app? Can you just define            9   never collected data on our users. We always believed
10   that for me? What does it mean to monetize an app?        10   in privacy. That's why we chose usernames over phone
11      A To make money. To generate revenue.                  11   numbers originally. Like, you shouldn't have to give
12      Q And Kik, is it right that up through 2016,           12   away something that you could never take back. That's
13   Kik wasn't significantly monetizing its app?              13   sort of where we started.
14     A I think that's absolutely correct.                    14         So we never -- we sort of were always
15      Q Right.                                               15   philosophically opposed to collecting data. We were
16      A And, you know, this is -- you know, we're            16   philosophically opposed to advertising, which is
17   going to talk about Kin in a second, I'm sure, or at      17   basically trying to manipulate somebody to buy
18   some point. This was always the looming challenge,        18   something they wouldn't otherwise buy most of the time.
19   which is how are we going to make money. Because --       19   And so we never liked advertising.
20   you know, I talked about copy and crush at sort of a      20         But at a practical level, it -- for two
21   consumer level in the consumer app space.                 21   reasons, it wouldn't work. One, we didn't have the
22           But then within messaging more                    22   scale to be interesting to advertisers. Yeah, they'll
23   specifically, nobody was making money. And even today,    23   do trial things, and we did do many trial things with
24   nobody makes money. iMessage does not make money          24   different advertisers and brands, but not enough to be
25   directly. Facebook Messenger does not make money.         25   interesting versus Google and Facebook's duopoly.


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 1   WhatsApp does not make money. Telegram does not make       1         But then, at a practical level, to do
 2   money. They all have rich parents who make money from      2   advertising, what's been shown in consumer applications
 3   somewhere else.                                            3   is the most effective place to do that is you need them
 4           And so anything we could put in and then           4   to do some sort of passive consumption. You know,
 5   sell, we knew our competitors would just copy and make     5   you're scrolling through your Facebook feed. Like, oh,
 6   it free, making us look bad in a way in front of our       6   that was an ad, and you just keep going. You're
 7   users. You know, "Oh, Kik is trying to charge you          7   scrolling through your Twitter feed, that was an ad,
 8   money for that. They're such bad people. Look, we'll       8   just keep going. Going through your Snapchat stories,
 9   give it to you for free."                                  9   oh, that's an ad, you just keep going.
10           So we couldn't sell anything. And anybody         10          Whereas, in Kik, we didn't have any form of
11   who tried to put in advertising into a messenger, not a   11   passive consumption. It was all active messaging. I
12   feed-based app like Twitter or Snapchat stories or        12   say "hey," you say "hey." There's -- never are you
13   something like that, but into a messenger, we saw         13   ever a passive participant. And that was by design,
14   quickly disappear, to the point where there's no          14   you know. We didn't want a passive consumption mode
15   significant advertising in any of the prominent           15   because they you have to put in some sort of the
16   messengers today.                                         16   broadcast-type sharing; you know, Tweeting, posting on
17           And so the question is: How are we going          17   Facebook, posting a story on Snapchat.
18   to make money in a world where all of our competitors     18        And we found that we felt that when you
19   have, you know, for lack of a better word, rich           19   added that to a product, it sort of turned into a
20   parents, and we do not, and none of them make any money   20   popularity contest, you know. "I want to post things
21   on their messengers. And if we try to, we've seen         21   on Facebook so I look good and I can get a lot of
22   many -- you know, there was thousands of messengers at    22   likes, and my friends can say how great I am." And
23   one point, all competing to try to get to this end        23   then people start filtering themselves. They start
24   game.                                                     24   becoming less authentic.
25           If we put in -- you know, we saw them one         25          And that was part of the reason we started



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                                                       Page 38                                                          Page 40
 1   Kik to begin with because we hated that. We wanted Kik       1      A I think early on, another guy who was very
 2   to be the one place to go where you didn't have to           2   influential was a guy named Adam Ludwin from RRE.
 3   worry about how you were coming across to other people.      3      Q Would you mind spelling that?
 4   You could just come in and connect on a human level.         4      A Ludwin?
 5          So for sort of all reasons, advertising,              5      Q Yeah.
 6   despite we did spend some time trying it, we never           6      A L-u-d-w-i-n.
 7   liked it. But it seemed like the only -- of the two          7      Q Okay.
 8   options historically, it was -- you know, we can't sell      8      A He was a -- not yet a partner, but an --
 9   stuff because they copy it and make it free, so this is      9   I'm not sure if the right word is "associate" or -- I'm
10   the only option left. So we did try it, but we never        10   not sure what one level is down from a partner. But he
11   liked it.                                                   11   was one of the employees of RRE. And he was one of the
12      Q Got it. 2016. Before -- some period                    12   first ones up in Waterloo when Kik was first taking
13   before the Kin project gets started, how would you          13   off. Like, he literally was there.
14   characterize the messaging app's user base?                 14          And I remember asking him, like, "So what
15      A In what way?                                           15   brings you to Waterloo?" And he goes, "What do you
16      Q Demographics, age, nationality.                        16   mean? You guys." And so it was sort of, like, this
17          At a high level, what did it look like?              17   idea that somebody would come to Waterloo just to meet
18      A Global, declining, all ages. But the                   18   us was sort of a novel concept. But he is a very smart
19   largest demographic would be sort of teenagers and          19   guy. He graduated top of his class at Harvard Business
20   20-somethings in the U.S.                                   20   School.
21      Q Okay. Fair enough. And you had mentioned               21          And so he eventually left the board to go
22   some -- when we were talking about financing, you had       22   start his -- left the firm, and therefore, also left
23   mentioned some early backing from venture capital           23   the board just to go start his own company. But I
24   firms. Union Square was a key backer; is that right?        24   would say for the first three years, he was influential
25      A Correct.                                               25   as well.


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 1       Q And still are, correct?                                1          And then we've had other partners over the
 2       A Yep.                                                   2   years, you know. We had a guy named Anamitra. I can't
 3       Q Foundation Capital, when did they get                  3   remember how to say his last name. I'd say Banerji,
 4   involved?                                                    4   but I don't think that's quite correct. But he was a
 5       A I want to say 2012.                                    5   partner at Foundation Capital. He had been an early,
 6       Q Like, a Series B or C?                                 6   if not the first, product manager at Twitter.
 7       A They got involved with the Series B.                   7          So we spent time with him, time with his
 8       Q Got it. Okay. Who would you say -- I                   8   partner, Paul Holland. Series C was a guy named Danny
 9   understand a lot of tech firms have key venture capital      9   Carrerian, I believe is how you say it. He's a -- I
10   backers. It's not just about money. It's about              10   think they called him partner at the private equity or
11   guidance and experience.                                    11   hedge fund.
12           Do you have venture capital backers like            12      Q Okay.
13   that, sort of that have been guides for you over the        13      A And then -- yeah. I would say those are
14   years?                                                      14   sort of the key guys.
15       A Yeah. We definitely had many different                15      Q And in terms of -- let's take USV.
16   mentors, advisors, over the years. I would say the one      16          Because Fred Wilson is a partner of some
17   that sticks out is Fred Wilson from Union Square            17   sort at Union Square; is that right?
18   Ventures, who invested and joined the board in 2011.        18      A Correct.
19       Q Okay. And he's been sort of a mentor or               19      Q Did you deal with other people at Union
20   guide for the company over the years?                       20   Square?
21       A Yeah. Him and -- yeah. He's been an                   21     A Yeah. Like, I would say, I met with other
22   advisor, I would say, a very active and very smart          22   people, his other partners occasionally, like, a
23   advisor over the years.                                     23   handful of times. But by far, I spent the most time
24       Q Any other firms or people at the firms that           24   with Fred.
25   had that role that you'd think of?                          25      Q So the other people at Union Square didn't



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 1   play the same role as sort of advising you --                    1   are we going to beat Facebook. And it got to the point
 2         A No.                                                      2   where it was like, I don't know.
 3         Q    -- and dealing with the business as Fred?             3     Q And you said it was never explicit. Did
 4         A I wouldn't say so. Like, they -- like, I                 4   you have a sense that investors -- investors in Kik
 5   met them at -- like, at Union Square Ventures, they              5   were clamoring for you to have an answer to that
 6   would have CEO summits, for example. I would meet them           6   question?
 7   there. I might have done the odd phone call with them            7      A Yeah. I think, like, 2014 to 2016 were,
 8   over the years. But, like, nowhere near to the degree            8   like, some of the toughest years of my life by a mile.
 9   that I would spend the time with Fred.                           9   And when I say some of the toughest, by far the
10         Q    Okay. So we're going to talk about Kin               10   toughest years of my life by a mile. Why? Because
11   very shortly. Right before that, is it -- right before          11   when you're winning, everything is great and everybody
12   then, I take it -- let's go late 2016.                          12   is happy. And, you know, everybody is excited to take
13             Kik was still struggling to -- is it fair             13   on the next challenge.
14   to say, to find a business model to compete with larger         14         When you're losing, it starts to become the
15   competitors like Facebook?                                      15   opposite. And that becomes a self-fulfilling prophecy.
16         A I think we were struggling to make money                16   And people sort of get more scattered, less trusting.
17   and struggling to grow. And the answer of "we'll                17   Not just outside the company, but even inside the
18   figure out how to make money later" was no longer an            18   company. People start seeing like, wait a second, we
19   option with investors. And I think, at the same time,           19   might die here. And to manage a team and to manage an
20   Facebook and others were realizing how important                20   investor base when it looks like you might die and to
21   messaging was in the consumer space and were massively          21   try to turn that around is one of the toughest things I
22   ramping up their investment to compete with us in the           22   think you can do in human existence.
23   space.                                                          23      Q I think I read somewhere -- it might have
24             So on the growth side, we were becoming --            24   been a statement you made.
25   we were outgunned. And we were becoming quickly                 25      A Maybe who, sorry?


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 1   massively outgunned in terms of money being spent,               1      Q That you might have made.
 2   employees being deployed, to build a compelling                  2      A Uh-huh.
 3   product. And then on the monetization side, we hadn't            3      Q That when Snapchat went public, that seeing
 4   yet found something that would work.                             4   their financials, was an aha moment or was revealing
 5         Q And you said -- on the monetization side,                5   for you guys. Does that ring a bell?
 6   you said that it was no longer an option for your                6      A Yup.
 7   investors just to tell them, "We'll make money                   7      Q Tell me about that.
 8   eventually"?                                                     8      A There was a period inside -- there was a
 9      A Yes.                                                        9   period in time where we thought we were unique in our
10         Q Is that right? Tell me about that.                      10   struggles, you know. We said publicly to the press,
11         A I think -- like, I -- I don't know if it's,             11   like, we're struggling. Nobody else said that. So we
12   like, that explicit. It's just this -- it became this           12   assumed nobody else was saying that because nobody else
13   increasing realization that we were driving at a wall           13   was struggling, you know.
14   and not -- you know, not just us, but, like, almost             14         Maybe that was -- that certainly was naive,
15   everybody in the consumer space, you know. We weren't           15   looking back. But -- so for a long time, we thought it
16   going to be able to deploy more people and resources            16   was unique to us. We thought it was because we didn't
17   than Facebook.                                                  17   know what we were doing. And we didn't realize it was
18             Facebook wasn't making any money on it.               18   because what we now realize in hindsight is we were
19   But they didn't need to. So we're competing with                19   playing an impossible game.
20   people who have billions of dollars to compete with us          20         And so when we saw Snapchat's IPO
21   with. They view this as critically strategic to their           21   documents, what we realized -- because we had this
22   strategy. And they have zero need to make money from            22   increasing sense that it wasn't just us, that it was
23   it.                                                             23   other companies. Actually, it was a lot of companies.
24             So it's not like -- you know, when I'm                24   And then with Snapchat's IPO documents, we realized it
25   going and talking to potential investors, like, so how          25   was all companies.



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                                                       Page 46                                                        Page 48
 1         Like Snapchat, of all consumer companies to           1          We only got one term sheet at our Series B,
 2   challenge the incumbent monopolies, had executed better     2    one term sheet at our Series C, and one term sheet at
 3   than anyone. They had raised billions of dollars of         3    our Series D. And so what would we have done if we
 4   capital. They had thousands of employees. And yet,          4    didn't get those term sheets at each of those points?
 5   even they were struggling. And so for me, it was this       5    You know, I don't know. It didn't look good.
 6   realization where I could say, listen, it's not us. It      6          But yet, we've always been able to figure
 7   is not just us. It's not just most companies. It's          7    something else out. So in hindsight, it's sort of, you
 8   pretty much all companies. If we are going to survive,      8    know, it didn't feel like we had other options. But we
 9   we need a new game.                                         9    also have a history of finding other options.
10        And so for me, it was an aha moment, that              10      Q Right. Like how you approached the
11   this new game I had been thinking about since 2011 was      11   BlackBerry challenge in late 2010?
12   not so crazy enough of an idea, and that now is the         12      A Yeah. We have a history of figuring it
13   time to put it into motion.                                 13   out, finding options other people miss.
14       Q And you're talking about crypto?                      14      Q Okay. Let's talk money and financing just
15       A Correct.                                              15   for a minute because we are at the SEC. We've seen the
16      Q Okay.                                                  16   term "runway" used in connection with Kik's cash
17         MR. SCHLEGELMILCH: Can I ask a quick                  17   situation.
18   question, Jeff?                                             18         If things didn't change and there wasn't a
19         So is it fair to say that sort of going               19   move to crypto and Kik didn't raise additional money,
20   into 2017, was there sort of a fear within Kik that Kik     20   how long did Kik have to operate in late 2016?
21   could die?                                                  21      A I can't recall exactly. But I think the
22         THE WITNESS: Yes.                                     22   rough calculation was we weren't making money, we were
23          BY MR. LEASURE:                                      23   spending money, and we had a -- we had money in the
24       Q And I promise we're going to talk more                24   bank. And so, you know, runway is the calculation of
25   about crypto because that happened in 2017, right?          25   how much money you have in the bank divided by the


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1       A Uh-huh.                                                 1   amount of money you spend every month.
2       Q Let's imagine that a pivot to that didn't               2          And so I think the calculation around our
3    happen. Run through the scenarios otherwise facing           3   runway was somewhere in the end of 2017.
4    Kik. What could have happened to Kik in 2017 or 2018         4      Q Got it. And that was a helpful, I take
5    absent the crypto project?                                   5   it -- let's call it a fraction of money in the bank by
6       A Going into crypto?                                      6   how -- your spend rate. Taking that fraction in turn,
7       Q Yeah.                                                   7   were there efforts in late 2016 to increase the
8       A It's hard to speculate on the future.                   8   numerator, that is how much money is in the bank?
9       Q Particularly now that it's passed. But                  9        In other words, to bring in more money?
10   yeah, I understand.                                         10      A In 2016, I'm not sure. I can't recall
11      A Now it has passed?                                     11   exactly what the efforts were. But I think they
12      Q Yeah.                                                  12   weren't that big. Because for me, it's very hard to
13      A Like, at the time, like, it was very tough,            13   sell a story that I don't believe. And so if I were to
14   you know. One of our values is we're constantly -- we       14   go out and try to raise money, you know, and they asked
15   look at all of the options. So we were constantly           15   me the question like, but how are we going to take on
16   looking at options over and over and over again. And        16   Facebook, I didn't -- like, with the traditional means,
17   one of the options we were looking at is, like,             17   I didn't have a good answer.
18   calculating severances, you know, and how much money do     18      Q Got it. So if you were to answer, "We got
19   we need to legally set aside for severances.                19   a Facebook killer here. We got a way to build scale
20         So it was a dire time. We faced many dire             20   and to take on Facebook on our terms," you wouldn't
21   times at Kik, you know. We've been trying to come back      21   have believed that at that time?
22   from this fundamental handicap, you know. What is it        22     A Since 2011, when I first started thinking
23   now? Like, over eight years ago. We've been trying to       23   about crypto, I had this what I would call crazy plan
24   get back in the game and get back on top. So we've          24   in the back of my head of something that might be a
25   faced many sort of situations like this before.             25   third way to generate revenue as a consumer company.



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 1   But it was something that was fundamentally new, had      1    question because it felt like Facebook had won.
 2   fundamentally never been done before.                     2          (Discussion off the record.)
 3         And so I knew that, especially at this time         3          BY MR. LEASURE:
 4   when Kik was struggling, that bringing that option up     4       Q All right. Let's start again. We see a
 5   at the wrong time would -- like, I'd look crazy, you      5    process -- we just see documents.
 6   know. Like, "Who is this guy?" Like, you know, "We're     6       A Yeah.
 7   struggling. We're trying to figure this out. And he's     7       Q But it's helpful to talk to a human being
 8   off talking about some cryptocurrency thing." It's not    8    about them. We see a process with the investment bank,
 9   like today where everybody is talking about               9    Credit Suisse --
10   cryptocurrency.                                           10      A Yup.
11         Back then, nobody was talking about                 11      Q -- looking around for financing. Does any
12   cryptocurrency. Bitcoin was viewed as a big failed        12   of that ring a bell? Do you recall that?
13   experiment. So I wanted to make sure I would exhaust      13      A Yes, I do.
14   all of the other options first. So I could say not        14      Q And what were they looking for? An
15   only do I believe crypto is an amazing option, but good   15   acquirer, a source of new capital, all of the above?
16   news guys, it is also the only option, from my point of   16      A Technically, they were looking for both.
17   view. So I think we should do it. But I think if we       17   But primarily, they were looking for an acquirer.
18   do do it, we can do it without having any regrets.        18      Q And is that the process you were just
19      Q Got it.                                              19   describing of --
20      A And maybe -- can I add?                              20      A Yeah.
21      Q Please.                                              21      Q -- even with an acquirer with good
22      A And at that time, we looked at raising               22   resources, you'd still have to answer fundamentally?
23   money. We also looked at selling the company, you         23      A Yeah. I'm sorry, what's the question?
24   know. And we looked around. All of our competitors        24      Q The question was: Credit Suisse was
25   are spending millions, if not billions, of dollars        25   looking for an acquirer, and you met with -- or they


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 1   investing in their products with hundreds, if not          1   discussed the possibility of Kik being acquired by
 2   thousands, of employees. And they make no money on         2   someone, correct?
 3   those products.                                            3      A Correct.
 4         So it is fundamentally impossible for us to          4       Q And you described earlier the process where
 5   compete with them as somebody who does need to make        5   even in discussions with acquirers -- potential
 6   money, has tens and, you know, barely 100 employees and    6   acquirers, the question would still be, okay, how are
 7   only has millions of dollars. So we also went out and      7   you going to compete against Facebook?
 8   said, well, maybe an option is to look for our own,        8     A Even with our money and our team.
 9   quote, unquote, rich parent.                               9      Q Right. And that was the Credit Suisse
10         And so we went out and we talked to all of          10   process?
11   the big tech companies and big companies around the       11      A Correct.
12   world that saw that messaging was strategic but didn't    12       Q Was there ever a valuation prepared for,
13   have their own messenger. But the killer -- you know,     13   like, the value of Kik during that Credit Suisse
14   we had a great story of why we were the innovators, why   14   process?
15   we were where we were, all of these pieces.               15       A I think there was a model prepared. I seem
16         But the question I couldn't give a good             16   to recall that, you know, looked on comparables and
17   answer to at the end of it is, "Okay. We agree with       17   looked at a bunch of different ways of what Kik
18   you it's strategic. We agree with you that you guys       18   hypothetically could or should be worth.
19   are leading experts in this field. That you have an       19     Q Was it in the same range as it was for
20   amazing team, amazing technology, amazing product. But    20   Tencent in 2014, I think, of a billion?
21   Facebook continues to copy and crush you. If you had      21         Was it less than that?
22   our resources and our team and we had to go head to       22       A I can't recall.
23   head versus Facebook together, how would we win           23      Q Okay. Early in 2017, was there a
24   together? What would we do?"                              24   possibility that Kik might have to reduce costs and
25         I did not have a good answer to that                25   fire employees?



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1       A Say the question one more time.                         1      A Investors, early employees. But I'm
2       Q Sure. Early 2017 --                                     2   certainly -- I believe I'm the largest.
3       A Yeah.                                                   3       Q Okay. And the other major holders are some
4       Q -- before the pivot to crypto was                       4   of the early -- or the --
5    announced, was there a possibility that Kik would have       5       A My co-founder, other investors, et cetera.
6    to cut costs and fire some of its employees?                 6      Q Have you sold stock, Kik stock, over time?
7       A It was one of the options we were                       7      A I believe I did sell some Kik stock at our
8    considering.                                                 8   Series C financing. But I believe that's the only time
9       Q I see in the documents sort of head count               9   I've sold Kik stock.
10   listings and scenarios.                                     10      Q Okay. And moving ahead a bit to Kin
11      A Yeah. Like, one of our values is we look               11   tokens. Do you personally own any Kin tokens?
12   at all of the options constantly. That's how we             12      A I personally bought $10,000 worth of Kin
13   discover things that the rest of the world misses. And      13   tokens in the token sale. But I haven't claimed those
14   so one of the options we were looking at, because it        14   tokens yet. And I haven't done anything with them yet.
15   was an option, you know, raise money, sell the company,     15     Q Okay. So if I were to try to understand,
16   lay off a bunch of people. These were all options. We       16   you know, your own skin in the game or financial
17   were looking at all of them.                                17   interest in the Kin project --
18      Q It's hard to tell from cold documents,                 18      A Uh-huh.
19   right? I'm reading board decks and things. I had the        19      Q -- is it right that you indirectly have an
20   impression from the cold documents that the idea of         20   interest in Kin as a 30 percent or so owner of Kik,
21   firing employees really did not appeal to you or that       21   which in turn holds some amount of Kin?
22   you were -- you would seek out other options well           22     A Yes.
23   before you'd be wailing to let people go from Kik.          23     Q Okay. Is there any other way you'd think
24         Is that fair or a misreading of the                   24   about just your financial interest in the project, the
25   documents?                                                  25   Kin project?


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 1      A Let me step back. Like -- nobody likes to               1      A I think what I recognized back in 2011 is
 2   fire anybody, obviously. I did have experience firing        2   that launching our own cryptocurrency could be a
 3   people, you know. We shut down our LA office with six        3   fundamentally new way to monetize the business, a new
 4   or seven employees in there, and laid off other people       4   way to build a consumer experience, a new way to
 5   as well. We had done a layoff before. So I wouldn't          5   compensate our shareholders, like, you know, realize
 6   say -- I don't like doing it, but I don't -- I wouldn't      6   that it was sort of the ultimate win-win-win.
 7   say I wouldn't do it.                                        7         So I would say, yes. You know, part of the
 8          I think what I would do, if it was in the             8   reason why we went into crypto is because we would hold
 9   best interest of the company, if I thought laying off        9   a piece of an asset. And the shareholders would own
10   or firing, to use your terms, was in the best interest      10   that asset. And I was one of those shareholders.
11   of the company, meaning that it maximized the chance of     11      Q Got it. Was it also a way to obtain
12   Kik succeeding, then I would have done it.                  12   financing for Kik?
13      Q Okay. In terms of your own holdings and                13      A I think it was a way to bring money into
14   interests in Kik -- Kik is a private company, correct?      14   the company, yeah. Again, back then, like, crypto was
15      A Uh-huh.                                                15   a totally, totally new thing. So I wouldn't call it
16      Q Do you own Kik stock?                                  16   financing. I would call it, like, revenue. It was a
17      A I do.                                                  17   way to make revenue.
18      Q What percentage -- do you know roughly what            18      Q Okay. Early 2017 -- I just want to talk
19   percentage of Kik's outstanding stock you, yourself,        19   about the Kik org chart for a second.
20   hold?                                                       20     A Okay.
21      A I don't know exactly, but I could guess.               21      Q Who were the key managers in place?
22      Q Please.                                                22      A Early 2017?
23      A Somewhere around 30 percent.                           23      Q Yeah. Right before the announcement of the
24      Q 30 percent. Who are the other major                    24   Kin project.
25   holders of Kik's stock?                                     25      A Like, are you asking for, like, the org



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 1   chart at the high level or --                              1      A So maybe the -- we'll go way back in the
 2      Q The highest level. Who were the key people            2   history of Kik. I always -- I didn't like -- like,
 3   that you had in positions?                                 3   "How are we going to make money one day" is obviously a
 4      A So it was myself. It was Peter as our CFO.            4   question you get as a business. As a music app, it's a
 5   Early 2017. Eran as our chief product officer. Alim        5   little bit more obvious. Hey, you sell the music
 6   as our chief people officer. Erin, I believe, as our       6   because you have to sell the music. And everybody
 7   CMO.                                                       7   sells the music. So nobody can offer it for free and
 8      Q Erin Clift -- I'm sorry to interrupt --               8   just undercut you. So that was the original revenue
 9      A Erin Clift.                                           9   model.
10      Q -- is the chief marketing officer?                   10            Then Kik Chat takes off. And so now we
11      A Marketing officer, yep.                              11   lose our music model because we're not doing music
12      Q Okay.                                                12   anymore. But at the same time, it's like, well, that
13      A I'm forgetting other people for sure.                13   doesn't matter because now you're a hot consumer app.
14      Q Let's take Erin Clift.                               14   And consumer app, the -- or consumer startup, the
15        Did you think she was doing a good job?              15   playbook is always grow, grow, grow now, monetize
16      A I think we were all trying to figure it              16   later.
17   out. You know, I think at the time it was -- like, lot    17            And so when we made the shift from music to
18   of those people were new managers, like, new leaders      18   chat, we were growing. We didn't have to think about
19   inside the company. Like, Erin was brought on somewhat    19   revenue because that wasn't part of the strategy for
20   recently. Eran was brought in through an acquisition      20   how to grow a consumer company. That's something you
21   recently, put into that role recently. Alim was           21   can always figure out down the road. But I knew
22   brought on somewhat recently.                             22   personally, as the CEO, that one day down the road
23          So it was -- I would say it was, like, the         23   would come. And I knew that there were only two
24   second leadership team I had at Kik. I had the same       24   options. The only two options are either you sell
25   leadership team for roughly the first seven years or      25   something or you sell advertising.


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 1   something like that. And so I don't think there's,         1            And I knew that selling something probably
 2   like, good job or bad job. I think it was we were all      2   wouldn't work because I've seen the competitive
 3   scrambling, looking at where we were as Kik through our    3   dynamics. And, you know, what I would do if I were one
 4   own lens and trying to figure out how to save it.          4   of the competitors that are just copying what we were
 5          MR. LEASURE: Got it. Let's take five.               5   doing or make it free. So I knew that wouldn't be an
 6          Can we go off the record.                           6   option. And both philosophically and practically did
 7          THE VIDEOGRAPHER: Going off the record.             7   not like the option of advertising.
 8          The time on the video monitor is 10:48 a.m.         8            So really, if you had asked me back then,
 9          (A brief recess was taken.)                         9   like, what are the options before I learned about
10          THE VIDEOGRAPHER: We are back on the               10   Bitcoin, I would say I don't know. But our investors
11   record. The time on the video monitor is 11:04 a.m.       11   say, it's fine. We can figure it out later. So we're
12          BY MR. LEASURE:                                    12   going to figure it out later.
13      Q Back on the record after a brief break               13            So I was always on the look out for another
14   during which, Mr. Livingston, did you have any            14   business model. It was always my dream to build a big
15   substantive conversations about this investigation with   15   independent company, not to just sell it along the way.
16   SEC staff?                                                16   And if we're going to be a big independent company, one
17      A No.                                                  17   day, we would have to make money. But the only two
18      Q I'm going to ask that every time.                    18   options that seemed to exist didn't appeal to me.
19      A Okay.                                                19            So I was always on the lookout. And so
20      Q I'm sure there's a reason I ask it. I                20   when I first read about Bitcoin, which I believe was in
21   don't particularly know, but there's -- I will ask it     21   2011, I almost immediately realized that this could be
22   each time we come back on the record.                     22   a third way to make money. Because what I realized on
23          So we've been foreshadowing a pivot to             23   one side is that Bitcoin was this fundamentally new
24   crypto. Tell me, in your head, how the idea of Kik one    24   technology where for the first ever, you could
25   day maybe entering the crypto space came up.              25   guarantee the scarcity of a digital asset.



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 1         So before you can guarantee the scarcity of          1   in January 2012. It's me and, like -- I think there
 2   something, by choosing something physical, like gold,      2   were 12 other people there, something like that, 13 of
 3   nobody can create more gold, it's a pain to move gold      3   us. One of them was the lead developer of Bitcoin.
 4   around. But on the other side, you got something           4   And I was like, "Guys, this is going to change the
 5   digital, like points or dollars, easy to move around.      5   world. This is an incredible innovation that so few
 6   But whoever controls the database can make more            6   people understand. But how are we going to get people
 7   whenever they want.                                        7   to use it?"
 8         Now, with Bitcoin, for the first time ever           8          And everybody sort of sat around in the
 9   in human history, you could have both of those             9   room and was like, "Well, we don't know. But right
10   properties at the same time. So what that meant is,       10   now, that doesn't really matter because we're focusing
11   you know, if Bitcoin -- the supply was fixed. There       11   on the technology." Most of these guys were engineers.
12   would never be more than 21 million Bitcoins. That was    12   And that's where I said, "Well, you guys focus on the
13   guaranteed by math and cryptography.                      13   technology. That's fine if you want to do that. But
14         So that if the demand for Bitcoin grew,             14   I'm going to go focus on the go-to-market."
15   then the price of Bitcoin would grow, right? Supply       15         And my thesis was -- you know, Bitcoin was
16   stays fixed, demand grows. Price is a function of         16   trying to focus on the digital world. But the digital
17   supply and demand. So now, really, price is just a        17   world -- or, sorry. Let me correct that. Bitcoin was
18   function of demand. So that if -- you know, if we had     18   focused on the physical world. But the physical world
19   created Bitcoin, and we had set a big chunk of it aside   19   already had a currency. But in a way, we had our own
20   for ourselves at the beginning, then this could be a      20   digital world, you know.
21   fundamentally new business model where instead of using   21         In a way, we had our own digital country, a
22   our community to try to sell them something, or using     22   country where millions of people are showing up every
23   our community to sell their attention to somebody else    23   day and interacting with each other. But that digital
24   through the form of advertising, we could use our         24   world, one, did not have a currency. And two, we
25   community and get them to start transacting in this       25   could, as a the owners of that digital world, give them


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 1   currency, creating demand for the currency, growing the    1   and choose which currency they were going to use.
 2   value of that currency; and therefore, growing the         2      Q So the idea of -- because you, Kik, ran a
 3   value of the currency that we held. Okay?                  3   digital world, that solved the flaw you saw in Bitcoin?
 4         And so that was what got me excited about            4      A Yes.
 5   Bitcoin as a technology. And there was another thing       5      Q Why would people spend in a physical world?
 6   that got me excited about Bitcoin, which was at the        6      A Correct.
 7   same time, while Bitcoin was amazing, I also thought it    7      Q Okay.
 8   was fundamentally flawed. And I thought the flaw was       8      A Like, what would be the fastest way to get
 9   is that it had a very bad go-to-market as a heat           9   everybody in the world using Bitcoin every day, if the
10   currency.                                                 10   United States government said, "Hey, from now on, the
11         You know, everybody is talking about                11   only way to buy coffee is with Bitcoin." And then
12   Bitcoin. Oh, we're going to buy coffee with it and        12   everybody would go, "Oh, fuck. Okay. How do I" --
13   plane tickets and all of these different things where I   13   sorry. "How do I get Bitcoin? Because I really want
14   could already use dollars. So as a consumer, why would    14   coffee." Right?
15   I want to buy a currency -- a different currency to buy   15         Boom. Bitcoin would be super used
16   something when I could just buy it with the currency I    16   overnight. But, of course, the U.S. government is
17   already have?                                             17   never going to do that. They already have a currency.
18         And as a merchant, why would I want to              18   We could effectively do the same thing, but within our
19   accept a currency when I could just accept it in a        19   digital country. We could say if you want all of these
20   currency where -- the same currency that all my           20   things, the only way to get it is with what became Kik
21   expenses were in. And so for me, there's this, like,      21   Points. And so everybody would say, "Okay. Well, how
22   fundamental flaw where Bitcoin was this amazing           22   do I get Kik Points?"
23   technological and economic innovation, and yet, it was    23      Q So by 2011 or 2012, you had this vision or
24   fundamentally flawed in its go-to-market.                 24   idea that you see as a potential to monetize the Kik
25          And I actually went to a Bitcoin conference        25   community; is that fair?



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                                                     Page 66                                                               Page 68
 1      A I got very excited about the idea that this          1    when I think back to who I went to inside the company,
 2   could be a third option as a way for consumer apps to     2    I'm not -- like, a lot of this, I was just doing the
 3   make money.                                               3    thinking on my own. I might have talked to my
 4      Q Got it. Why not introduce a crypto in 2012           4    co-founder. I haven't asked him since then.
 5   then?                                                     5          He left the company sort of two years ago.
 6      A Or 2013, '14, '15, '16.                              6    I know I brought it up to him at some point, but I'm
 7      Q Sure.                                                7    not even sure when that was. Because the idea that
 8      A I think for a few reasons. So back then,             8    you're going to invent the third, meaning there were
 9   there wasn't the pressure to make money that there was    9    only two before it, business models for consumer
10   later. So I think that was one of it. Second is this      10   applications in history, and that business model is
11   Bitcoin thing was a brand new thing. Like, very few       11   you're going to launch a new economy around a new
12   people in the world understood what was happening with    12   currency, you're going to own a piece of that currency,
13   Bitcoin. I was in a room with 12 other people, like       13   and that piece you own will be your ultimate economic
14   the who's who in Bitcoin. And there's -- it's less        14   reward, today it seems straightforward, but even a year
15   people in the room than at this table.                    15   ago, it was, like, a crazy idea.
16         So it was a very new and novel idea. So I           16      Q It wasn't a tested or thought about
17   think while I viewed it as it could be a one day          17   business model in 2012, '13, '14?
18   solution, that it wasn't required today. And, in fact,    18      A Even today, when I talk to people in the
19   you know, I get excited about different options and       19   cryptocurrency industry today, lots of people do not
20   about the future. And that's something I'm very good      20   understand this.
21   at is sort of seeing the future early. But then I want    21      Q Okay. But I also take it part of what made
22   to confirm it for myself that it's viable.                22   the project emerge in 2017 and not 2012 is you were
23      Q What did that take with crypto?                      23   facing more pressure for monetization and pressure from
24      A So the logic for why crypto could work as a          24   investors; is that fair?
25   business model, the logic was very good. And the logic    25      A I'd say in 2012, it was a very crazy idea.


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 1   back then is the logic today, and it has proven to me      1    It's not a crazy idea we needed to pursue yet. It was
 2   to be totally true. But people always say, "Well, what     2    just sort of like what could be a third option one day.
 3   data do you have to validate your hypothesis?"             3    So for all of those reasons, I could sort of slowly
 4         You know, I'm a very gut-driven person, a            4    build my own internal case for why this made sense.
 5   logic-driven person. But when you're trying to             5        Q And it was -- it was you building the
 6   convince a group of investors, a team, all of these        6    internal case within Kik; is that right?
 7   different people, that, hey, of all our very small         7        A Correct.
 8   amount of resources that we're trying to allocate to       8        Q Were there any other people who were
 9   win and survive and build a business, that we should       9    championing the crypto project other than you?
10   spend some of those resources on this, you know. It's     10        A Internally?
11   not just a "Well, I thought it was a good idea."          11        Q Yeah.
12         And that becomes especially true when               12        A I'm -- it's possible -- again, I'm -- I
13   you're struggling. Then it's even more important to       13    believe the first person I told -- the first person I
14   have a bulletproof argument for why this is a good idea   14    told of our investors was Fred Wilson in 2016. Before
15   because people both outside and, more importantly,        15    that, I probably told Chris Best, but I'm not even
16   inside are naturally skeptical.                           16    certain of that. And then outside of him, I'm fairly
17      Q Let me make sure I understand that.                  17    sure I didn't tell anyone, or at least not until right
18         Is it fair to say that in 2012, had you             18    around when I told Fred.
19   gone to Kik's backers, its investors, and said, "I want   19        Q Chris Best was the co-founder of the
20   to pivot to crypto," it wouldn't have been a known        20    company?
21   tested thing in the world that they would have heard      21        A Correct.
22   about and embraced at the time?                           22        Q Okay. You were the driver of the Kin
23     A I didn't go to any of our investors at the            23    project, what became the Kin project?
24   time. In fact, the first investor I went to, to the       24        A Correct.
25   best of my knowledge, is Fred Wilson in 2016. And even    25        Q Okay. There's a project that I think you


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                                                      Page 70                                                     Page 72
 1   mentioned publicly before called Kik Points.                1      Q Right. So what was different between the
 2     A Uh-huh.                                                 2   future Kin project and Kik Points?
 3      Q What is Kik Points?                                    3        How were they different?
 4      A Kik Points was the first version of a                  4      A Got it. Like just -- they're different in
 5   currency inside of Kik. And what made it different          5   a bunch of ways. Like, where do you want -- that's a
 6   versus other currencies was -- there's lots of              6   big question. Like, technically, philosophically,
 7   currencies in apps, in-game currencies. But all of          7   strategically?
 8   those currencies are really just a proxy for dollars,       8      Q Yeah. Let's talk strategically. I take it
 9   you know. You buy 100 gems for a dollar, and then you       9   Kik Points, it was decided not to keep investing
10   spend your 100 gems, you know, one penny worth at a        10   engineering resources on it, correct?
11   time.                                                      11      A Kik Points was, again, these -- was testing
12           Whereas, what we want to do with Kik               12   these two hypotheses. One was that you could get a
13   Points, what I wanted to do with Kik Points                13   community transacting in a new currency that you didn't
14   primarily -- my primary goal, which I did not share        14   have to buy, you would earn and spend. And two was it
15   with, I believe, anyone else at the time, but if I         15   was a way to generate advertising revenue. I would say
16   shared it with anybody, it would have been Chris, was      16   it disproved the second hypothesis.
17   to test this idea of launching a currency inside of our    17         It was not a good way to drive advertising
18   community where it wasn't a currency you would buy and     18   revenue, at least not to the degree we needed to become
19   spend, but a currency that you could only earn and         19   profitable. But it was great way with smashing success
20   spend.                                                     20   of getting people to adopt a currency that they would
21           So there was no way to buy Kik Points. It          21   earn and spend.
22   was like its own little digital country. You could         22      Q Yeah. I think I saw maybe some of your
23   earn it and you could spend it, but that was it. It        23   public statements saying that the velocity of
24   was its own internal currency. That was my primary         24   transactions on Kik Points exceeded Bitcoin
25   goal of launching Kik Points. But, again, I'm -- you       25   transactions, right?


                                                      Page 71                                                     Page 73
 1   know, we have a long history of doing more with less as     1      A Correct.
 2   this little company that keeps surviving and keeps          2      Q People were using it. Was there a way to
 3   playing against these giants.                               3   transfer Kik Points into the physical world outside of
 4         We have to do more with less. And so I                4   Kik? In other words, trade Kik Points for dollars?
 5   knew that alone would not be enough. It was too crazy       5     A There was not.
 6   of an idea to convince people that this was worth           6      Q Was that a difference between Kik Points
 7   spending engineering and product resources on and legal     7   and what became the Kin project?
 8   resources on and all these different things. So there       8     A Yes.
 9   is a secondary benefit to Kik Points, which is it was       9      Q And is that important?
10   also a way -- a better way to get people to opt into       10      A What do you mean by "is that important"?
11   advertising. And that could generate revenue.              11      Q Is that difference, the transferability to
12         So, hey, we don't have a feed where we just          12   the outside world, did that make a difference in the
13   show ads. We don't want a feed because that sort of        13   success of the two projects?
14   goes against our philosophy for what we want Kik to be     14      A It made them different.
15   as a product. But what if who launched a currency that     15      Q Okay.
16   the only way to get certain things within the product      16      A So if Kik Points was a cryptocurrency but
17   was with that currency. And the way to get that            17   could never be traded for dollars, then it wouldn't
18   currency on day one was to watch advertising.              18   work as a fundamentally new business model for
19         So in effect, you know, now it's not just            19   developers. And it would also inhibit consumers
20   you're watching ads and you see none of that value for     20   because, you know, the goal was to prove that we could
21   yourself, now you're choosing to watch ads and you're      21   get the majority of people earning a currency.
22   getting paid to watch ads. And that could be great for     22         But then, certainly, there would be some
23   our users because they're opting in. It's their data.      23   people, like, "Hey, I don't want to watch ads. Is
24   They're monetizing their own data. But it could also       24   there just some way to buy this?"
25   be a revenue model for us.                                 25      Q Right.



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                                                   Page 74                                                         Page 76
 1      A And we would want to offer that as well.              1   the end of every of those interactions, you needed to
 2      Q And I take it Kik couldn't -- just with a             2   pay money. And so we looked at all the options. How
 3   project like Kik Points, other than generating limited     3   can we get money into the system, looked at all the
 4   advertising revenue, Kik itself couldn't monetize its      4   different partners we can integrate, like Stripe, et
 5   app, right?                                                5   cetera, or companies like them, to add payments into
 6     A Sorry. I'm not sure I understand the                   6   the system, add your credit card.
 7   question.                                                  7          We realized a lot of our users didn't have
 8      Q Yeah. Sure. I'm trying to explore what --             8   credit cards. We looked at doing our own credit card.
 9   Kin is transferable outside of the Kin project, for        9   I still have this very cool Kik branded Mastercard that
10   dollars or other currencies, right?                       10   we were considering launching. But what we realized
11      A Right.                                               11   with all of this is the current financial
12      Q Kik Points were not?                                 12   infrastructure was so complicated that we would show
13      A Correct.                                             13   Facebook, for example, how to make bots work, how they
14      Q I'm trying to understand if that -- if that          14   could change the world. But then we'd be so dragged
15   difference mattered or -- between the two projects.       15   down, and all of the things we would need to do to make
16      A I think it did matter. I think, you know,            16   the financial side work, that by the time we got those
17   the fact that Kik Points was not transferable made it     17   working, they would have long copied and crushed us.
18   not a business model for us or anybody else and also      18          So I think the other very cool thing about
19   slowed down the growth of the economy. The other piece    19   Kik Points and Kin is it was a way to add transactions
20   that comes into the factor here is, like, the money       20   to the ecosystem that we knew we needed to make the
21   transmission laws.                                        21   platform succeed, but in a way that was much sort of
22         You know, Kik Points, we could transfer             22   more efficient and cutting edge and we could move
23   because there was no in or out. And so that let us do     23   quickly on, and so that we could actually get in front
24   that and yet not be a bank. Whereas, now, with            24   and get to this escape velocity before Facebook could
25   blockchain, you can allow that transferability and also   25   copy and crush us.


                                                   Page 75                                                         Page 77
 1   not be a bank. So I think that was part of the -- that     1           MR. MITCHELL: What does "escape velocity"
 2   was part of the equation, too, is that it's not that we    2   mean?
 3   didn't want to launch transferability of Kik Points,       3           THE WITNESS: Escape velocity means that
 4   but that we could not with the financial technology.       4   you get to a point where -- so you're trying to launch
 5     Q Got it. I think this is outside of Kik                 5   something new. In software, anything can be copied.
 6   Points, but was there ever any discussion or               6   Increasingly, these big companies are blatant about
 7   exploration within Kik of the idea of using some kind      7   copying and aggressive. It used to be a bad thing.
 8   of dollars or Kik cash?                                    8   Oh, you don't want to copy. But now, they're like,
 9      A Yeah.                                                 9   yeah -- like, you know, when Instagram launched
10       Q Okay. Tell me about that.                           10   Snapchat's stories' clone, they were like, "Yeah, we
11       A You're discovering why Kin was, like, the           11   just copied it." They don't even pretend anymore.
12   killer win-win-win solution to a bunch of challenges we   12   It's just like, "Of course we would do that."
13   had. Because as we were -- you know, we talked about,     13           So escape velocity is this idea that you
14   you know, this is just, like, a totally separate arm of   14   can set up a new product and it starts going, meaning
15   a different problem we needed to solve. So I talked       15   it starts generating its own momentum. The network
16   about we were building this platform.                     16   effects start to kicks in such that by the time a
17          We're building a native platform, a web            17   competitor realizes what's happening and starts putting
18   platform, a bot platform. And all those -- many of        18   in place with their mass of resources of money and
19   these interactions for -- especially for bots would end   19   people, it is too late, they cannot catch the network
20   in, like, an exchange of money. We talked about being     20   effect, and so you have reached escape velocity.
21   able to walk into restaurants, scan the Kik code, tell    21           MR. MITCHELL: So just before I ask my
22   the bot what you want for launch, say, "Yes, I'll pay,"   22   question, the product you were talking about was the
23   and then, boom, your lunch just magically shows up.       23   Kin product, the Kin tokens?
24         This bot platform actually was a big reason         24           THE WITNESS: Kin was a tool. The product
25   why Tencent invested in Kik. But the challenge was at     25   I'm talking about in this case was the bot platform.



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                                                      Page 78                                                       Page 80
 1             BY MR. LEASURE:                                  1       A I would characterize that period as having
 2       Q But the same concept of achieving escape             2    increasing conviction that crypto was not only a great
 3   velocity to avoid being copied and crushed applies to      3    option, but would also become the only option.
 4   the Kin project, right?                                    4       Q For Kik?
 5       A In this example, if one restaurant had this          5       A For Kik.
 6   killer experience where you walk in, you scan the code,    6       Q Okay. There were more people -- there were
 7   like click, click, click, your food magically shows up,    7    more people interested in crypto in 2017 than there
 8   and then it's like an Uber, you just walk out at the       8    were --
 9   end, it was a killer experience. We had ran trials         9       A Yup.
10   with McDonald's and Burger King, for example. It was       10      Q -- right? And there were a lot of new
11   killer.                                                    11   digital projects on top of what Kik was exploring,
12             But at the end of those, you need to pay.        12   right?
13   Okay? "You want fries, a burger? Okay. It's                13      A Correct.
14   five bucks. Yes, you'll pay? Okay. Great. It's on          14      Q Okay. Would you say it was easier in 2017
15   its way." So in this case, you know, we could do one       15   than in 2012 to raise money for a new token project?
16   restaurant. But then we would need all of the              16      A I would say there was much more interest in
17   infrastructure in place to be able to get all the          17   cryptocurrencies in 2017 than there were in 2012, and
18   financial infrastructure in place so that people could     18   that there were certainly many more people buying
19   pay for these things, get all the restaurants on board,    19   cryptocurrencies in 2017 than 2012.
20   show them, "Hey, look at what's happening here."           20      Q That's fine. And in terms of that
21         They come on board. So now consumers are             21   interest, I want to see how you would characterize what
22   going into more restaurants and seeing Kik codes. So       22   was driving that interest in new crypto projects in
23   that's bringing in more consumers. More consumers          23   2017.
24   brings in more restaurants. They'll say, "Hey, look at     24      A I'm not sure I understand the question.
25   all of those other restaurants with all those              25      Q You said there's new interest in crypto in


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1    consumers."                                                 1   2017, correct?
2          And you're achieving this network effect              2      A Much more people were buying
3    and this escape velocity before Facebook just goes to       3   cryptocurrencies in 2017. There was much more interest
4    all the restaurants and say, "Hey, yeah, what Kik is        4   in the industry in cryptocurrencies in 2017.
5    doing is really cool. We'll give you a billion dollars      5      Q That's fine. Let me ask it in a better
6    if you can do it with us." Crushed.                         6   way. We see a term in some documents called "crypto
7       Q Right. So we talked about your early                   7   enthusiasts."
8    interest in crypto and applying it to Kik. You're in        8      A Okay.
9    the wilderness in 2011 or 2012 with a handful of people     9      Q Have you ever heard that term?
10   at a conference, I think you referenced, right?            10      A I have heard the term.
11      A Okay. I went to the conference because I              11      Q How would you characterize a crypto
12   was so excited about Bitcoin. It's not the other way       12   enthusiast at that time?
13   around.                                                    13      A Somebody who -- again, the industry was
14      Q Oh, no, I got you. Yeah, yeah. I'm trying             14   just forming. Many people had many different terms for
15   to move the camera forward to how the world changed by     15   many different things. I would describe that term as
16   early 2017.                                                16   people who were excited about the promise of blockchain
17      A Okay.                                                 17   technology and what it could do for society. And I
18      Q Around the time the Kin project is being              18   would describe it as people who were also buying
19   explored. How would you characterize the change that       19   cryptocurrencies.
20   happened from 2011 to 2012 to 2017?                        20      Q Okay. And they were buying because they
21      A How would I characterize the change?                  21   thought the future of crypto technology was bright?
22         Which change?                                        22      A Yeah.
23      Q Sure. Good question. The change in                    23      Q And there was more money coming into the
24   interest in crypto, change in interest in new digital      24   token market in 2017, would you agree with that?
25   assets, how would you characterize...                      25      A If the statement was there was more people



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 1   buying cryptocurrencies in 2017 than the amount of         1      A Okay.
 2   money buying cryptocurrencies in 2016 and so on and so     2      Q There's a concept in the documents and some
 3   forth, yes, I would agree with that.                       3   of the things you said called an ecosystem or the Kin
 4       Q It follows from people being interested?             4   ecosystem. Is that a term you're familiar with?
 5       A Yeah.                                                5      A Yes.
 6       Q Was that -- in terms of timing, because we           6      Q Okay. Tell me about the Kin ecosystem.
 7   talked about how you were thinking about crypto for        7          How does it -- how does it work or how is
 8   half a decade by that point, did that timing matter for    8   it envisioned to work?
 9   you in terms of a market being developed and a lot of      9       A The vision of the Kin ecosystem is hundreds
10   interest in crypto assets in 2017?                        10   or thousands or -- hopefully, we'll see how far this
11      A I think the most important thing it did for          11   goes -- tens of thousands of digital apps that all use
12   me was it allowed me to explain the idea to my            12   Kin as their native currency.
13   investors and my team with appearing less and less        13      Q So give me an example of an app and what it
14   crazy over time.                                          14   would do with Kin.
15       Q Okay. In 2017, it didn't sound entirely             15     A So Kik, for example, is an app. Anything
16   crazy to pivot to a crypto project?                       16   you wanted to do inside Kik, like the different chats
17      A Yeah.                                                17   you wanted to get into, different content you wanted to
18       Q Like it would have maybe in 2012?                   18   buy, if you wanted to get advice on something, anywhere
19       A It didn't pivot to a crypto project. It             19   where you're interacting with other people, Kin would
20   didn't sound entirely crazy that crypto could be our      20   be the currency you would do to facilitate the exchange
21   business model.                                           21   of that value.
22       Q Okay. That's one thing I want to be --              22      Q And is it solely -- in this vision, is it
23   this wasn't -- I'm going to refer to it as the Kin        23   solely digital or does it also interface with the
24   project if that's okay.                                   24   physical world?
25      A Yeah.                                                25     A I'm not sure where Kin will end up one day


                                                    Page 83                                                          Page 85
 1      Q Just to not get hung up on terms.                     1   and how much of it will be digital and how much of it
 2      A Yeah.                                                 2   will be physical. But certainly, it feels like the
 3      Q But this was a transition of Kik's business           3   best go-to-market for a cryptocurrency from our point
 4   model, correct?                                            4   of view is to focus on digital worlds.
 5      A This was increasingly going all in on a               5      Q Why is that?
 6   fundamentally new business model that was powered by       6      A It's the place where millions of people get
 7   crypto.                                                    7   together every day to exchange value with each other
 8      Q Got it. And "all in" was actually the term            8   where they do not have a currency, but where the owner
 9   I was thinking of. It wasn't sort of a side business       9   of that digital community could choose to introduce a
10   that you'd see would or wouldn't work. It was putting     10   currency.
11   the company into this new business model?                 11      Q Got it. And the ecosystem requires there
12      A I think it started as a side business,               12   to both be apps and producers of services and also
13   right? Like, with Kik Points, it was a side business.     13   consumers of those services, correct?
14   But as we got increasing conviction on the power of       14      A Correct.
15   this option and increasing conviction on the futility     15      Q Like any market?
16   of the other options, it became increasingly clear to     16      A Yeah. Well, maybe just -- why did I pause?
17   me that this was the best option.                         17   The cool thing about Kin is, you know, before -- like,
18      Q Okay.                                                18   what's the difference between Kin and in-app purchase,
19      A And so at -- and then at some point, it was          19   right? Why not just in-app purchase, like all of these
20   all in.                                                   20   other iPhone apps do?
21      Q We're going to walk chronologically through          21         In Kin, you no longer have to think about
22   2017 mostly.                                              22   what services you can offer as the community owner that
23      A Okay.                                                23   people would pay you money for. But now, you can
24      Q But I want to first talk about this sort of          24   simply set up marketplaces where consumers can exchange
25   big picture concepts behind the Kin project.              25   value with each other and do so in this cryptocurrency,



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 1   and you can take nothing for yourself. Right?              1      Q Okay.
 2         Like, hey, you know, you give fitness                2      A One of our values is we work hard to find
 3   advice to you. And in return, you gave 50 Kin to do        3   the win-win.
 4   that. And we, Kik, we facilitated it, but we took none     4      Q Got it.
 5   of it. But in doing so, you're getting people to use       5      A And we work very hard to find win-wins.
 6   this new cryptocurrency.                                   6      Q To make sure I understand that in this
 7          In doing so, that's creating more demand            7   context, is it right that the win-win-win there is that
 8   for this new cryptocurrency. And in doing so, because      8   Kik's interest as a holder of Kin are aligned with
 9   the supply is fixed, that's making the cryptocurrency      9   people who might hold Kin, that is with fixed supply,
10   more valuable for everyone, including us.                 10   people benefit when there are more transactions and the
11       Q Got it. And so the business model for Kik           11   value goes up?
12   is you don't have to get paid for that 50 Kin transfer    12      A I think this is -- there's many wins, and
13   directly, correct?                                        13   we can go through them one at a time, but this
14      A Right. Right. Because 50 Kin might be,               14   certainly is -- one of the wins is it's a currency.
15   like, a fraction of a penny.                              15   The supply is fixed. Nobody can create more. So not
16      Q Right.                                               16   just if Kik has some of that currency, not just if
17      A Right. We're like, oh, great, we got one             17   anybody else has some of that currency, but everybody
18   percent of a fraction of a penny. You know, good news,    18   who has that currency, as the economy grows, they all
19   we're profitable. Like, that wouldn't work. And that      19   win together.
20   was the problem with digital world is, like, the          20            Even, you know, Billy here who just
21   transaction fees were too high, the friction was too      21   transferred one Kin for fitness advice, even he --
22   high. And the money, the percentage or the value of       22   like, he has one Kin, there's only going to ever be so
23   those transactions was too low.                           23   much Kin, so he forever has one piece of the whole
24          But now, with cryptocurrency, by getting           24   thing.
25   millions, hundreds of millions -- hopefully, one day,     25      Q How do you -- but -- so in terms of


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 1   billions -- of people to use this new cryptocurrency as   1    building out this project, how do you attract people to
 2   their primary currency in this digital Kin ecosystem,     2    use this ecosystem? Why should I accept Kin as opposed
 3   that would create a ton of demand for the                 3    to anything else?
 4   cryptocurrency. Supply would be fixed, and that would     4       A Why should I accept Kin as who?
 5   make our piece of that cryptocurrency very valuable.      5       Q Let's say I'm a supplier of a digital
 6      Q Right. And so Kin -- Kik itself doesn't              6    service.
 7   have to take a piece of any of the transactions. It       7       A As a developer?
 8   sits, hopes that there is more demand. And because        8       Q Sure.
 9   it's, correct me if I'm wrong, sitting on a large pile    9       A I think there's -- well, maybe let's take
10   of its own Kin holdings, it can one day hope to make a    10   Kik, for example. Why would Kik accept Kin? And then
11   profit from that?                                         11   we can --
12      A It can hope to -- like, its Kin, that piece          12      Q Yeah.
13   it owns, becomes more and more valuable. It can sell      13      A -- generalize it to anybody else. One,
14   off pieces of that along the way to be revenue for        14   it's a fundamentally new business model for Kik.
15   other things it wants to do. And then whatever it has     15   That's part of it. It's a new way to generate revenue.
16   left at the end of the day, once this open source         16   As the asset gets more valuable, you can sell pieces of
17   ecosystem is built and runs itself like Bitcoin,          17   it to make revenue. But two, you make revenue in a way
18   whatever is left is the financial reward for the          18   that is fundamentally aligned with your consumers in a
19   shareholders.                                             19   way that advertising is fundamentally not.
20      Q And you used the phrase, I think,                    20            This was the piece that was very exciting
21   "win-win-win"?                                            21   to us and to me, is not only could we make money, but
22     A Yeah. Yeah. Okay.                                     22   we could make money in a way that was fundamentally
23      Q I want to make sure I'm getting all the              23   aligned with our consumers. In advertising, if anybody
24   wins.                                                     24   says, "Hey, would you take Facebook without ads," every
25     A Yeah, yeah. Lots of wins.                             25   single person would say yes.



                                                                                      23 (Pages 86 to 89)
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                                                   Page 90                                                          Page 92
 1         Whereas, with Kin, again, we're not taking           1   capture -- you know, when they grow demand for this
 2   any piece. We're not taking transaction fees. We're        2   currency by having it be the currency inside their app,
 3   not even selling things over time. We're just              3   they need to get the value from that. Otherwise, it's
 4   facilitating the exchange of value between consumers.      4   not a viable business model for them.
 5   And so it is actually now our goal not only not to         5         How could we set that up? How could we set
 6   extract value, but for -- to enable consumers to find      6   it up? Yes, you could go launch your own
 7   ways to extract value for themselves.                      7   cryptocurrency. But if you adopt Kin, you'll actually
 8         People could only spend a currency that              8   make just as much money, but you'll be part of a bigger
 9   they've earned. And it's only if they spend that the       9   ecosystem. And so that was the Kin Rewards Engine. We
10   demand is increased. And only if demand has increased     10   said let's set 60 percent of all Kin aside for any
11   that this is a successful business model for us. Ergo,    11   developer who helps us come build this economy.
12   our goal is to now get our consumers paid. That is our    12         Because as we said, like, when we say to a
13   fundamental goal now with this business model, is we      13   developer, hey, if you put this in your app, you'll
14   are only successful to the degree that we can get         14   grow a demand like this. That will grow the value of
15   consumers paid for the value they contribute.             15   Kin like this. And the Kin Reward Engine will look at
16        And that was, like, the killer win, is not           16   that and give you that value back. So there is no
17   only is this a new way to make money, a way that the      17   financial reason to do your own, and there's also a
18   monopolies cannot just take for themselves, but it's      18   very practical reason to band together and to compete
19   also in a way that makes the consumer experience          19   as one. I would think that was one thing.
20   better. We can do a service to direct consumers, not      20         But two is we also realized that if Kin
21   extract something for ourselves.                          21   were only ever used in Kik, it wouldn't work. Why? As
22      Q But, again, leave aside Kik, you want third          22   a business model. Why? Because while Kik Point --
23   parties to --                                             23   while Kin is on the blockchain, and therefore, there
24     A So let's generalize it now.                           24   could never be more, if only one, quote, unquote,
25      Q Please.                                              25   digital country is accepting it, and one day we decide,


                                                   Page 91                                                          Page 93
 1      A Is that your question?                                1   hey, Kin is great. There's never going to be more.
 2      Q Yes.                                                  2   But now we want a different currency. We're creating
 3      A Okay.                                                 3   Kin 2, the value of Kin would go away.
 4      Q Let's do.                                             4          There would be no more demand, nobody is
 5      A So killer solution for Kik, right? Like,              5   using it because the one country -- digital country,
 6   it's a fundamentally new business model for us in a way    6   that was using it is no longer using it. So we realize
 7   that fundamentally aligns with what our consumers want.    7   just from a business model point of view as well, this
 8   Win-win. Okay? But we realized two other things. The       8   needed to be an ecosystem where there were many
 9   first thing we realized was that if Kik needed this as     9   different digital countries all adopting it. So that
10   a billion dollar consumer app, that there would be many   10   if any one digital country decided to no longer support
11   other people who would need a similar third option.       11   it, that it wouldn't matter to the overall ecosystem.
12         It wasn't just us who was struggling,               12          So, again, a win-win where -- another
13   failing to compete with this monopoly called Facebook.    13   example of a win-win where every other developer --
14   It was actually everybody. And so if we needed this       14   almost every other developer out there needed this as a
15   business, this new business model for ourselves, there    15   business model as well. But by doing that, it made Kin
16   are probably lots of other developers that would need     16   as an ecosystem and as a currency stronger overall.
17   it -- out there that would need it for themselves also.   17          And then the third piece is it would also
18         And we said, well, okay, so probably a lot          18   let us all compete together as one against these
19   of other consumer apps would get to the point where       19   monopolies like Facebook because now we're all trying
20   their only option is to launch a cryptocurrency as        20   to drive demand for the same currency. We're all
21   well. Well, that's not going to be good because then      21   working together to do that through our own independent
22   consumers will have all these different currencies in     22   efforts. And if we -- so we can all take on Facebook
23   all these different apps.                                 23   as one. And if we do that, we all win as one as well.
24         But at the same time, for it to be a                24      Q So all parties in this ecosystem have an
25   business model for themselves, they're going to have to   25   interest in -- including Kik, have an interest in



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 1   increasing the velocity and the amount of transactions     1   I call him, I say, "I feel very bad for you. Good
 2   that happen over time?                                     2   luck," click. That's all I can do. All I can do is
 3      A Correct.                                              3   say, "I feel bad for you. If you need a shoulder to
 4      Q Okay. And their -- and the goal of the Kin            4   cry on, give me a call. I'm here for you, buddy. But
 5   project, correct me if I'm wrong, is to, through           5   good luck."
 6   network effects, build up such interest in this            6      Q I have to ask: Did you make that call?
 7   ecosystem that it's immune from a copy and crush by a      7      A I did not make that call.
 8   larger competitor?                                         8      Q Okay. Continue.
 9      A This was the -- I have ten years' almost at           9      A I don't think --
10   this point experience of being copied and crushed, and    10      Q Are you sure?
11   it's painful. And every time somebody has tried to        11         (Discussion off the record.)
12   tell me, "But they won't copy this," every time, you      12         THE WITNESS: Why is crypto so exciting?
13   know, for years, "Wow, that's amazing. It's crazy.        13   Why is Kin so exciting for me? Because for the first
14   It's amazing. It's so innovative. They're such a big      14   time ever, we can work and defend as one. Let me
15   company. They're not going to copy this," and every       15   explain. Facebook is going to launch its own
16   time, they do. Every time, they do.                       16   cryptocurrency one day. I can almost guarantee it. I
17         And so this time, people -- "Facebook is            17   would be shocked if they don't launch Face Coin one day
18   not going to get into crypto. It's crazy. They don't      18   or whatever they'd call it.
19   need to. They have advertising." Blah, blah, blah.        19         And I bet you it will be set up very
20   "They won't copy this." And I'm like, if there is a       20   similarly to Kin in almost every respect. But this
21   big opportunity to build value for consumers, to build    21   time, what is so interesting about this is we can work
22   value for themselves, it doesn't matter how crazy it      22   together as everybody else, as everybody who's been
23   is, they're going to try to copy and crush.               23   screwed by Facebook over the years. Because before,
24         And so Kin has been set up from day one in          24   it's like there's nothing I can do to help you except
25   anticipation of the moment when Facebook enters the       25   say "good luck."


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 1   ring to try to copy and crush once again.                  1         But now it's saying, listen, Facebook is
 2      Q And how has it been set up?                           2   putting their currency into all of their apps. But now
 3      A This is the most beautiful thing. At the              3   we can put our currency into all of our apps, and our
 4   end of the day, you want the expert level understanding    4   combined economy across all of these apps can compete
 5   of Kin and crypto. Kin is a new currency. Kin is a         5   with their economy. And actually, not only compete
 6   new business model. But Kin is a new way to work           6   with it, but potentially beat it. And I think the
 7   together. Crypto is a new way to work together. Let        7   analogy here is this is the way the Euro competes with
 8   me explain.                                                8   the RMB.
 9        Historically, anything we can build,                  9           It's saying -- the RMB is like, listen,
10   Facebook can copy and has. Our app platform, our bot      10   that's the currency of that major economy over there.
11   platform, our web platform, many of our features inside   11   But if we all band together, together, combined, our
12   the app, copy, copy, copy. Snapchat, they built           12   economy can be even bigger. And so what's so exciting
13   stories. It's a new thing. Now stories are growing        13   to me that this is not only just a new business model,
14   faster than the feed in Facebook. Like, it was a          14   it's not only fundamentally aligned with our consumers,
15   fundamentally new innovation that would change the        15   all those things could be also true for Facebook or
16   world. Copy, copy, copy.                                  16   anybody else.
17         In each of those instances, the company             17         But who -- which currency wins and which
18   being copied -- Kik, Snapchat, whoever it is -- would     18   currency loses will be decided by the digital
19   have to defend themselves against the monopoly on their   19   communities that adopt it. And so now, I can say to
20   own. Okay? Let me -- let me explain. Snapchat.            20   all of these other digital communities out here, you
21   Instagram puts stories into Snapchat. Stories has now     21   can make just as much money, build just as great a
22   wiped out Snapchat. Snapchat is now declining in its      22   consumer experience for your users.
23   users. What do I do? How can I help Evan?                 23        But by adopting, you make just as much
24         I feel bad for Evan Spiegel, the CEO of             24   money. The only difference by adopting our
25   Snapchat. I feel bad because I've been there myself.      25   cryptocurrency versus their cryptocurrency is that in



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                                                       Page 98                                                       Page 100
 1   our world, we win if you adopt ours. And if you adopt       1       Q Right. And that was one of the marketing
 2   theirs, in their world, they win. And so it's like you      2    pitches of the Kin offering, right?
 3   could -- like, everything is the same. Same user            3       A That's one of the reasons we thought this
 4   experience. Same money you're going to make. The only       4    was a killer business model, not just for us, but for
 5   difference is Facebook wins or loses.                       5    other developers as well.
 6         And all of these guys are going to say,               6       Q Got it. But the key to defeating a future
 7   "Right, it's identical, and the only difference is          7    Facebook Coin --
 8   Facebook loses. Yeah, I'm going to take that on if          8       A The evil empire.
 9   Facebook loses." And so this to me is like -- the           9          (Discussion off the record.)
10   thing that's emerging, that people are starting to          10         BY MR. LEASURE:
11   understand, like, we have all these developers gone         11      Q The key to defeating it, though, I take it,
12   live with apps now, is it's in everybody's best             12   from what you're saying, is network effects, building
13   interest to work together.                                  13   up a strong enough community that through self-interest
14         Why? Because you own a bunch of Kin. I'm              14   would rather not adopt Facebook Coin, but would rather
15   going to work selfishly to get Kin more adopted in Kik,     15   keep with Kin?
16   to make my Kin more valuable. But in doing so, I will       16      A Correct.
17   make everybody else's Kin more valuable as well. And        17      Q Okay. We're going to walk through time.
18   the same is true for them. And so it's the first time       18   But does that community exist today in your view?
19   forever that all of these consumer communities that         19      A I think it's a gradient. Like, the
20   have been unfairly copied and crushed for years by          20   community keeps growing and growing and growing. Like,
21   Facebook can band together and win and compete as one.      21   community members who are helping, like, evangelize Kin
22         BY MR. LEASURE:                                       22   to their friends, community members who are developers,
23      Q But based on what you're saying, this                  23   who are building apps. Like, the community today is
24   vision of a group banding together and enough scale to      24   bigger than it was yesterday.
25   compete with Facebook, it seems like you're in a race       25         And I hope that will continue to be true


                                                       Page 99                                                       Page 101
 1   against time, then, to achieve that scale before F Coin      1   until this is one of the largest ecosystems and
 2   or Face Coin is introduced, right?                           2   communities in the world.
 3      A It's always -- everything in life is matter             3       Q Okay. Comparing it to Kik Points, is one
 4   of time.                                                     4   of the differences between Kik Points and the Kin
 5      Q No, I understand. But to press on that,                 5   ecosystem the ability to transfer value out of the
 6   Kin is introduced in September of 2017 to the broader        6   community, that is to fiat dollars or other cryptos?
 7   market, correct?                                             7     A That is a difference and one of the key
 8     A Correct?                                                 8   things that makes Kin a viable business model where Kik
 9      Q And at that time, it was not capable of --              9   Points was not.
10   there wasn't an ecosystem in place to compete against       10       Q Right. Both for Kik, I take it.
11   F Coin or Facebook Coin, if it came out in                  11       A For Kik and for every other developer and
12   September 2017, right?                                      12   also for consumers.
13      A I think it's a gradient, right? It's like              13       Q Right. A developer ultimately might want
14   a network effect thing. Like, the more people that          14   to extract the value it gets and turn it into dollars
15   join, the more people that will join, the more people       15   to pay their employees?
16   that will join, and on and on and on. And this is the       16      A Yes.
17   exciting thing about, like, cryptocurrency as a             17       Q Okay. How would you characterize the role
18   business model. It's like the more people that join,        18   of Kik, the company, in the Kin ecosystem?
19   the more enticing it is for everybody else to join.         19      A I think what we were to Kin is what Satoshi
20         And that was one of the exciting things               20   Nakamoto, whoever he, she, or they are, is to Bitcoin.
21   with Kik and Kin, is we're saying, hey, if, you know,       21   This was our brainchild. You know, we wrote the first
22   Kik -- Kin has a bunch of things, it's a cryptocurrency     22   lines of code. We launched the ecosystem. We were
23   on the blockchain, and it has one consumer app for sure     23   sort of the first ones in.
24   that is all in on it, and it's a big consumer app           24       Q Is that it?
25   called Kik.                                                 25       A Yeah. I think there's a lot of



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                                                    Page 102                                                      Page 104
1    similarities between the two.                              1   group?
2       Q No. Obviously, he or she or they are                  2       A Yeah. That was one of the programs that
3    important people in the history of Bitcoin. I'm            3   employees of Kik put together.
4    asking: Is that the only role Kik, the company, has in     4       Q Got it. Who runs that?
5    the Kin ecosystem?                                         5       A There's different people involved. But I
6       A The question is what other roles does Kik             6   would say -- so it's sort of like a transition. I
7    have, if any, in the ecosystem? Kik also owns Kik, the     7   think it was first run by a woman by the name of
8    messenger. So they could say, "Hey, this is going to       8   Natasha. She's since gone on a mat leave. So I don't
9    be our currency in our app. We're sort of" -- "We're       9   know for sure, like, who would be the official leader
10   going to go first."                                       10   of it now. And then we have different squads.
11            I think that's, like, a powerful statement.      11          One of the squads is building the developer
12      Q So an early adopter?                                 12   experience. That's run by a lady by the name of
13      A Yeah. That's a good way to put it, I                 13   Ayelet. One of them is like -- almost like running a
14   think.                                                    14   consultancy. It's run by a woman by the name of Noa.
15      Q Okay. What else?                                     15          MR. LEASURE: Okay. We need to take a
16      A I think we were going to help set up the             16   brief break.
17   Kin Reward Engine. We set up an independent -- what       17          MR. MITCHELL: Actually, one more question.
18   became an independent foundation to actually oversee      18          Why is Kik doing that?
19   the Kin reserves, the 6 trillion Kin. But like all of     19          Why is Kik trying to recruit developers?
20   these things, they have to start somewhere. So we         20          THE WITNESS: I think this is, like, the
21   could help -- we could propose a Kin Reward Engine        21   cool thing about cryptocurrencies, is when everybody
22   algorithm, which they could choose to fund or not fund.   22   has a stake, if they're operating in their own selfish
23            So I think that's one of the things Kik is       23   best interest, they're trying to get more people to use
24   doing. And just be all-around advocates for the           24   the cryptocurrency because that will make their
25   project.                                                  25   currency that they own more valuable.


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 1     Q And in terms of being all-around advocates,            1         But in doing so, they're also benefitting
 2   does Kik have a role in -- not only in just being an       2   everybody else who owns that currency. So we are
 3   earlier adopter, but in otherwise evangelizing or          3   operating in our own selfish interest, but everybody
 4   spreading the word about the ecosystem?                    4   else is independently operating in their own selfish
 5       A I think on that one, everybody has a role.           5   interest as well. But in doing so, we are actually all
 6   I think this is, like, one of the powers of                6   operating in our collective self-interest and best
 7   cryptocurrencies, is everybody owns some of the            7   interest. That's the coolest thing about crypto.
 8   currencies. So everybody is evangelizing it.               8         MR. MITCHELL: This recruiting effort is
 9      Q But Kik does that?                                    9   part of that?
10      A Yeah. Kik does that for sure.                        10         THE WITNESS: We're operating in our own
11      Q Kik has a program to do that?                        11   selfish best interest because if Kin is the most used
12      A Kik creates programs to do that.                     12   cryptocurrency in the world, then our Kin is going to
13      Q I'm sorry. Let me ask. Program is a --               13   be very valuable.
14      A Yeah.                                                14         MR. MITCHELL: Thanks.
15       Q It can mean different things. There                 15         MR. LEASURE: Let's take a video break.
16   is a -- is there a business unit within Kik, the          16         THE VIDEOGRAPHER: This ends Disc Number 1.
17   company, whose job is to evangelize or promote the        17         Going off the record.
18   ecosystem to third parties?                               18         The time on the monitor is 12:01 p.m.
19       A There is a division within Kik whose job            19         (A brief recess was taken.)
20   it is -- there's multiple divisions within Kik to get     20         THE VIDEOGRAPHER: This begins Disc
21   developers to adopt Kin.                                  21   Number 2. We are back on the record.
22      Q I'm literally blanking on the name right             22         The time on the video monitor is 12:03 p.m.
23   now. The developer --                                     23         BY MR. LEASURE:
24     A Program.                                              24      Q We're back on the record after a brief
25      Q -- program. Is that the name of that                 25   break during which, Mr. Livingston, did you have any



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 1   substantive conversations about this investigation with     1   developers?
 2   SEC staff?                                                  2      A I'm sure we probably had -- I can't
 3      A I did not.                                             3   remember anything specifically. I'm trying to think
 4      Q Okay. We've been talking about the Kin                 4   back. I'm sure we had goals, you know. Again, this is
 5   ecosystem. Has Kik ever tried to identify in writing        5   not -- Kin doesn't exist in a vacuum. One day, there
 6   the specific criteria for the Kin ecosystem?                6   will be Facebook Coin. And so we want to put as much
 7      A I'm not sure what you mean.                            7   pressure on ourselves to contribute as much as we can
 8      Q Sure. Has it ever tried to put down in a               8   to Kin to get it to the escape velocity before Facebook
 9   document what the Kin ecosystem will look like?             9   enters the ring.
10      A I think we've tried to explain our vision             10      Q Has there ever been any desired -- I'm
11   for what we think the Kin ecosystem could look like,       11   talking about desired metrics for the Kin ecosystem in
12   what we would want it to look like. I would say we've      12   terms of numbers, what it looks like. Has there ever
13   done that.                                                 13   been any such desired metrics shared outside of Kik?
14      Q And what document or documents do you have            14      A Maybe you have something specifically
15   in mind?                                                   15   you're thinking about, but I don't know. I can't think
16      A Like, I think we, for what, a year and a              16   of any specific metrics. Like, we want, you know, 48
17   half now, or however long it's been, have been trying      17   developers with Kin by this date. Like, we want as
18   to get the world to see what we see, the opportunity       18   many as possible as fast as possible. And so I'm sure
19   here to make money as developers in a way that's better    19   we set goals at some point. I'm not sure what those
20   for consumers, and then all work together and compete      20   goals were, who they would have been shared with. So I
21   against these monopolies as one.                           21   can't recall specifically.
22          And so in doing so, we've done lots of              22      Q That's fine. And I have no -- I'm not
23   conferences. We wrote a white paper. We created a          23   hiding a specific document I have in mind, just to be
24   website. Various things.                                   24   clear.
25      Q And so those laid out the vision of a Kin             25            Kin project has been public for a year and


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 1   ecosystem?                                                  1   a few months, correct?
 2      A Yeah. I think, you know, there's like --               2      A It was announced in May of last year, May
 3   for example, the white paper, right? The white paper        3   or June. I think May.
 4   was created by different pieces by different people.        4       Q And then tokens were distributed in
 5   So it's sort of different people's interpretation of        5   September, correct?
 6   the vision at that time in their area.                      6     A Yeah.
 7         But, you know, the vision is an evolving              7     Q Okay. So in that year and a few months, do
 8   thing because this is a brand new sort of technology,       8   you think the goals of the Kin ecosystem within that
 9   business model, economic framework, et cetera.              9   time frame have been met?
10      Q Understood. And aside from vision, were               10      A The reason I'm thinking about this is,
11   there any documents ever created that laid out things      11   like, you know -- and your question, like, which goals,
12   like metrics for a Kin ecosystem?                          12   what goals? Like, the goal of Kin is to write a new
13      A In what way?                                          13   business model for developers to provide a new way to
14      Q Sure. So, for example, a desired number of            14   create value for consumers, and for them to share in
15   suppliers of goods and services, a desired number of       15   that value, and to be the most used cryptocurrency on
16   buyers or transactions that would happen.                  16   the planet.
17      A I'm not sure. Maybe there were. I'm just              17          So in terms of achieving those goals, it's
18   laughing because, like, the answer to those is the         18   not a binary thing, like check, we did that. Like, I
19   desired number is all of the developers. And the           19   think it's -- like, it's, you know, something we will
20   desired number of consumers is all of the consumers.       20   always be striving for until every developer on the
21   And the desired number of transactions is all the          21   planet is using it. So have we achieved that goal?
22   transactions. So I'm not sure.                             22         Is every developer on the planet using Kin
23      Q Okay. But prior to conquering the world,              23   as their business model and every consumer on the
24   has there ever been a document that lays out by 2019, a    24   planet is using it as the medium of exchange in all
25   goal would be this number of transactions, consumers,      25   those apps and it's the most used cryptocurrency in the



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                                                 Page 110                                                           Page 112
 1   world? Like, no, we haven't achieved those goals yet.     1    think it's -- we're actually used more. Why? Because
 2      Q Understood. How do you feel about the                2    a lot of the blockchains above us are just doing test
 3   progress of the project so far?                           3    transactions back and forth or just doing needless
 4     A I feel amazing about it.                              4    operations. Whereas, Kin is only reporting real
 5      Q Okay. And what do you think has                      5    user-driven earn and spends, consumer-driven earn and
 6   contributed to the success of the project in your view    6    spends.
 7   today?                                                    7          I think if -- for example, if you could
 8      A I think the number one thing that is                 8    separate out all of the people just speculating on
 9   contributing to the success of Kin is the amount of       9    cryptocurrencies, not the people actually using it, if
10   time we have spent, I have spent thinking about this,     10   you could look at just the number of people that spent
11   understanding it, and being able to explain that vision   11   it each month, spent it, that Kin would already today
12   to the rest of the world so that the rest of the world    12   be the most used cryptocurrency in the world.
13   can say, "Holy shit" -- sorry.                            13      Q Got it. And that was what I was going to
14         So the rest of the world can say, you know,         14   ask. The data wouldn't distinguish between people
15   "This could work, and I want to be part of this."         15   speculating on a cryptocurrency versus buying and using
16   That's the number one thing. I think a lot of             16   the cryptocurrency?
17   people -- you know, again, let me rewind, right? I've     17      A On most blockchains, no.
18   been thinking about this since 2011. There was only       18      Q Okay. And are you otherwise aware of a
19   one cryptocurrency in 2011. That was Bitcoin.             19   data source that would break out trading in Kin between
20         I think Ethereum came out in 2013, 2014. I          20   speculators versus users of the cryptocurrency?
21   have been thinking about this longer than most -- like,   21      A Am I aware of -- so on the Ethereum
22   almost anybody in the world, not just from a              22   blockchain, no. On the Kin blockchain, because it's a
23   hypothetical technology point of view, not from some      23   test blockchain right now, all of them would be utility
24   anarchist point of view, but from a very practical        24   usage, I believe.
25   point of view of how this could fundamentally change      25      Q There is a test Kin blockchain right now?


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 1   the game for developers and consumers. And so I            1       A Yeah, which is the fork of the Stellar
 2   think -- like even today, I talk to people in the          2   blockchain.
 3   industry.                                                  3       Q Got it. And who is -- it's a test; it's
 4         I listen to podcasts with other projects.            4   not in use right now?
 5   And I say, "Buy how are you going to get people to use     5       A It's in use. But it's sort of like, you
 6   it?" And to this day, almost nobody has an answer.         6   know -- so Kin was launched on the Ethereum blockchain
 7   And so I think the biggest thing is we explain how         7   as an ERC-20 token. People could start using it there.
 8   we're going to get people to use it. People go, "Wow,      8   People did use it there. But the problem with Ethereum
 9   I've never actually heard somebody explain how you         9   is it has very low scalability and very high fees.
10   could get a consumer using a cryptocurrency before."      10          So back to our fitness advice. Example, I
11            And I think that's been the most valuable        11   want to tip you 50 Kin. On Ethereum, I would have to
12   thing.                                                    12   pay a transaction fee of something like 50,000 Kin,
13      Q Okay. In terms -- do you know how many               13   maybe more, ballpark. So I'm going to give you 50 Kin,
14   transactions are taking place with Kin today?             14   and then pay this 50,000 Kin transaction fee. Oh, and
15      A Not off the top of my head.                          15   by the way, if more than just a handful, like a couple
16      Q Do you have access to that data?                     16   of thousand people try to do that, the whole thing
17      A It's a bit of a complicated question                 17   would grind to a halt.
18   because today Kin is being used across two blockchains.   18          So what we said is, okay, well, that's --
19   One is the Ethereum blockchain, and one is a fork of      19   you know, that's -- we started there, it worked. But
20   the Stellar blockchain. But, for example, there's a       20   it's not going to get us where we need to go. So what
21   website, blocktivity.info, that looks at transactions.    21   are all of the options? So we looked at the other
22   It's looking at transactions not on the Ethereum          22   blockchains. We said Stellar is the best for sort of
23   blockchain, but just on the fork of Stellar blockchain.   23   high scalability. But we said -- but there's still
24         And I think in there, Kik is the number             24   problems with fees on Stellar. It's very complicated
25   10th or 9th most used cryptocurrency. Actually, I         25   for a consumer.



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                                                  Page 114                                                     Page 116
 1         So we took that code. We called what's --           1   thousands of developers, Ethereum could not handle that
 2   forked it. Meaning, we copied and pasted it and           2   and there was no foreseeable path when it would be able
 3   basically tweaked it now and changed it. We needed it,    3   to handle that.
 4   so that's now fee-less. And now, for example, all of      4         MR. MITCHELL: And that was the path that
 5   the apps in the developer program, their Kin in those     5   sort of you had laid out in the white paper to get lots
 6   apps is running on this new blockchain.                   6   and lots of people to use it?
 7      Q And just so we're clear, who's the "we" in           7         THE WITNESS: Yeah. We -- I think -- I am
 8   that? You said "we."                                      8   not exactly sure what we said in the white paper. I
 9      A There's a team in Tel Aviv who are                   9   remember the advice I was giving to the person who was
10   employees of Kik Interactive, Inc. --                    10   writing it, who I can't even remember who that is right
11      Q Got it.                                             11   now, is like what are all of the options, is the
12      A -- who set up that new blockchain.                  12   exercise we're going to go through. Like, we can start
13      Q When we were talking about personnel                13   here. It will work here. But as of right now, we're
14   earlier as of 2017, in my imagination, Kik itself, the   14   probably going to have to iterate on it, as any
15   company, has somewhat had to change personnel-wise, I    15   technological project would have to do.
16   imagine. Let me put that in a better way.                16         MR. MITCHELL: And the "work here," you
17         Have you guys hired blockchain                     17   mean work on the Ethereum blockchain?
18   technologists?                                           18        THE WITNESS: Sorry. When did I say "work
19      A We've hired lots of different people, yeah.         19   here"?
20      Q Sure.                                               20         MR. MITCHELL: You just said "work here."
21      A Yeah. Some of which are blockchain experts          21          What did you mean by "work here".
22   for sure.                                                22          THE WITNESS: Kin as a cryptocurrency could
23      Q Yeah.                                               23   work as a currency. It could run as a currency that
24      A But I -- the only reason I'm hesitating,            24   people were using to -- and it's way similar to Kik
25   we've hired lots of people. Some of those are            25   Points. It would work on Ethereum.


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 1   engineers. Some of those engineers have experience        1         MR. MITCHELL: But you would probably have
 2   with blockchains, some do not. Like, there's lots --      2   to make changes?
 3   when people say "blockchain," it's, like, a very big      3         THE WITNESS: That -- we wouldn't have to
 4   word. It means a lot of different things. And a lot       4   make changes. But if we wanted it to -- for example,
 5   of people are claiming they're experts.                   5   like, Ethereum hasn't made changes. There's apps on
 6            Like, really, we look for smart people who       6   the Ethereum platform. You hear about CryptoKitties
 7   have a passion about blockchain because, you know,        7   and Augur. Those apps have hundreds of active users.
 8   we're doing things that are different than most of the    8         Like, we could all get CryptoKitties today
 9   projects.                                                 9   and we would have a significant impact on the number of
10      Q Got it. And I don't want to use a loaded            10   people using CryptoKitties today.
11   term. I take it, though, Kik has hired some people to    11         MR. MITCHELL: Just a dozen people?
12   work on blockchain-related tech projects?                12         THE WITNESS: Just a dozen people. And so
13     A Totally.                                             13   it could work if we just left it on Ethereum. But it
14      Q Okay.                                               14   would not be able to achieve the vision we had, the
15       MR. MITCHELL: Earlier, I think you said              15   very big vision we had for what Kin could become if it
16   that people got an ERC-20 token at the beginning, and    16   were to stay on Ethereum.
17   that it worked on Ethereum, but that wouldn't get you    17         BY MR. LEASURE:
18   where you wanted to go?                                  18      Q So correct me if I'm wrong. We've been
19            THE WITNESS: Uh-huh.                            19   doing a high-level discussion of the vision and how the
20            MR. MITCHELL: Did I -- do I have that           20   ecosystem does or will work. Is it right that a goal
21   right?                                                   21   that Kik shares with its partners in this ecosystem is
22            THE WITNESS: It validated that we could         22   to increase the velocity of transactions using Kin?
23   build a currency that people could use and that          23      A I'm not sure if the goal is velocity of
24   currency would run on the blockchain. But if we wanted   24   transactions. The goal of Kin -- like, the value of
25   that currency to be used by millions of people and       25   any cryptocurrency is a function -- the value of any



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 1   asset is a function of supply and demand. We lock the      1   flashy websites, flashy white papers, lots of Ph.D.s,
 2   supply in cryptocurrencies. That's the fundamental         2   things that are very complicated that you can never
 3   innovation. So price is a function of demand.              3   understand, but just trust us. Most of the projects,
 4         So the Kin that we all hold at the end of            4   like, what I listen for, you know -- because I can
 5   the day is a function of demand. So our goal               5   listen to podcasts with a lot of the founders of these
 6   economically is to maximize demand. How do we maximize     6   other projects.
 7   demand? There are two ways to create demand. There is      7          Yes, I listen for it. But how are you
 8   people buying it to use it, and people buying to           8   going to get people to use it? And it seems that
 9   speculate on it. Almost every other cryptocurrency         9   almost all of these projects, nobody talks about that.
10   project out there is purely focusing on speculation       10      Q Because you assume they don't really have
11   side. If you look at Ethereum, nobody is using it.        11   an idea or a plan for the people who use it?
12         So how could there be real demand? With             12      A They're very smart, nice people, so
13   Kin, we said we want to be the one project that is        13   maybe I --
14   purely focused on driving real demand. Real demand can    14      Q You're not giving their name.
15   only come from two places. It can come from people        15      A I'm not sure if they know -- understand
16   buying it to use it. Hey, instead of me doing all this    16   that that's important, but -- like, it might be a case
17   work to earn some Kin, can I just buy it somewhere and    17   of sort of, you know, "Yeah, you're right. But right
18   take a shortcut? Or people who earn it from somebody      18   now, we're focused on the technology. And once we have
19   who bought it to hire them.                               19   the technology, then we'll think about that, but it's
20         So as a brand, I'm going to want people to          20   not yet ready."
21   watch my ad. There's millions of people in this Kin       21          And this is what, you know, the lead
22   thing, but the only way you can hire them is you pay      22   developer in Bitcoin told me in 2012. This is what
23   them in Kin. How do I get Kin? Oh, you can go buy it      23   people had told me all the way through. Well, how can
24   here. So it's only when people are buying Kin for         24   people use it when the transaction times are so long?
25   dollars in order to use it or to hire somebody who        25          How can people use it when the fees are so


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 1   wants to use it that it's creating real sustainable        1   high? How can people use it when these are experiences
 2   demand, and therefore, real sustainable increase in the    2   so poor? Once we solve those things, then people will
 3   value of Kin.                                              3   use it. But there is another thing you need to solve,
 4      Q So if it was just speculators buying it to            4   is, like, the logic of Bitcoin is flawed. People are
 5   hold it, that wouldn't create increased transactions       5   not going to spend Bitcoin on things that they could
 6   and increased demand?                                      6   more easily get with dollars.
 7      A Correct. Maybe -- if only people were                 7      Q I understand that. But you were seeing in
 8   buying it to speculate it, which is the truth for          8   2017 a lot of projects going on around you, crypto
 9   99 percent of these projects, one day, those projects,     9   projects being pitched to speculators?
10   like in the dot-com, from my point of view, will get      10      A I saw a lot of projects showing their
11   wiped out.                                                11   vision for the future of what could be possible,
12      Q At some point, there has to be actual                12   creating new cryptocurrencies, and selling some of
13   transactions and demand?                                  13   those cryptocurrencies. And for the most part, I
14      A Even the people in crypto, the large                 14   thought, like, most of them really didn't understand
15   majority of the people in crypto do not understand        15   what was going on.
16   crypto.                                                   16      Q And you thought those projects, unless
17      Q And so you said 99 percent of the other              17   there's actual use and demand in future, would go to
18   projects going on were being bought by speculators; is    18   zero?
19   that correct?                                             19       A I thought that if there was no real demand
20      A I said 99 percent of the other projects are          20   at some point, then, like, people, as they are today --
21   focused on speculators.                                   21   like, we're in a, quote, unquote, crypto bear market
22      Q Focused on. I see.                                   22   today. Like, to me, that makes total sense. In fact,
23          From the people selling the tokens, they're        23   I think it should be way lower as a cryptocurrency
24   focused on identifying speculators?                       24   market today. Ethereum, people are saying that
25      A They're focused on hyping their projects;            25   currency is worth $20 billion, or whatever it is, and



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 1   nobody uses it.                                                1   anything is the world needs this.
 2      Q Right.                                                    2      Q Okay.
 3      A So what I'm -- like, already today, we're                 3         MR. MITCHELL: When you say the world needs
 4   seeing people realize, wait a second, nobody is using          4   it, you mean the world needs something that can compete
 5   these things.                                                  5   against these monopolists, duopolists, large companies?
 6      Q Right. And absent -- again, just to finish                6         THE WITNESS: Yes.
 7   the thought, absent some day where people are using            7         BY MR. LEASURE:
 8   these things, these things don't have intrinsic value?         8      Q So there -- you would agree that there were
 9      A If people aren't buying them to use them or               9   people with all sorts of motivations to buy
10   buying them to hire somebody who wants to use them,           10   cryptocurrencies in 2017, right?
11   then there would be no real demand, and therefore, no         11      A Yes.
12   real value.                                                   12      Q And you can't possibly know what every
13      Q Got it. But the speculators out there in                 13   single person wanted to do, right?
14   the crypto market, would you agree that they're betting       14      A Yes.
15   that one day there will be demand for one or more of          15      Q And you would agree that there were some
16   these projects?                                               16   people who for better or for worse were speculating on
17      A Maybe we should define the term                          17   the hope that they could make money off of a
18   "speculators."                                                18   cryptocurrency, some?
19      Q Sure.                                                    19      A I think there were some people who would
20      A There's a lot of people buying                           20   buy one cryptocurrency. They would see the value of it
21   cryptocurrencies. And I think for many of them, they          21   go up. They would say, "Wow, that was great. I'm
22   don't know -- like, it's unclear what -- I think              22   going to buy another cryptocurrency." For sure, those
23   it's -- their motivation for doing it is they're sort         23   people existed.
24   of, you know, looking around and saying, "Well, other         24      Q But you also think there were some people
25   people are buying it, and I should by it, too," and not       25   who believed in a project like Kin and wanted to be a


                                                        Page 123                                                    Page 125
 1   really knowing why.                                            1   part of the ecosystem?
 2          Like I said, for example, I got on stage,               2     A For sure.
 3   that I think one day Bitcoin will go to zero. So I             3      Q And you would distinguish at least those
 4   just think that was the industry, is a lot of people           4   sets of people from just speculators; is that right?
 5   were buying it, but they didn't really understand the          5      A Again, it's sort of -- the word
 6   fundamentals of crypto economics.                              6   "speculator" is tough, right? Because what is the
 7       Q Do you know whether or not the Kin project               7   crypto business model? Like, there's only going to be
 8   and the Kin public sale attracted speculators?                 8   so much of this currency. If demand for this currency
 9     A I can't say for sure. Like, again, it                      9   goes up and supply is fixed, then the price will go up.
10   depends on your definition of "speculator." There are         10         That's true for Kik. That's true for any
11   lots of different people buying lots of different             11   developer building for Kin today and any developer
12   cryptocurrencies for lots of different reasons, you           12   building for Kin in the future. That's true for Billy,
13   know. Like, when I would go speak about Kin before we         13   who gets 10 Kin for offering fitness advice. That's
14   sold it, I would get on stage, and people would come up       14   true for everybody.
15   to me and say, "This is what the world has been waiting       15         So I think, like, you know, it is a
16   for. This is the power of blockchain. This is what            16   currency. It's money. And then the supply is fixed.
17   we've been waiting for. I want to be part of this."           17   So as demand grows, if it were to grow, the value
18          And so I think for Kin, you know, for us,              18   increases for everyone.
19   this, more than anything, was about solving a major           19         MR. MITCHELL: Did you think -- do you
20   problem that we saw in the world and a problem that we        20   think people bought Kin tokens in September of 2017
21   thought was leading down a very dangerous path where a        21   because they thought the value could grow?
22   few companies would control the whole digital world.          22         THE WITNESS: If people didn't understand
23          And so I can't speak to why different                  23   that the value could grow, then they would not
24   people bought different cryptocurrencies, including our       24   understand cryptocurrencies and the fundamentals of
25   own. But I would say the feedback I got more than             25   crypto economics. The fundamental of crypto economics



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 1   is supply is fixed. So if demand goes up, then the          1   hear it. But assuming you don't have the specific
 2   price goes up.                                              2   number, can you give me sort of an order of magnitude
 3         Like, would Kik have launched Kin if it               3   of the number of transactions on the Ethereum
 4   thought the value of its Kin holdings wouldn't              4   blockchain in Kin?
 5   increase? No. That's what made it a viable business         5         And then I'll ask you the same question
 6   model for us and everybody else. Some people bought it      6   about the Stellar side of it.
 7   knowing only that. But I think lots of people bought        7        THE WITNESS: I don't know on Ethereum.
 8   it with the idea that this could be a solution to a         8   Most of the apps have transitioned to doing
 9   major world problem for everybody including themselves.     9   transactions on the new fork of Stellar blockchain.
10         MR. LEASURE: Let's take a break.                     10         MR. SCHLEGELMILCH: Okay.
11         Can we go off the record.                            11          THE WITNESS: I don't know the number
12         THE VIDEOGRAPHER: Going off the record.              12   there. So I'd just be wildly guessing.
13         The time is now 12:29 p.m.                           13         MR. SCHLEGELMILCH: Can you give me, like,
14         (A brief recess was taken.)                          14   an order of magnitude? Like, 10,000, 100,000? I don't
15         THE VIDEOGRAPHER: We are back on the                 15   know. Just if you can just give me sort of a ballpark.
16   record. The time on the video monitor is 1:43 p.m.         16        THE WITNESS: So what I think -- if I had
17         MR. SCHLEGELMILCH: Welcome back,                     17   to guess, I think there is 10,000 people on the fork of
18   Mr. Livingston. Just a reminder, which probably            18   Stellar blockchain made a transaction in the last
19   doesn't come as a surprise, but you're still under         19   24 hours. So that will you give you sort of a
20   oath, right?                                               20   ballpark. Let's say they made two or three
21         THE WITNESS: Yup.                                    21   transactions on average. It would be 20- to 30,000
22         MR. SCHLEGELMILCH: Great. And did you                22   transactions in the last day on the fork of Stellar
23   have any conversations of substance with the staff,        23   blockchain.
24   other than rating the Union Station restaurants, during    24         MR. SCHLEGELMILCH: Okay. That's very
25   the break?                                                 25   helpful. And how has that trended over time? Sort


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 1         THE WITNESS: I did not.                               1   of -- I assume it's -- well, let me ask you this: Is
 2         MR. SCHLEGELMILCH: Great. I just have a               2   it more now than it was sort of on the day after the
 3   few follow-up questions from our morning session.           3   TDE, the token distribution event?
 4         I think you said earlier -- and I'm not               4          THE WITNESS: Yes. So just the
 5   trying to misquote you. I'm just trying to sort of          5   technicalities of it, like, there was no fork of
 6   reorient your -- where we are. I think you said             6   Stellar the day after the TDE event.
 7   earlier that you didn't have any sort of granular data      7          MR. SCHLEGELMILCH: Okay.
 8   about the number of transactions in Kin on sort of a        8          THE WITNESS: So the number of transactions
 9   month-to-month basis; is that fair? Or am I totally         9   on that blockchain, which is the only number I know, or
10   wrong?                                                     10   even roughly know, or could speculate on, guess on, is,
11         THE WITNESS: That's not quite correct.               11   you know, that obviously started at zero.
12         MR. SCHLEGELMILCH: Okay. Tell me what is             12          MR. SCHLEGELMILCH: Okay. And when did --
13   correct.                                                   13   when was the fork of Stellar?
14         THE WITNESS: We have -- we know the exact            14          THE WITNESS: I think we started putting
15   number of transactions happening on Ethereum. We know      15   apps on that July this year, I would say.
16   the exact number of transactions happening on the          16          MR. SCHLEGELMILCH: Of 2018?
17   Stellar blockchain in a realtime fashion. In fact,         17          THE WITNESS: Yes.
18   anybody can know it. You just look at the blockchain.      18          MR. SCHLEGELMILCH: Okay. And so I just
19         MR. SCHLEGELMILCH: Okay.                             19   want to make sure I understand your testimony.
20         THE WITNESS: What we do not know is how              20          You don't know and you don't even know sort
21   many of those transactions are trading versus using.       21   of an order of magnitude for the ERC-20 token?
22         MR. SCHLEGELMILCH: Okay. Just looking at             22          THE WITNESS: Correct.
23   sort of one month. Let's look at October 2018, the         23          MR. SCHLEGELMILCH: Okay. And is that --
24   month we just finished. Do you have -- I suspect you       24   do you know the number of transactions in the ERC-20 --
25   don't have the specific number. If you do, I'd love to     25   and I think I know your answer, I just want to put it



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 1   on the record -- the number of transactions on the         1   point that I was actually driving at, so thank you.
 2   ERC-20 token sort of the day after the token               2         How did that subsidizing work?
 3   distribution event?                                        3         THE WITNESS: We -- my understanding -- and
 4          THE WITNESS: Not off the top of my head.            4   I don't have a perfect understanding of this. I wasn't
 5         MR. SCHLEGELMILCH: Is that knowable from             5   the guy that wrote the software -- is that every, in
 6   Kik's perspective?                                         6   this case, Kik user, for example, would -- they would
 7        THE WITNESS: My guess is it would be                  7   get created an Ethereum wallet. And we would put some
 8   knowable and would actually be public record.              8   Ether in their wallet that would fund their
 9         MR. SCHLEGELMILCH: Okay. Because the                 9   transactions of Kin.
10   blockchain is public?                                     10         MR. SCHLEGELMILCH: Okay. So the wallet
11          THE WITNESS: Exactly.                              11   would contain both Kin and Ether, the latter going to
12          MR. SCHLEGELMILCH: Okay. But from Kik's            12   cover the transaction cost in the former?
13   perspective, is that something that -- is that a data     13         THE WITNESS: Exactly. That's my
14   point that Kik track, that Kik would know?                14   understanding.
15          THE WITNESS: Certainly, there are                  15         MR. SCHLEGELMILCH: Okay. Do you have an
16   definitely people who would track that. But I wasn't      16   understanding of how much Ether was put into each
17   one of them.                                              17   wallet to cover those transaction costs?
18         MR. SCHLEGELMILCH: Okay. And as I                   18         THE WITNESS: I don't know exactly. But if
19   understand, the reason for the move from the ERC-20       19   I had to guess, between 5 and $10 worth.
20   token to the Stellar fork token was because -- and,       20         MR. SCHLEGELMILCH: Okay. And was that
21   again, if I get this wrong, correct me -- is because      21   replenished over time? Like, if somebody engaged in a
22   the time it took to complete a transaction on the         22   lot of transactions, would they -- would Kik continue
23   ERC-20 token was higher than optimal. I think it's 25     23   to contribute Ether to sort of fill it back up again?
24   or 30 seconds a transaction.                              24         THE WITNESS: I don't know for sure. But
25          THE WITNESS: It was a number of reasons            25   my understanding is yes. We would monitor it and


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 1   why.                                                       1   refill it as necessary.
 2          MR. SCHLEGELMILCH: Sure. I just want to             2           MR. SCHLEGELMILCH: Okay.
 3   mark -- actually walk through the reasons.                 3           MR. MITCHELL: And that Ether came from
 4          THE WITNESS: Okay.                                  4   Kik, the company?
 5          MR. SCHLEGELMILCH: So one was the                   5           THE WITNESS: Correct.
 6   transaction time. Is that one --                           6           MR. SCHLEGELMILCH: Thank you.
 7          THE WITNESS: One was transaction time.              7           That's what I had.
 8   But actually, that was probably the smallest of the        8           MR. MITCHELL: Can I ask you just about the
 9   reasons.                                                   9   Stellar blockchain, the fork of the Stellar blockchain.
10          MR. SCHLEGELMILCH: Okay.                           10   On this new -- this fork -- does the fork of a Stellar
11          THE WITNESS: Other reasons were                    11   block -- does the forked Stellar blockchain have a
12   scalability. And this sort of ties into transaction       12   different name or do you just call it the forked
13   time. So if more than a thousand or a few thousand        13   Stellar blockchain?
14   people wanted to do transactions, the whole network       14           THE WITNESS: We now call it internally the
15   would grind to a halt and your transactions would never   15   Kin blockchain.
16   go through.                                               16           MR. MITCHELL: Okay. So on the Kin
17          MR. SCHLEGELMILCH: Okay.                           17   blockchain, are there tokens other than Kin? Are there
18          THE WITNESS: And the third was because the         18   Stellar tokens or other tokens that people have that --
19   cost to do a transaction was -- made it very              19           THE WITNESS: It's actually a complicated
20   complicated for us from a technical point of view. We     20   question.
21   were subsidizing the cost of those transactions so that   21           MR. MITCHELL: Sure.
22   that user wouldn't see it, so that it would work from a   22           THE WITNESS: But like the -- generally,
23   consumer point of view. But that was a very expensive     23   no. Like, there is -- there is, like, the tokens,
24   thing to do.                                              24   which is the currency. But then there's also the
25          MR. SCHLEGELMILCH: And it's that last              25   tokens which pay for the transactions. So, for



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                                                    Page 134                                                    Page 136
 1   example, when we first forked Stellar, that token was      1   blockchain forked with the creation of Bitcoin cash?
 2   -- you know, XLM is what's built in Stellar, the           2         THE WITNESS: Bitcoin forked both the
 3   Stellar token.                                             3   technology and the currency. Whereas, we only forked
 4          We sort of created another version of that,         4   the technology.
 5   and then just gave a lot of that to everyone, just so      5         MR. MITCHELL: Okay. And so when the new
 6   the technology would work. We're now collapsing those      6   blockchain was created, Kik could create as much of
 7   two. So it's just Kin for everything on the Kin            7   this -- whatever, new Stellar, or new -- the coin used
 8   blockchain.                                                8   for expenses as much as it wanted?
 9         MR. MITCHELL: Okay. But initially, there             9          THE WITNESS: It could create as much
10   were two types of tokens; one of which was sort of a      10   Stellar as it wanted because that's -- it's sort of
11   forked version of XLM?                                    11   like Ethereum. If you were to fork Ethereum, you could
12         THE WITNESS: This is where it's going to            12   create as much as Ether as you want for yourself, and
13   get a little complicated.                                 13   that's what's used to pay for running this smart
14          MR. MITCHELL: Yeah. Sure.                          14   contract. That's just how the system is set up.
15          THE WITNESS: It's two blockchains.                 15         It's sort of similar with Stellar. So when
16          MR. MITCHELL: Yup.                                 16   we first forked it, we create as much of this new
17          THE WITNESS: On the Ethereum blockchain,           17   Stellar, our Stellar, as we want to then pay for the
18   there's two tokens. From our purposes, there's Ether,     18   transactions because that's just how the system is set
19   used to pay for the transactions. And then there's        19   up.
20   Kin, the currency, used in these apps. On the Stellar     20          MR. MITCHELL: Got it. But then at the
21   blockchain initially, it was similar. There is            21   same time, did the engineers create 10 trillion sort of
22   Stellar, or a clone of Stellar, you know. We just         22   new coin -- two new tokens that are the Kin tokens on
23   create a bunch of Stellar, effectively our own Stellar.   23   that blockchain?
24   Stellar II, let's call it. And then Kin as well.          24          THE WITNESS: They -- so as we were moving
25          So initially, use Stellar II, which we can         25   apps to this new blockchain, we created test Kin to get


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 1   make as much as we want to pay for the transactions, to    1   them up and running, to make sure it all worked. We
 2   make the whole thing work. We're now moving to a model     2   are now working through the options for how to migrate
 3   where it's just all Kin, but we can do it in a way         3   from the Ethereum Kin to the new Kin blockchain Kin in
 4   that's still fee-less for the consumer.                    4   all 10 trillion.
 5         MR. MITCHELL: Sounds great. When the                 5          MR. MITCHELL: Because there are two
 6   Bitcoin blockchain forked, people -- if you had a bit      6   different things?
 7   chain -- Bitcoin before that, afterwards, you had a        7          THE WITNESS: Yeah. They're two different
 8   Bitcoin and Bitcoin cash, I think?                         8   infrastructures.
 9         THE WITNESS: Yeah.                                   9          MR. MITCHELL: But the tokens aren't -- you
10         MR. MITCHELL: Did that happen when you              10   can't -- someone with a token on the Ethereum
11   forked Stellar?                                           11   blockchain can't just today just move their token to
12         THE WITNESS: No. And, like, "forked" can            12   the new blockchain, can they?
13   mean different things in different contexts.              13          THE WITNESS: Not automatically, no.
14         MR. MITCHELL: Okay.                                 14          MR. MITCHELL: They'd have to exchange?
15         THE WITNESS: We didn't fork the currency;           15          THE WITNESS: Correct.
16   we forked the technology.                                 16          MR. MITCHELL: And then -- so is there a
17         MR. MITCHELL: Okay. So then at the point            17   limit today to the number of Kin tokens that this --
18   in which -- sorry. And Kik did this?                      18   let me start over.
19         THE WITNESS: The employees of Kik                   19          Today, is there a limit to a number of the
20   Interactive did this, yes.                                20   tokens that are called Kin but are on the new Stellar
21         MR. MITCHELL: Did this to create -- sort            21   blockchain?
22   of basically create a new blockchain?                     22          THE WITNESS: There is a limit, yes.
23         THE WITNESS: Correct.                               23          MR. MITCHELL: What is that?
24         MR. MITCHELL: All right. But it's just              24          THE WITNESS: But that's -- I think we
25   very fundamentally different than how the Bitcoin         25   created something like 1 trillion as a starting point.



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 1   But while we get it set up, you know, it's just sort of    1           THE WITNESS: Today, we are giving them to
 2   an arbitrary number.                                       2   developers to give to their users in the form of grants
 3         MR. SCHLEGELMILCH: Ultimately, will there            3   that are approved and given out by the Kin Foundation.
 4   be sort of a one-for-one transfer from -- let me step      4   But over time, some of the options we're working out
 5   back. Let me step back and actually ask you a question     5   is, you know, exchanges and different ways to transfer
 6   that hopefully makes more sense.                           6   them over.
 7        As a baseline, there are 10 trillion Kin.             7           MR. MITCHELL: I'm sorry. What do you mean
 8   The Foundation has some, Kik Interactive has some, and     8   by decided by the Kin Foundation?
 9   other people have some. But it all adds up to a            9           THE WITNESS: So the Kin Foundation has
10   hundred trillion -- or to 10 trillion, and there's a      10   6 trillion Kin. Its job with that 6 trillion Kin is to
11   finite number.                                            11   maximize the rate of growth of the Kin ecosystem and
12          THE WITNESS: Correct.                              12   the Kin economy. So as part of that, you know, that's
13          MR. SCHLEGELMILCH: Will there be                   13   why we set aside so much Kin at the beginning as part
14   10 trillion of, we'll call, new Kin on the Stellar        14   of the vision as an incentive for developers to not
15   blockchain, so it will be like a one-for-one?             15   only jump start the economies with their consumers in
16         THE WITNESS: Correct.                               16   their apps, but also as their own financial reward and
17         MR. MITCHELL: That's the plan?                      17   business model for building with Kin.
18         THE WITNESS: That -- we are working                 18           MR. MITCHELL: So the Foundation owns the
19   through all the options to achieve that.                  19   Kin -- the new Kin that are on the Kin blockchain?
20         MR. MITCHELL: But as of right now, do you           20           THE WITNESS: I guess like -- the question
21   know how you're going -- what steps you're going to       21   is, like, what's the definition of "owns" because the
22   take to make that happen?                                 22   Kin blockchain is new and is being set up. Kik
23          THE WITNESS: We have different options             23   Interactive employees created those Kin tokens. But
24   we're looking at, but nothing is set in stone yet.        24   one day, we need, you know, there to only be
25         MR. MITCHELL: And who is looking at that?           25   10 trillion Kin. And so we're giving out that Kin as


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 1           THE WITNESS: Different employees.                  1   being approved by the Foundation.
 2           MR. MITCHELL: Of Kik?                              2           MR. MITCHELL: Each transaction is
 3           THE WITNESS: Of Kik.                               3   approved?
 4           MR. MITCHELL: Anybody else?                        4           THE WITNESS: Each grant to developers,
 5           THE WITNESS: I think, like, the whole              5   both for themselves and for their users, and then they
 6   industry is trying to figure this out at large, which      6   give it out to their users.
 7   is because any currency on Ethereum, including Ether       7           MR. MITCHELL: So you said the Foundation
 8   itself, is not scalable.                                   8   is approving -- Kik is giving new Kin tokens to
 9           MR. MITCHELL: So do you think that other           9   developers; is that right?
10   people are thinking about this technological problem?     10           THE WITNESS: It's a logistical thing. The
11           THE WITNESS: Yes, many other people.              11   Kin Foundation wants developers to adopt Kin. It has
12           MR. MITCHELL: But are those people                12   6 trillion Kin to do that. And so what Kik is doing is
13   actually working with Kik employees on how to create      13   finding partners, saying, "Hey, this partner wants to
14   this new blockchain?                                      14   develop with Kin, Kin Foundation. To do it, we think
15           THE WITNESS: So definitely Kik employees          15   we should offer them this. Do you want to do that or
16   are sharing notes with other teams. For example, Kik      16   not?"
17   employees have met with employees of Stellar to talk      17           MR. MITCHELL: Okay. And then -- it sounds
18   about the different ways to do this for sure, yeah.       18   great. And then you said something about also then
19           MR. MITCHELL: Okay. Anybody else?                 19   those developers are giving out tokens to their users?
20           THE WITNESS: I'm not sure. Like, I'm              20           THE WITNESS: Yup.
21   not -- it's a little -- it's in the day-to-day. I'm       21           MR. MITCHELL: Is the Kin Foundation
22   not sure.                                                 22   approving that transaction as well?
23           MR. MITCHELL: And the tokens that are --          23           THE WITNESS: The Kin Foundation is
24   the Kin tokens on this Kin blockchain, how do people      24   approving the initial grant.
25   get those?                                                25           MR. MITCHELL: To the developer?



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 1          THE WITNESS: To the developer.                      1   of Kin. Then when we connect the two blockchains
 2          MR. MITCHELL: And who is doing that?                2   together, there will only be 10 trillion Kin. So
 3          THE WITNESS: Who is doing which?                    3   while -- like, they're not connected yet.
 4          MR. MITCHELL: Approving.                            4         When they are, there will only 10 trillion
 5          THE WITNESS: Myself and William.                    5   Kin. That's why we're approving it today because we
 6          MR. MITCHELL: William Mougayar?                     6   know that as this new blockchain comes online, there
 7          THE WITNESS: Yup.                                   7   will only ever be 10 trillion Kin.
 8          MR. MITCHELL: Okay. And you're having,              8         MR. MITCHELL: And so the Foundation will
 9   like, meetings?                                            9   eventually have to give up some of its Kin on the
10          THE WITNESS: Yeah. We have formal board            10   Ethereum blockchain in order -- in an equal amount to
11   meetings to approve those things.                         11   whatever has just been given out?
12          MR. MITCHELL: Okay. And has either of you          12         THE WITNESS: Correct.
13   ever voted against a grant?                               13         MR. MITCHELL: And how does it give
14          THE WITNESS: We've sent the team from Kik          14   that up?
15   back to the drawing board. We say, we don't think this    15         THE WITNESS: That sort of depends on the
16   makes sense. What about this? What about that? Go         16   migration process. Like, a similar thing is how will
17   reevaluate it. And they'll go reevaluate it and come      17   anybody who owns Kin on Ethereum, like, prove that they
18   back.                                                     18   gave that up, and then it gets unlocked on the new
19          MR. MITCHELL: And are there minutes to             19   blockchain. So it will be sort of -- however we decide
20   those meetings?                                           20   that will work will be a similar way for the Kin
21          THE WITNESS: I believe so. I'm not sure            21   Foundation.
22   of the detail of those minutes. But I believe there       22         MR. MITCHELL: Leaving aside the actual
23   are minutes, yeah.                                        23   transaction, leaving aside the technical way, someone
24          MR. MITCHELL: And you actually vote?               24   will have to sort of burn their token on the Ethereum
25          THE WITNESS: We approve, so yeah. I and            25   blockchain in order to get a token on the new


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 1   I, yeah. William and I both have to -- if that's a         1   blockchain?
 2   vote, then yes.                                            2         THE WITNESS: Yeah, that's one option.
 3         MR. MITCHELL: Great.                                 3   Sometimes options are just locking it and unlocking it
 4         BY MR. LEASURE:                                      4   and allowing you to actually go back if you want.
 5      Q Okay. I'm going to go back in time.                   5   There is much of different ways to do it.
 6      A Okay.                                                 6         MR. MITCHELL: No one has made a decision
 7      Q And proceed chronologically through the --            7   yet about how that's going to happen?
 8   thinking about the Kik Kin project and how it developed    8         THE WITNESS: Not to my knowledge.
 9   over time.                                                 9         MR. MITCHELL: Why not just pick one and
10      A Okay.                                                10   move on?
11      Q I think you said that you were thinking on           11         THE WITNESS: It's a complicated thing from
12   crypto --                                                 12   a technology, security, and compliance point of view in
13         MR. MITCHELL: I'm sorry. Can I ask one              13   terms of money transmission. There's a lot of
14   more question on that?                                    14   different ways to do it. Lots of projects have done.
15         When that -- when -- you said the                   15   We want to make sure we do it in the right way.
16   Foundation gives its approval. The developer gets new     16         MR. MITCHELL: I guess what's the downside
17   Kin tokens on the new blockchain?                         17   of doing it the wrong way, as long as people give up
18         THE WITNESS: Correct.                               18   one thing and get the other?
19         MR. MITCHELL: Does the Foundation give up           19         THE WITNESS: Lots of things could go
20   anything?                                                 20   wrong, depending on how you set it up.
21         THE WITNESS: It will. It hasn't yet.                21         MR. MITCHELL: Things that are important to
22         MR. MITCHELL: What do you mean?                     22   the project, though, I mean, that could affect the
23         THE WITNESS: Well, right now, the two               23   whole project?
24   blockchains are running in parallel. This blockchain      24         THE WITNESS: Anything that could go wrong
25   over here, the Kin blockchain, it's an arbitrary amount   25   is probably correctable. But like everything, you



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                                                     Page 146                                                       Page 148
 1   know, you don't want to make mistakes. You want to do       1   of bringing this idea forward of, like, "Hey, guys,
 2   it the right way. And we look at all the options, and       2   crazy idea. What if we created a new currency and a
 3   we take our time and make sure it's the best option.        3   new economy, and that was a new business model for us?"
 4   And then we move forward.                                   4          There was a very high risk that it would
 5          MR. MITCHELL: Okay. Thanks.                          5   eliminate what little credibility I had left. So when
 6          BY MR. LEASURE:                                      6   introducing this idea to the team, I had to be very
 7      Q You talked to -- at some point in 2016, you            7   careful about how I did that. Because on the inside,
 8   talked to Fred Wilson about the possibility of Kik          8   personally, I was very excited because what became
 9   moving into the crypto space; is that right?                9   increasingly clear to me was that this was going to be
10     A Correct.                                               10   our only option.
11      Q Okay. So after that, rolling the clock                11          And that excited me because I knew we were
12   forward, how was the idea of a potential coin project      12   going to go for it. But I have been doing this a long
13   surfaced within Kik, either to the board or to the         13   time by now. And I didn't want to let my excitement
14   employees? Can you walk me through that?                   14   jeopardize our ability to achieve that vision. And so
15      A Yeah. Very carefully.                                 15   despite my own personal amazing excitement about this
16      Q Why is that, let me ask you.                          16   opportunity, I had to be very careful about how I
17      A Why is that? That's a good question. I                17   rolled it out internally.
18   think to understand the answer to that question, you       18      Q How did you manage that? What did you do?
19   have to look at the context of what was going on at Kik    19      A I had to rely on the credibility of others.
20   at the time, right? So Kik comes out of nowhere in         20      Q Who?
21   2010, lights the world on fire. Gets unfairly              21      A The first person was Fred Wilson.
22   handicapped by something outside of its control and        22      Q What did he think?
23   ultimately something I believe was totally wrong.          23      A I think his words were something like -- so
24         Fights its way back into the race and                24   we had this breakfast in New York. I think that's --
25   achieves a billion dollar valuation. But from there,       25   from my recollection, that's the first time I ever told


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 1   starts to struggle and starts to lose users, isn't          1   him about this. From my recollection, that's the first
 2   making money. And it created an environment within the      2   time I ever told any of the investors about this. And
 3   company, between employees of the company, but also         3   we talked about it, we talked about it.
 4   between the company and the board, and the company and      4          I explained Kik Points. I explained how
 5   investors of -- what's the word -- high anxiety.            5   this could work. I explained Bitcoin. I explained all
 6      Q Okay.                                                  6   these different things. And he said, "Ted, that's sort
 7      A Okay? Like, the more -- the more you look              7   of crazy, but it just might work." That became a very
 8   at the situation you're in, things aren't getting           8   important tool for me when I went back to my leadership
 9   better, they're getting worse. So you try harder, and       9   team and started explaining this idea to them that,
10   they just keep getting worse. Try harder, and they         10   like, "Listen, I know this is crazy. I know we're
11   just keep getting worse. It creates a very toxic           11   struggling here. I know your confidence in me as a
12   environment internally at any organization.                12   leader right now, because we are failing, is low. But
13          And so at this point, I would say I had low         13   it's not just me who thinks this is a good idea. Fred
14   credibility among the leadership team and among the        14   says it's a good idea, too. And he is one of the
15   investors. Why? Because I had put out different            15   smartest guys in the industry. He's very into crypto.
16   things I think we should try. They don't work. Put         16   So don't hear it from me; hear it from him."
17   out different things we should try. They don't work.       17      Q Okay. What happens next?
18          My original leadership team, we largely and         18      A I think the initial reaction from the
19   almost completely got rid of, brought in a new             19   leader team, despite having that, was one of
20   leadership team. The experts who knew what they were       20   skepticism, is what I recall. It took a while to
21   doing, had been there before, they tried their best.       21   convince people that this wasn't yet another crazy
22   In some cases, they made things a little bit better.       22   idea, but actually could work.
23   But in many cases, things got worse.                       23          Again, today, it's still a crazy idea, but
24          And it was a very tough time in the company         24   at least people understand cryptocurrencies today.
25   and a tough time for me personally. And so this idea       25   This was back in mid-2016. Like, you know, nobody had



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                                                  Page 150                                                          Page 152
 1   even really heard of cryptocurrencies yet, Bitcoin, et    1       Q And what's the attachment?
 2   cetera. So it took a lot of work to slowly but surely     2       A I think it's a copy of the upcoming board
 3   convince person by person on the leadership team, and     3    deck.
 4   then investor by investor, shareholders of the company,   4       Q Okay.
 5   that this was a good idea.                                5       A An upcoming deck for a board meeting, it
 6           And all along the way, my strategy in             6    looks like.
 7   hindsight was to rely on the credibility of others to     7       Q Got it. And in terms of process, to
 8   show that this was a good idea.                           8    communicate to the board for upcoming board meetings,
 9      Q And this sort of person by person,                   9    it was typical to have a board deck or slides sent to
10   constituent by constituent outreach, was that going on    10   them in advance?
11   while Credit Suisse was doing its thing on behalf of      11      A Yes.
12   Kik around that time?                                     12      Q And typically, how were those slides
13      A I believe so, yes.                                   13   written?
14      Q Okay. So while this is going on, this sort           14      A What do you mean?
15   of germinating, if I can call it that, of a crypto        15      Q Who wrote this -- who would typically write
16   idea, there's also a process looking for financing for    16   board's decks?
17   Kik and Credit Suisse?                                    17      A It's a team effort. Depending on the
18     A Yeah. And I would say as it became                    18   topic, different people write it.
19   increasingly clear to me and the leadership team and      19      Q You'd want to look at them before it was
20   the investors that the Credit Suisse process was not      20   sent?
21   going to end in a sale, gave me increasing conviction     21      A Yeah. I would typically review it before
22   and motivation to convince everybody that crypto was      22   it would go to the board.
23   going to be a compelling option.                          23      Q Sometimes, not in this document, we see a
24      Q Because the alternative, correct me if I'm           24   deck that has, like, notes or --
25   wrong, to a sale or other financing by Credit Suisse or   25      A Yeah.


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 1   crypto is cuts and the reduction of Kik's footprint; is    1      Q Underneath the slide, there will be, like,
 2   that fair?                                                 2   talking points or notes. Is that -- was that sometimes
 3      A Yeah, I think that's fair.                            3   done with board decks where you would provide notes?
 4      Q Okay. Let me show you a document that I               4      A I think people sometimes, when they're
 5   think might relate to this time period. It's a long        5   writing their slides, would add notes, like, how they
 6   one. This is a document previously marked as               6   would explain the slide. But many times, I wouldn't
 7   Exhibit 12B. Take a look and let me know when you're       7   read those. I'd sort of have an idea of the -- you
 8   ready. You'll get used to this routine.                    8   know, what I wanted to say to each slide. So sometimes
 9           Exhibit 12B is a multi-page document. It's         9   I would; sometimes I wouldn't.
10   an e-mail with an attachment beginning with the Bates     10      Q Got it. Okay. And is it -- before you --
11   stamp Kik Foundation Cap 005705. It's an e-mail from      11   was it typical for you to send the board decks?
12   Ted Livingston to Kik board dated January 27th, 2017.     12      A Yes.
13   You're welcome to read through the whole thing.           13      Q Okay. And you -- would you approve them
14      A Okay.                                                14   before they were sent?
15      Q But it's a long one. And I'm going to                15      A I would -- as far as I can recall, it's,
16   point you to specific things in this document.            16   like, at the end, it would get sent to me. I would
17      A Okay.                                                17   take a last look, and then it would get sent to the
18      Q My first question is going to be: What is            18   board.
19   this document?                                            19      Q Got it. But if you wanted changes, you can
20      A It appears to be an e-mail from me to the            20   say, "Guys, this doesn't work for me"?
21   board. Or do you mean the document attached at the        21      A Correct.
22   back?                                                     22      Q Okay. And the goal was to facilitate the
23      Q Sure. Both. So it's an e-mail from you to            23   board meeting, to have a conversation, right?
24   the board.                                                24      A Correct.
25      A Yeah.                                                25      Q So I take it the goal was to put in things



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                                                    Page 154                                                          Page 156
 1   that you thought were important and accurate for the       1       A Correct.
 2   board to consider?                                         2       Q And no bids to acquire Kik came out of
 3     A Correct.                                               3   that?
 4      Q You wouldn't put in -- you wouldn't put in            4      A Correct.
 5   something that was, you know, false or not what you        5       Q "The continued decline in our metrics."
 6   really thought?                                            6            What were the major ones in terms of
 7      A Well, I think it's definitely possible that           7   metrics?
 8   there could be things in here that I didn't really         8     A Monthly active users would be the main one.
 9   think and maybe didn't catch them. Again, I'm not          9       Q I see references to MAU and DAU --
10   creating these slides.                                    10       A Uh-huh.
11      Q Oh, sure.                                            11       Q -- which is daily average users?
12      A But, like, for the most part, like, this is          12       A Daily active users, yeah.
13   a deck for the board to facilitate a discussion of        13       Q Active users. Sorry.
14   which I am leading.                                       14       A Uh-huh.
15      Q Yeah. Right. Okay. So you might miss                 15       Q And so those are the major ones that you
16   something, but that doesn't mean --                       16   tracked in terms of the growth of the platform?
17     A Correct.                                              17       A Correct.
18      Q Okay. And certainly, you intended to                 18       Q Okay. I think we already talked about this
19   facilitate a transparent discussion with the board?       19   today, but you would agree with, I guess, what you
20      A Correct.                                             20   wrote here in January of 2017, that Kik was in a
21      Q Got it. Okay. The e-mail address, is                 21   precarious position at that point?
22   that -- this is sent to board@kik.com. That's all the     22      A Yes.
23   board members?                                            23       Q Okay. You said -- the next sentence says,
24     A Correct.                                              24   "Therefore, I would like to spend the majority of the
25      Q Including you?                                       25   meeting discussing the options to extend our runway."


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 1      A I believe so, yes. I think I'm on that.              1           At a high level, other than crypto, what
 2         (Simultaneous speakers.)                            2    were the options that were available to Kik?
 3      Q Who is Derek Lebert, L-e-b-e-r-t?                    3       A You know, you need more money. Runway is a
 4      A I believe his title was controller for Kik.          4    function of how much you -- how much money you have,
 5   He's a Kik employee. Yeah.                                5    how much money you're making or raising, and how much
 6      Q Okay. Looking at just the e-mail, I                  6    money you're spending. So the options are make money,
 7   thought this might in context be around the time where    7    raise money, or spend less.
 8   the Credit Suisse process was in gear --                  8       Q Got it. And all of those were on the
 9      A Yep.                                                 9    table?
10      Q -- and maybe the consideration of crypto             10      A Correct.
11   was being discussed. Does that roughly fall within        11      Q Okay. You also wrote, "I will also have
12   that time frame?                                          12   Credit Suisse come in to discuss their view of the
13      A The Credit Suisse process, yes, I think was          13   process." Did that happen?
14   in that time frame. I think crypto was just -- I was      14      A I can't say for sure. But my -- I would
15   just starting to talk to people about it on the team      15   think, yes, if I said that. I can't recall exactly,
16   around this time as well.                                 16   but I would assume so.
17      Q Okay. So in your -- excuse me -- in your             17      Q More importantly, what was Credit Suisse's
18   e-mail, you wrote, "With no bids coming out of the        18   view? Do you remember if they provided you with one?
19   process and a continued decline of our metrics, we are    19      A I think their view was nobody wanted to
20   in a precarious position, to say the least."              20   buy us.
21         I think that's what we've already talked            21      Q And did they give you options?
22   about this morning.                                       22      A Their job was to -- they were hired to look
23      A Uh-huh.                                              23   at all the options for selling the company. So that's
24      Q To break that out, the process is the                24   what they were focused on.
25   Credit Suisse process; is that right?                     25      Q Okay. They weren't, like, management



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 1   consulting?                                                1   always what are all of the options. And I like nothing
 2      A No.                                                   2   more than eliminating options. And I like nothing more
 3      Q Okay. Actually, I think we've already                 3   than only having one option. So we hired Credit
 4   covered the things I wanted to ask you about in this       4   Suisse. And I did my absolute best to sell the
 5   document. So if you don't mind, I'll take it back from     5   company. I put together an amazing story with the
 6   you.                                                       6   team. Credit Suisse, I heard through somebody else,
 7          So based on that e-mail, I'll tell you it           7   said they had never seen a CEO tell such a good story,
 8   looks like there was a board meeting in early February     8   be such a good explainer, the vision, the mission, and
 9   where maybe crypto came up.                                9   yet why they are where they are at the same time.
10          Does any of that ring a bell for you?              10         And so I wanted to bring Credit Suisse to
11      A Yep.                                                 11   that meeting. So, again, relying on the credibility of
12      Q Tell me about that board meeting.                    12   others at this point for them to say, "Listen, don't
13      A So I think at this time, I was convinced             13   hear it from Ted. Hear it from us as Credit Suisse.
14   that now was the time to do crypto. But I was also        14   Ted did an amazing job. This has nothing to do with
15   very aware that my credibility as CEO was at an           15   Ted. Selling the company is not an option."
16   all-time low in the history of the company, both with     16        Why was that important to me? So then me,
17   investors, the board, and the leadership team.            17   in my own little mental board, I could go up to the
18          To me, there were only three options. One          18   board and cross that out. This is not an option. It's
19   was sell the company, one was bet on the crypto           19   not because I don't want to sell the company. It's
20   business model, and one was cut expenses. Cut expenses    20   because it's not an option. So that's why I wrote the
21   to me was not an option because it would just delay the   21   e-mail this way, is -- and that's why I brought Credit
22   inevitable, which is we can't make money from ads and     22   Suisse.
23   we can't money from selling stuff.                        23     Q Okay. And so do you think, at that board
24          So in my mind, there were only -- in my            24   meeting, the option of selling the company, do you
25   mind, there's only one option, which was go all in on     25   think the board was convinced that that option was


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 1   crypto. But I wanted to bring the team and the             1   crossed out, as you put it?
 2   investors and the board around to that conclusion in a     2      A I'm not when they would be convinced or
 3   tactful and compelling as way possible.                    3   not, but -- I'm not sure. But I'm sure, at a minimum,
 4           And so I think what I did and why I wrote          4   Credit Suisse is saying, "Ted did an amazing job."
 5   that e-mail so strongly worded is because I was -- I       5   "Okay. Fine. I'll believe Credit Suisse. It's not
 6   wanted to lean into the fact that crypto was going to      6   Ted's fault. It's not like Ted is trying to
 7   be our only option. And so why did I bring Credit          7   intentionally not get a buyer."
 8   Suisse to the meeting? There had been a suggestion in      8          And Credit Suisse is saying we have no
 9   the past that, well, we haven't gotten any offers          9   offers, so I would assume that that would lead them to
10   because Ted just doesn't want to sell the company.        10   that conclusion. But I can't say for sure.
11           You know, as a founder/CEO, this is my            11     Q And did crypto come up at that board
12   baby. And that is the truth, that I do not want to        12   meeting?
13   sell the company because I feel there is a massive        13       A I don't recall for sure. I guess I could
14   opportunity, and I felt it for a long time with going     14   flip through the deck. I can't recall. I think so,
15   into crypto, which we talked about. So did I want to      15   but I would have to look at the deck again to be sure.
16   sell the company? No.                                     16      Q Let me give you -- I think this might be
17           But I never let that get in the way of            17   relevant, but let me give something shorter than the
18   doing what is best for the company. And so this idea      18   deck.
19   that -- you know, the insinuation was that maybe Ted      19      A Okay.
20   was on purpose trying to make the sale process a          20      Q I'm handing you a document that's
21   failure because he doesn't want to sell. There were       21   previously been marked as Exhibit 169.
22   some -- some people insinuated that. And it's like a      22      A Okay.
23   rumor that I heard, like, may be true, that people may    23      Q Exhibit 169, it's on the front and back of
24   be saying it.                                             24   the page. I think it begins on the back. Yeah.
25           And so with Credit Suisse, my thing is            25      A Okay.



                                                                             41 (Pages 158 to 161)
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                                                  Page 162                                                           Page 164
 1      Q It's a multi-page printout of an e-mail               1    of me.
 2   chain ending February 3rd, 2017, with a Bates number       2       Q That's fine. As long as we know you're
 3   KIK 21266, with the subject "Kik Follow-up." My first      3    guessing, go ahead.
 4   question is going to be, when you're done reading it,      4      A My guess is, based on this e-mail, we
 5   what is this document?                                     5    discussed two options. One is to reduce the amount of
 6      A So your -- I missed a part in there. Your             6    money we're spending. And the other is go all in on
 7   question is going to be what is which document? This       7    crypto. At this time, my recollection is I knew that
 8   e-mail?                                                    8    reducing spending was a futile option because it would
 9      Q Yeah.                                                 9    just prolong the inevitable if we weren't --
10      A Okay. What is this document -- got it.               10      Q Right.
11   There's no reference to a document in this e-mail.        11      A -- going to go all in on crypto. And if we
12      Q Correct. Yeah.                                       12    were going to go all in on crypto, we were already a
13      A So this looks like an e-mail thread                  13    very, very small team. And so I think probably I was
14   starting between me and the board. It looks like a        14    looking at that as, listen, one of our values is we
15   follow-up e-mail from the board meeting. And it looks     15    look at all the options. I think -- I seem to recall
16   like a private reply from Jim to me. And then it looks    16    one board member in particular pushing that option of,
17   like me forwarding that reply to Peter. And then it       17    like, massively reducing expenditures to extend runway.
18   looks like Peter replying to me.                          18           And so being true to that value, we said
19      Q Got it. So this is an e-mail chain you               19    we'll look at that option. And it looks like the other
20   were involved in relating to a board meeting and its      20    option we discussed was going all in on a
21   follow-up?                                                21    cryptocurrency. That was the option I was excited
22      A That's what it looks like, yes.                      22    about. It looks like Jim, as one of the board members,
23      Q Okay. And do you think this was the board            23    replied. And it looks like -- and, again, this is why
24   meeting we were just discussing with -- where Credit      24    I had to be so strategic about how I rolled out this
25   Suisse came and --                                        25    idea inside the company, you know, not sure the board


                                                  Page 163                                                           Page 165
 1      A I would have to look at, like, the exact              1   gets why Kik coin would be big.
 2   dates. But, like, seems reasonable.                        2          The reality is not many people in the world
 3      Q Okay. Yup. Ted, I want to be fair when I              3   understood or even today understand why
 4   ask the question. Here is the prior exhibit,               4   cryptocurrencies are going to be big. And so this was
 5   Exhibit 12B.                                               5   my concern is the board would say, "Listen, doesn't
 6     A Yes. Thank you.                                        6   this guy get it? Doesn't he get that we're not making
 7      Q Yeah, you're welcome.                                 7   any money, we're heading towards a wall, we're spending
 8      A So, yeah, this is January 27th. And this              8   lots of money, we're not going to raise more, we're not
 9   is February 2nd. It seems reasonable to me that this       9   going to sell the company? Doesn't he get it?"
10   would be a follow-up e-mail from this board meeting.      10          And the answer of course is of course I got
11      Q The board met periodically, but not every            11   it. Of course I understood. And so I had to be very
12   other day, I take it?                                     12   careful about step by step convincing the board to bet
13      A Yes. Yeah.                                           13   on this other option, this option that had never been
14      Q So does it appear from this that crypto may          14   tried before in human history.
15   have been discussed at that board meeting?                15      Q     Okay. And so it looks like Jim Estill,
16     A Yes, it does.                                         16   E-s-t-i-l-l, if I pronounced that right, was pretty
17      Q Okay. I'm just trying to --                          17   supportive of the idea, at least of exploring it,
18      A I think it was in the slides, but I can be           18   right?
19   wrong. I didn't get that far in the deck.                 19      A Yes, he was.
20      Q It's fine. It's fine. I'm trying to --               20      Q     Who was the board -- I think you said there
21   you can read the slides. I'm trying to remember if you    21   was a board member who wanted to focus on cost cutting?
22   can -- if looking at this e-mail helps you remember any   22      A Yep.
23   discussion or reaction from the board.                    23      Q     Who was that?
24      A I can't recall the specific reaction. But            24      A That was the partner from Foundation
25   I can try to guess based on having this e-mail in front   25   Capital, Paul Holland.



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                                                 Page 166                                                          Page 168
 1        Q Did he ultimately vote against moving into         1      A Uh-huh.
 2   crypto?                                                   2      Q Is that -- I guess, first, would you
 3        A I don't think it's right to say he voted           3   consider that an advantage for Kik versus some other
 4   against going into crypto. I think it's that he voted     4   crypto project?
 5   for doing major cost reductions.                          5      A I would consider it an advantage for Kin to
 6        Q Fair enough. Okay. In the fist paragraph,          6   have an app like Kik in its ecosystem.
 7   Jim Estill writes the last sentence -- tell me if you     7      Q Right.
 8   don't see where I am -- "People call it a Hail Mary,      8      A For sure.
 9   but to me, that is a long shot. And I really do not       9      Q As opposed to no existing user base?
10   think it is a long shot."                                10      A For sure.
11           Do you see that?                                 11      Q Okay. And in terms of the demographic,
12           Sorry. I can point it out.                       12   he's saying, right, that the Kik messaging app user
13        A I did just read it. Yes, there. Yep.              13   base are -- correct me if I'm wrong -- young users who
14        Q Did people consider the crypto project a          14   are just getting into sort of the use of money in their
15   Hail Mary on Kik's board?                                15   lives?
16        A I think when people first heard the idea,         16      A That's one reason he states there. We had
17   they, like almost everyone else I've ever introduced     17   young users. We also had older users as well. So
18   this idea to, thought it was crazy. But also, they --    18   that's sort of a different conversation, I think, for
19   like everyone else, as they spent more time with it,     19   us. We had seen that millions of people had used Kik
20   they heard more about it, they understood more about     20   Points. And so -- regardless of age, that this would
21   it, realized that like Jim realized here, not only was   21   be a great fit for our community.
22   this not a long shot, but it was a great shot.           22      Q We're going to turn to this more in a bit.
23        Q Right. Okay. He lists out advantages.             23   But did the Kik user base -- which we talked about this
24   You see a list there including you have a team in        24   morning, all ages, but it had a lot of younger people
25   place, you have users, users who are the right           25   in it, right?


                                                 Page 167                                                          Page 169
 1   demographic. I won't read through all of these.          1       A I guess a lot of it is -- like, the only
 2         But do you generally agree that these were         2    term I would -- to be more specific, like, I think
 3   the advantages Kik had in moving to a crypto project?    3    roughly a third of our user base was teenagers. You
 4      A I think these are the advantages from Jim's         4    know, today, I know actually our user base is a little
 5   point of view. Some of them I would agree with. There    5    bit older, for example. I don't know the exact numbers
 6   may be some in here, I haven't read them all, that I     6    at the exact time.
 7   would disagree with or would articulate differently.     7       Q Yeah.
 8   And there's probably some that are missing.              8       A Some of our users were younger. Some of
 9      Q We touched on this earlier. But the fact            9    our users were teenagers. Many were not teenagers. So
10   that -- obviously, Kik was an established company by     10   I don't have the specific what the curves look like at
11   this point. It's an advantage, right?                    11   what time.
12      A Uh-huh.                                             12      Q That's a fair point. Just I had heard that
13      Q For moving into a crypto project?                   13   the Kik messaging app user base may have started as a
14      A I would say it's an advantage, yes.                 14   young user. But it's an established messaging app over
15      Q The Kin project was not two guys and a              15   the years, that those users may have grown into young
16   dream from their basement. It was an established         16   adults and still be using Kik, right?
17   serious company, right?                                  17      A When you have an app with millions of
18      A Correct.                                            18   users, there's many different subsets within that user
19      Q Right. And it had a significant user base?          19   base that use it for different reasons and different
20      A Uh-huh.                                             20   ways.
21      Q I think Jim Estill identifies that.                 21      Q In your head, was there a good overlap
22         He defines it as users who are the right           22   between the types of people who used Kik, the messaging
23   demographic and just getting into money?                 23   app, and people who might participate in the Kin
24     A Uh-huh.                                              24   ecosystem?
25      Q Do you see that?                                    25      A Yes. In terms of within the Kin ecosystem



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                                               Page 170                                                          Page 172
 1   within Kik, yes, for sure.                                 1   cryptocurrency to be used to solve the fundamental and
 2      Q Sure.                                                 2   global problems of what was happening in the consumer
 3      A For sure. We had gotten millions of people            3   industry, technology industry. And that if we solve
 4   using Kik Points. Like, we had the proof, the              4   that for the world through all of our own independent
 5   indisputable proof, the data, that showed that millions    5   efforts, that based on the fundamentals of crypto
 6   of people would use a new currency inside of Kik.          6   economics, that the cryptocurrency would get more and
 7      Q Okay. I want to go towards the end of                 7   more valuable if there was more and more demand.
 8   Jim's e-mail to you. It starts on the second page of       8      Q Got it. Okay. And I think this follows
 9   this printout chain on the back. He writes,                9   along with what you're saying. He writes, "If you get
10   "Blockchain currency is the dot-com of today."            10   even a bit along, fundraising would be easy. They are
11        Do you see that?                                     11   licensed to make $$."
12      A Uh-huh. Yep.                                         12         Do you see that? Yeah, there on that page.
13      Q Did you agree with him about that?                   13      A I think when I read this, there is an
14      A I do agree with him.                                 14   incredible amount of financial opportunity in
15      Q You do agree with him?                               15   cryptocurrencies. But how those financial
16      A I do.                                                16   opportunities get manifested is not intuitive. And so
17      Q What makes blockchain currency the dot-com           17   my guess would be, when Jim wrote this -- you know, for
18   of today?                                                 18   example, people would say, "Hey, we should just add
19      A Because it's the exciting thing that                 19   transaction fees to the whole thing. And we'll take
20   every -- especially at this time, it was the thing that   20   the transaction fees, and it will be a license to make
21   everybody was excited about. And yet, it was the thing    21   money."
22   that almost nobody actually understood, and 99 percent    22         But that's actually failing to understand
23   of these things were flawed and would go to zero.         23   the real power of what these cryptocurrencies are.
24      Q Is it also true that despite that                    24      Q Oh, got it. So someone, when you first
25   99 percent failure rate, the one percent who might        25   presented the project, might have a vision of -- and


                                               Page 171                                                          Page 173
 1   succeed in this would stand to be a potentially vastly     1   then Kik can have a gatekeeper function where it
 2   successful enterprise in the future?                       2   charges a small toll for every transaction?
 3      A No. And maybe it's just the words you're              3      A Or Kin could -- Kik could print more of the
 4   using that I would tweak or change.                        4   currency or -- all sorts of people have different ideas
 5      Q Please.                                               5   of, you know, all of the things you might be able to
 6      A There was an incredible economic                      6   do. Most of those things are wrong. At the end of the
 7   opportunity here. The economic opportunity of dot-com      7   day, like, the business model here is to launch a new
 8   was to build new tech companies. The economic              8   currency. As people buy that currency, earn that
 9   opportunity of crypto was to build new global              9   currency, use that currency, there begets more and more
10   currencies. So they were the same in that there was a     10   demand.
11   huge -- is a huge economic opportunity. But in where      11         And so the powerful thing here is, like,
12   that economic opportunity comes from is fundamentally     12   everybody through their own selfish efforts trying to
13   different.                                                13   make their own piece of that currency more valuable is
14      Q Understood. I've been trying to use the              14   at the same time making everybody else's pieces more
15   term "project" or something not --                        15   valuable as well. And then you latter that altogether,
16      A Currency.                                            16   and I think it becomes an unstoppable network effect.
17      Q Currency. Okay. But that 99 percent of               17       Q Got it. And so that -- to you, that was --
18   them will fail. But whatever does succeed has the         18   at least in your head, if other people didn't
19   potential to be a huge transformative?                    19   understand it yet, that was the economic reality of a
20      A Absolutely.                                          20   cryptocurrency project to you?
21      Q And that you might be able to attract a lot          21      A Correct. That's the fundamentals of the
22   of not only interest, but money in the start of a         22   economics behind cryptocurrencies.
23   project because there's a possibility for people to be    23     Q You put that better than I did. And that
24   extremely successful if the project succeeds?             24   was always in your head --
25      A I think the opportunity was for a                    25     A Yes.



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                                                   Page 174                                                    Page 176
 1      Q    -- when you were thinking about this               1       A At some point, yes, certainly, we discussed
 2   project?                                                   2   it. But I can't remember at that point.
 3      A You know, I think the question of when it             3      Q You're not a securities lawyer, right?
 4   became as clear as what I just stated, I'm not sure.       4      A Correct.
 5   But certainly, the idea that we could create our own       5      Q Okay. Had you dealt much with securities
 6   Bitcoin, set some of that Bitcoin aside for ourselves,     6   laws issues in your career as the Kik's CEO?
 7   and then launch an ecosystem that grew demand for that     7      A Nope.
 8   Bitcoin, making everybody's Bitcoin more valuable          8      Q Okay. Roughly -- I don't know need the
 9   including our own, you know, that was sort of the          9   exact date. Roughly, in the process of the Kin
10   fundamental opportunity I spotted back in 2011.           10   project, when did you begin, if at all, to think about
11      Q    Got it. Okay. You forward Jim's e-mail to         11   securities laws issues in connection with a token
12   Peter Heinke and say, "FYI, some good thoughts from       12   project?
13   Jim. I couldn't agree more."                              13      A I would say pretty -- like, if -- I can't
14          I take it you were -- you couldn't agree           14   recall exactly. But if I were to guess, at this point,
15   more with his enthusiasm for the crypto project, right?   15   I was not thinking about securities law. Why? Because
16      A Maybe let me step back.                              16   I knew Kik Points wasn't a security. That was a
17      Q    Yeah.                                             17   currency. We got people to use it. All we're doing
18      A Like, why did I forward this to Peter?               18   now is we're guaranteeing the supply of Kik Points.
19      Q    Yeah.                                             19        We're giving the ability to buy Kik Points.
20      A I forwarded this to Peter, again, relying            20   And we're giving the ability for other developers to
21   on the credibility of somebody else to try to convince    21   integrate Kik Points and for it to be a business model
22   somebody on my leadership team not to be so cynical and   22   for them, too. So if Kik Points wasn't a security and
23   to -- maybe "cynical" is the wrong word, but to           23   we're just doing this, why would this be a security?
24   understand and believe that this was a good option.       24          So that's probably why I wasn't thinking
25      Q    Got it. Peter might have been skeptic at          25   about it at the time. I also know at the time, though,


                                                   Page 175                                                    Page 177
 1   the time?                                                  1   like, discussion of it was ramping up in the industry.
 2      A I think every single person I ever talked             2   So I'm not sure if it had ramped up enough in the
 3   to about this started, to some degree, as a skeptic.       3   industry at that point for me to notice from that other
 4      Q You wrote, "Just told the YPO group, and              4   angle, but I'm not sure.
 5   everyone's eyes lit up."                                   5      Q Okay. This e-mail from Peter didn't
 6        What's the YPO group?                                 6   trigger you to begin thinking about it, or you don't
 7       A It's Young Presidents' Organization.                 7   know?
 8       Q Oh, it's like a business association?                8     A I don't recall.
 9      A Yeah. It's other CEOs. I think there's                9      Q Okay. How about -- again, I'm just trying
10   nine other CEOs.                                          10   to see when you were beginning to be aware of or
11      Q Okay. Peter writes, "There are nuances               11   thinking of securities laws, whether that does or does
12   here" -- Peter responded to you with some stuff,          12   not impact this crypto project I'm thinking about.
13   including, "There are nuances here that you have to       13        How about by the time of the white paper,
14   consider, also from a securities law standpoint."         14   which I'll tell you is in May?
15         I think I'm giving you the third warning of         15     A I can't recall exactly, but I would assume
16   the day of don't tell me something that begins with,      16   we had talked about it at that point.
17   "My lawyers told me X."                                   17     Q Okay. I'll take that back from you. Thank
18     A Yep.                                                  18   you.
19     Q Did you discuss with Peter at this early              19     A No problem.
20   phase securities laws issues?                             20        MR. MURTHA: You said that you became aware
21       A Not to my knowledge.                                21   around the time of Exhibit 169 that discussions around
22       Q Okay.                                               22   securities laws topics were ramping up, I think, maybe
23      A Not to my recollection. I don't remember             23   you said, or something to that effect.
24   discussing it at that point with him.                     24         What were you referring to?
25       Q Later on?                                           25         THE WITNESS: So that's not quite what



                                                                             45 (Pages 174 to 177)
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                                                        Page 178                                                       Page 180
 1   I said.                                                        1   and the board of directors that this was a good option
 2             MR. GIBBS: Just a caution. Answer it as              2   with crypto. And so I think what this is is -- I think
 3   best you can without disclosing any communications with        3   one of the things I did is -- you know, I think one of
 4   counsel.                                                       4   the reactions from the leadership team was, "Well, what
 5             THE WITNESS: That's not quite what I said.           5   data is this option based on?"
 6   I said I know that in the industry, discussion of what         6          I could give my logic, and I could give,
 7   may or may not constitute a security ramped up.                7   you know, Kik Points, and I could explain as best as I
 8             MR. MURTHA: Okay.                                    8   could, but I don't recall that being enough at the
 9             THE WITNESS: So, obviously, people are               9   time. And so I think what this is is -- if I recall,
10   talking about it in the industry today. People were           10   this is our chief marketing officer saying, "Well,
11   not talking about it in the industry back in 2011. And        11   maybe I'll go out and do some research, come back, and
12   at some point, you know, there was a curve of talking         12   then we can look at that." And I think this probably
13   about it not at all, not at all, and then a little bit,       13   is the output of that research, but I'm not sure.
14   and then more, and then more and more and more, and           14      Q Fair enough. In light of that, let me
15   then here we are today.                                       15   point you to the page 2 of the deck.
16             So I'm not sure -- if we were to plot that          16      A Okay.
17   curve of how much the industry was looking at it and          17      Q It has -- these documents all come with
18   when this date was, I'm not sure where it would sit on        18   little numbers on them.
19   that curve.                                                   19      A Yeah.
20             MR. MURTHA: Okay.                                   20      Q This one is KIK 26452.
21             BY MR. LEASURE:                                     21      A Okay.
22      Q Can I show you another board deck, I think,              22      Q It's called "Agenda."
23   moving forward in time. This is a document previously         23      A Yep.
24   marked as Exhibit 14A. Exhibit 14A is an e-mail with a        24      Q Just looking at that agenda, you had
25   multi-page printout, beginning with the Bates stamp           25   mentioned that the chief marketing officer might have


                                                        Page 179                                                       Page 181
 1   KIK 26450. It's dated February 16th, 2017, from Ted           1    gone out to put some data around these questions.
 2   Livingston to Kik board.                                      2       A Uh-huh.
 3      A Uh-huh.                                                  3       Q That's Erin Clift?
 4      Q And I am going to point you to parts of                  4       A Correct.
 5   this document, but take your time. The first question,        5       Q Does that appear to be part of this agenda
 6   you'll never see it coming is: What is this document?         6    for this meeting?
 7      A It looks like a board deck that would be                 7       A It does appear to be part of that.
 8   used to facilitate a discussion with the board of             8       Q Do you know what she did?
 9   directors.                                                    9       A What does that mean?
10      Q Okay. And do you have any recollection of                10      Q Do you know what she did? I'm sorry. Not
11   this -- of the particular board meeting to which this         11   existentially. Do you know -- do you know what she did
12   deck was in connection?                                       12   with -- if she was tasked with go put some data around
13      A I don't have any specific recollection to                13   the question of a potential crypto project?
14   the meeting itself.                                           14      A She probably did a lot of research through
15      Q Okay. As I eyeballed the deck, it looks                  15   different means. I think probably one of the things
16   like the discussions on crypto had somewhat advanced or       16   she did is talked to the people at CoinFund about it,
17   deepened with the board; is that fair?                        17   to get their thoughts and their data and their view of
18      A I'm not sure, actually, if that is fair or               18   it, as sort of a viewed expert in the ecosystem at the
19   not. I think what this is, again, relying on the              19   time. But probably looked at a number of sources.
20   credibility of others, you know, there's this -- I'm a        20      Q Fair enough. And we'll turn to CoinFund in
21   very intuitive gut-driven person. I always have been.         21   a bit. Can I point you to page 4?
22   I use logic to move fast and to eliminate options and         22         That's the one with Bates stamp 26454.
23   to arrive at the best option faster than if you just          23      A Yep.
24   wait for the data, wait for the data.                         24      Q I think this is referring to the Credit
25         But I needed to convince my leadership team             25   Suisse look for an acquirer project; is that right?



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                                                    Page 182                                                      Page 184
1       A Yep.                                                  1       A So I don't know for sure, but I'm sure
2       Q Were these two -- I see -- aside from                 2   there were conversations.
3    Credit Suisse, I think I see five -- I don't know what     3       Q Okay. Fair enough. The next section is
4    Chinese Renaissance is. What is Chinese Renaissance?       4   the PowerPoint which you're --
5       A I think they're an investor in China. I'm             5       A Yep.
6    not sure.                                                  6       Q -- which you're drawing on. I should scold
7       Q Are some of these potential acquirers or              7   you about that.
8    partners for a merger, the other companies listed here?    8       A Oh, sorry.
9       A Yes, that's what it looks like.                       9       Q No, it's okay.
10      Q Tango, Zynga, and the others?                        10       A It's work product.
11      A Uh-huh.                                              11       Q You're learning.
12      Q Did the process of talking with potential            12          Next section is "Kik in the blockchain."
13   acquirers -- I'm trying to understand -- did it end on    13          Do you see that?
14   its own or did it end because the crypto project was      14       A Yep.
15   adopted?                                                  15       Q Do you recall discussion at this board
16      A I think it was probably both. Like, these            16   meeting -- it looks like there -- if you go to the
17   processes don't end, like, you know, yesterday the        17   slides following it, it looks like there's some data
18   process was on, and today it's over.                      18   and information about the market.
19      Q Right.                                               19          Do you see that?
20      A Like, they sort of phase out. And so, you            20       A I do.
21   know, as you get -- and you never get, like, hard noes.   21       Q Do you recall discussion with the board
22   Like, no, we'll never buy you. Like, you never get        22   about that?
23   that. You just -- people are slower and slower to         23       A It -- I don't recall specific discussion.
24   return your e-mails, and you sort of get the hint that    24   But looking at this, you know, like, I can recall these
25   at least at this point, they are not interested. And      25   slides being real, and so I assume we would have a


                                                    Page 183                                                      Page 185
 1   you start to get those signals from more and more          1   discussion around it.
 2   people as you realize -- and that's a signal that this     2      Q Sure. Of course. One of the slides, the
 3   process is not going to work out.                          3   one under 26457, it looks like there's some data on the
 4          But it's never definitive. At the same              4   total size of the market.
 5   time, our conviction as a leadership team now, not just    5        Do you see that?
 6   as Ted, but as a leadership team and a board of            6      A Yep.
 7   directors, was growing. So as our conviction in            7      Q Was that discussed at some point, what the
 8   selling the company was going down, our conviction in      8   market looks like for crypto assets?
 9   crypto working as a business model, a new way to build     9      A Yep.
10   a consumer app, and a new way to compete was growing.     10      Q What was discussed, that it was promising
11      Q Was Kik still involved in merger                     11   for a potential Kin project?
12   discussions or selling the company discussions after      12      A So maybe let's step back. What's the
13   the crypto project was publicly announced in May?         13   context of this?
14      A Not to my knowledge. But I do know, you              14      Q Yeah.
15   know, even after we announced it, there was -- again, I   15      A Like, if you look at the agenda, you'll see
16   think we had -- it was a very tough time the leadership   16   that Erin was presenting this section. And I am
17   team went through. And so I think there -- I can't        17   presenting this section before.
18   recall exactly, but ideas of, like, "Oh, now maybe we     18      Q Got it.
19   can sell the company." I'm like, "We're not selling       19      A Why? I was presenting the section on the
20   the company."                                             20   process because I wanted the board to know that I
21          But, you know, I think for some people,            21   personally was taking the process very seriously. And
22   money was very important, and offloading this thing and   22   yet, I didn't present what is listed here as the
23   locking in a return was important, even if it wasn't      23   potential for an ICO. Why? Because, again, I had to
24   what was best for the company.                            24   convince my board that this was a viable option.
25      Q Right. Okay.                                         25          And so, once again, I was saying, "Don't



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                                              Page 186                                                            Page 188
 1   hear it from me. Hear it from Erin."                       1   decentralized --
 2       Q Got it.                                              2      A Ether is a decentralized currency.
 3       A So this is her research and these are her            3      Q Apologies. I used the wrong term.
 4   slides.                                                    4         How is that different from Kin then?
 5       Q Got it. Okay. This is one you were                   5      A Because Ether was trying to get people --
 6   presented. Fair enough.                                    6   Ether was the currency that would power the smart
 7           Page 8 -- I just want to get your sense of         7   contract applications. We weren't trying to get
 8   where a Kin project might fit in. Page 8 begins,           8   anybody to use smart contract applications because we
 9   "Crypto investors are largely funding three areas:         9   thought they were flawed for the most part and that
10   Blockchain platforms, infrastructure projects, and        10   nobody would ever use them. And we thought that back
11   decentralized applications."                              11   then, that has largely proven to be true.
12           Do you see that?                                  12          So, like, if Ether -- Ethereum had a
13       A Yes.                                                13   currency, we had a currency, that's true. They were
14       Q What's the Kin project?                             14   trying to use the currency to do one thing. We were
15           Is it one of those or is it none of those?        15   trying to use the currency to do something else.
16       A I would say it is all of those and none of          16      Q Okay. Let me point you a few slides
17   those at the same time.                                   17   onwards. It's Slide 10. And it has the Bates stamp
18       Q Yeah. That's a paradox. Sorry. I didn't             18   26460. Do you see that?
19   mean to be glib.                                          19      A Yep.
20           What do you mean by that?                         20      Q It's the section that's called the
21       A What would I call Kin at the end of the             21   "Immediate Opportunity."
22   day --                                                    22     A Yep.
23       Q Uh-huh.                                             23      Q Just because you had given me some helpful
24       A -- is a decentralized currency. That's              24   context before about that Erin presented the prior
25   what it is. It is a currency. So when I look at           25   section there, Erin Clift.


                                              Page 187                                                            Page 189
 1   these, these are things that you need to sit underneath    1      A Yep.
 2   to make that currency work. Actually, I don't think        2      Q Did you present this?
 3   you need decentralized applications, but you need a        3        Did Erin present this upcoming section?
 4   blockchain and the infrastructure. I would almost say      4      A I can't recall. But if I were to guess, I
 5   those two are the same thing.                              5   would guess that Erin presented this.
 6       Q Got it.                                              6      Q Okay. This was still in the spirit of you
 7       A So I would -- and, again, I think this is            7   having others, not you yourself, present the
 8   just, like, the very early and misguided understanding     8   opportunity here?
 9   of what exactly crypto was at the time and even is         9     A I am not crazy.
10   today. People were like -- they're trying to -- it's      10      Q Okay. Fair enough.
11   this brand new thing, and they're trying to put it into   11      A Other people agree with me.
12   familiar buckets that they understand to try to help      12      Q Fair enough. The next slide, Slide 11,
13   them explain to other people who don't -- even            13   this might go into what Kin is in its distinction.
14   understand it less, and so they try to put it into        14         The header is: "Kik can be the first major
15   these buckets.                                            15   consumer network to apply real use cases built off of
16           But in doing so -- like, Kin is none of           16   blockchain."
17   these things, and yet, is all of these things. It's a     17        Do you see that?
18   fundamentally new thing.                                  18      A Uh-huh. I do.
19       Q And so I think I understand your answer.            19      Q And is that true, is that fundamentally
20           But it's a decentralized cryptocurrency?          20   what the Kin project is?
21       A Uh-huh.                                             21      A I think so. I would say there is no --
22       Q Which I think is how you --                         22   like, the consumer use cases of other cryptocurrencies
23       A A decentralized currency is a                       23   today, outside of just speculative trading, are almost
24   cryptocurrency.                                           24   zero for the most part.
25       Q Right. How is -- Ethereum is a                      25      Q Okay. All right. And if the dreaded day



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                                                     Page 190                                                 Page 192
1    comes when Facebook Coin, Zucker Coin, or whatever --       1   here because people were using it in the industry at
2       A It's not going to be a dreaded day. When               2   the time to describe people who were buying
3    the exciting day comes, yes.                                3   cryptocurrencies.
4       Q Where competition is there, that would                 4      Q And do you know why the industry changed
5    be -- would that be an example of another major             5   the term?
6    consumer network attempting to apply real use cases at      6      A I don't know. I don't even know if it was
7    least, built off of blockchain?                             7   an industry term at some point. I don't know if it
8       A So Kin is a cryptocurrency.                            8   could have been a term for CoinFund. I don't believe
9       Q Yep.                                                   9   it's a term I have ever used.
10      A For Facebook Coin to compete with Kin, it             10        Q Okay. Can I point you to Slide 13.
11   would also need to be a cryptocurrency. For it to be a     11       That's the one with Bates stamp 26463.
12   cryptocurrency, it would also need a blockchain.           12      A Yeah.
13      Q Yeah.                                                 13     Q The header is "Crowd funders have strong
14      A So I would say yes.                                   14   appetites for exploration."
15      Q Yeah. I'm just trying understand what --              15       Do you see that?
16   if Kin is -- if Kin is the first, what its peers would     16      A Yep.
17   be.                                                        17     Q Okay. Good. And I think we're still --
18      A Uh-huh.                                               18   you believe this is still Ms. Clift's section?
19      Q And I'm thinking a Facebook Coin would be.            19      A I believe so.
20      A Uh-huh. Uh-huh. Uh-huh.                               20      Q Her -- I don't want to say book report, but
21      Q Okay.                                                 21   her report back to the board on what she's seen --
22      A Yeah. If Facebook copied Kin exactly,                 22      A Her own independent findings.
23   which they probably will.                                  23      Q There you are.
24      Q Copy and crush.                                       24      A Which is what I wanted. I wanted somebody
25         The bottom of this reads, "We believe that           25   to independently verify that this was a good idea.


                                                     Page 191                                                 Page 193
1    the scale of our network alone will drive strong            1       Q Yeah. She gives some data here.
2    interest from the cryptocurrency investor community."       2          Do you see that?
3          Did you believe that?                                 3       A Yep.
4       A I think the question here is the term                  4       Q And reasons why people might invest in a
5    "crypto investor." You know, I talked a little bit          5   project. Do you see that?
6    earlier about people not understanding this space. And      6       A Yep.
7    so they're trying to put it into buckets that they          7       Q She lists as a source CoinFund investor
8    understand to make it more easy to understand for           8   survey, that's in truly small print --
9    themselves, but to make it more easy to explain to          9       A Yep.
10   other people.                                              10       Q -- on the bottom of it.
11         Maybe let me say how could I reword this so          11          Do you know anything about that survey,
12   that I would agree with it. We believed that the scale     12   what she's drawing off of?
13   of our network alone will get people who are interested    13       A I can't recall specifically. But if I had
14   in cryptocurrencies excited about Kin.                     14   to guess, it would be, as part of her due diligence,
15      Q Sorry. There was a phone tone.                        15   she reached out to CoinFund. As part of their due
16         Did you want to continue or was that --              16   diligence, they did a survey of people they knew who
17      A No, that was it. I was just rewording the             17   were buying cryptocurrencies, and that they called that
18   sentence for you, if that's helpful.                       18   an investor survey.
19      Q What -- just from your perspective, it                19       Q Okay. That's fine. Do you recall
20   sounds like you wanted to reword the term "crypto          20   discussion about this survey with the board?
21   investor" into something else; is that right?              21       A I recall -- I don't recall specifically.
22      A Uh-huh.                                               22   But, you know, I can recall points of it being used,
23      Q Why?                                                  23   pieces of it being used to explain why this was a good
24      A Because I think it's inaccurate. Like,                24   idea, and to bring data to why this was a good idea.
25   it's not an industry term anymore. Maybe it was used       25          But I don't recall myself personally


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                                                   Page 194                                                    Page 196
 1   reading through the report itself.                        1       A I probably saw some of them. But I don't
 2      Q     Okay. We might turn to that in a bit. How        2    recall any specifically.
 3   about other people? Do you know, in your discussions      3       Q Okay. So it sounds like -- you can't speak
 4   with them, did they point to CoinFund analysis or data    4    for all of Kik or what everyone did. You can only
 5   that was out there in discussing the Kin project?         5    speak for what you know. So I appreciate that.
 6      A If I had to guess, I'm sure they would.              6          It sounds like you were confident at this
 7   Sure.                                                     7    time and up to the token distribution event that people
 8      Q     Okay. Do you remember?                           8    would want to earn, use the Kin token?
 9      A I don't remember.                                    9       A Correct.
10      Q     That's fine. Let me see if there's               10      Q And you believed that because of what you
11   anything else in this document. Yeah. This might just     11   saw as the success of the earlier Kik Points project?
12   cue us to "Next Steps." Page 21, Bates stamp 26471.       12      A Correct.
13      A Uh-huh.                                              13      Q Is there any other reason you had -- you
14      Q     This is -- I should apologize. The page          14   were confident that people would want to use Kin
15   before that reads, "Next Steps."                          15   tokens?
16      A Uh-huh. Okay.                                        16      A I think I was also confident based on my
17      Q     I just want to orient you. Any sense on          17   experience building consumer products.
18   where -- is this you? Is this Erin Clift?                 18      Q Sure. Okay. Fair. You built a successful
19           Is this somebody else?                            19   messaging app, right?
20      A My guess is this would be Erin.                      20      A Correct.
21      Q     Okay.                                            21      Q And how does that connect to being
22      A But I can't say for sure.                            22   confident -- I mean, I understand that people -- you
23      Q     She writes, "Three weeks to gauge                23   had experience with people wanting to join a chat
24   preliminary investor interest."                           24   community and all of the things that go into the Kik
25           Do you see that?                                  25   messaging app. How does that equate into people would


                                                   Page 195                                                    Page 197
 1      A Yep.                                                  1   want to earn, spend, redeem Kin?
 2      Q And is this describing -- and it says the             2     A Because the logic was very simple. If you
 3   word "CoinFund" here. Is this describing work that she     3   run a big community, and you find something the
 4   was doing with CoinFund?                                   4   community wants, and you tell them the only way to get
 5      A That would be my guess.                               5   it is with this specific currency, their next question
 6      Q Okay. Under -- so we'll talk about                    6   will be: "Okay. Then how do I get that currency?"
 7   CoinFund in a minute. Under the -- there's two items       7      Q Got it. Okay. Your sense of the -- not
 8   for Kik. Do you see that, user research and brand          8   online, but dynamics of people in a digital
 9   developer exploration?                                     9   environment?
10      A Yep.                                                 10      A If the United States government said the
11      Q Under "user research" -- besides "user               11   only way to get coffee tomorrow is -- the only legal
12   research," it writes, "Understand fit with users, ie,     12   way is with Bitcoin, would you be confident that would
13   earn/redeem."                                             13   go find how to get Bitcoin?
14      A Uh-huh.                                              14       Q Anything that has to do with coffee, I
15      Q What was done for that, do you know?                 15   think there would a riot, also. People would be very
16      A I don't recall. Like, from my point of               16   concerned about their morning.
17   view, I knew there would be a fit with users because we   17         You didn't have -- there weren't -- you
18   had already validated that at scale with Kik Points.      18   didn't -- you didn't rely on any particular studies on
19      Q By the number of Kik Points transactions?            19   how people would use Kin in the future?
20      A Correct.                                             20     A No.
21      Q Okay. How about what people might want to            21       Q Okay.
22   do, not with Kik Points, but with a cryptocurrency?       22       A I had been thinking about this for years at
23   Was there -- were there studies done by that by Kik?      23   this point. And at this point, I could see the light
24      A There probably were.                                 24   at the end of the tunnel, that we were going to get to
25      Q Did you see them?                                    25   go for it. So all of this work was, from my point of



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                                                   Page 198                                                    Page 200
 1   view, done as an exercise for people to convince           1      Q Okay. That's obviously some multiple more
 2   themselves that this was a good idea. Convince             2   than -- this is February of 2017, but some comparables
 3   themselves and then help me convince others.               3   that were put into this document, right?
 4      Q Is it fair to say you were somewhat                   4      A Uh-huh.
 5   agnostic on what precisely people would want to do with    5      Q From your perspective, were you expecting
 6   their Kin in the future? Let me ask that a better way.     6   at this time, February of 2017, a sale of $100 million
 7         You didn't have particular desired use               7   of Kin?
 8   cases for Kin when the ecosystem was up and running?       8      A I can't recall exactly. But I would say my
 9      A I think we had use cases we didn't want to            9   guess would be no.
10   happen with Kin for sure, like on the illegal and         10      Q Okay. What happened -- you were expecting
11   safety side.                                              11   something less, I take it.
12      Q Yeah.                                                12     A It was hard to know at the time what the
13      A But in terms of outside of those, what we            13   expectations should be. I don't recall having a
14   did want Kin to be used for, what I believe and still     14   specific number in mind.
15   believe today is that there will be millions of ways to   15      Q I'm sure you didn't. But it was uncertain?
16   earn and spend Kin in the future. And so, you know,       16      A Uh-huh.
17   which ones come first and which come later and which      17      Q But you weren't thinking in the range of
18   can we foresee and which ones can't we foresee is sort    18   magnitude of the sale of 100 million; is that what you
19   of an irrelevant exercise.                                19   just said?
20      Q Okay. Fair enough. Let me point you to               20      A I think, at some point, I said in front of
21   one more page in this document, 22, 26472.                21   the company that somebody else said that we might be
22      A 22?                                                  22   able to sell $100 million worth. And that got me
23      Q I'm sorry. Page 22.                                  23   excited because for me, again, I had been thinking
24      A Got it.                                              24   about this for years and was unable to share this with
25      Q And then that has Bates stamp 26472. It              25   people for years. And then as I shared it with people,


                                                   Page 199                                                    Page 201
 1   begins with: "Well-known decentralized token sales."       1   most of the time, it got pushed back.
 2          Do you see that?                                    2         And at the same time was going through a
 3      A Yep.                                                  3   very difficult time for me as a company. And so for
 4      Q Are these somewhat -- just based on the               4   somebody else to say, wow, if Kik did this, they could
 5   appearance of this, this appears to me to be giving        5   probably sell $100 million worth of Kin, it was a
 6   some comparables about what recent token sales were        6   validation to me that finally the world was seeing what
 7   able to raise in the market.                               7   I was seeing. And that to me, after years of pain,
 8      A Uh-huh.                                               8   sort of made it all worth it.
 9      Q Is that a fair reading of it?                         9      Q It was a validation of the vision?
10      A Yep.                                                 10      A Validated the vision.
11      Q Okay. So these are from -- I guess                   11      Q And that's, I guess, what I wanted to
12   Ethereum is one thing from 2014, but there are three      12   explore. To what extent -- just sitting back now
13   from 2016. Do you see that?                               13   and -- what is it, November 2018.
14      A I do.                                                14         To what extent is the 100 million sale that
15      Q 24 million, 33 million, and 19 million.              15   Kik was able to do versus the 19 to 33 million sales of
16      A Yep.                                                 16   the comparables it's looking at, to what extent was
17      Q Was that -- I guess I just want to get               17   that appetite in the market that developed in 2017?
18   context in terms of the amount of the raise that Kik      18      A I'm sorry. What's the question?
19   was expecting compared to what it did raise, I guess,     19     Q Sure. I'm trying to understand were you
20   first. It ultimately raised $100 million, correct?        20   guys able to sell more tokens because there was
21      A I wouldn't use the word "raised." I would            21   increased demand in the market in 2017?
22   use the word "sold."                                      22      A I would say that was part of it, sure.
23      Q Fair.                                                23     Q Okay. Had you tried to approach the
24      A It ultimately sold almost $100 million               24   market, let's say in 2016, don't think you would have
25   worth of Kin.                                             25   been able to sell 100 million?



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                                                 Page 202                                                           Page 204
 1      A We didn't try to approach it in 2016, so I            1   the company knew that we were going to go into crypto.
 2   can't say for sure. But if I have to guess, I would        2   And now, obviously, everybody knows that we're going
 3   say no, we would not be able to.                           3   into crypto. And there was a process in between for
 4      Q Okay. You would say -- would you agree                4   sure, a series of steps to introduce the company to it
 5   that the timing of the Kin token sale was favorable for    5   and get them working on it, and then to where we are
 6   selling more tokens?                                       6   today.
 7      A For selling the tokens at a higher price              7      Q And I take it you started with maybe some
 8   per token, and therefore, resulting in selling more        8   people in the executive leadership, and then move on to
 9   dollars worth, I would say the timing was perfect.         9   a more general discussion?
10      Q You put that better than I did.                      10      A Yeah.
11          Would you agree that the market for tokens         11      Q Yeah.
12   in 2017 was pretty hot?                                   12      A How do you get people to buy into an idea
13      A I would say that people were realizing that          13   that at first blush is something totally new and
14   cryptocurrencies were going to be a very exciting         14   different.
15   thing. And yet at the same time, for the most part,       15      Q Right. And did you help facilitate those
16   did not understand why.                                   16   communications, get involved in them?
17      Q Right. And you've referenced this, that              17      A I would -- yeah, certainly.
18   you think there were a lot of -- I'm going to put my      18      Q Okay.
19   own gloss on this.                                        19      A I can't remember anything specific, but I
20          You thought there were a lot of ill thought        20   would assume so.
21   out, poor token projects being put out there in 2017?     21      Q That's fine. How did people react?
22      A Yeah. I thought there were -- even to take           22      A I don't know. I can't say. And it's hard
23   it a step further, there's a large percentage which       23   for me to know because I think -- at some point, by the
24   were just outright scams.                                 24   time we go to the company, my recollection is, like,
25      Q Scams, people trying to take advantage of            25   the leadership team was pretty bought in. And they


                                                 Page 203                                                           Page 205
 1   speculation out there in the market?                      1    were having their own conversations with their people
 2     A Yeah.                                                 2    to sort of validate that, you know, is this actually a
 3          MR. LEASURE: Let's go off the record.              3    good idea. Okay. It is a good idea.
 4          THE VIDEOGRAPHER: This ends Disc Number 2.         4          So I don't remember there being any
 5          Going off the record.                              5    significant pushback from the company when I spoke with
 6          The time on the video monitor is 3:09 p.m.         6    them, but I can't recall exactly.
 7          (A brief recess was taken.)                        7       Q Was there a -- let me back up.
 8          THE VIDEOGRAPHER: This begins Disc                 8          Within the leadership team, was there
 9   Number 3. We are back on the record.                      9    resistance to the idea of moving to crypto?
10          The time on the video monitor is 3:19 p.m.         10      A I can't recall specifically. But as a
11          BY MR. LEASURE:                                    11   generality, yes, I can recall resistance.
12      Q    We're back on the record after a brief            12      Q What was that based around?
13   break during which, Mr. Livingston, did you have any      13      A Just the idea that it was yet another crazy
14   substantive conversations about this investigation with   14   idea that probably wouldn't work.
15   SEC staff?                                                15      Q Okay.
16     A I did not.                                            16      A It felt like the general idea.
17      Q    Okay. So we're talking about circulating          17      Q Was there a concern about the effect the
18   the idea of a crypto project. We talked about the         18   move to crypto might have on the existing Kik messenger
19   board --                                                  19   app business?
20     A Uh-huh.                                               20      A No. Not to my recollection.
21      Q    -- and discussions with the board.                21      Q Okay. Was there eventually a sit-down
22          How about with Kik employees? Was there a          22   meeting within Kik?
23   process for telling them that you were thinking about     23      A I would think so, yes.
24   pivoting the company into a crypto project?               24      Q Sit-downs are how communications are done
25     A Yeah. There was a period when nobody at               25   to all Kik employees?



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                                                  Page 206                                                          Page 208
 1      A Correct.                                              1   walk away. Look, Satoshi did it. Disappeared, and yet
 2      Q And do you usually participate in those?              2   it keeps going. But then -- well, then what happens to
 3      A I usually do participate in those, yes.               3   us? Well, then you're participants in the ecosystem,
 4      Q And do you recall -- do you recall a                  4   too. And we can all decide how we want to contribute.
 5   sit-down meeting relating to the idea of moving into a     5          Or if we want to move on to something else.
 6   crypto project?                                            6   It turns out that's sort of a hard answer for people to
 7      A I recall us having one. I can't recall the            7   internalize.
 8   specific meeting.                                          8       Q Yeah. Can I -- I might not have shown it
 9      Q You don't know -- do you know what was                9   to you, but I think I've seen an e-mail where you had
10   said?                                                     10   the -- maybe just a senior leadership explain, the
11      A I'm sure my memory could be jogged. But I            11   company might not exist once we're done. If the
12   don't remember, other than, "We're doing crypto. It's     12   project is successful and we profitably sell all of our
13   a great idea. You should be excited."                     13   Kin, Kik as a company may no longer need to exist.
14      Q I imagine -- and correct me if I'm wrong.            14     A Right. Satoshi Nakamoto disappeared.
15           If I imagine myself as a Kik employee, I          15       Q Right.
16   imagine one of my questions would be for any project:     16       A We don't know who he/she/they are.
17   How is this going to lead us to profitability?            17            (Discussion off the record.)
18     A Uh-huh.                                               18            BY MR. LEASURE:
19      Q Was that a common question from Kik                  19     Q Let me show you a document marked
20   employees?                                                20   Exhibit 107. Take a look at it. And as always, let me
21      A I think a question from Kik employees over           21   know when you're ready. I'll ask you what it is.
22   the years is: How are we going to make money? And for     22     A Okay.
23   sure.                                                     23     Q Let me identify it for the record while
24      Q And was that a question posed in connection          24   you're reading it.
25   with the move to crypto?                                  25     A Yeah.


                                                  Page 207                                                          Page 209
 1      A At some point, yes. Like, I think probably           1       Q It's a multi-page printout of an e-mail
 2   first is like, "What is this thing?" So at some point,    2    chain ending March 24th, 2017, dated -- with the Bates
 3   you know, how is this going to lead to profitability      3    stamp KIK 26624.
 4   for us would definitely be a question. But I'm not        4       A Okay.
 5   sure at what time, who would ask that. I don't recall     5       Q What is this document?
 6   somebody specifically asking that, say, at an all-hands   6       A I think this is me -- I'm not sure when --
 7   meeting.                                                  7    it's not listed here, but when I sent the original
 8      Q And you provided an explanation for that             8    e-mail. I see that I forwarded it March 24th.
 9   during a testimony today, which is, you know, fixed       9    Usually, there would be a date on a thread like this.
10   supply of the currency. If demand goes up, our Kik's      10   But let's assume it's roughly around then. I think,
11   holdings of the currency goes up, and we can sell it.     11   you know, despite Fred's endorsement, despite Erin's
12      A Uh-huh.                                              12   endorsement and own independent research, there was
13      Q Right?                                               13   still, from my recollection, skepticism on the
14      A Correct.                                             14   leadership team at this point.
15      Q Was that the answer you always conveyed?             15         And so this is me trying to dumb it down as
16      A I'm not sure. Like, if I was asked -- I              16   much as possible so that people understand what we are
17   don't recall being specifically asked, so that's why I    17   talking about and how it would work.
18   can't recall specifically answering. I do -- like,        18      Q Got it. A few names and people before we
19   even for the board and for the leadership team, never     19   get into the substance of it.
20   mind the company, like, how this works as a business      20      A Uh-huh.
21   model is something fundamentally new, right?              21      Q The initial e-mail, which I think might
22           Like, what do you mean we're going to keep        22   have a date. It's -- do you see March 24th, 2017,
23   selling pieces of this asset? Like, what happens when     23   there?
24   the asset runs out? It's, like, good question. You        24      A You're right. Sorry. I see it now.
25   know, by then, it's open decentralized, and you can       25      Q That's sent to leadership team, which has



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                                                   Page 210                                                        Page 212
 1   an e-mail address, exec@kik.com. I take it that's          1   vision for crypto and how it'd fit into Kik."
 2   senior managers --                                         2           Do you see that?
 3      A Yeah. That's the leadership team                      3       A Yep.
 4   distribution list.                                         4       Q I take it -- that seems to be consistent
 5      Q People like Ben-Ari, Clift?                           5   with your recollection that people just had some
 6      A Yep.                                                  6   confusion or not really -- not clarity around the
 7      Q Okay. And that's you, as you say, trying              7   vision yet.
 8   to present in a -- I don't want to say dumbed down, I      8      A It was and is a very big idea, and at first
 9   feel like that would be rude to say -- in a simplified     9   is very hard for people to get their heads around,
10   format the vision you had?                                10   especially, you know, almost, like, a year and a half
11      A Yeah. The goal of this was to help them              11   ago or almost two years ago, whatever this is.
12   understand as much as possible, like, what this option,   12       Q Sure. And as you said, this is you trying
13   what the idea was.                                        13   to put the vision down on paper?
14      Q Got it. And you ultimately forwarded it to           14      A Yes. This is me trying to dumb it down as
15   a person named Hubert?                                    15   much as possible. I see I actually I did use the term
16      A Hubert, yeah. He was my CEO -- is my CEO             16   there as well.
17   coach.                                                    17       Q You're right. So I can use that phrase
18      Q Oh, understood. Okay. Very good.                     18   as well.
19         Did he have a role in the Kin project,              19           Let me point you to the second page where
20   other than just being your coach?                         20   there is some substance. On page 26625, you're there.
21      A He had a major role in helping me turn               21       A Yep.
22   around the company from a leadership point of view.       22       Q You write, "Why would we do this?" And you
23   And so I sent this to him because, like, I was            23   give three reasons. Do you thee see that?
24   explaining do him that I thought there was this other     24      A Yep.
25   way, and how can I get the leadership team on board.      25       Q And I don't want to read every single word


                                                   Page 211                                                        Page 213
 1   And so when I highlighted here, I said -- like, my        1    here, but it looks like the three reasons you wrote
 2   recollection, I'd forward it to him and be like, "Hey,    2    are: One, it is a way to raise money to fund
 3   this could be a helpful context as you helped me turn     3    development.
 4   around the leadership of the company."                    4       A Uh-huh.
 5      Q     Got it. And you're looking for coaching          5       Q Two, it is a new way to monetize a
 6   and ideas on leadership issues with --                    6    community. And three, it is a way to unite the
 7      A Correct.                                             7    community to work together to build the best community
 8      Q     With a tough task, I take it.                    8    possible.
 9      A Yeah. Turning around a failing consumer              9       A Uh-huh.
10   company is a very tough task.                             10      Q I'll just pause there. Were those -- were
11      Q     I've never done it, but I believe you.           11   those the reasons from Kik's perspective to do the
12          You write -- let's go to the substance of          12   token project?
13   what you write to the leadership team. Okay?              13      A I would -- if I could go back and -- maybe
14      A Okay.                                                14   not if I could go back. If I were to reword one, it is
15      Q     You write, "Hi, all. I had a chance to           15   a way to get money to fund the development is what I
16   sync with a few of you about the crypto meeting on        16   would change it to. You know, definitely, two, we
17   Wednesday."                                               17   talked about a lot. Three, we talked about a lot as
18          Any of that ring a bell, the crypto                18   well.
19   meeting?                                                  19      Q Uh-huh.
20      A I assume it was like a meeting to discuss            20      A But we were also spending money. And if we
21   doing cryptocurrency. I can't remember specifically,      21   didn't get more money, we would go bankrupt and none of
22   but that would be my guess.                               22   this would happen. So -- and the leadership team at
23      Q     You write about themes you heard. Going          23   the time was very focused, obviously, on our cash
24   down to the one where you write, "The other theme I       24   balance. As it declined, as we got closer to going
25   heard was that there is still some ambiguity around the   25   bankrupt, like, all anybody wanted to talk about was,



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                                                      Page 214                                                         Page 216
1    like, how are we not going to go bankrupt. And so when      1       A Because I think development -- again,
2    I look at this first one, crypto was such a new thing       2    getting back to sort of an equity raise, development is
3    that it was hard for people to understand, and so --        3    like, "Oh, we're going to go do something." But on
4    you know, traditionally, you either sell advertising or     4    day one, we created this cryptocurrency that existed on
5    you sell things. That would be revenue.                     5    the Ethereum blockchain that anybody could access, use,
6          Or your other option is to raise investor             6    integrate, and improve upon, evangelize, set up
7    money through an equities offering. So those are the        7    programs for. So it's not a way to raise money.
8    only two pieces of context the leadership team would        8          It's a way to sell a piece of the asset
9    have. Now there was a third, which is create a new          9    that we own. And it's not a way to fund development.
10   currency, sell some of that currency, and use the money     10   It's a way to fund our participation in the ecosystem.
11   from that sale to fund development.                         11      Q Kik being one person who will build out the
12      Q Got it.                                                12   ecosystem, not the only; is that your idea?
13      A So that would be my only -- when you say               13      A Kik being one person entity building things
14   are these the three reasons, sort of would be my            14   in the ecosystem for the benefit of itself, but because
15   answer. You know, it's a new way to monetize a              15   of the way cryptocurrencies work, also for the benefit
16   community. It's a new way to work together. These           16   of everybody else.
17   actually to me were the most important things. But at       17      Q Do you think it was expected that Kik
18   the time, it's also a way to sell an asset to get the       18   would -- do you think the people who bought Kin tokens
19   money to fund development.                                  19   in the TDE expected that Kik would use the money they
20      Q Got it. You -- before, when we were                    20   gave Kik to help develop the ecosystem?
21   talking, you had a problem with using the term "raising     21      A I think people's -- I can't say what
22   money" in the context of the Kin token sale.                22   people's expectations were. But what their
23      A Uh-huh.                                                23   expectations should have been is that as a holder of
24      Q I take it that's because you didn't see it             24   3 trillion of the 10 trillion Kin, we would do
25   as, like, a raising of money from investors as much as      25   everything in our power to increase the demand as much


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 1   a sale to fund the project?                                 1    as possible in our own selfish interest, but then that
 2      A I'm sorry. What's the question?                        2    they would benefit from that as well. But that would
 3      Q You had a problem with the idea of raising.            3    be also true of everybody in the ecosystem.
 4      A Yeah.                                                  4       Q Fair enough. Okay. I can offer a kind of
 5      Q Calling this a "money raise."                          5    absurd hypothetical. Let's say Kik sold 100 million
 6      A Yes.                                                   6    worth of Kin and then just walked away with the
 7      Q Why is that?                                           7    money --
 8      A Because when you use the word "raise,"                 8       A Uh-huh.
 9   it -- people would think, "Oh, a raise, like a              9       Q -- or threw the best party in the history
10   traditional equity raise. Oh, is this an equity raise?      10   of tech companies, the 100 million is gone.
11   Does this come with all the rights of an equity raise?"     11         Do you think that would have been
12   So I don't have a problem actually with the word            12   inconsistent with the understanding of what Kik would
13   "raise." I have a problem with the definition it            13   do with the proceeds of the sale?
14   infers in many people's minds.                              14      A I think it would be just, like,
15      Q So you prefer this to say -- I just want to            15   counterintuitive of why would Kik not act in their own
16   make sure it's clear. You'd prefer this to say for          16   best self-interest. With that said, let's take your
17   Reason 1, why we would do this is: It is a way to sell      17   hypothetical and that did happen.
18   tokens to fund development?                                 18      Q Uh-huh.
19      A I would say, even tweak it --                          19      A There are 10,000 people all around the
20      Q Yeah.                                                  20   world who owned a piece of Kin who would be very
21      A -- it is a way to create a new currency,               21   incentivized, and this is the power of
22   sell a piece of it to fund our participation in the         22   cryptocurrencies, to make Kin work regardless of what
23   ecosystem.                                                  23   Kik did. If we take your hypothetical and we threw
24      Q Not fund -- okay. So we covered the raise              24   $100 million party and said, "That was it. Sorry.
25   part. Why is "fund development" not the right term?         25   We're shutting down the company," there would be over



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                                                  Page 218                                                            Page 220
 1   10,000 people in the world who owned a piece of this       1   demand," you would say instead it's "all the things
 2   currency that said, "Damn, I don't know why they did       2   everybody will do"?
 3   that. That was really stupid. But we need to make          3      A If I were to do this today, I would say
 4   this Kin thing a success because we all own a piece of     4   there's many different reasons people buy
 5   this." And that is the power of cryptocurrencies.          5   cryptocurrencies. Some reason that some people buy
 6      Q Okay. Maybe we'll turn more to that in a              6   cryptocurrencies is purely as a speculative
 7   bit. On this Item 1, the last two sentences of it --       7   proposition.
 8      A Item -- yes. Bullet one. Okay.                        8      Q Yeah.
 9      Q So Item 1 is a way to raise money to fend             9      A For those people, they're betting on that
10   development --                                            10   the efforts of all of these different people, because
11      A Uh-huh.                                              11   of the incentive, because of the crypto economics,
12      Q -- to fund development. And then the                 12   because of the way that this is all set up, they're
13   second-to-last sentence reads, "The value proposition     13   betting that demand is going to go up as one
14   to investors is if they buy in today at the ICO, and      14   constituency in this broader ecosystem, which exists in
15   then the demand for the currency goes up because of all   15   every cryptocurrency.
16   the things we do to create demand for them, then they     16      Q The last sentence reads, "The money taken
17   will be able to sell their points at a higher price in    17   in from investors for the ICO is used by Kik to fund
18   the future and make a return."                            18   development to create more and more demand by both
19         Do you see that?                                    19   growing the community and by growing the demand for the
20      A I do.                                                20   currency within the community."
21      Q We've talked today about increased demand            21         Is this accurate?
22   and increased price. Is this -- is what you wrote here    22      A I think what I was trying to get across
23   in March an accurate statement of the value proposition   23   here is we sell some Kin token. That sale generates
24   being offered?                                            24   revenue. What do we do with that revenue? The
25      A I would say that I was trying to -- I can't          25   smartest thing to do from a purely financial point of


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 1   recall for sure. But if I were to guess, I was trying      1   view, from Kik's perspective, is to try to grow -- do
 2   to explain in as familiar terms as possible why people     2   everything they can to grow demand, real demand for
 3   might buy a cryptocurrency. Like, the fundamentals of      3   that currency, which increases the value of its
 4   crypto economics are fixed supply. Demand goes up,         4   currency, increases the value of everybody's currency.
 5   price goes up. That's why we all worked together, yet      5           And that is what is in everybody's best
 6   independently, to make it more valuable.                   6   interest in the ecosystem.
 7         So when I look at this, if you buy a                 7       Q Right.
 8   cryptocurrency today, any cryptocurrency, and then the     8       A Everybody is trying to selfishly grow the
 9   demand for that cryptocurrency goes up because of all      9   demand of Kin for themselves. But in doing so, they're
10   of the things we do -- but "because of all of the         10   also growing demand for everybody else.
11   things everybody does" is what this should say -- then    11       Q Right. And we've talked about that.
12   if by all those independent efforts the demand goes up    12   That's part of the -- skin in the game isn't accurate,
13   -- you know, maybe Kik does something and it doesn't      13   but the win-win-win, that Kik has the same incentives
14   create demand at all.                                     14   as other people to grow this currency out?
15        But maybe somebody in Zimbabwe does                  15      A That is a fundamental of how
16   something that creates this demand in what, we don't      16   cryptocurrencies work. And that's -- that is the basis
17   know, that's the power of it -- then demand goes up.      17   for why cryptocurrencies are so exciting.
18   If demand goes up, the price will be able to go up.       18       Q Got it. And in the context of this e-mail,
19   And so if the price goes up, you know, you own a piece    19   you're trying to explain that to maybe skeptical or
20   of this currency you bought for less money yesterday,     20   concerned --
21   and now it's worth more money today, then you've had a    21      A And people who don't know crypto at all,
22   financial gain.                                           22   don't know anything about crypto. And so trying to
23     Q So if you were to -- sitting here today, if           23   explain it in terms that help them understand, even if
24   you were to publish this sentence, the correction you     24   they are ultimately incorrect terms.
25   would make is to "all the things we do to create          25       Q Okay. Let me point you to the third page



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                                                     Page 222                                                         Page 224
1    of this. That's on Bates stamp 26626.                      1    happen? 10,000 people around the world would say,
2       A 26626. Okay.                                          2    "We've got to make this thing work with or without all
3       Q Okay. There's a section that says, "So how            3    of those Kik employees." And that's the power. It's
4    do we get this launched?"                                  4    open sourced. It's decentralized. Anybody can
5       A Yep.                                                  5    contribute. And they are contributing out of their own
6       Q I see three streams.                                  6    selfish needs.
7       A Yep.                                                  7          So why doesn't Kik do that? Because
8       Q And there's three new bullets. Let me just            8    Facebook is coming. And we, like everybody else, want
9    summarize these using the first sentence and see if        9    to maximize the odds that Kin becomes the most used
10   you're with me. One, "We need to market it." Two, "We      10   cryptocurrency in the word. So we are doing our part.
11   need to create demand for it." And three, "We need to      11      Q Let me push you a bit on that.
12   set up the infrastructure."                                12      A Sure.
13      A Okay.                                                 13      Q I'm not sure I agree, but I could hear the
14      Q Is this an accurate -- sitting here today,            14   argument more for the demand generation. Anyone -- I
15   do you think that's an accurate, at a high level,          15   can evangelize, right? I can set up a blog and
16   summary of what is needed to get the Kin project           16   evangelize a cryptocurrency and say it's the next best
17   launched?                                                  17   thing, and we're going to beat Facebook together.
18      A I think the only thing we would need to do,           18      A Okay.
19   going back, like -- you know, this is we're trying to      19      Q I'm not sure I could do all of the things
20   figure out what we actually need to do. But looking        20   you were talking today about infrastructure, blockchain
21   back today, what did we actually need to do? We needed     21   developments. I'm not sure what 10,000 people
22   to create it, and we needed people to buy it because       22   desperately -- I certainly could not. I can barely use
23   that's what sets up the incentives for people to           23   my phone.
24   independently grow the value of their Kin, and that's      24      A Yeah.
25   what creates this whole snowball effect.                   25      Q I'm not sure what 10,000 desperate people


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 1       Q So you didn't need to create demand for it?          1    could do the blockchain developments that Kik's
 2       A Creating demand for it, doing everything in          2    engineers are working on right now. But it's your view
 3   our power to create demand for it, would increase the      3    that they could and, in the absence of Kik, are just as
 4   odds -- increase the rate of demand growing, and           4    likely to do so?
 5   therefore, was in our best interest. But if you asked      5       A I think my view is that by Kik not doing
 6   me: Did we need to do it? My answer would be no.           6    it, it definitely would slow the progress of the
 7       Q Okay. But you are doing that?                        7    ecosystem down. Just like if you removed any
 8       A Yeah. We're doing that because we're                 8    participant from the ecosystem, you would be taking out
 9   rational actors in the ecosystem.                          9    their contribution. I think Kik made a big
10       Q Okay. And the infrastructure, we talked a            10   contribution. But we saw many people in our
11   lot about the infrastructure development that I think      11   communities identifying, reaching out, and selling
12   took place after the TDE.                                  12   developers to integrate Kin.
13         That has been happening, correct?                    13         So, like, you couldn't do it. But if you
14       A So, again, this was very early.                      14   held Kin, you'd be very incentivized to tell your
15       Q Sure.                                                15   friends and family, "Hey, this Kin thing, you've got to
16       A If I go back today, would we need to set up          16   look into it. It's the best thing ever." Any
17   the infrastructure? No. We need to create a                17   developer you knew, "Oh, I hear you have an app.
18   cryptocurrency. We explain our vision for the              18   You're struggling. You should look at Kin."
19   cryptocurrency. Like, if you were to join this             19         Like, that's the power of this whole thing,
20   project, here is what you are trying to achieve with       20   is you have an army of people who are economically
21   the rest of the community. And that's it.                  21   aligned.
22          Like, literally, in your hypothetical,              22      Q Even on the infrastructure thing?
23   everybody on Kik Interactive is off to celebrate           23         That's what I was pushing you on.
24   something. They're on a plane, the plane crashes.          24      A So on the infrastructure, Kik -- Kin was an
25   What are the odds that Kin is successful? What would       25   ERC-20 token up and running on the infrastructure in a



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 1   way no different than Ether itself.                        1   names.
 2      Q But could -- go ahead. I didn't want to               2         MR. SCHLEGELMILCH: Okay.
 3   interrupt you.                                             3         MR. MENDEL: You said that you saw people
 4      A I was done.                                           4   sell to developers. What examples were you thinking of
 5      Q Oh, okay. The part I'm having trouble with            5   in that respect?
 6   is picturing -- I didn't want to do a plane crash --       6         THE WITNESS: Where did I say that? Sorry.
 7   Kik just stops supporting the project.                     7   I don't remember the context.
 8     A Yep.                                                   8         MR. MENDEL: This was a few minutes ago. I
 9      Q No one is dying in a plane crash, please.             9   think you said -- sorry if I have this wrong. I think
10          But Kik stops supporting the project --            10   you said that you saw people sell Kin to developers.
11      A You made that hypothetical, though.                  11         THE WITNESS: So people evangelized Kin to
12      Q No, I didn't make that hypothetical.                 12   developers, yes.
13          Kik stops supporting the project. 10,000           13         MR. MENDEL: What examples did you have in
14   desperate people handle the Stellar fork issues that we   14   mind for that?
15   were describing, the transfer of tokens from the          15         THE WITNESS: Just seeing it in our Reddit
16   Ethereum to Stellar --                                    16   community, people saying, "Hey, what do you think about
17      A Where Kin would be if everybody at Kik was           17   this partner? I reached out. We think it could be
18   on a plane and died? Which is the hypothetical I'm        18   good." "What about this partner? I sold these
19   going to use. Okay? So I'm on that plane, too, so         19   partners on this. These people should reach out."
20   don't worry.                                              20         I would get -- I believe I have gotten
21      Q Go ahead.                                            21   e-mails from people, like, "Hey, I talked to this
22      A Not in my best interest in this                      22   person. You guys should connect. They want to build
23   hypothetical.                                             23   something." Like, that's the power of this thing. You
24      Q No.                                                  24   have 10,000 people who are economically aligned to all
25      A Kin would be in no different a place than            25   work in their self-interest, but in doing so, work


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 1   where Ethereum is today.                                   1   together.
 2      Q Oh, I see your point.                                 2         MR. MENDEL: And when did you see the
 3      A It is on the -- it is a currency on the               3   conversations on Reddit that you mentioned?
 4   exact same infrastructure. You're right. So nobody         4        THE WITNESS: Throughout the history of
 5   uses Ethereum. And Ethereum is like -- that community      5   Kin. Like, even before we did a token sale. I would
 6   is trying to figure it out, what are we going to do.       6   come up -- like, people would come up to me after
 7   In the same way, our community would try to figure it      7   conferences, like, "Hey, I'm a developer. I'm
 8   out, what are we going to do. They haven't been            8   struggling. Your story resonates with me." This story
 9   thinking about it for a year, so they probably couldn't    9   of struggling is not a unique story.
10   make the progress that we at Kik could if we were a       10          Everybody in the consumer apps base is
11   participant with them in ecosystem.                       11   struggling. And so to see the CEO, the founder/CEO of
12          But like Ethereum, they would make                 12   a billion dollar company, get up in front of an
13   progress, it would be just be much slower.                13   audience and admit that to them is something they have
14         MR. SCHLEGELMILCH: Isn't it fair to say,            14   never seen before. And then they come up to me and
15   though, that at the moment -- the moment after the        15   they say, "I can't believe you said that. You're the
16   TDE -- the moment after the token distribution event,     16   most honest person I've ever met to actually say this
17   the lion's share of maybe all of the development work     17   on the record in front of an audience. I'm struggling
18   is being done by Kik?                                     18   in this exact same way you are. Nowhere near the scale
19          THE WITNESS: I would say that Kik was for          19   you are. I want to be part of this."
20   sure the most active participant in the Kin ecosystem,    20         MR. MITCHELL: So if I can just follow up
21   yes.                                                      21   on Stephan's question. At the time of the token
22          MR. SCHLEGELMILCH: Are you aware of any            22   distribution event or any time before then, was there
23   other participant in the Kin ecosystem sort of the        23   anyone else -- were there any other apps other than Kik
24   minute after the TDE?                                     24   that were -- that had said publicly, "We're going to
25          THE WITNESS: I don't have any specific             25   use Kin tokens in our app"?



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 1         THE WITNESS: I can't remember                       1   the Kin Rewards Engine described in the white paper
 2   specifically. But I do know we worked with partners       2   other than Kik and the Foundation?
 3   that were integrating Kik Points and were very            3         THE WITNESS: If everybody at Kik had
 4   interested in Kik -- integrating Kik Points.              4   crashed in a plane crash, then the private keys that
 5          So there's no reason to me -- Kik Points           5   together unlock the 3 trillion and 6 trillion Kin owned
 6   is -- Kin is just Kik Points but with a business model    6   by Kik and Kin Foundation respectively would forever be
 7   attached, a better business model.                        7   lost, and the 1 trillion Kin remaining would be the
 8         MR. MITCHELL: And I'm sorry. Did any of             8   only Kin in existence.
 9   those companies say that publicly?                        9         MR. MITCHELL: Okay. But the white paper
10         THE WITNESS: I can't remember.                     10   discusses a Kin Rewards Engine, right?
11         MR. MITCHELL: Do you remember any of them          11         THE WITNESS: Uh-huh.
12   saying it publicly?                                      12         MR. MITCHELL: Was that an important part
13         THE WITNESS: I can't remember.                     13   of the plan?
14         MR. MITCHELL: Do you remember what                 14         THE WITNESS: I would say that was an added
15   companies you're thinking?                               15   but ultimately unnecessary feature to Kin. Why?
16        THE WITNESS: That did Kik Points?                   16   Ethereum doesn't have a Kin Reward Engine, and yet,
17          MR. MITCHELL: That you're thinking of             17   lots of people are building applications for it.
18   right now, yeah, that worked --                          18         MR. MITCHELL: I'm sorry. Was -- did you
19         THE WITNESS: I'm literally not thinking of         19   always think that the Kin Rewards Engine was an
20   any company right now.                                   20   unnecessary part of the plan?
21         MR. MITCHELL: Okay.                                21         THE WITNESS: When I say "unnecessary" --
22         THE WITNESS: It was a long time ago, so I          22   maybe what do I mean by "unnecessary." We have a --
23   don't have a specific list in my head.                   23   we're a fan of this thing called the parallel universe
24          MR. MITCHELL: I guess I'm just trying             24   test. In one universe, you do it this way; in one
25   to -- the plane crash hypothetical --                    25   universe, you do it that way. What are the potential


                                               Page 231                                                          Page 233
 1         THE WITNESS: Uh-huh.                                1   different outcomes from each of those universes?
 2         MR. MITCHELL: -- I'm just trying                    2         Kin without a Kin Reward Engine would
 3   understand. Were there points that, you know, during      3   basically be Ethereum or Bitcoin, with one difference
 4   the time that Kik was offering the Kin tokens, that it    4   that one company that said, "Hey, we are going to
 5   identified, Kik told people, you know, "It's us. We're    5   integrate this Bitcoin," was Kik. But ultimately, all
 6   going to be working on this. And also, here's a list      6   of these people die in a plane crash.
 7   of other people who are going to be working on this"?     7         So at that point, it would be no different
 8         THE WITNESS: Not to my recollection.                8   than Bitcoin and Ethereum. If 10,000 people around the
 9        MR. MITCHELL: It was just Kik and the Kin            9   world owned and purchased for $100 million almost,
10   Foundation that's mentioned in the white paper?          10   Bitcoin II and, you know, Satoshi disappeared, they
11          THE WITNESS: Correct. I think -- I think          11   would make it work. In fact, that's what happened with
12   that's correct.                                          12   Bitcoin.
13        MR. MITCHELL: And who -- and the Kin                13         But the world where the Kin Reward Engine
14   Foundation, when it was created, was -- the directors    14   does run, I believe, would greatly accelerate the rate
15   were you and Kik's CFO?                                  15   of growth of the ecosystem. So it is unnecessary for
16         THE WITNESS: Correct.                              16   the ecosystem to operate, but it is an advantage.
17          MR. MITCHELL: And so if -- again, leaving         17         MR. MITCHELL: And Kik talked up that
18   aside the plane crash. If Kik had just said, "We're      18   advantage in the white paper?
19   not doing anything more here," could any of those        19         THE WITNESS: Yeah. How could we talk
20   10,000 people have taken over the Foundation and -- do   20   about this being a fundamentally new business model for
21   they have the rights to take over the Foundation and     21   developers without there being a Kin Reward Engine?
22   get the 6 trillion Kin?                                  22         MR. MITCHELL: One of the points here is if
23         THE WITNESS: They did not.                         23   a developer helps create demand for Kin tokens, it gets
24         MR. MITCHELL: So could they have run the           24   paid out of the Reward Engine?
25   Kin Rewards Engine -- could anyone else have created     25         THE WITNESS: Correct.



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                                                Page 234                                                          Page 236
 1         MR. MITCHELL: So that was talked up in the          1    project and proposing new pieces of code to that
 2   white paper. Was that also -- did you talk it up in       2    project.
 3   speeches you gave --                                      3            MR. MITCHELL: I think you've lost me on
 4         THE WITNESS: I would say that was one of            4    the technology stuff. I don't think I can ask that
 5   the innovations of Kin, is that we proposed having this   5    much.
 6   feature, for sure.                                        6            BY MR. LEASURE:
 7         MR. MITCHELL: Okay. And, again, the                 7       Q An entity we referenced before, CoinFund.
 8   people who control that Rewards Engine were either Kik    8       A Uh-huh.
 9   or the Foundation?                                        9       Q Kik hired CoinFund?
10          THE WITNESS: Yeah. And the Foundation was          10      A Correct.
11   controlled by Peter and myself.                           11      Q What did Kik hire CoinFund to do?
12         MR. MITCHELL: And then earlier, we talked           12      A From my point of view, at least initially,
13   about the idea that there was a technical problem with    13   to help validate that this was a good idea.
14   running a commercial -- an at-scale public -- I'm         14      Q And validate in what way?
15   sorry. Let me start over.                                 15      A Validate in the way that it wasn't just Ted
16         Earlier, we talked about the idea that              16   who believed this could work, but it was also -- that
17   there was a difficulty for Kik to run an at-scale         17   this cryptocurrency could work, but also many people
18   thousands or millions of people involved transactions     18   who were deeply involved with other cryptocurrencies
19   on the Ethereum blockchain.                               19   themselves.
20         THE WITNESS: Uh-huh.                                20      Q Did it validate -- as part of its work, was
21          MR. MITCHELL: Okay. Was that a special --          21   CoinFund tasked with validating whether people would
22   like, was that a Kik-specific problem or would anyone     22   want to buy a token sold by Kik?
23   trying to run a large scale set of transactions have      23      A Yep.
24   that problem on the Ethereum blockchain?                  24      Q Okay. And they did a market analysis for
25         THE WITNESS: No it was an -- was and is an          25   Kik?


                                                Page 235                                                          Page 237
 1   industrywide problem.                                      1      A I don't know specifically what they did,
 2          MR. MITCHELL: So under the hypothetical we          2   but I'm assuming they surveyed people in the industry.
 3   were talking about, the 10,000 people, if they were to     3   "You're buying cryptocurrencies. What if a
 4   do this, would need to sort of somehow coalesce and do     4   company launched a cryptocurrency? What would you
 5   the work that Kik is doing?                                5   think?"
 6          THE WITNESS: There are many blockchain              6      Q Did Kik use the analysis CoinFund provided?
 7   projects today that are focused on allowing for            7      A I'm sure we did. Like, I remember there
 8   swapping Ethereum tokens to other blockchains where        8   was a report. I don't remember reading the report.
 9   they're more scalable. Ethereum itself is working on       9   But I definitely remember different people referencing
10   its own scalability solutions.                            10   it in different ways at different times.
11          MR. MITCHELL: Ethereum -- does Ethereum            11      Q What did they say?
12   have a process for voting where Ethereum holders can      12      A I -- like, to me, the punch line of the
13   vote and sort of control sort of the blockchain           13   report was this was a good idea. That's sort of where
14   technology or other sort of fundamental questions?        14   I stopped paying attention.
15          THE WITNESS: Not to my knowledge.                  15      Q So I just want to make sure I'm
16          MR. MITCHELL: So how are people doing              16   understanding that. From your perspective, it was to
17   that -- how are people addressing those problems?         17   make sure there was a green light showing that
18          THE WITNESS: What's the question? How are          18   validated the idea from a market perspective?
19   developers working on Ethereum?                           19      A Yes.
20          MR. MITCHELL: You were saying that people          20      Q Okay. And that would also help you in -- I
21   are working on Ethereum and trying to improve the         21   don't want to say demonstration effect, but that would
22   throughput or improve the ability to run a commercial     22   help you to persuade maybe reluctant or skeptical
23   business on it. How are they doing that if --             23   stakeholders in Kik, the company, that they should
24          THE WITNESS: I do not know the details,            24   proceed?
25   but I assume they are looking at the open source          25      A Correct.



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                                                         Page 238                                                      Page 240
 1        Q Including board members?                                 1       Q Okay. Do you have any idea what you --
 2       A Correct.                                                  2   what -- did you mean that?
 3        Q Okay.                                                    3       A I think what I meant by that is there's
 4       A That was one piece of ammunition for why                  4   people who sell equities. There's people who help
 5    this was a good idea.                                          5   people sell equities. The brand name firm of the
 6        Q Okay. What did you think about hiring                    6   people who help people sell equities is Goldman Sachs.
 7    them?                                                          7   There are people who sell cryptocurrencies. There are
 8       A What did I think about hiring them? I                     8   people who help people sell cryptocurrencies.
 9    don't recall having any specific thoughts. But my              9          And the brand name for them today in this
10    general state of mind, I think, at the time is anything       10   very new industry is CoinFund.
11    that helps demonstrate from an independent third-party        11       Q Sure. That they were, in this space, a
12    point of view, that they agree with me, that this is a        12   good brand name for helping people sell tokens?
13    good idea. It can only be helpful.                            13       A Correct.
14        Q Did you ever have reason to question the                14       Q Okay.
15    quality of their work?                                        15          MR. MITCHELL: To the extent that CoinFund
16       A I think maybe the question is, like,                     16   did a survey, at any point, did anyone at Kik ask them
17    quality of their work. I think different people then          17   to sort of redo it or fix the survey or anything, raise
18    and now have their own interpretations and                    18   problems with it and make people redo to it?
19    understanding of what crypto was. So in terms of              19          THE WITNESS: I wasn't that involved, so
20    quality of the work, it's not like this is like a             20   not -- I wasn't that involved in the survey, so not my
21    scientific experiment where there's only one truth.           21   recollection.
22           This is different people interpreting how              22          MR. MITCHELL: And did Kik hire anyone
23    they look at what this crypto thing is and is going to        23   other than CoinFund to do research about the market or
24    become. So quality of work, I thought they were smart         24   the potential market for tokens?
25    enough people. I thought they had interesting                 25          THE WITNESS: Not that I can recall.


                                                         Page 239                                                      Page 241
 1   perspectives. I don't recall agreeing with all of               1         BY MR. LEASURE:
 2   their perspectives. I don't have any recollection of            2      Q We see -- I don't need to walk through
 3   any specific disagreement.                                      3   document by document. But we see references, right
 4          But, like, you know, quality of work, it's               4   after CoinFund started doing its work, to a working
 5   not like these guys are building a car. It's like               5   session meeting CoinFund may have had in New York in
 6   they're trying to explain what they think is this               6   February of last year. The document suggests that Kik
 7   fundamentally revolutionary new technology is and is            7   may have presented sort of its overall business to
 8   going to do.                                                    8   CoinFund.
 9      Q That's fair. I can appreciate that. And I                  9      A Uh-huh.
10   appreciate there's a lot of uncertainty at the time            10      Q Does any of that ring a bell for you?
11   about the market and how Kik would approach the market,        11      A It does not.
12   right?                                                         12      Q Okay. Do you remember meeting in person
13      A Uh-huh.                                                   13   with people from CoinFund at any point?
14      Q So let me take out quality of the work.                   14      A I definitely met people from CoinFund in
15   Did you ever have reason to question their competence?         15   person.
16      A No.                                                       16      Q Like Jake Brukhman?
17      Q Okay. How about to extent they did market                 17      A Yep.
18   analysis or survey? Did you ever have reason to                18      Q His name rings a bell?
19   question the integrity of the results they provided?           19      A Yep.
20      A Nothing jumps to mind specifically.                       20      Q Okay. Do you know -- in connection with
21      Q Did you ever -- did you ever call or                      21   the analysis or research they were doing, do you recall
22   consider CoinFund to be the Goldman Sachs of ICOs?             22   meeting with them?
23      A I didn't recall it until last week. But as                23      A I think we met with them for lots of things
24   of last week, I saw an e-mail where I did say that,            24   over time. I don't recall specifically meeting with
25   yes.                                                           25   him about the research.



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                                                   Page 242                                                      Page 244
 1      Q Okay. I'm going to show you what I                   1    things, see if it jogs any recollection.
 2   understand to be the research.                            2       A Sure.
 3      A Okay.                                                3       Q Page 19, that has Bates stamp 7709. It
 4      Q Just walk you through a bit of it. I'm               4    begins with: "CoinFund Crypto Investor Survey." I'll
 5   showing you a document that's previously been marked as   5    just read the first sentence. "Methodology. Working
 6   Exhibit 39. Take a moment. Take a look at it. I'll        6    together with the Kik team, CoinFund conducted a public
 7   identify it for the record as a multi-page document       7    and open-sourced survey in the blockchain research and
 8   that appears to have the title "CoinFund Token            8    investment community, targeting the set of people who
 9   Integration Research and Proposed Economics." It has a    9    are knowledgeable and experienced in the issues
10   date March 21st, 2017, and a Bates stamp CoinFund 7691.   10   surrounding blockchain-based decentralized crowd
11      A Uh-huh.                                              11   funding and known as crypto investors."
12      Q You won't be surprised to know my first              12         Let me pause there. Did you have anything
13   question is: What is this document?                       13   to do with this survey?
14      A This document appears to be a research               14      A Not to my recollection.
15   report generated by CoinFund for Kik.                     15      Q What do you know about this survey, if
16      Q Did you read this document at the time?              16   anything?
17      A I don't recall reading this document at the          17      A My best recollection is Erin worked with
18   time.                                                     18   CoinFund to try to get as much data as possible to
19      Q Okay. Just curious. Why not? Because                 19   validate that this was a good idea.
20   you're busy? Because this didn't interest you? Some       20      Q And this was a -- that's Erin Clift working
21   other reason? Why didn't you read this?                   21   with CoinFund?
22      A Because at the time, there was a lot going           22      A Correct.
23   on at the company at the time. It was a very stressful    23      Q And who was -- who was being targeted by
24   time. And from my point of view, the purpose of this      24   the survey, if you know?
25   document was to convince people that this was a good      25      A I assume -- I do not know, but I assume


                                                   Page 243                                                      Page 245
 1   idea -- to help them understand why this was a good        1   people who are buying other cryptocurrencies and were
 2   idea. I didn't need to understand further why this was     2   involved in the crypto industry.
 3   a good idea. A summary of, "Yep, Ted, CoinFund also        3      Q Okay. Did you ever see results that came
 4   thinks this is a good idea," was sufficient for me for     4   out of this survey?
 5   what I needed.                                             5      A I don't remember specifically seeing any
 6      Q Did you get that summary?                             6   results. I don't remember specifically reading this.
 7      A I don't recall getting that summary.                  7       Q Sure.
 8      Q Do you suspect you did at some point?                 8       A But I do know that things were pulled out
 9      A I don't recall somebody saying, "Hey, the             9   of this now and then to help tell the narrative to
10   CoinFund research suggests that this is not a good        10   other people who had to understand what we were doing
11   idea."                                                    11   and why it was a good idea.
12      Q You might recall that if --                          12       Q Okay. Did you ever have reason to question
13      A I think I would recall that, yes.                    13   the methodology of the survey?
14      Q Okay. So extrapolating from what you're              14      A Honestly, I really wasn't paying attention
15   saying, you may not have read through this because you    15   to the survey at all.
16   were busy and because you had heard in some form that     16      Q I don't want to keep reading it.
17   they were green lighting the concept?                     17      A Like, there was a survey. It's not a bad
18      A Green lighting, I'm not sure --                      18   idea. Check. Okay. Cool. Onto the next thing.
19      Q Let me change that term.                             19       Q Moving on.
20      A Yeah.                                                20       A Moving on. Because I had been waiting for
21      Q That they weren't telling you this was a --          21   this moment for seven or eight years, whatever it was
22   they weren't telling Kik this was a terrible idea, that   22   at the time, and I was no longer -- I could see it
23   Kik should not proceed?                                   23   rolling. I knew it was going to go. And now it was
24      A Correct.                                             24   make it happen before the company runs out of money.
25      Q Okay. Let me just point you to one or two            25          This is my dream. I want to go for it.



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                                                   Page 246                                                       Page 248
1    We're going to go for it here. This is going to be a       1      Q Projects.
2    win-win-win. It's going to be amazing. But if we go        2      A Yeah.
3    bankrupt, none of it is going to matter.                   3      Q Okay. Fine. And so you weren't concerned
4           MR. MITCHELL: Purely as a practical                 4   about whether there would be demand or coming from
5    question. Did anyone else at Kik ever come to you and      5   whom. You knew it would be there?
6    raise concerns about CoinFund's survey or its work or      6      A Yeah.
7    say, "Look, we shouldn't" -- "they're saying things we     7      Q Okay. Got it. Okay. Let me point you to
8    just shouldn't trust"?                                     8   one item here, page 25. That's Bates stamp 7715. It
9           THE WITNESS: Not the my knowledge. Not to           9   says, "User Versus Investor Interest."
10   my recollection.                                          10      A Okay.
11          BY MR. LEASURE:                                    11      Q And there is: "In this survey, we
12      Q Let me just -- I hear everything you're              12   interviewed crypto investors and expected that most
13   saying about what you were doing at the time and what     13   respondents would be interested in the investment side
14   this survey did and didn't mean to you at the time.       14   of the token proposition." And it has a breakdown of
15      A Yeah.                                                15   some data.
16      Q Just to push you to bit and see what you'd           16          Do you see that?
17   say.                                                      17      A I do.
18      A Sure.                                                18      Q Did you review this data at the time?
19      Q You were preparing to sell tokens at this            19      A I don't recall reviewing this data at
20   time, right?                                              20   the time.
21      A We were preparing to launch a                        21      Q Okay. Do you recall anyone bringing this
22   cryptocurrency and sell some of that cryptocurrency,      22   data to your attention at the time?
23   yes.                                                      23      A I do not recall anybody bringing it to my
24      Q Yeah. Sure. Okay. And CoinFund was                   24   attention at the time, but they might have. I don't
25   surveying what people who might buy the thing your        25   recall that.


                                                   Page 247                                                       Page 249
 1   company was selling would be interested in?                1      Q Okay. So I take it from that -- do you
 2     A I'm honestly not sure. Like, it sounds                 2   recall anyone questioning this particular aspect of the
 3   roughly like it could be true. But, again, I'm not         3   CoinFund survey?
 4   sure of the specifics.                                     4      A I don't recall.
 5      Q And a general question. I'm curious, then.            5      Q Did Coin -- do you know if anyone --
 6   If I were leading a company that was preparing to sell     6   CoinFund or anyone else on behalf of Kik ever ran a
 7   any product, I'd think I'd want market research.           7   survey on this topic, why -- what people might be
 8     A Maybe that's the difference between you                8   interested in, in terms of a coin?
 9   and me.                                                    9      A I don't recall.
10      Q I hear you. But it sounds like that                  10      Q Okay. So you don't know any other data
11   just -- why wasn't that of interest to you?               11   that might be out there?
12      A Because I knew it was a good idea. I                 12      A No. Like, not that I recall. Like, maybe
13   didn't need somebody else to validate for me that it      13   there was at the time. Maybe we talked about it.
14   was a good idea.                                          14   Like, nothing sticks out in my mind.
15      Q And you didn't need to know about the types          15      Q Fair enough. I'll take that back from you.
16   of people who might be buying this?                       16   Thank you. I'm not going to go document by document,
17      A No. Like, I knew that if other people were           17   but there seems -- some of the documents seem to refer
18   buying these other cryptocurrencies we talked about,      18   to after CoinFund presented -- gave this research to
19   and those things, from my point of view, had nothing      19   Kik, that there might have been some sort of a meeting
20   there and were, in many cases, run by people who had no   20   within Kik to discuss CoinFund's survey and the
21   idea what this was or what was going on, that what we     21   results.
22   were doing was many, many, many times better than that.   22         Does any of that ring a bell for you?
23      Q Okay. So you knew that there was demand              23      A I'm sure there was a meeting to discuss
24   out there even for what you saw as inferior product?      24   results. That was the purpose of the report, was to be
25      A Inferior projects, yeah.                             25   a tool for Erin to use to convince herself, and then



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                                                     Page 250                                                            Page 252
 1    convince others and explain to others why this was a       1   contains an e-mail we've already looked at.
 2    good idea. So if there wasn't a meeting, then it           2      A Yeah.
 3    probably would have been not a very effective tool.        3      Q     Your dumbed-down summary to the leadership
 4           So I'm sure there was a meeting. But I              4   team, correct?
 5    can't recall one specifically.                             5      A I didn't mean that to be offensive. I hope
 6       Q You don't know if you participated or not?            6   it wasn't taken as offensive at the time.
 7       A I would assume I would have participated,             7      Q     Okay. And then it appears that Hayeon and
 8    but I cannot recall specifically.                          8   Tanner are somehow working with that or some of that on
 9       Q Okay. See if there's -- okay. Let me show             9   some deck or slides?
10    you a document previously marked as Exhibit 108.          10      A I'm not sure. Like, maybe it would be
11       A Why do you say those were previously                 11   helpful for me just to read it. Like, I have no idea
12    marked, out of curiosity? It's no longer marked that?     12   what this e-mail is.
13       Q No. It says in days past, it was marked              13      Q     Go ahead. Go ahead.
14    that.                                                     14      A So maybe I should just read it. Okay.
15       A But now it's marked something else or --             15      Q     Okay. You've read through it.
16    anyways --                                                16           Any additional context you can give me to
17       Q No, it's a great question.                           17   what your employees are doing here?
18           MR. GIBBS: We can explain that to you.             18      A I don't know for sure, but my guess would
19           THE WITNESS: Okay.                                 19   be they're saying, "Okay. Ted has been explaining this
20           (Discussion off the record.)                       20   to the leadership team and the board. We're now
21           BY MR. LEASURE:                                    21   getting to the point where everybody is bought in
22       Q This is a multi-page document with an                22   enough that we should go for this. And so now we need
23    attachment.                                               23   to explain it to the rest of the employees."
24       A Okay.                                                24           And so what this looks like is an initial
25       Q It's Bates stamped KIK 17481, and the                25   first draft outline for what that presentation could


                                                     Page 251                                                            Page 253
 1   e-mail chain ends March 28th, 2017. And I'll represent      1   be.
 2   to you I don't think you are -- I don't -- I am not         2         Q That's what I thought it might be. There's
 3   sure, but I don't think you're at least on the last         3   a reference to a sit-down deck. I think that's what
 4   e-mail in this chain.                                       4   the attachment is called here.
 5      A Okay.                                                  5         A Uh-huh.
 6      Q I don't know if you are on this e-mail or              6         Q Would that be a draft -- based on your
 7   not.                                                        7   understanding of Kik's processes, would that be a draft
 8      A It doesn't look like it.                               8   presentation for a sit-down with Kik employees?
 9      Q Do you recognize it?                                   9         A Yep.
10      A I do not.                                             10         Q About the crypto project in this case?
11      Q Okay. Reading through it, I guess my first            11         A Yep.
12   question is: Just from what's in the e-mail, are you       12         Q Okay. So this is your employees trying to
13   able to give context to what it looks like Tanner Philp    13   take your high level summary of the project and turn it
14   and Hayeon Kim are talking about?                          14   into draft, into slides?
15      A I'm not sure. I don't recall ever having              15         A Turn it into something that can be
16   seen this e-mail before. Obviously, I've seen the part     16   explained that the rest of the employees can
17   lower down, which is, I think, the e-mail we looked at     17   understand.
18   earlier that I sent to the leadership team. But beyond     18         Q Got it. So let me point you to that draft.
19   that, I don't think I've ever seen any of this before.     19         A Okay.
20   So I'm happy to read through it and give you my            20         Q It begins with "financing update" --
21   thoughts. But let me know what you think.                  21         A Yes.
22      Q No. Let me try to just break it down to               22         Q -- with two guys in sunglasses.
23   pieces.                                                    23           Do you see that?
24      A Okay.                                                 24         A Yeah.
25      Q At the bottom of this e-mail chain, it                25         Q Was there -- was there a presentation made



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                                                      Page 254                                                        Page 256
1    at the sit-down at or around this time regarding the         1      A Yep.
2    crypto project?                                              2      Q Do you remember presenting topics -- those
3       A I don't recall specifically. But there                  3   topics or topics like that at a sit-down?
4    was -- at some point in there, yes, we introduced this       4      A I think so, yeah.
5    to the company at a sit-down.                                5      Q Okay. Let me ask just a few things that we
6       Q And do these slides look like what was                  6   see in here in this draft presentation, to see if it
7    presented to the company in a sit-down or do they not?       7   either jogs a bell or you can explain it.
8       A They look like they could be, yeah. I                   8      A Sure.
9    don't -- I can't say for sure. I'm not sure of the           9      Q 17495, "What is a cryptocurrency?"
10   difference between this first draft and what was            10      A Okay.
11   ultimately presented. But this looks like a first           11      Q There's reference to Fort Knox. I take it
12   draft created by Tanner and Hayeon, or maybe Hayeon.        12   that's Kik's own holdings of the cryptocurrency it
13         MR. MITCHELL: Super practical question.               13   creates?
14         If you wanted to go back and, you know --             14      A Yeah. I think maybe some context here,
15   just at the company and say, "Oh, can I get the slides      15   like --
16   that we used for that sit-down?" Does somebody keep         16      Q Yeah.
17   them, is there somebody who would be able to find,          17      A -- you know, here, the name Kin, for
18   like, "These are the slides we used for this board          18   example, didn't exist. The idea that Kik Points --
19   meeting or this sit-down," or whatever?                     19   like, at this time, it was let's put Kik Points on the
20         THE WITNESS: Probably.                                20   blockchain, and that was it. We were still discovering
21         MR. MITCHELL: Okay. Who? Who would keep               21   what this thing was, how it would work. When you make
22   those?                                                      22   a decision to go all in on something, your sort of
23         THE WITNESS: Probably a woman named Angela            23   understanding of it rapidly starts to evolve.
24   Watkins.                                                    24             You know, for example, you see a million
25         BY MR. LEASURE:                                       25   coins. So, yeah, Fort Knox is just trying to use an


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1       Q Are they -- for a sit-down with the company             1   analogy for how this works.
2    employees, are slides typically sent out in advance to       2      Q There seems to be an analogy going on about
3    employees?                                                   3   an example of a mini society, buy nice wine.
4       A No.                                                     4      A Yeah. I don't know what that is.
5       Q So this would just be presented on a                    5      Q Was that an something going on -- was that
6    screen?                                                      6   an analogy being discussed at the time?
7       A Yes.                                                    7      A Yeah. We created Kin just so you could buy
8       Q Okay. So it sounds like the woman you                   8   nice wine. That's really the idea. I don't know what
9    mentioned might be the best source for figuring out if       9   that's referring to.
10   there is a --                                               10      Q Fair enough. Doesn't ring a bell. Let me
11      A Yeah. I think if you wanted specific                   11   point you a few pages forward to 17497.
12   slides, we could probably get you the slides and say        12      A Yep.
13   these were the ones we're pretty sure were presented.       13      Q "Why would investors invest?"
14      Q Okay. That's fair enough. Let me point                 14      A Yep.
15   you to this draft at least and see if it jogs any           15      Q I think the slide at least has a concept
16   memory about a presentation or a sit-down meeting.          16   we've been discussing. Fixed supply of coins, demand
17   Pointing to 17494, there is three questions.                17   increases, value of a coin increases, right?
18      A 17494?                                                 18      A Uh-huh. Uh-huh.
19      Q You got it.                                            19      Q I think we had seen earlier you -- I think
20      A The Bates number?                                      20   in the e-mail in here, you referred to that as a value
21      Q You got it.                                            21   proposition?
22      A Okay.                                                  22      A I am not sure a value proposition is the
23      Q Three questions: What is a cryptocurrency?             23   right word. I would say this is the fundamentals
24   Why would investors invest? And what does this do for       24   economically of how cryptocurrencies work.
25   us?                                                         25      Q Fair enough. Okay.



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                                                   Page 258                                                       Page 260
 1         MR. MITCHELL: Leaving aside the specific            1    about this idea, he's like, "Wow. That's a crazy idea.
 2   slide. Is this a concept that you discussed with          2    That just might work. But, I don't know, I think
 3   the -- you know, at the sit-down to educate the full      3    crypto is too early." My recollection is he said, "If
 4   company?                                                  4    you want to talk to somebody, you should talk to
 5         THE WITNESS: Yeah. Trying to explain how            5    William because I know he is doing a lot in the
 6   cryptocurrencies as a business model works.               6    cryptocurrency space."
 7         BY MR. LEASURE:                                     7            MR. MITCHELL: Is this sort of at the time
 8      Q Last thing. There's a voiceover, the                 8    when you were first talking to Mr. Wilson about the
 9   Domino's Pizza example.                                   9    idea?
10      A Yeah. I don't know what that is.                     10           THE WITNESS: Yes.
11      Q That was not some theme or idea that was             11           MR. MITCHELL: So is this before you talked
12   circulating around Kik that you recall?                   12   to the other Kik executives?
13      A No, I don't recall that.                             13           THE WITNESS: To the best of my
14      Q All right. Let's move on. I'll take that             14   recollection, yes.
15   back from you. Thank you, sir. I'll go through this       15           BY MR. LEASURE:
16   quickly because I think I'm hearing from you that while   16      Q So what happened next? Did you talk with
17   you were pleased with the results of the CoinFund         17   William over time?
18   survey, it wasn't something that took up much of your     18      A I can't recall. Like, obviously, William
19   attention or time.                                        19   is a board member of the Foundation today. I can't
20         Is that a fair summary?                             20   recall exactly how that transition went from when he
21      A Yes.                                                 21   wasn't really involved at all to where he's now a board
22      Q Okay. There's some reference in the                  22   member of the Foundation. I can't recall the specifics
23   documents to Peter Heinke maybe asking additional         23   of that transition.
24   questions of CoinFund and getting answers from them.      24      Q What did he do, if anything, for Kik in
25         Does any of that ring a bell for you?               25   connection with preparing for and then doing the token


                                                   Page 259                                                       Page 261
 1      A I don't recall that.                                  1   sale?
 2      Q How about presenting the CoinFund survey              2      A The only thing I can recall off the top of
 3   and analysis to Kik's board? Did that happen?              3   my head is Fred asked me to speak with William after I
 4      A I'm sure pieces of it were used, but I                4   spoke with Fred to see if he -- and I don't know. I'm
 5   don't recall anything specifically.                        5   guessing. Like, I think Fred was himself looking for
 6      Q Do you remember the board discussing the              6   some validation that this was a good idea.
 7   CoinFund analysis?                                         7     Q I understand that. Other than talking to
 8      A I'm not sure if the board -- I don't recall           8   him in those initial stages, was he -- for example, was
 9   anything specifically. I'm not sure if, you know, the      9   he a consultant for Kik in connection with the token
10   board -- like, "Let's go through the CoinFund             10   sale?
11   analysis." You know, I know, like, I was relying on,      11      A He might have been. I can't recall.
12   again, in this very tough time, getting Erin to give      12       Q Did Kik pay him?
13   her independent view of this as an option to the board.   13       A I can't recall.
14          So in her presentation, I'm sure she               14         MR. MITCHELL: Who would handle consulting
15   probably referenced the study, but I can't recall         15   agreements like that?
16   anything specifically.                                    16        THE WITNESS: Peter, typically.
17      Q Okay. Moving -- well, let me pause here.             17           BY MR. LEASURE:
18          I want to talk briefly about a person who's        18      Q You don't know if he was paid or not?
19   come up already named William Mougayar,                   19      A I can't recall exactly. I know -- because,
20   M-o-u-g-a-y-a-r. We may talk about him later in           20   like, he got paid -- got paid, is getting paid for
21   connection with the Foundation.                           21   being a board member of the Foundation. I can't
22      A Sure.                                                22   remember the exacts around that either. I know there's
23      Q But prior to the public sale, what did he            23   been discussions of compensation. I can't remember
24   do for Kik, if anything?                                  24   when those started, for what reasons.
25      A My recollection is that after I told Fred            25       Q Okay.



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                                                   Page 262                                                       Page 264
1          MR. LEASURE: Let's go off the record.               1    important problem, one of those ways was, yes, to buy
2          THE VIDEOGRAPHER: Going off the record.             2    Kin.
3          The time on the monitor is 4:29 p.m.                3       Q Got it. That's fine. Kik was aware and
4          (A brief recess was taken.)                         4    you were aware at the time, May of 2017, that there
5          THE VIDEOGRAPHER: We are back on the                5    were also people out there looking to make money and to
6    record. The time on the video monitor is 4:39 p.m.        6    speculate on token projects?
7          BY MR. LEASURE:                                     7       A I was aware that there were people who were
8       Q Back on the record after a brief break               8    doing buys and flips of other cryptocurrencies, yes.
9    during which, Mr. Livingston, did you have any            9       Q Right. There were communities out there.
10   substantive conversations about this investigation with   10   There was language they used to talk about their
11   SEC staff?                                                11   holdings of their different currencies. You were aware
12      A I did not.                                           12   of that space out there?
13      Q Thank you. So there was a white paper for            13      A I was aware of it, but I wasn't really
14   the Kin token offering, correct?                          14   involved in it. Like, I was aware of it to the degree
15      A Correct.                                             15   that TechCrunch would write a post on it.
16      Q What's the purpose of a white paper?                 16      Q And you would say Kik was not necessarily
17      A The purpose -- so lots of different white            17   targeting that community in the white paper?
18   papers have been written for lots of different reasons.   18      A "Targeting" is an interesting word. Like,
19   The purpose, from my point of view, is to explain it      19   we were writing the white paper ultimately for anybody
20   vision.                                                   20   who would today or would one day want to become part of
21      Q So it's a vision document summarizing -- I           21   the Kin ecosystem. Did we know that what I would call
22   guess we talked all day about your vision. The purpose    22   speculators would read that white paper and get excited
23   was to explain that vision to the public?                 23   about the Kin vision, and therefore, maybe go out and
24      A Uh-huh. Uh-huh.                                      24   buy Kin? Yes.
25      Q Okay. Who's the target audience for the              25      Q Okay. Did Kik do anything to filter out


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 1   white paper?                                               1    speculators from the Kin token sale?
 2     A Anybody who's interested in Kin.                       2        A Like, that's sort of a -- the question
 3     Q So it could be people who wanted to                    3    doesn't quite make sense. Let me try to explain why.
 4   participate in the Kin ecosystem?                          4    Like, you know, it gets back to the word "speculator."
 5     A Correct.                                               5    Like, if I were to ask you a question, I know you get
 6       Q It could be -- I think you had mentioned             6    to ask the questions, like, would you consider Kik a
 7   that there were, however you want to define it,            7    speculator on the Kin token?
 8   speculators or people looking to make money in this        8        Q Maybe you should keep going with your
 9   market, they could also read the white paper, too?         9    answer.
10     A They could read it, but I'm not sure they             10        A I didn't think I got to ask questions. But
11   were the target. They were not the target. The target     11    if I did -- the fundamentals of a cryptocurrency are
12   was to explain to anybody who saw the problems we did     12    there's a new asset. There's only so much of it. So
13   with where the consumer space was going, for them to      13    the more demand there is for it, the more valuable it
14   say, "Wow" -- I'll watch my language -- "Wow, this        14    becomes. That is true for everybody who owns Kin.
15   could actually work. I want to be part of this."          15    That's true for every developer, every user, and every
16         That was the purpose, from my point of              16    what we might call speculator. That's just how
17   view, of the white paper.                                 17    cryptocurrencies work.
18       Q So Kik wanted people who were enthusiastic          18        Q Understood. And you've been very clear
19   about the project, wanted to participate in the           19    about that, the fundamental economics today.
20   ecosystem, to read the white paper, and ultimately        20        A Yeah.
21   consider buying Kin, right?                               21        Q I'm not married or even dating the term
22      A I think we wanted people to buy into the             22    "speculator." I can use any term you want. But
23   idea of the project and the vision behind it. And then    23    it's --
24   from there, a way that they could participate and be      24        A So the reason I asked the question is,
25   part of it and be part of the solution to this very       25    "filter out speculators," by that definition, Kik would


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 1   be a speculator. Everybody would be a speculator. So        1   Like, you know, maybe I'll tell a bunch of friends
 2   that's what I'm saying "filter out" -- like, that's why     2   about it and that will be my contribution, all the way
 3   the question doesn't make sense to me.                      3   up to maybe I'll go all in with this billion dollar
 4      Q Well, would you agree that there were                  4   consumer app and try to use that to drive demand.
 5   certain people out there in the markets who were            5          We're all contributing in our own ways on a
 6   interested in buying tokens not for the purpose of          6   different spectrum. So maybe that's why I have a
 7   using those tokens, participating in whatever economy       7   problem with it.
 8   was created around those tokens, but in just holding        8      Q No. Okay. I appreciate that. Did Kik --
 9   them and then flipping them?                                9   in advance of the token sale, did Kik ask people where
10      A There were those people, yes.                         10   they intended to fall on that spectrum?
11      Q Okay. We can call those group X                       11      A I'm not sure. Because, like, this idea of
12   speculators, whatever term we want.                        12   a spectrum is not a concept actually I have thought of
13          My question is: Did Kik do anything to              13   before right now --
14   keep those people away from the Kin token sale?            14      Q Oh.
15      A No. Like, maybe the reason I'm struggling             15      A -- in terms of how to describe it. So when
16   with it is because the reason anybody should adopt any     16   you say, "Did you ask people about it," like, it's a --
17   cryptocurrency is because they believe there will be       17   again, we're creating ways to understand this
18   more demand over time. We'll all win together. We'll       18   fundamentally new thing. So I would say, no, I didn't
19   operate in our selfish best interest. But in doing so,     19   ask because it's not even a question I would know to
20   we'll help everybody else.                                 20   ask, like, through that framework.
21          So everybody in the ecosystem should view           21      Q Let's leave aside the spectrum framework.
22   Kin or any other cryptocurrency for the demand that        22      A Yeah.
23   will get created and for the value that will go from       23      Q Did Kik ask people how they intended to
24   there. The degree to which any one of those                24   participate, if at all, in the ecosystem during the Kin
25   individuals will participate in individually               25   token sale?


                                                     Page 267                                                      Page 269
 1   independently driving the demand of the overall             1       A Based on something I saw last week, I know
 2   cryptocurrency is a spectrum and not a black or white       2   that we did. But I wasn't aware of that before. I
 3   binary.                                                     3   don't recall being aware of that before last week.
 4      Q Oh, okay. I think I got you. And I                     4       Q Okay. All right. What did Kik do?
 5   think -- correct me if I'm wrong. I think the problem       5       A My recollection from last week is that we
 6   you're having, not only with my use of the term             6   asked -- CoinFund, I believe, asked potential people
 7   "speculator," but of trying to divide the world between     7   why they would buy Kin.
 8   speculators and others is the following: Everyone who       8       Q The survey or something else?
 9   correctly understands the economics of                      9       A I can't recall. It was either the survey
10   cryptocurrencies, as you've defined it, has an             10   or something else. I can't recall.
11   expectation or some belief that if the project is          11       Q And by "the survey," I mean the survey we
12   successful, limited supply means value will rise?          12   just looked as an exhibit.
13      A I think everybody -- I'm not sure everybody           13       A It might have been that survey. It was
14   understands this actually, which is why I'm hesitating.    14   last week, but I still cannot recall.
15   Actually, I think many people do not understand this.      15       Q Okay.
16   But what they should understand is that if a lot of        16       A I just remember that there was some data
17   people buy a cryptocurrency, then that means a lot of      17   of, like, you know, would you build something, would
18   people will have an incentive to drive demand for that     18   you use it, or would you not do those things.
19   cryptocurrency because that's what will make the           19       Q Understood.
20   cryptocurrency they own more valuable.                     20       A I can't recall who asked it, where they
21         But in doing so, they'll make it more                21   asked it. But I do recall --
22   valuable for everybody else, also. So maybe I -- I         22       Q Okay.
23   thought you understood -- why I'm having a problem with    23       A -- that it was asked from last week.
24   it is because it presents it as a binary, black or         24       Q Okay. How about -- there were ultimately
25   white. Where what I'm saying is it's a spectrum.           25   10,000 purchasers in the public sale, right?


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                                                     Page 270                                                        Page 272
1       A Uh-huh.                                                1   Paper," from Ted Livingston to Fred Wilson. It has
2       Q As part of the public sale process, were               2   Bates stamp USV 8428.
3    people asked, "What are you going to do with your Kin?"     3       A Uh-huh.
4       A I don't believe so, no.                                4       Q My first question is: What is this
5       Q Okay. Was there any -- did Kik test                    5   document?
6    whether people were -- the actual people who's              6      A I think this is my draft of the
7    registered to buy in the public sale, did Kik test          7   introduction to the white paper.
8    whether they were interested in flipping the tokens, in     8       Q Like, the vision piece you were talking
9    holding them for a while, anything like that?               9   about before?
10      A I don't recall asking. I don't recall us              10     A Uh-huh.
11   asking that.                                               11       Q And you wrote -- you sent this to Fred
12      Q That's fine. Okay. Going back to the                  12   Wilson; is that right?
13   white paper. How was it written?                           13       A Correct.
14      A What does that mean? Sorry. What do you               14       Q Okay. You wrote -- to begin the e-mail,
15   mean by that?                                              15   you wrote, "Just rewrote the white paper on the plane
16      Q Tell me about the process of writing the              16   home from Tel Aviv." Let me pause there.
17   white paper.                                               17          Is that -- you're referencing the Tel Aviv.
18      A I believe, to the best of my recollection,            18   Is that the meeting in Israel you were referring to?
19   the process was we got together in Israel to discuss       19       A I believe I'm referring to that meeting in
20   Kin. I think we had the name at that time, but I'm not     20   Tel Aviv we just spoke about, yes.
21   sure, and all of the different aspects of the project,     21       Q And that was a bunch of people from Kik
22   and the vision, how it would be set up so that we could    22   getting together to talk about the Kin project?
23   create this white paper.                                   23       A Correct.
24         My recollection is we spent time talking             24       Q And the white paper?
25   about different areas, like the technology, the Reward     25       A Correct.


                                                     Page 271                                                        Page 273
 1   Engine. But from my point of view, I spent the bulk of      1      Q    Okay. I'm sure some words changed, but
 2   my time focused on, like, the vision pieces of it. So       2   does this -- just eyeballing this, does this appear to
 3   I know, like, we met in the Summit. We hashed out           3   be similar to the vision statement that appeared in the
 4   different pieces of it, exactly how we wanted to            4   final white paper?
 5   propose it working.                                         5      A I was actually looking at that.
 6          And once that was done, the teams went and           6      Q    Yeah.
 7   worked on that. But their exact specific sections, I        7      A I'm not sure how much of this actually
 8   recall, to the best of my knowledge, not reviewing that     8   ended up being used in the end. Like, I know the
 9   before the white paper was published.                       9   three-step process was. But when I reread the white
10       Q So it sounds like in terms of the process,           10   paper recently, the introduction did not match my
11   you wrote or helped draft the vision piece of it?          11   recollection of what -- of this.
12     A Uh-huh.                                                12      Q    Okay. So this is -- I'll represent to you,
13       Q And then other sections were written by              13   I think this is about two weeks before the white paper
14   other people?                                              14   was published in late May.
15      A Correct.                                              15      A Uh-huh. Uh-huh.
16       Q Okay. Let me show you a document. I'm                16      Q    Can you walk -- do you know -- I don't need
17   marking this currently as Exhibit 198.                     17   you to tell me what words changed. But do you recall
18              (SEC Exhibit No. 198 was marked for             18   thematically what may have changed from the drafting to
19            identification.)                                  19   the final?
20          BY MR. LEASURE:                                     20      A When I reread the white paper last week, I
21       Q Take a look at Exhibit 198 and let me know           21   don't believe it included this first section.
22   when you're ready. I'll identify it for the record.        22      Q    Okay.
23     A Uh-huh.                                                23      A Or at least not like this. And I couldn't
24       Q It's a multi-page printout of an e-mail,             24   recall why. I remember being surprised by that last
25   dated May 12th, 2017, with the subject "Latest White       25   week when I saw that, just because I feel like I wrote



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 1   this, and then, okay -- because the introduction that      1   expert. And Jake was one of those experts.
 2   was being proposed, I didn't like because I didn't         2      Q At the time, this is May of 2017, did Kik
 3   think it was, like, accurately representing it.            3   have in-house expertise on a par with the people from
 4          So we started with that. Then we had this.          4   CoinFund in the crypto space?
 5   And then we ended up with something else that I didn't     5     A I think this is -- you know, the answer to
 6   quite remember. So I can't remember how we went from       6   this is they would know more about some things and less
 7   this to that part.                                         7   about other things. You know, I think we -- I had a
 8       Q That's fine. Who ultimately approved the             8   very good handle about how to make a cryptocurrency
 9   language of the white paper, if anyone?                    9   work and why it could be a new model.
10      A I think it was probably -- I think Erin              10          But, you know, when people would look at
11   Clift was taking the lead on putting together all the     11   me, it's like, "Well, you haven't been in blockchain."
12   pieces of the white paper, working with everybody who     12   Actually, I had been, but just not in the classic way
13   had to do that. That's the best of my recollection.       13   of, you know, writing Bitcoin software. But in the
14         I'm sure she would have shared it with the          14   logic way, I've actually been involved since 2011.
15   rest of the leadership team, including me, saying, "Any   15          I think what Jake brought with -- well, he
16   issues, let me know," would be my guess. But in terms     16   had been involved in launching other cryptocurrencies.
17   of the entire white paper itself, I don't recall          17   So if we're going to do that, we should find somebody
18   reading it front to back and approving it.                18   who's done that. And, Ted, you haven't done that.
19       Q Okay. Do you know if someone else did?              19   That's totally true. Good point. Well, this Jake guy
20       A I hope Erin did, but I don't know.                  20   has and his company, for lack of a better word, has.
21     Q Fair enough. Keep that in front of you. I             21          So it's like, great, he was a nice guy,
22   might refer back to it when we go through the actual      22   smart guy. So that seemed like a good idea.
23   white paper.                                              23      Q Another person I see in e-mails around this
24     A Okay. I'd be interested to see the white              24   time, Hamish McKenzie, H-a-m-i-s-h.
25   paper.                                                    25      A Yeah.


                                                   Page 275                                                        Page 277
 1      Q How about CoinFund? We talked about them              1      Q Who is that?
 2   before. Did they play -- did people from CoinFund play     2      A He was our communications guy. He used to
 3   a role in drafting the white paper?                        3   be a journalist. And then we -- him and I connected
 4      A They did.                                             4   many years. He always sort of understood me maybe. So
 5      Q Who?                                                  5   we eventually ended up hiring him to help with our
 6      A I believe Jake and Alex were in Tel Aviv              6   communications. And then he also helped me sort of
 7   when we were working through all of this. I'm not sure     7   edit my -- any blog post I wrote, stuff like that.
 8   if anybody else from CoinFund was there or not. I          8      Q Was he a Kik employee in 2017?
 9   can't remember.                                            9      A I believe he was. At some point, he left
10      Q I can just tell you without having to go             10   around there. I'm not -- I can't remember when exactly
11   through all the e-mails, there's some suggestion that     11   that was.
12   you -- it seemed to me from the e-mails you might have    12      Q Sometime in 2017?
13   leaned pretty heavily on Jake to sort of help write the   13      A I can't remember when he left.
14   parts or all of the white paper.                          14      Q Was he still working for Kik after he left?
15         Is that consistent with your recollection?          15      A Well, he doesn't work for Kik today.
16      A Yes.                                                 16      Q Okay.
17      Q Why is that?                                         17      A There was a period where I would send him
18      A I think we were looking for outside experts          18   things as a friend to help me edit it. I'm not sure if
19   at this time. Not just in crypto, but broadly. We had     19   we were paying him at that point or not. So that's why
20   sort of lost confidence in our own ability to do          20   I can't -- there was a transition, and I can't recall
21   things. And so, you know -- which, I think was            21   exactly, you know, what that looked like at each stage.
22   unfounded when I look back. But at the time, it was a     22      Q How was the white paper published?
23   tough time. And so I think Jake was an expert.            23      A My understanding, it was put into a PDF and
24         And if we're going to get into crypto and           24   posted to the website.
25   we don't know that much about it, let's go find an        25      Q So Kik created a website for it?



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                                                    Page 278                                                      Page 280
1       A Yep.                                                 1       A Okay.
2       Q Okay. And I take it anyone with internet             2       Q Looking at this, you were very helpful in
3    access could read the white paper?                        3    explaining it. It seemed like this was a sectional
4       A Yes.                                                 4    document that you didn't write every section or review
5       Q Okay. There wasn't some sign-in or --                5    every section. Just eyeballing the table of contents,
6    there wasn't a sign-in process to read the white paper?   6    if you can help me understand where you were involved
7       A No.                                                  7    in particularly.
8       Q Okay. And it wasn't blocked anywhere or              8       A I would say in terms of the writing, I was
9    anything like that?                                       9    not very involved beyond Section 1.
10      A Blocked anywhere? Not to my knowledge.               10      Q Great.
11      Q Okay. Did Kik track anything, to your                11      A I was involved in some of the specific
12   knowledge, about who accessed that link and read the      12   information in some of the sections. Like, for
13   white paper?                                              13   example, what should the allocations be. That's
14      A I'm sure we got some data on at least how            14   something I jumped in. I was involved in that
15   many people were going there, how many people were        15   discussion. But how exactly we explained that, I can't
16   collecting it. But what the specific data was, I can't    16   recall being, like, sort of in the weeds on writing
17   recall.                                                   17   that.
18      Q Fair enough. Let's go to the white paper.            18      Q Got it. You weren't pen to paper, helping
19      A All right. Now I'm interested to compare             19   to write some of the following sections after
20   this to that.                                             20   Section 1?
21      Q Here is your chance. I'm showing you a               21      A Correct.
22   document marked in days gone by as Exhibit 2. Take a      22      Q Okay. Let's go to --
23   look at it and let me know when you're ready. I'll        23      A That's my best recollection.
24   identify it for the record as a multi-page document       24      Q That's fine. Let's go to Section 1, which
25   entitled "Kin: A Decentralized Ecosystem of Digital       25   I think starts on page 5. Do you see that?


                                                    Page 279                                                      Page 281
 1    Services for Daily Life. Position Paper." Exhibit 2       1       A Okay.
 2    is Bates stamped KIK 1.                                   2       Q And you helped -- or you were the -- were
 3           What is Exhibit 2?                                 3   you the primary author of this section?
 4        A It looks like this was the publicly-posted          4     A This is -- I can't recall exactly. Like,
 5    white paper outlining the vision for Kin.                 5   this is actually closer, it seems, to what I sent Fred.
 6        Q I'll represent to you my understanding is           6   So maybe this is more where my stuff got used, but I
 7    it was the final published white paper.                   7   cannot recall.
 8        A Okay.                                               8       Q Yeah. Structurally looks kind of similar
 9        Q Okay. Going to page 2 of it, "Motivation."          9   to what you sent to Fred --
10        A Okay.                                              10      A Yeah.
11        Q Is this section yours?                             11       Q -- it's certainly not the same words,
12        A I can't recall specifically. It was a              12   right?
13    while ago.                                               13       A Uh-huh. I can't recall.
14        Q Sure.                                              14       Q Let me go through a few of the words here
15        A But what I seem to recall, now that I think        15   in the white paper.
16    about it, is Jake wrote a first version. I wrote a new   16       A Sure.
17    version because I didn't like his version. I think       17       Q Under Section 1, "Kik's Vision," on page 5.
18    that's what I sent to Fred. That's when I say what I     18       A Okay.
19    rewrote, I didn't rewrote the white paper, I rewrote     19       Q Third paragraph begins, "To foster an
20    the intro, the proposed intro to the white paper.        20   ecosystem that is not only open and decentralized but
21           And then it looks like this maybe was a           21   also more compelling than its traditional counterpart,
22    combination of the two. I can't remember exactly how     22   Kik must create a series of new products, services, and
23    it evolved over time to ultimately end up here.          23   systems." Let me pause there.
24        Q Fair enough. Let me point you to the table         24           Was that true?
25    of contents on page 4, KIK 4.                            25       A I think that's not true.



                                                                              71 (Pages 278 to 281)
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                                                       Page 282                                                       Page 284
 1      Q What is not true about it?                               1   help to establish Kin's fundamental value?
 2      A "Must." To accelerate the ecosystem, Kik                 2      A That's a hypothetical. Let's say for a
 3   should, out of its own best interest, create a series         3   second we create a new token on the Ethereum
 4   of new products, services, and systems. At the time,          4   blockchain, as many, many other tokens have done.
 5   that might have felt true. Again, I can't recall who          5   Those tokens exist on that blockchain, and many of them
 6   wrote this. But in hindsight, it's certainly not              6   don't have somebody helping establish their fundamental
 7   definitively true.                                            7   values. So I would say no. I would say the market
 8      Q I'm sorry. You -- I may have missed what                 8   alone could establish the fundamental value.
 9   you thought would be accurate. Instead of saying, "Kik        9      Q Do you know why here in the preceding
10   must create a series of new products, services, and          10   sentence that we read -- the language read, "Kik must"
11   systems," you think that's inaccurate and it should          11   do the following things?
12   correctly read what?                                         12      A My hypothesis, which is all I can give you,
13      A Kik should out of its own selfish interest              13   is that cryptocurrencies at this time, as they are
14   create.                                                      14   today, are very new and misunderstood. So maybe at the
15      Q Do you remember any discussion about this               15   time, it felt like it was a must. But today, looking
16   language that I take it you currently think is               16   back, for sure, it was not a must.
17   inaccurate?                                                  17      Q So if someone -- and you don't recall
18      A I don't remember any discussion. And I                  18   discussing this terminology about whether Kik must do
19   think, you know -- this is, again, a year and a half         19   such and such tasks with anyone?
20   ago, and it's easy to think about today what                 20      A I don't recall that.
21   cryptocurrency is. Everybody is talking about them.          21      Q Do you recall discussing it with anyone who
22   But a year and a half ago even, people weren't. Like,        22   purchased Kin?
23   today, we sort of talked about this earlier, if              23      A I don't recall that.
24   everybody on Kik was on a plane and the plane crashed,       24      Q Do you recall ever correcting these
25   Kik would not be able to create these things.                25   statements to anyone who purchased Kin?


                                                       Page 283                                                       Page 285
 1         And yet, it is still possible that the                  1       A I don't recall discussing it with anybody
 2   ecosystem could not only continue -- would only               2   such that I would need to correct it.
 3   continue to run, that for sure is true, but that it           3       Q So sitting here today, has Kik ever
 4   would actually grow and get more and more interesting         4   corrected these statements?
 5   because of all of these incentivized people acting in         5       A Not to my knowledge. This is the first
 6   their own best interest.                                      6   time I recall reading this statement.
 7      Q Let me point you to a few lines down to                  7       Q Let me push you a bit on that because I
 8   another use of the word "must."                               8   think you earlier testified, correct me if I'm wrong,
 9      A Uh-huh.                                                  9   that this was the section you worked on.
10      Q The last sentence in the paragraph                      10       A That's not what I said. I said I worked on
11   beginning "A new digital currency," reads, "To               11   this section that I sent to Fred. It looks like parts
12   establish an economy around the new currency, Kik must       12   of this section weren't actually included in the intro,
13   help to establish Kin's fundamental value."                  13   which is what surprised me. But it looks like maybe
14         Do you see that?                                       14   some of them were included in this section.
15      A Where, I'm sorry?                                       15          So when I say "worked on," I think some of
16      Q Sorry. Under "A new digital currency" --                16   the stuff I wrote was used inside of it. But I don't
17      A Yep.                                                    17   recall that I was the one who actually wrote this
18      Q -- the last --                                          18   section.
19      A Yes, I see it now.                                      19       Q Do you know who did?
20      Q I'm sorry.                                              20       A I cannot recall.
21      A Okay.                                                   21       Q Did you read it before it was finally
22      Q Is that sentence also false?                            22   published?
23      A I think to establish an economy around a                23       A I do not recall.
24   new currency, Kik must create the new currency.              24          MR. MURTHA: Do you think it's likely that
25      Q You don't think it's true, that Kik must                25   you did?



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                                             Page 286                                                          Page 288
 1          THE WITNESS: I'm sorry?                             1   app. And in doing so, that would create demand.
 2          MR. MURTHA: Do you think it's likely that           2   Although, I'm not sure that they would understand that.
 3   you read it before it was published?                       3          Probably what they -- for most people, I
 4          THE WITNESS: I can say for -- I am                  4   can't -- you know, I'm speculating here, is that they
 5   99 percent sure that there are parts of this that I        5   understood that Kik would integrate Kin into its chat
 6   certainly did not read.                                    6   app.
 7          BY MR. LEASURE:                                     7         MR. MITCHELL: Can I flip you to page 6?
 8      Q And it's your testimony that parts of this            8         THE WITNESS: Uh-huh.
 9   document are inaccurate?                                   9        MR. MITCHELL: Do you see that it says, "A
10      A I think, in hindsight, they are inaccurate.          10   foundation for open governance"?
11   But at the time, maybe they felt true to the person who   11         THE WITNESS: Yes.
12   wrote this, based on the understanding they had at the    12         MR. MITCHELL: And underneath it, it says,
13   time.                                                     13   "Over time, Kik will work to structure and form the Kin
14      Q Okay.                                                14   Foundation."
15          MR. MITCHELL: In this -- in the white              15         Do you see that?
16   paper -- and if you could look down at the last           16         THE WITNESS: Yep.
17   paragraph on page 5.                                      17         MR. MITCHELL: Was that true?
18          THE WITNESS: Yep.                                  18         THE WITNESS: Yes.
19          MR. MITCHELL: Do you see the line that             19           MR. MITCHELL: Okay. And you see below
20   says, "Kik will build fundamental value for the new       20   that, it says, "As the founding member the Kin
21   currency by integrating Kin into its chat app"?           21   Foundation, Kik will be the ecosystem's champion and
22          THE WITNESS: Uh-huh.                               22   will showcase Kin to its millions of users."
23          MR. MITCHELL: So the white paper told              23         THE WITNESS: Yep. I see that.
24   readers that Kik would build fundamental value for the    24         MR. MITCHELL: Was that true?
25   new currency by integrating Kin into the chat app?        25         THE WITNESS: If I were to rewrite this, I


                                             Page 287                                                          Page 289
 1          THE WITNESS: Uh-huh.                                1   would say: As the first app -- like, maybe let me step
 2          MR. MITCHELL: Is that true?                         2   back for a second. Like, what the Kin Foundation
 3          THE WITNESS: If I could reword this, what           3   exactly is and what exactly it's responsible for has
 4   I would say is: Kik will create demand for the new         4   been an evolving thing. Like, at this point, I would
 5   currency by integrating Kin into its chat app.             5   say the Kin Foundation is responsible for the
 6          MR. MITCHELL: Who -- so you wanted people           6   productive spending, if you will, of its 6 trillion Kin
 7   who read the white paper to understand that?               7   that sits in its reserves.
 8          THE WITNESS: That we were going to                  8           So as a founding member of the Kin
 9   integrate Kin into our chat app, yes.                      9   Foundation, I think that felt more important at the
10          MR. MITCHELL: And create demand for it?            10   time than what it feels like today. But I think
11          THE WITNESS: Yes.                                  11   what -- so that's why I'm taking it "as the founding
12          MR. MITCHELL: And do you think that people         12   member of the Kin Foundation," like, that's sort of one
13   understood that?                                          13   topic.
14          THE WITNESS: Like -- you know, do I think          14           But if we skip to the comma there, I would
15   that people understand that today? I'm not sure.          15   say: Kik will be the ecosystem's first app to
16   Like, I think cryptocurrencies are one of the most        16   integrate Kin and will showcase Kin to its millions of
17   misunderstood things on the planet. So maybe -- like,     17   users.
18   my question would be, like, understand what part of       18           MR. MITCHELL: That's what you wish it had
19   that?                                                     19   said?
20          MR. MITCHELL: But you just said that -- do         20           THE WITNESS: Well, like, what is
21   you think people who read the white paper had             21   ecosystem's champion? I don't recall reading this.
22   understood that Kik intended to create demand for Kin     22   I'm pretty sure I didn't write this. So Kik will be
23   tokens?                                                   23   the ecosystem champion. Like, Kik will be the first
24          THE WITNESS: I think that people                   24   big app to integrate Kin. That's what Kik will be.
25   understood that Kik intended to integrate Kin into its    25           MR. MITCHELL: Okay. But in the white


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                                                Page 290                                                        Page 292
 1   paper, Kik wrote, "Kik will be the ecosystem's             1      A Uh-huh.
 2   champion."                                                 2      Q And my question -- which I should ask a
 3          THE WITNESS: Correct. Somebody wrote                3   question -- is: Do you recall any reason -- well, let
 4   that, who worked for Kik.                                  4   me ask it in a better way.
 5          MR. MITCHELL: Can I just flip you to the            5         Can you recall any discussion about whether
 6   part on page 9.                                            6   to include the concept of the value of Kin rising in
 7          MR. LEASURE: Can I --                               7   the future in this white paper?
 8          MR. MITCHELL: Go for it.                            8      A I don't recall any specific discussion.
 9          BY MR. LEASURE:                                     9      Q To the extent that concept isn't in here,
10       Q One other thing because I think we're still         10   the fundamental economics of crypto that we've been
11   in the summary section. Can I point you back to           11   discussing all day, to the extent that concept isn't in
12   Exhibit 198? That is this one.                            12   the white paper, do you know why?
13       A Yep.                                                13      A I don't know why because the value of an
14       Q Let me point you to your draft section on           14   asset is a function of supply and demand. The supply
15   the second page, Step 2, "Giving Kin value."              15   is fixed. So if demand goes up, the price will go up.
16       A Uh-huh.                                             16   If millions of people are using it inside Kik, that
17       Q And under that, there's four paragraphs.            17   demand, just that one piece that is contributing to
18          The last paragraph begins, "By using Kin to        18   overall demand, will obviously be higher than if nobody
19   drive an economy inside Kik, the value of the Kin         19   inside Kik is using it.
20   cryptocurrency will rise."                                20      Q Sure.
21          Do you see that?                                   21      A That's just economics fundamental.
22       A Uh-huh. I don't see that yet, but it                22      Q Did anyone ever suggest that that concept
23   sounds familiar. So let me take that back. Where?         23   not be included in the white paper?
24   Sorry. Which paragraph?                                   24      A I can't recall any specific discussions
25       Q Under Step 2, "Giving Kin value."                   25   around it. Like, you heard me say, like, probably it's


                                                Page 291                                                        Page 293
 1      A Yeah. Which paragraph?                                1   included. That would have been my best guess.
 2      Q Last paragraph, "By using Kin" --                     2      Q Okay. Let me keep you on the white paper.
 3      A Yep.                                                  3      A Okay.
 4      Q -- "to drive an economy inside Kik, the               4      Q Not your draft, but the final.
 5   value of the Kin cryptocurrency will rise."                5      A Yep.
 6      A Yep.                                                  6      Q You got it. Page 8, Bates stamp KIK 8.
 7      Q Do you see that?                                      7      A Okay.
 8      A Uh-huh.                                               8      Q First, do you have any idea who would have
 9      Q Was that true?                                        9   written this section beginning "The Kin
10      A All things being true, if in two worlds,             10   cryptocurrency"?
11   one -- in one world, people are using Kin inside Kik,     11      A I would have guesses, but I'd just be
12   in other world, people are not using Kin inside Kik, in   12   speculating.
13   the world where people are using Kin inside Kik, the      13      Q That's fine.
14   value of the current -- of the cryptocurrency will be     14      A Do you want me to speculate?
15   more valuable.                                            15      Q Sure.
16      Q Right. And that's based on the fundamental           16      A Actually, I don't even have guesses. I
17   crypto economics we've been discussing today?             17   thought this was going to be a section on the
18      A Correct.                                             18   technology. But it's actually just a one-page -- so I
19      Q I'll represent to you -- well, let me ask            19   don't even have a speculation on who this would be.
20   you first: Was that sentence or that sentiment behind     20      Q That's fine. The last sentence under
21   it included in the white paper?                           21   "Purpose and Characterization" reads, "Like other
22       A Probably.                                           22   cryptocurrencies, units of Kin are fungible and
23      Q I'll represent to you I couldn't find the            23   transferable, and they will be expected to trade on
24   concept of the value of the Kin cryptocurrency rising     24   cryptocurrency exchanges."
25   in the final white paper.                                 25          Do you see that?



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                                                  Page 294                                                     Page 296
 1      A Yep.                                                  1         THE WITNESS: Yeah.
 2      Q What does it mean that units of Kin are               2         MR. MITCHELL: Okay.
 3   fungible and transferable?                                 3         THE WITNESS: That's the fundamentals of
 4      A I think fungible versus non-fungible -- I'm           4   how this works.
 5   not for sure on the definition, but if I were to guess,    5         BY MR. LEASURE:
 6   it means like, you know, one is the same as the other,     6      Q Let me point you to page 11.
 7   you know. This Kin and that Kin are equally good Kin.      7      A Okay.
 8         And transferable means that, you know, I             8      Q "Kin integration into Kik."
 9   can send it to you, you can send it to me. Anybody can     9         Do you see that section?
10   transfer it from one person to another.                   10      A Yep.
11      Q It all -- the sentence goes on to say "and           11      Q This talks about the prior experiment with
12   they will be expected to trade on cryptocurrency          12   Kik Points. Do you see that?
13   exchanges."                                               13      A I see that.
14      A Uh-huh.                                              14      Q And do you see that further on in this
15      Q I guess, first, were they expected to trade          15   paragraph, it says, "Kik's team has a proven track
16   on cryptocurrency exchanges?                              16   record in developing products for the mass market, and
17      A They were expected to trade in                       17   Kik looks forward to introducing cryptocurrency into
18   cryptocurrency exchanges, yes.                            18   the product process"?
19      Q How come? Where did that expectation come            19      A I see that.
20   from?                                                     20      Q So would you agree that in part, this white
21      A I think it's for two reasons. One is                 21   paper talks about Kik's prior experience and its track
22   because the fundamentals of how blockchain technology     22   record and its -- and the like?
23   works, we would be technically unable to stop them from   23      A I would agree.
24   being traded on cryptocurrency exchanges. So, like,       24      Q Why does it do that?
25   that alone, like, it's expected because it's impossible   25      A I don't know. I don't recall having ever


                                                  Page 295                                                     Page 297
 1   to stop, and somebody is going to put it on exchanges.     1   read this. So I can't speak to why somebody would put
 2          But more than that -- or in addition to             2   this in there. If I had to speculate, it's -- I think
 3   that, should I say, for this to work as a vision,          3   they're trying to say Kik is going to integrate Kin
 4   developers would need to be able to sell cryptocurrency    4   into Kik, and you have no reason, based on their past,
 5   they received, Kin they received to -- as revenue to       5   to believe that this won't happen.
 6   fund their operations. Consumers would need to be able     6       Q Okay. Stepping back from these particular
 7   to buy it. Brands and advertisers would be able --         7   words. Do you think part of the pitch for the Kin
 8   need to be able to buy it.                                 8   offering was that Kik had a proven track record?
 9          The only place they can buy it reasonably           9       A I think it was one of the things that made
10   is on a cryptocurrency exchange, or sell it.              10   Kin exciting for sure, in the way that it would have
11          MR. LEASURE: Go ahead.                             11   been very exciting if we said instead of Kin, you know,
12          MR. SCHLEGELMILCH: I was just going to             12   we're going to be integrating Ether into Kik. That
13   say: And, in fact, Kik had a very -- well, the idea       13   would be very exciting for the Ether community for
14   was Kik would have a very large position in Kin, and it   14   sure.
15   would need to have it exchanged somewhere where it        15       Q Sure. The existence of Kik as a successful
16   could turn it into fiat?                                  16   messaging app was part of the --
17        THE WITNESS: Yeah, that's how the whole              17       A Yeah. And adopting a specific
18   model worked --                                           18   cryptocurrency is -- for sure, it would be exciting for
19          MR. SCHLEGELMILCH: Right.                          19   any cryptocurrency.
20          THE WITNESS: -- is, you know, sell smaller         20       Q Right. And do you think part of the pitch
21   and smaller pieces of the asset for more and more         21   was that people at Kik know how to do this?
22   money. And that's your economic reward for helping to     22       A Part of the pitch -- I'm just thinking
23   create this ecosystem.                                    23   about your word "pitch." I think part of the reality
24          MR. MITCHELL: Sell it for more as the              24   is that Kik knew how to build consumer products for
25   value went up?                                            25   sure.



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                                                   Page 298                                                       Page 300
 1      Q And do you think that's something that                1   use cases."
 2   could have appealed to people considering whether to       2      A Is that what's happened since then?
 3   participate in the token sale?                             3      Q Yeah.
 4     A For sure. Kik is going to own 3 trillion               4      A Yes.
 5   of these. We're going to be very interested operating      5         MR. LEASURE: Let's go off the record.
 6   in our self-interest to maximize demand. That's going      6         THE VIDEOGRAPHER: This ends Disc Number 3.
 7   to make their Kin very valuable. That's going to make      7   Going off the record. The time is now 5:25 p.m.
 8   all Kin very valuable. Yeah, that's exciting.              8         (A brief recess was taken.)
 9      Q Got it. Kik is not two guys in a basement.            9         THE VIDEOGRAPHER: This begins Disc
10         It is -- it has a management record and             10   Number 4. We are back on the record.
11   experience, right?                                        11         The time is now 5:27 p.m.
12      A Right.                                               12         BY MR. LEASURE:
13      Q Okay.                                                13      Q Back on the record after a brief break,
14       MR. MITCHELL: Later on in the white paper,            14   Mr. Livingston. Did you have any substantive
15   there's, like, pictures of the executives. Is that --     15   conversations about this investigation with SEC staff?
16   is this sort of the profiles of the executives there to   16      A I did not.
17   show Kik's gravitas?                                      17      Q Very good. Let me point you to page 21 of
18         THE WITNESS: Gravitas?                              18   this document, KIK 21. It begins, "Kin token
19         MR. MITCHELL: Abilities?                            19   issuance," "Kin token allocations."
20         THE WITNESS: I think -- I'm not sure                20         Do you see that?
21   why -- I'm sorry. I'm not sure why they included          21      A Yep.
22   pictures. I assume it's to show that these are indeed     22      Q This says, "In order to finance the Kin
23   real people.                                              23   roadmap, Kik will conduct a token distribution event
24         MR. MITCHELL: Oh, I'm sorry. I didn't               24   that will offer for sale 1 trillion tokens out of a
25   mean -- pictures. There's a paragraph bio for Kik         25   10 trillion unit total supply of Kin."


                                                   Page 299                                                       Page 301
 1   executives, and then core team, and lead advisors.         1        Did you see that?
 2         THE WITNESS: Yeah. I think this is                   2      A Uh-huh.
 3   like -- these are all the people who are birthing Kin      3      Q Was that the plan at the time?
 4   into the world. And that's exciting.                       4      A Was that the plan at the time? I think
 5         BY MR. LEASURE:                                      5   what the plan was, is in order to accelerate the Kin
 6      Q There's -- starting on page 12 and going              6   roadmap, Kik will conduct a token distribution event
 7   forward, there's a description of perspective use cases    7   that will offer for sale 1 trillion units out of
 8   here.                                                      8   10 trillion unit supply.
 9      A Yep.                                                  9      Q So the change you made there was instead of
10      Q Where did these come from?                           10   saying "to finance the Kin roadmap," you said "to
11      A I don't recall exactly. I don't recall               11   accelerate"?
12   being involved in this section. I recall actually         12      A Correct.
13   thinking that some of the use cases weren't that          13      Q So "finance" was inaccurate?
14   interesting. But, you know, a lot of different people     14      A Yeah.
15   were contributing, and different people with different    15      Q Okay.
16   sort of views of how this should all work. And if they    16      A Again, if the day after the TDE, everybody
17   thought it was interesting -- you know, I wasn't          17   on Kik got on a plane, the plane crashed, and everybody
18   writing this section. I don't remember specifically       18   died, and all access to the Kin went with it, you'd
19   reviewing it.                                             19   have 10,000 people who'd be very incentivized to make
20      Q And it says that, "Kik will introduce a              20   Kin work.
21   number of marketplace use cases that will prompt          21      Q Okay. Other than that term, the plan was
22   consumers and brands to transact with Kin."               22   to offer for sale -- as of May, the plan was to have a
23        Did that -- is that what's happened?                 23   10 trillion total supply of Kin, correct?
24      A Which part?                                          24      A Uh-huh. Correct.
25      Q "Kik will introduce a number of marketplace          25      Q And have 1 trillion units sold?



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                                                Page 302                                                       Page 304
1       A Yep.                                                  1      Q At the time, was there a written plan in
2       Q Okay. Further down in this document, it               2   place for how to spend the proceeds of the token
3    says, "Another 3 trillion Kin will be pre-allocated to     3   distribution event?
4    Kik as a founding member."                                 4      A There probably was, like, a best guess. I
5       A Yep.                                                  5   don't remember a specific plan, though.
6       Q That was the plan as of May?                          6      Q Did you ever see one?
7       A Yep.                                                  7      A Sounds familiar, but I can't recall
8       Q And then the remaining 6 trillion of Kin              8   specifically.
9    would be the purview of the Kin Foundation?                9       Q Okay. Subsequently, has there been a
10      A Yep.                                                 10   written plan you can recall for --
11      Q And that was the plan as of May?                     11       A Well, we definitely had plans for, like --
12      A I believe so, yep.                                   12   of the cash we have, how are we spending it. So
13      Q And numbers-wise, that's actually what's             13   definitely, that would exist.
14   happened, correct?                                        14      Q And has that ever been pushed out or
15      A I believe so, yep.                                   15   published to the Kin community?
16      Q Okay. The second sentence here on page 21            16     A Not to my knowledge.
17   reads, "The proceeds of the token distribution event      17      Q Okay.
18   will be used to fund Kik operations and to deploy the     18       That wasn't disclosed in advance
19   Kin Foundation. A portion of the funds raised in the      19   of -- the plans for how to spend money weren't
20   token distribution will be used to execute upon the       20   disclosed in advance of the token distribution event?
21   roadmap of additional feature development planned for     21       A No.
22   the Kin integration into Kik."                            22      Q Okay.
23           Did you see that?                                 23      A Not to my knowledge.
24      A Yep.                                                 24      Q Point you to one other thing. Page 23,
25      Q Was that accurate?                                   25   "Token Distribution Event." Right at the top, it


                                                Page 303                                                       Page 305
 1       A I would say from the revenue we created              1   reads, "The Foundation will commence the token
 2   selling the 1 trillion Kin, we will spend that money to    2   distribution event once Kik has completed the
 3   execute on pieces of the roadmap, or to build out          3   technology upgrade to integrate with Kin and the
 4   pieces of the roadmap outlined here, and to also fund      4   cryptocurrency can be used functionally within Kik."
 5   additional feature development planned for the Kin         5        Did you see that?
 6   integration inside Kik, yeah.                              6      A Yep.
 7      Q Okay.                                                 7      Q Pause there. "The Foundation will commence
 8       MR. SCHLEGELMILCH: And also just to sort               8   the token distribution event." I just wanted to drill
 9   of keep the lights on the messaging side of the            9   down on that phrase.
10   business, right?                                          10           Did the Foundation commence the token
11           THE WITNESS: Yes.                                 11   distribution event?
12           MR. SCHLEGELMILCH: This was all sort of           12      A I can't recall. But, you know, who wrote
13   co-mingled in one bank account, the money that came in    13   the smart contract to create Kin? That was Kik
14   from the token distribution event, or maybe a series of   14   employees.
15   bank accounts? But it was to be used for the running      15      Q Okay.
16   of Kik Interactive, correct?                              16       MR. MITCHELL: And who decided
17         THE WITNESS: It was -- part of it was to            17   to actually -- you know, to say, "Okay. Let's do it if
18   be used for the running of Kik Messenger.                 18   we're going to start the token distribution event"?
19           MR. SCHLEGELMILCH: Okay.                          19           THE WITNESS: Like, to actually create Kin,
20           THE WITNESS: Is that what you mean by             20   to sell Kin?
21   that?                                                     21           MR. MITCHELL: No. In September of 2017,
22           MR. SCHLEGELMILCH: That's what I mean by          22   to say, "Okay. We're going live."
23   that.                                                     23           THE WITNESS: Like, that now is the
24           THE WITNESS: Yep.                                 24   time?
25           BY MR. LEASURE:                                   25           MR. MITCHELL: Yep.



                                                                              77 (Pages 302 to 305)
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                                                    Page 306                                                     Page 308
 1          THE WITNESS: I think that was probably              1   exactly what that would be. We knew what Kik Points
 2   ultimately my decision. But it was probably, like, a       2   was.
 3   consensus-based decision among the leadership team,        3          We knew millions of people used Kik Points. We
 4   like, now is the time.                                     4   knew there was tons of utility to Kik Points. But when
 5          MR. MITCHELL: Kik employees?                        5   we took all of those different use cases for Kik Points
 6          THE WITNESS: Kik employees, yes.                    6   and figured out how it could intersect with what the
 7          BY MR. LEASURE:                                     7   state of blockchain technology could actually enable,
 8      Q Did the Kik board ever authorize the token            8   that was something we had to figure out.
 9   distribution event?                                        9          So we knew, like, what everything Kik
10      A I believe they did, but I can't recall               10   Points did. But of those, which ones the blockchain
11   specifically.                                             11   technology was sort of mature enough to be able to
12      Q Okay. And this says the event will                   12   support at this time, I don't recall us being clear on.
13   happen -- going back to page 23.                          13      Q So if I asked you in May of 2017, if I'm --
14      A Uh-huh.                                              14   as someone potentially interested in buying Kin, and
15      Q "Will commence the token distribution event          15   say, "Hey, Mr. Livingston, what does that mean, the
16   once Kik has completed the technology upgrade to          16   cryptocurrency can be used functionally within Kik,"
17   integrate with Kin and the cryptocurrency can be used     17   your answer would have been, "We don't know yet"?
18   functionally within Kik."                                 18     A My answer would be: These are all of the
19      A Uh-huh.                                              19   things you could use Kik Points for. These are all of
20      Q We're going to turn to this more tomorrow,           20   things we -- if we had kept going with Kik Points, we
21   but what was your understanding at the time of what it    21   were thinking about ways -- additional ways you could
22   meant to complete the technology upgrade to integrate     22   use Kik Points.
23   with Kin?                                                 23          But of all those things, which we
24      A I can't recall ever having read this                 24   can -- which of them can we make with -- work with
25   sentence, so I can't obviously recall what it is trying   25   Ethereum blockchain when we do our token distribution


                                                    Page 307                                                     Page 309
 1   to get at.                                                 1   event, we're not sure yet.
 2      Q Okay.                                                 2       Q Okay.
 3      A I could speculate, but I can't recall.                3          MR. MITCHELL: Because we're asking about
 4      Q Do you know -- and so just to -- the other            4   token distribution event, can I just ask a practical
 5   phrase in there that I wanted to ask you about, "the       5   question?
 6   cryptocurrency can be used functionally within Kik" --     6          I asked you earlier about sort of who
 7      A Yep.                                                  7   approved the idea.
 8      Q -- you don't recall reading this sentence             8          But is literally starting the token
 9   at the time, correct?                                      9   distribution event like someone sitting at a computer,
10      A Correct.                                             10   hitting a button saying, you know, run or go or
11      Q Did you have an understanding that the               11   something like that?
12   token distribution event would happen once the            12          MR. SCHLEGELMILCH: I just picture a big
13   cryptocurrency could be used functionally within Kik?     13   button.
14      A Yes.                                                 14          MR. MITCHELL: Yeah, exactly.
15      Q And what -- at the time, we're in May of             15          MR. SCHLEGELMILCH: That you, like, flip a
16   2017, what did that mean to you?                          16   coin to get the push.
17      A What it meant to me is that Kik users and            17          THE WITNESS: I don't think there's a big
18   anybody who owned Kin would be able to get utility from   18   button.
19   that Kin within Kik as a broader consumer experience.     19          I think what starts a token distribution event
20      Q And at this time, we'll talk about this              20   is you publishing a smart contract to the Ethereum
21   more tomorrow, but were those stickers or was that some   21   blockchain.
22   other function you had in mind?                           22          And then you telling people, "Hey, the
23      A At this time or at that time?                        23   smart contract for the Kin token distribution event can
24      Q May of 2017.                                         24   be found here at this address."
25      A I think in May of 2017, we weren't sure              25          MR. MITCHELL: And was there -- was that



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                                                   Page 310                                                          Page 312
 1   done? That publishing, that's done by Kik employees?       1    because, you know, this -- like, my understanding of
 2        THE WITNESS: Yes.                                     2    this document was, like, this is our vision at the
 3         MR. MITCHELL: And do you know who or what            3    time.
 4   group was doing that kind of work?                         4           Obviously, this is going to change, as it has
 5         THE WITNESS: I don't know for sure. I can            5    changed for every other cryptocurrency project. And,
 6   speculate, but one of the technical guys.                  6    in fact, it's the rate of change which you should be
 7          MR. MITCHELL: Sure. I mean, more likely             7    excited about.
 8   in Israel or in Waterloo?                                  8           If it's not changing, it means they're
 9          THE WITNESS: More likely in Israel.                 9    not learning and not adapting.
10          MR. MITCHELL: Israel. Okay.                        10           So, you know, it just didn't feel like to
11          BY MR. MITCHELL:                                   11    me, in hindsight, you know, that this was meant to be
12      Q Last thing on this document. Would you               12    some document in stone. Like, no document in
13   agree that in reviewing this document, you identified     13    technology is.
14   some things that you would testify are inaccurate in      14           MR. LEASURE: Off the record.
15   this document?                                            15           THE VIDEOGRAPHER: Going off the record.
16      A I think there are things in this document            16           The time is now 5:38 p.m.
17   that people who wrote this believed to be true at the     17           (Whereupon, at 5:38 p.m., the examination
18   time; but as our understanding of cryptocurrencies has    18    was adjourned.)
19   evolved, not just internally, but as an industry, would   19                     *****
20   no longer appear to be true.                              20
21      Q Okay.                                                21
22       And you anticipated my next                           22
23   question, which is: Why are there things that are no      23
24   longer true or inaccurate?                                24
25          Why do you think that is?                          25


                                                   Page 311                                                          Page 313
 1      A Because it's a new emerging technology, and           1           PROOFREADER'S CERTIFICATE
 2   everybody is doing their best to figure out what           2
 3   exactly this is, where exactly it's going. And as I'm      3   In the Matter of: KIK INTERACTIVE
 4   sure you guys can relate, it's a complicated thing.        4   Witness:        Edward "Ted" Livingston
 5   And, you know, I don't envy you for that. And so I         5   File Number:      HO-12869-A
 6   think just like for you or for anybody else, it's true     6   Date:          Wednesday, November 7, 2018
 7   for people who worked at Kik as well. They were sort       7   Location:       Washington, D.C.
 8   of trying to articulate what was their best                8
 9   understanding at the time.                                 9      This is to certify that I, Christine Boyce,
10      Q And that's changed over time?                        10   (the undersigned) do hereby certify that the foregoing
11      A Has your understanding of cryptocurrencies           11   transcript is a complete, true and accurate transcription
12   changed over time?                                        12   of all matters contained on the recorded proceedings of
13      Q That's when I've got to say is I ask the             13   the investigative testimony.
14   questions.                                                14
15         People's understanding of how                       15
16   cryptocurrencies work has changed over time at Kik?       16   _____________________________             ___________________
17      A I would say that every single person's               17   (Proofreader's Name)             (Date)
18   understanding of how cryptocurrencies work has changed    18
19   over time.                                                19
20      Q Okay.                                                20
21       MR. MITCHELL: Was there any time between              21
22   the publishing of the white paper and the token           22
23   distribution event that anyone revised the white paper    23
24   or corrected statements in it?                            24
25         THE WITNESS: Not to my recollection                 25



                                                                                79 (Pages 310 to 313)
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 2   On behalf of the Securities and Exchange Commission:    2   WITNESS:           EXAMINATION
 3     BRENT MITCHELL, ESQ.                                  3   Ted Livingston       319
 4     JAMES MURTHA, ESQ.                                    4
 5     JEFF LEASURE, ESQ.                                    5   EXHIBITS       DESCRIPTION          IDENTIFIED
 6     STEPHAN SCHLEGELMILCH, ESQ.                           6   199    Sit-Down Presentation     321
 7     DAVID MENDEL, ESQ.                                    7   200    Medium Document            343
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12     (202)551-4683                                        12   205    Article             438
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23                                                          23
24                                                          24
25                                                          25


                                           Page 317                                                         Page 319
 1      APPEARANCES(CONT.):                                  1             PROCEEDINGS
 2                                                           2           THE VIDEOGRAPHER: Good morning. This
 3      On behalf of the Witness:                            3   begins Disc Number 1, Volume II. We are back on the
 4        LUKE CADIGAN, ESQ.                                 4   record. The time on the video monitor is 9:40 a.m.
 5        BRETT DEJARNETTE, ESQ.                             5   Whereupon,
 6        PATRICK GIBBS, ESQ.                                6             EDWARD "TED" LIVINGSTON
 7        Cooley LLP                                         7   was re-called as a witness and, having been previously
 8        500 Boylston Street                                8   duly sworn, was examined and testified further as follows:
 9        Boston, Massachusetts 02116                        9           BY MR. LEASURE:
10        (617)937-2480                                     10      Q Back on the record on November 8th, 2018.
11        KENNETH LENCH, ESQ.                               11           Mr. Livingston, during the break in
12        Kirkland & Ellis                                  12   testimony, did you have any substantive conversations
13        655 Fifteenth Street, N.W.                        13   about this investigation with SEC staff?
14        Washington, D.C. 20005                            14     A I did not.
15        (202)879-5270                                     15      Q Do you understand you're still under oath?
16                                                          16      A I do.
17      Also Present:                                       17           MR. MITCHELL: Overnight, Brett sent us --
18         Steven Jones, Videographer                       18   yesterday we talked, do you remember we were talking
19                                                          19   about a sit-down meeting, the company-wide meeting,
20                                                          20   where you talked to sort of everyone about the token
21                                                          21   idea?
22                                                          22           THE WITNESS: Uh-huh.
23                                                          23           MR. MITCHELL: So overnight, Brett sent us
24                                                          24   a link to a document. Can I just ask, the concept of a
25                                                          25   sit-down meeting, this is -- I guess, what -- how does



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                                                  Page 320                                                         Page 322
 1   that work? How did that fit inside Kik's culture?          1           THE WITNESS: That would be my -- I would
 2          What is a sit-down meeting?                         2   think so, yes.
 3          THE WITNESS: A sit-down is for the most             3           MR. MITCHELL: So at this points in time,
 4   part like a regularly occurring meeting with everybody     4   where were you in terms of -- sort of telling people --
 5   from the company.                                          5   say before the meeting -- let me start over.
 6          MR. MITCHELL: Regularly, like once a                6           Before the meeting, who knew about the idea
 7   month, once a quarter, or?                                 7   of potentially doing a -- selling a token?
 8          THE WITNESS: It's changed over the years.           8           THE WITNESS: It's hard for me to say who
 9   I'm not sure what the cadence was at this point. At        9   exactly would know. But I would -- my best guess would
10   one point, it was every week. At one point, we            10   be that this meeting is when we would share it with
11   switched that, I think, to once every month. So I'm       11   everybody. And before this meeting, not everybody
12   not sure what it was at this point.                       12   internally would know our plans with crypto or proposed
13          MR. MITCHELL: As a practical matter,               13   plans with crypto.
14   videoconference -- people in Waterloo would come          14           MR. MITCHELL: Earlier yesterday, we talked
15   down --                                                   15   sort of about the issue of you feeling like you --
16          THE WITNESS: Yep.                                  16   convincing other people and making sure that other
17          MR. MITCHELL: -- and people outside                17   people saw this project as a good -- a positive thing
18   Waterloo can see it on video?                             18   to do. Do you remember that?
19          THE WITNESS: Correct.                              19           THE WITNESS: Yes.
20          MR. MITCHELL: And what -- how did you --           20           MR. MITCHELL: How did this fit into that
21   how did you use sit-downs to -- in terms of               21   kind of effort?
22   communicating that?                                       22           THE WITNESS: I would say that this was --
23          THE WITNESS: The purpose of sit-downs is           23   like, this was the first time we were sharing it with
24   like just a chance for the whole company to get           24   the entire company is my recollection. And so again,
25   together to share news, to share achievements, to share   25   it was a period of very sort of low trust, high stress


                                                  Page 321                                                         Page 323
 1   information. Sometimes that would come from me.            1   as we were having declining metrics. So we -- my best
 2   Sometimes that would come from various teams within the    2   recollection -- and we can go through it -- is we
 3   company. Sometimes it would come from other people on      3   wanted to do it in a way that was sort of as simple as
 4   the leadership team.                                       4   possible for people to understand because it was a
 5          MR. MITCHELL: And the document -- let me            5   totally brand-new concept.
 6   just -- we'll just mark the next number.                   6          My recollection is we didn't want to --
 7          (SEC Exhibit No. 199 was marked for                 7   because we were doing -- trying lots of different
 8   identification.)                                           8   things to find a way to compete with these big
 9          MR. MITCHELL: We're going to mark as                9   companies. And a lot of them weren't working. So we
10   Exhibit 199 a multi-page document. This is the one we     10   wanted to do this in a way that sort of instilled
11   have. It's KIK_00119718 to 766.                           11   confidence in the team that this was a good option for
12          THE WITNESS: Uh-huh.                               12   us.
13          MR. MITCHELL: Have you seen this before?           13         MR. MITCHELL: You mean through the
14          THE WITNESS: I have.                               14   presentation explain the story?
15          MR. MITCHELL: What is it?                          15           THE WITNESS: Yes.
16          THE WITNESS: I believe this is the                 16           MR. MITCHELL: When you made this
17   presentation that was shown at sit-down.                  17   presentation -- when you created the presentation, did
18          MR. MITCHELL: And just looking at the              18   you put in the things that you thought would accomplish
19   first page, the slide gets displayed to everybody. And    19   that?
20   the part underneath is just text for the speaker?         20           THE WITNESS: So I didn't create the
21          THE WITNESS: Correct.                              21   presentation itself. Usually, the way the process
22          MR. MITCHELL: And the front of it, it              22   would work is different people would create different
23   says, Sit-down March 30th, 2017.                          23   slides. They'd add their own notes to it, what they
24          Do you think that this meeting happened on         24   recommended, how they would explain the slide. But
25   March 30th, 2017?                                         25   definitely, I would say the goal of this presentation



                                                                                 3 (Pages 320 to 323)
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                                                Page 324                                                    Page 326
 1   was to explain the concept in the simplest way possible    1   let you know. So I can't recall who wrote this. But I
 2   to the degree that we understood it ourselves at the       2   would be pretty sure that I would not have written
 3   time that instilled confidence with the team that this     3   these notes.
 4   was a good idea.                                           4          MR. MITCHELL: It doesn't feel like it's
 5         MR. MITCHELL: This document -- the                   5   your writing.
 6   description is the way you understood it at the time?      6          THE WITNESS: Yeah. So yeah. I think
 7        THE WITNESS: The description? Sorry.                  7   these are -- the people who put it together, it
 8   Which description?                                         8   probably is their recommendation for how to speak to
 9         MR. MITCHELL: This document describes the            9   this slide.
10   project as you understood it at the time of the           10          MR. MITCHELL: So then could you go back to
11   meeting?                                                  11   the cryptocurrency slide that ends in 743.
12         THE WITNESS: I would say this presentation          12          THE WITNESS: Okay.
13   was trying to share sort of the intersection of our       13          MR. MITCHELL: I think a lot of this sort
14   understanding of what it was and where it was going and   14   of summarizes things we talked about yesterday, the
15   why it was a good idea, but also in a way that people     15   page that ends in 744.
16   could understand.                                         16          THE WITNESS: Okay.
17          MR. MITCHELL: So looking on the first              17          MR. MITCHELL: You described -- you sort of
18   page, it seems to break it up into two parts. A part      18   compared the new idea to the Kik Points that people
19   that Eran Ben-Ari presented and a part that you           19   already knew; is that what this slide is doing?
20   presented?                                                20          THE WITNESS: That's what it looks like,
21          THE WITNESS: That's what it looks like,            21   yes.
22   yes.                                                      22          MR. MITCHELL: Then there is -- the next
23         MR. MITCHELL: Is that how you remember the          23   slide is pictures of pizza?
24   presentation going?                                       24          THE WITNESS: Yeah.
25          THE WITNESS: I don't recall exactly.               25          MR. MITCHELL: Do you remember what you


                                                Page 325                                                    Page 327
 1          MR. MITCHELL: Flipping through, are you             1   were communicating and what you said when you were
 2   able to sort of see where the -- sort of where the         2   talking about this one?
 3   dividing line is where you took over?                      3          THE WITNESS: I think this was a reference
 4         THE WITNESS: My guess would be I would               4   to the pizza that was bought for 10,000 Bitcoins.
 5   probably open it. I would think that Eran would do the     5          MR. MITCHELL: Oh, yeah. The famous story
 6   product section. I'm not sure who would have done the      6   that somebody paid 10,000 Bitcoins for pizza, and now
 7   public group section. Could have been Eran, it could       7   everyone loves to calculate what that pizza costs?
 8   have been me, could have been somebody else.               8          THE WITNESS: Yes. The appreciation of the
 9         Community chat, I'm not sure who did that            9   currency.
10   section. Cryptocurrency, I believe I would have           10          MR. MITCHELL: That's making the point that
11   presented this section. But I can't recall exactly.       11   Bitcoin certainly had appreciated since the person
12         MR. MITCHELL: The part that starts with             12   bought the pizza?
13   the slide that says Cryptocurrency, and has a number on   13          THE WITNESS: Yes.
14   the bottom right corner that ends in 743?                 14          MR. MITCHELL: The next one that's 746.
15          THE WITNESS: Yep.                                  15          What are you describing here?
16          MR. MITCHELL: Can I just take you to the           16          THE WITNESS: I can't remember for sure.
17   second page. There is a page that has sort of in the      17   My best guess would be, though, that there was an
18   slide the word "capability" and the word "change" and a   18   opportunity with the cryptocurrency to align users,
19   lot of other words?                                       19   developers, and creators to all work together.
20          THE WITNESS: Yes.                                  20          MR. MITCHELL: Then the next two slides,
21        MR. MITCHELL: Looking at the notes                   21   which look pretty similar -- looks like it's one of
22   underneath it, does this look to you like something you   22   those things where you have one slide, and you press
23   -- are those notes that you used, or is that somebody     23   the button and the words "bots platform" gets added?
24   else writing in?                                          24          THE WITNESS: I think the next slide is
25          THE WITNESS: Let me read it, and I will            25   talking about the pillars of the Kik Messenger product.



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                                               Page 328                                                        Page 330
 1   And then how cryptocurrency can underline all of those     1   getting launched. And then some data on a hypothetical
 2   pillars and contribute to all of those pillars.            2   for Kik.
 3          MR. MITCHELL: If you keep going, there is           3         MR. MITCHELL: So the survey you're talking
 4   a slide that says, "We can leverage growing investment     4   about, that's the CoinFund survey?
 5   trends to support our community initiatives."              5         THE WITNESS: That would be my guess.
 6         Do you see that?                                     6         MR. MITCHELL: If I can point you to the
 7           THE WITNESS: I do.                                 7   bottom left of that page. It says, "Source, CoinFund
 8           MR. MITCHELL: What are you talking about           8   crypto investor survey."
 9   here?                                                      9         Do you see that?
10           THE WITNESS: I think what I'm talking             10         THE WITNESS: Then, yes, probably that's
11   about here is the growing behavior of people purchasing   11   what it was.
12   cryptocurrencies. And therefore, people purchasing --     12         MR. MITCHELL: On the right, it says,
13   the potential for people to purchase a cryptocurrency     13   "Hypothetical Kik." And then there is words
14   that we would launch. And therefore, the potential for    14   underneath. "An established product that tens of
15   this to be a viable business model for us.                15   millions of users integrating a platform token for
16          MR. MITCHELL: And the next page.                   16   their digital community."
17   Yesterday, I think you talked about a quote that you      17         Do you see where I read that?
18   heard about $100 million?                                 18         THE WITNESS: I do, yeah.
19           THE WITNESS: Uh-huh.                              19          MR. MITCHELL: That description was sort
20           MR. MITCHELL: Is that trying to do what           20   of, in the survey, was the attempt to sort of come up
21   you -- at the time, you didn't remember exactly what it   21   with the hypothetical Kik token without actually
22   was. So I'm doing what lawyers call refreshing your       22   telling people Kik's name?
23   recollection.                                             23         THE WITNESS: Correct. That's what it
24          Is this the document that you -- do you            24   looks like.
25   think this is what you were remembering yesterday?        25         MR. MITCHELL: The next page that ends in


                                               Page 329                                                        Page 331
 1           THE WITNESS: Remembering about what?               1   752. It says, "What will we do with this
 2           MR. MITCHELL: Sorry. The top says, "There          2   cryptocurrency?"
 3   is a community of investors with the same vision."         3          What are you doing -- when you talked about
 4           So I guess let me start with that. What is         4   this, what were you telling people?
 5   that? What did you mean when you put that?                 5         THE WITNESS: I think what we're trying to
 6           THE WITNESS: I don't think I created this          6   do here is to try to simplify and make as concrete as
 7   slide. So I can't say exactly. But I think the way I       7   possible the steps to launching a cryptocurrency and
 8   would have explained -- because I think I probably did     8   what that might look like for us.
 9   present this slide -- is we ask people if we were or       9         MR. MITCHELL: These steps aren't exactly
10   somebody like us was to launch a new cryptocurrency,      10   what got done in the end, right?
11   how much of it would people buy? And this is some of      11          THE WITNESS: Yeah. I think this was the
12   the responses we got.                                     12   -- our best understanding at the time when we looked
13           MR. MITCHELL: And the next slide is more          13   at, you know, the industry at large, and also sort of
14   of that same answer where there is a -- the market data   14   our early thoughts about what it might look like if we
15   supports this opinion. I don't mean to be confusing.      15   were to launch our own cryptocurrency.
16   Let me just ask it in a different way.                    16         MR. MITCHELL: If you flip to the next
17           The next slide says, "Market data supports        17   page, it says, "Next steps for the ICO."
18   this opinion."                                            18         THE WITNESS: Yep.
19           What's this slide about?                          19        MR. MITCHELL: There is a line that says,
20           THE WITNESS: I think this is pointing to          20   "Announce ICO on May 24th at Token Summit."
21   what I would guess is other data in that study, we'll     21         THE WITNESS: Yeah.
22   call it, just highlighting some of the data from that,    22         MR. MITCHELL: By March 30th, 2017, you had
23   you know, when the launch of cryptocurrency is being      23   your eye on making an announcement at that May 24th
24   launched at this point. And I think it's just             24   event?
25   presenting some data on some of the things that are       25         THE WITNESS: I believe so, yeah. That's



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                                                  Page 332                                                      Page 334
 1   what it looks like.                                        1          THE WITNESS: Usually when we don't include
 2         BY MR. LEASURE:                                      2   slides it's because they're not additive to what we're
 3      Q Can I ask: On this slide, this second                 3   trying to communicate. It's usually not because --
 4   point says, "Establish GTM strategy"?                      4   maybe, you know, we don't quite like the idea, or maybe
 5      A Yep.                                                  5   it's articulated wrong, or maybe it's just confusing.
 6      Q What's GTM?                                           6   Like, there is lots of ideas -- or lots of reasons for
 7      A Go-to-market.                                         7   why slides back here wouldn't ultimately end up making
 8      Q So there was some thinking about a                    8   it to the main presentation.
 9   marketing strategy for a token sale?                       9         MR. MITCHELL: Can you flip to the
10     A Go-to-market is not a marketing strategy.             10   page 763. It says at the top right, "Is it
11   Go-to-market -- marketing is a piece of it. A             11   cryptocurrency?"
12   go-to-market strategy is how you get a technology         12         THE WITNESS: Okay.
13   adopted broadly; how you design the technology, how you   13         MR. MITCHELL: Do you have any memory of
14   design the product, how you communicate that product,     14   why this wasn't included?
15   how you get people to adopt it, all of the pieces to      15         THE WITNESS: I can't remember why. If I
16   get people to adopt a new technology.                     16   were to give my best guess, it probably felt probably
17      Q Got it. I apologize. Marketing is just a             17   too in the weeds for the first introduction.
18   piece of that, there is other things going on?            18          MR. MITCHELL: Anything in there -- looking
19      A Yeah.                                                19   at it now, is there anything that looks sort of not
20      Q Okay.                                                20   correct to you?
21         MR. MITCHELL: The page that ends in 755,            21         THE WITNESS: In the slide itself, 763?
22   two pages on, just has some people sitting on their       22         MR. MITCHELL: Yeah. Something you didn't
23   phones and the word "questions."                          23   thing was true at the time?
24         Do you remember getting questions?                  24         THE WITNESS: So I think the first two
25         THE WITNESS: I don't remember. I don't              25   bullets seem accurate to me. The third bullet is not


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 1   remember specifically or even generally if there were      1   really a factual statement. Maybe it was part of a
 2   or were not questions.                                     2   narrative to try to explain what we were doing.
 3          MR. MITCHELL: The slides after the                  3        MR. MITCHELL: The name "Kik coin," you
 4   questions, do you think you also did these as well --      4   mean?
 5   spoke?                                                     5         THE WITNESS: Well, this slide wasn't
 6          THE WITNESS: I don't think I -- I'm pretty          6   ultimately used, right? So this would be a working
 7   sure I would not have created these. But I think if I      7   slide. So you asked me what I think is true on this.
 8   had to guess, these were included in the back as sort      8   The first two seem to be just basic industry
 9   of working slides that weren't ultimately presented.       9   definitions, the first two bullets. The third bullet,
10          MR. MITCHELL: What makes you think that?           10   you know, I think is, like, probably part of a
11          THE WITNESS: It's just typically how we            11   narrative. But on this slide, it doesn't really make
12   produce slide decks is, you know, we have lots of         12   sense. It doesn't connect to anything. So this was
13   different slides, and we keep them at that back. We       13   probably just a working slide. So when you asked me is
14   don't delete them in case we change our mind and we       14   it true, the third one, you know, it's not really a
15   want to bring them into the presentation. You know,       15   true-or-false question.
16   nobody sees this actual deck itself. They just see it     16         MR. MITCHELL: Sure. As a matter of slide
17   being presented. So if -- we can stop it wherever we      17   construction, though, it doesn't seem to go here is
18   want.                                                     18   what you're saying?
19          MR. MITCHELL: So looking at the slides, do         19         THE WITNESS: It just seems like, what is a
20   you think that there were -- do you remember why these    20   cryptocurrency -- like, 1 and 2 are what a
21   weren't presented, any of them?                           21   cryptocurrency is. The third is something else.
22          THE WITNESS: I don't remember why.                 22         MR. MITCHELL: The next slide at 764, it
23          MR. MITCHELL: Do you remember seeing,              23   says, "Team structure." I've just never seen something
24   like, a factual error, or, you know, something you        24   like this. What is -- is this -- looking at it now, do
25   don't want to tell people in these?                       25   you know what this is? Like, what is this describing?



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                                                   Page 336                                                      Page 338
 1          THE WITNESS: This might have been a                1    but you could also sell it at that point to somebody
 2   working slide. I don't know what this is. This might      2    else who wants to use it.
 3   have been a working slide for the section on the          3          MR. MITCHELL: That's part of the economics
 4   product process, trying to describe how teams are         4    that we discussed yesterday?
 5   organized. But I'm not sure.                              5          THE WITNESS: Correct.
 6          MR. MITCHELL: I'll take you to the last            6          MR. MITCHELL: Okay.
 7   page, which is 766.                                       7          BY MR. LEASURE:
 8          THE WITNESS: Yeah.                                 8       Q As of yesterday, we talked about the white
 9          MR. MITCHELL: Is there something -- do you         9    paper.
10   have any memory of why this wasn't used?                  10      A Yep.
11          Do you know whether this was used or not           11      Q Just getting to the public announcement
12   used?                                                     12   that we think happened in late May. On top of
13          THE WITNESS: Why which?                            13   publishing the white paper on a web page, what else did
14          MR. MITCHELL: This slide, 766. Do you              14   Kik do to announce the Kin token?
15   know whether it was shown to people?                      15      A The announcement itself, I believe,
16          THE WITNESS: I think this looks very               16   happened at Token Summit in New York City. That was an
17   similar to an earlier slide.                              17   announcement on stage. And then we also posted a white
18          MR. MITCHELL: Which slide?                         18   paper. That white paper was also posted on a website.
19          THE WITNESS: Slide -- Bates number 9750.           19   Outside of that, nothing specific jumps to mind;
20          MR. MITCHELL: Looks a lot like the slide           20   although, I'm sure we did lots of things between then
21   that has at the top, "There is a community of investors   21   and the token sale itself.
22   with the same vision"?                                    22      Q Okay. And we might walk through some of
23          THE WITNESS: Yes.                                  23   that in a little while. Let's talk about the Token
24          MR. MITCHELL: I totally see that. I                24   Summit. That was part and parcel of posting the white
25   actually meant to flip you to the next page, which is     25   paper -- in other words, that was part of the raising


                                                   Page 337                                                      Page 339
1    766.                                                       1   public awareness of a future token sale?
2             THE WITNESS: Okay.                                2     A I think that was us trying to stake our
3             MR. MITCHELL: Do you know whether that was        3   claim to those via the articulation and the opportunity
4    shown at the meeting?                                      4   we saw in the vision and our leadership in pursuing
5             THE WITNESS: I don't believe this was             5   that vision.
6    shown at the meeting. But I can't say for sure.            6       Q By "leadership," I take it, you being
7             MR. MITCHELL: Do you remember why?                7   present talking about the vision was showing
8             THE WITNESS: I don't remember if it was or        8   leadership?
9    wasn't shown. So I don't remember why hypothetically       9       A I think we wanted to establish that we saw
10   it would or would not be shown. I don't recognize this    10   this vision first. I think we wanted to establish that
11   slide.                                                    11   this was an exciting vision, that we saw this vision
12            MR. MITCHELL: Is there anything in that          12   first. And we were staking the claim that we were
13   slide that is factually incorrect?                        13   going to go after this vision first.
14            THE WITNESS: I think in the first                14       Q Why Token Summit as opposed to some other
15   bullet -- there is two bullets here -- "Because there     15   venue?
16   is a finance supply of Kik coin, when demand for Kik      16      A I think we wanted an audience who
17   coin increases, the price also increases." I think        17   understood cryptocurrencies. You know, I think many
18   that that should be changed to: If demand for Kik coin    18   people would say, hey, we're launching our own Bitcoin,
19   increases, the price also would increase.                 19   and they would just not even know what Bitcoin was,
20            The second point, "Investors will want to        20   especially at that time. So we wanted an audience who
21   buy low and sell high." I think what that should read     21   understood cryptocurrencies.
22   is: If you buy the coin when demand is low and            22       Q Who would then be able to better understand
23   therefore the price is low, and then the demand goes      23   the vision you were articulating?
24   up, then the price will also go up.                       24      A You cannot understand the vision of Kin
25            And so you can either use it at that point,      25   unless you understand the fundamentals of



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                                                  Page 340                                                         Page 342
 1   cryptocurrencies themselves.                               1   remember the specifics. But I'm sure I did, yeah.
 2      Q Got it. And included in that fundamental              2      Q Any other -- do you recall any TV
 3   -- we've spent a lot of time yesterday and even just       3   appearances or sort of mainstream media?
 4   now talking about the fundamentals of the economics.       4      A I'm sure there was. I can't recall any
 5        You wanted people who kind of got that?               5   specific ones.
 6      A You can't understand why Kin is a potential           6      Q Were you the -- to the extent there were, I
 7   business model for Kik and for everyone else unless you    7   understand you don't recall specifics, would you expect
 8   understand the fundamentals of blockchain and crypto       8   you would be the person, the face, talking for Kik?
 9   economics itself.                                          9      A That would be my expectation, yes.
10      Q Got it. Okay. Why you? You were the                  10      Q Was that true throughout -- because we're
11   presenter at Token Summit, correct?                       11   in May right now in our conversation.
12      A Uh-huh.                                              12         Was that true throughout up to the token
13      Q Why you?                                             13   sale, that it was mostly you?
14      A Because it was my brainchild, my idea.               14      A I can't recall.
15      Q Okay.                                                15      Q Do you remember other people at Kik taking
16      A Who better to explain it?                            16   the lead on being the face of the...
17      Q How did it go?                                       17      A I don't remember anybody specifically doing
18      A That's a good question. I haven't talked             18   it. But it might have happened. I don't recall.
19   about that for a long time. I don't -- I remember the     19      Q Do you remember was there any particular
20   audience being excited about it. I also remember there    20   focus on particular types of news outlets to raise
21   being some skepticism that I heard about later in the     21   awareness of Kin?
22   audience, like, because we were the first centralized     22      A I can't recall the specific news outlets.
23   company that was doing this.                              23      Q Okay. We see a post -- again, this is
24          At the time, blockchain was largely, you           24   around the time the white paper was published, we see a
25   know, just very small teams who are starting fresh in     25   post on Medium about the Kin announcement.


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 1   blockchain, had never built companies before. So I         1          Does that ring a bell for you?
 2   remember the reaction being somewhat mixed. But I          2      A It rings a bell.
 3   can't remember specifics.                                  3      Q Okay. What is Medium?
 4      Q I was going to ask you in terms of any                4      A Medium is a publishing platform, a blog
 5   feedback you got. Do you remember any specific             5   publishing platform.
 6   feedback you got?                                          6      Q Does Kik use -- did Kik use Medium to talk
 7      A Just that, what I just shared.                        7   about Kin and the Kin token sale?
 8      Q We're going to turn to this in a bit.                 8      A Yes.
 9         Prior to the Token Summit, had there been            9      Q Why?
10   any informal outreach to potential token purchasers       10      A I think when we wanted to explain our
11   already?                                                  11   vision to people, one way we would do that is I would
12      A Like, I know CoinFund obviously reached out          12   explain it on stage at Token Summit. Obviously not
13   to people who are buying cryptocurrencies. What other     13   everybody was at Token Summit. So we wanted to explain
14   communications happened, I can't recall.                  14   it to as many people in as many different ways as
15      Q That's fine. Okay. On top of Token                   15   possible for them to see the vision we saw, to be
16   Summit, any other efforts -- right around the time that   16   excited about it, and to want to be a part of it.
17   the white paper was published, late May, around that      17      Q I should've asked before. Token Summit was
18   time, any other efforts you remember to raise awareness   18   in 2017, it was in New York; is that right?
19   of the upcoming token sale?                               19      A Correct.
20      A Nothing specifically. But I know there               20      Q Let me show you a document. I'm marking
21   were. We did do things for sure. I can't remember         21   this as Exhibit 200.
22   anything specifically right now.                          22          (SEC Exhibit No. 200 was marked for
23      Q I'll represent to you I think I've seen a            23   identification.)
24   video of you on CNBC. Does any of that ring a bell?       24         BY MR. LEASURE:
25      A CNBC, the name rings a bell. But I can't             25      Q Exhibit 200 is a multi-page printout of a



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                                                  Page 344                                                       Page 346
 1   document titled "Announcing Kin, a Cryptocurrency for      1   doesn't have a CEO at all?
 2   an Open Future." It has no Bates stamp. I'll               2     A Correct.
 3   represent to you that I, myself, printed this off of a     3      Q Okay. The --
 4   website called Medium.com. I printed it off on             4      A Maybe let me -- because it's a complex
 5   October 25th, 2018.                                        5   thing. Maybe just to double-click on that. Like --
 6           Do you recognize this document?                    6   and we're trying to figure this out along with the rest
 7      A I do.                                                 7   of the industry exactly how are these crypto projects
 8      Q What is this?                                         8   organized, like, what do you call the different roles
 9      A I believe this is me announcing Kin and               9   in the ecosystem.
10   explaining Kin on Medium.                                 10          So like, for example, internally today, we
11      Q Got it. Okay. It looks -- if you look on             11   talk about we have sort of the Kik side of Kik
12   the bottom left, there is a long URL.                     12   Interactive, Inc., and we have the Kin side of Kik
13      A Yep.                                                 13   Interactive, Inc. So internally, we would say I am the
14      Q Medium.com/kinblog/ --                               14   CEO of both of those.
15      A Yeah.                                                15          We've also started referring to the Kin
16      Q Did Kik set up a blog on Medium to post              16   side internally as, like, a placeholder name, Acme,
17   items about Kin?                                          17   Inc. Because it's sort of, like, ConsenSys, for
18      A I'm not sure if we set one up specifically           18   example, is an organization contributing to the
19   or if we already had one. But it looks like this was      19   development of Ethereum. But they are not Ethereum
20   -- because I think we had a Kik blog as well. So it's     20   itself. So Acme, Inc., is contributing to the
21   like a new Kin blog from the URL. But I can't say for     21   development of Kin, but it is not Kin itself.
22   sure.                                                     22      Q Got it. So to make sure I understand that
23      Q Kik already maintained its own blog about            23   and sort of how Kik thinks of itself as an organization
24   the messaging app and Kik, the company, on Medium?        24   today, it's still Kik Interactive, right?
25      A I believe so, yes.                                   25      A Uh-huh.


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 1      Q Did you write this?                                  1       Q In part, it has employees who work on Kik,
 2      A I believe I would have taken the lead on             2    the company, Kik, the messaging app, and those people
 3   writing this and then gotten editorial help from          3    consider themselves as working for Kik?
 4   others.                                                   4       A Correct.
 5      Q You're listed here -- sorry. If you see on           5       Q But there is also people within Kik, the
 6   the top left, there is a photo of you. And you're         6    company, that work on the Kin project, if I can call it
 7   described as founder and CEO of Kik and Kin.              7    that, right?
 8           What does it mean to be the CEO of Kin?           8       A Yep.
 9      A I don't think there is a CEO of Kin. I               9       Q And internally, you might describe those
10   remember actually a discussion around what we should      10   people as Kin people, or the Kin team, how --
11   put here for my title because I am the founder and CEO    11      A I would say, like, today, it depends who
12   of Kik. I am a founder of Kin. But there is no CEO of     12   you would ask. You know, there is different leadership
13   Kin. So maybe this should say -- and I remember           13   teams for both the Kik side of the business and the Kin
14   discussing it, like, founder and CEO of Kik, comma,       14   side of the business. For example, if you were to ask
15   founder of Kin.                                           15   the leadership team today, we are calling ourselves,
16           But we just left it as founder and CEO of         16   like, a placeholder, Acme, Inc. We've been referred to
17   Kik and Kin. So I wouldn't consider myself to be the      17   in the past as the Kin business unit. We've had
18   CEO of Kin.                                               18   different names at different time.
19      Q This was something you considered and                19      Q At least inside Kik?
20   discussed with others at the time, how to describe your   20      A Inside Kik.
21   relationship to Kin?                                      21      Q Ignoring corporate formalities, you're
22      A Yes.                                                 22   comfortable being the CEO of Kin and Kik?
23      Q And just to make sure I'm clear, I take it           23      A I'm the CEO of the Kik business and the Kin
24   you would be comfortable saying you were the founder      24   business unit inside Kik Interactive, Inc.
25   and CEO of Kik, you're the founder of Kin, but Kin        25      Q That's fine. And then beneath you, I think



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 1   you said there is leadership teams on the Kin project.    1    advertising dollars and give everything else away for
 2         What's that leadership team, who is that?           2    free making it nearly impossible for smaller
 3     A Today?                                                3    competitors to find sustainable business models."
 4      Q Yeah.                                                4             It goes on to describe "copy and crush."
 5      A So the leadership team on the Kin side, the          5             Do you see that?
 6   people working on Kin is -- we have -- do you want        6       A I do.
 7   titles, names, or both?                                   7       Q That's referring to Facebook?
 8      Q Names. If you can do titles, that would be           8       A It refers to other large companies as well.
 9   helpful.                                                  9    But in our case, in Kik's history, it would be Facebook
10      A Maybe I'll just do areas. We have a head             10   -- would be the -- the company most doing it to us.
11   of product, which is Alex. We have a head of              11      Q That's what I was asking about. We talked
12   engineering, which is Netanel. We have a -- his title     12   yesterday about Kik's challenges in copy and crush and
13   is president, which is Dany. We have a -- what I          13   the like. Was it mostly Facebook doing that to you
14   believe her title is chief compliance officer, which is   14   guys or was there another...
15   Eileen. We have a guy named Tanner, who is what we        15      A In terms of specifically doing it to Kik,
16   call my technical advisor. He helps me across both Kik    16   yes, it was mostly Facebook.
17   and Kin. We have Orna, who is HR.                         17      Q There were other companies out there that
18        I'm probably missing somebody. But I think           18   may have had -- been dealing with other monopolies or
19   that's -- and we have Matt, who is the chief marketing    19   difficult competition?
20   officer.                                                  20      A Yeah.
21      Q What does Matt do particularly?                      21      Q Okay. Second page. I just want to point
22      A Matt is helping market evangelize the Kin            22   you to one or two more lines and we'll be done with
23   ecosystem.                                                23   this. You provided a link to the white paper.
24      Q Kik, the company, has three offices; do I            24            Do you see that on the top?
25   have that right?                                          25      A I do.


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 1      A Kik Interactive, Inc.?                               1       Q The paragraph after that reads, "Once we
 2      Q Correct.                                             2    have established the new crypto currency, we will
 3      A That's a good question. I'm not sure. Kik            3    create demand for it by encouraging people to earn and
 4   Interactive, Inc., at this point, like, I'm the CEO. I    4    spend Kin within Kik, which is used by millions of
 5   don't believe -- we do not have a CFO.                    5    people every day."
 6      Q Let me interrupt you. I think we                     6             Was that accurate?
 7   miscommunicated. You guys are located currently in        7       A I think that is accurate, yes.
 8   Waterloo, New York, and Tel Aviv?                         8       Q Okay. Actually, I think we covered the
 9     A Correct. We also have people in LA and San            9    other stuff in this document. I'll take it back from
10   Francisco. But yes.                                       10   you. Thank you.
11      Q The people on the Kin project, are they              11      A I was just enjoying rereading this.
12   located in all three offices, are they concentrated in    12            MR. MITCHELL: Can I just ask you just a
13   a particular place?                                       13   basic question. The Medium post linked to the white
14      A The majority are in Tel Aviv, Israel. The            14   paper.
15   next largest concentration would be New York. And then    15            THE WITNESS: Yeah.
16   from there, they're sort of spread out.                   16            MR. MITCHELL: Is the Medium post -- is
17      Q Are the marketing efforts focused in a               17   this like a summary of what you thought were the most
18   particular place for the Kin project?                     18   important things? I'm trying to understand why -- why
19     A The people who work on marketing with Kin             19   a Medium post?
20   are for the most part in New York. But Matt is in San     20            THE WITNESS: I think that was just the
21   Francisco.                                                21   best place for me to share with the world my vision and
22      Q I think we got way away from this document.          22   the best medium to do that.
23   Let me return us to it. Just real quick. If you look      23            MR. MITCHELL: I guess I'm just trying to
24   at the first paragraph, the second sentence begins,       24   understand is this -- is this post a summary of the
25   "The biggest companies use their scale to amass           25   white paper, or it's the...



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 1         THE WITNESS: No. I don't think this --               1         MR. GIBBS: So you can give your view if
 2   this is not meant to be a summary of the white paper.      2   you can do so without getting into communications with
 3   This is meant to be my vision for the problem I saw        3   or advice from counsel.
 4   with the world and how a cryptocurrency could solve        4         THE WITNESS: I did get advice from counsel
 5   those problems.                                            5   about the difference between an investment and a
 6         BY MR. LEASURE:                                      6   security and the difference between a currency. And so
 7      Q Actually, keep that in front of you because           7   that -- I have my own views. But certainly, those
 8   I might refer to it in a few minutes.                      8   views would also be colored by that advice.
 9      A Sure.                                                 9          MR. GIBBS: So my instruction to him will
10      Q So you helped prepare some documents like            10   be to not testify to anything that reflects the content
11   this Medium post that face the public and talked about    11   of any communications with counsel. If you can offer
12   the Kin project, correct?                                 12   your view disentangled from any of those
13      A Uh-huh.                                              13   communications, fine. If not, I would instruct you not
14      Q So when you were preparing those documents,          14   to answer.
15   did you make an effort not to have those documents        15         THE WITNESS: My view is that when you're
16   include the word "investors"?                             16   investing in something -- and why the word "investor"
17      A I seem to recall we did not want to include          17   is wrong -- you're investing in something which will
18   the word "investors," yes.                                18   generate revenue so that you can get a cut of that
19      Q Why not?                                             19   revenue back. Whereas in Kin, in cryptocurrencies --
20      A I think it's sort of misleading. I think,            20   and this was a hard thing for our investors to
21   you know, whenever there is something new, everybody      21   understand, for employees to understand, and I think
22   tries to compare it to something from the past. You       22   for the world to understand -- is there is no revenue.
23   know, like, it's a classic move in Silicone Valley.       23   There is no revenue.
24   You know, this is, what is Airbnb? It's Uber for          24         Like, there is an asset. That asset -- the
25   houses or something like that.                            25   price of that asset is a function of supply and demand.


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 1        So I think, you know, they're trying to               1   If you own a piece of that asset, and demand goes up,
 2   compare it to something in the past where, you know,       2   and the price of that asset will go up. That's just
 3   when people buy something, people could use the word       3   the way it works. But there is no revenue anywhere in
 4   "investors." But I think here, "investor" is the wrong     4   that equation. So how could it be an investment?
 5   word. You know, I think you're buying a currency           5          MR. MITCHELL: That's the description
 6   because the supply of that currency is fixed, if demand    6   between -- that's, in your mind, the difference between
 7   increases, the currency will get more value, become        7   an investment and buying an asset?
 8   more valuable. That will give me more buying power.        8          THE WITNESS: That was my -- that's my
 9   That would also give somebody else more buying power.      9   intuitive view for myself of how I -- like, why I
10         So you could either buy something yourself          10   didn't use the word "investor."
11   or sell it to somebody who wants to buy something. So     11          MR. MITCHELL: I'm sorry. Why you didn't
12   it is built into the fundamentals of cryptocurrencies     12   want to use that word in the public-facing documents?
13   that a cryptocurrency today could be more valuable        13          THE WITNESS: Right.
14   tomorrow. But it's not an investment. It's you're         14          MR. MITCHELL: And earlier in your answer,
15   buying an asset.                                          15   though, you said "our investors."
16        MR. MITCHELL: What do you mean buying an             16          And who were you talking about then?
17   asset?                                                    17          THE WITNESS: The shareholders of Kik. The
18            THE WITNESS: You're buying a currency.           18   venture capitalists.
19          MR. MITCHELL: So the difference between            19          MR. MITCHELL: Like USV?
20   investing -- what's the difference between investing      20          THE WITNESS: Like USV, like Tencent, like
21   and buying an asset?                                      21   everybody. That group.
22         THE WITNESS: So I can give you my view on           22          MR. MITCHELL: What did they -- did they --
23   this. But let me -- because part of it is, you know,      23   they invested in Kik?
24   understanding the historical law. So should I give my     24          THE WITNESS: They invested in Kik, yes.
25   view on this?                                             25          MR. MITCHELL: What did they get?



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                                                Page 356                                                             Page 358
 1          THE WITNESS: They got equity.                      1          THE WITNESS: I think they bought it
 2          MR. MITCHELL: And the share of all of              2    thinking that Kik could, through traditional business
 3   Kik's revenues?                                           3    models -- either through advertising or selling items
 4          THE WITNESS: They got a share of the value         4    like every other company in history could do so
 5   created by Kik, which historically would be based on a    5    profitably -- and if so, the equity would be worth more
 6   multiples of revenue for earnings and earnings being      6    money and that they could sell it at a higher price in
 7   revenues minus cost.                                      7    the future.
 8          MR. MITCHELL: So I apologize because I             8          MR. MITCHELL: Is that the same for -- I
 9   don't know this in detail. What are Kik's earnings?       9    apologize. What's the name of the San Francisco --
10          THE WITNESS: Zero. Or sorry. I should              10   Foundation. Is that the same for the investment by
11   say when we sold the tokens, we calculated that as        11   Foundation Capital?
12   revenue. So we had $98 million of revenue that year.      12         THE WITNESS: I think that's probably true
13   But outside that, our revenue was negligible.             13   for all venture capitalists.
14          MR. MITCHELL: So did you understand that           14         BY MR. LEASURE:
15   Tencent invested in Kik in order to obtain some type of   15      Q We've been talking about your understanding
16   revenue stream, like a piece of Kik's revenue?            16   of whether Kin is an investment or not, and whether Kin
17          THE WITNESS: I think if we had said to             17   purchasers are investors or not, right?
18   Tencent -- let me do it another way -- that Kik is        18      A I think what I was trying to describe is
19   never going to make any revenue, that they wouldn't       19   why I didn't like the word "investors." There is many
20   have invested.                                            20   reasons I don't think it's an investment. But I was
21          MR. MITCHELL: Did you discuss with them            21   just trying to describe why I don't like "investor."
22   paying dividends?                                         22      Q Fair enough. I'm just trying to reorient
23          THE WITNESS: Not at the time, no.                  23   the conversation. We were talking about your
24          MR. MITCHELL: Have you ever discussed with         24   understanding. And separately, you had obtained an
25   Tencent paying dividends?                                 25   understanding through communications with counsel on


                                                Page 357                                                             Page 359
 1        THE WITNESS: I haven't discussed it with             1    these topics; is that right?
 2   Tencent. But I have discussed it with other investors.    2       A Correct.
 3         MR. MITCHELL: When?                                 3       Q We don't want to hear about the contents of
 4         THE WITNESS: I can't recall exactly.                4    those communications. If you're about to tell me,
 5         MR. MITCHELL: Before or after the Kik/Kin           5    stop. And look at Patrick, and not me.
 6   token idea came up?                                       6          We're looking at the white paper, May of
 7          THE WITNESS: To me, probably before. I             7    2017, going -- announcing Kin. Did those conversations
 8   can't recall specifically.                                8    with counsel happen before this time?
 9          MR. MITCHELL: And is it your understanding         9       A Before May of 2017?
10   that -- let's say take USV. Did USV buy Kik's stock in    10      Q Yeah. Can you roughly place it in time?
11   order to get dividends?                                   11      A I can't recall when those conversations
12          THE WITNESS: If -- probably not.                   12   began.
13         MR. MITCHELL: Why not?                              13      Q Did they happen before September of 2017,
14         THE WITNESS: Because there wasn't a viable          14   the public token sale?
15   model at the time. Nobody else was doing that.            15      A I can't remember. Before September 2017,
16        MR. MITCHELL: So what do you think -- what           16   yes, I'm sure they would have --
17   do you think USV invested in?                             17      Q I'm just trying to orient --
18         THE WITNESS: Our ability to generate                18      A I can't recall specifically, but I'm sure
19   revenue through advertising or selling, selling things    19   they would have.
20   to our users directly. Those would be the only two        20      Q So you don't know if they happened before
21   options.                                                  21   or after the public announcement?
22         MR. MITCHELL: Did you understand that USV           22      A I can't recall.
23   was buying Kik stock because it thought the stock could   23      Q But you're sure they happened before the
24   appreciate in the future and it could sell the stock at   24   public token sale?
25   a higher price?                                           25      A Correct.



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                                                   Page 360                                                          Page 362
 1      Q And which counsel -- again, I don't want              1      Q    Do you see that?
 2   you to give me the content of communications. But I        2      A I do.
 3   can ask when and who.                                      3      Q    Does it appear to you -- you can see some
 4          Which counsel did you have in mind?                 4   edits on the third page of this, comments -- comment
 5      A I would think it would be Cooley.                     5   bubbles on the right. Do you see that?
 6      Q Okay. Any lawyers in particular?                      6      A I do.
 7      A The lawyer who had been with us almost                7      Q    Do you believe that's you commenting on a
 8   since the beginning. A woman by the name of Nancy          8   draft from Hamish?
 9   Wojtas.                                                    9      A I do.
10      Q W-o-j-t-a-s?                                         10      Q    Okay. And I know it's a little -- it can
11      A Yes. I think. So my expectation would be             11   always be a little confusing with who is editing what.
12   that I would -- she would be my point person.             12   I appreciate that. Pointing to comment T4 -- correct
13      Q She had been corporate counsel for Kik for           13   me if I wrong -- it looks like the original draft said,
14   a while by that point?                                    14   "Once we've established the new cryptocurrency (some of
15      A Right. I believe since somewhere in 2009,            15   which will be sold to investors via auction)."
16   2010, somewhere in there.                                 16          And the comment here reads, "They aren't
17      Q Right. Not retained just in connection               17   investors but 'participants.' I think better to just
18   with Kin?                                                 18   leave out?"
19      A Right.                                               19          Did I summarize that edit accurately?
20      Q Anyone else? Again, I'm just asking the              20      A Yep.
21   "who" in terms of the lawyers you recall communications   21      Q    Is that you saying -- in so many words, is
22   with on this topic.                                       22   that you saying they're not investors but participants?
23      A I recall that being my point person. I               23      A I think that's me saying the word
24   can't remember anybody else specifically.                 24   "investors" is incorrect because of all of the things
25      Q Fair enough. Keep that in front of you.              25   we just discussed. But the word -- we don't know what


                                                   Page 361                                                          Page 363
 1   Let me show you a document quickly.                        1   the right word is because this is a fundamentally new
 2          Marking this as Exhibit 201.                        2   thing. But the word we're leaning towards right now is
 3          (SEC Exhibit No. 201 was marked for                 3   the word "participants."
 4   identification.)                                           4      Q You said "we" and "leaning towards." Was
 5          BY MR. LEASURE:                                     5   that a topic of discussion within Kik what word to use?
 6      Q Exhibit 201 is a multi-page printout of an            6      A I think it was a topic in the industry at
 7   e-mail chain ending May 22nd, 2007, from Ted Livingston    7   the time, and also a topic internally. I think
 8   to Hamish, H-a-m-i-s-h, McKenzie, with the subject "New    8   everybody was trying to figure out what this thing was
 9   Version of Medium Piece." It begins with the Bates         9   and how to describe it.
10   stamp KIK 26895.                                          10      Q Again, I'm admonishing you I don't want to
11          Mr. Livingston, what is this document?             11   hear about conversations with Nancy or other lawyers.
12      A What it looks like is Hamish and I                   12          What can you remember about the internal
13   discussing the draft of the Medium post.                  13   discussions within Kik about how to describe people who
14      Q Hamish helped you -- is it your                      14   bought Kin, whether investors, participants, some other
15   recollection Hamish helped you draft this Medium post?    15   word?
16      A It's my recollection that he helped me edit          16      A I don't recall any specific conversations
17   it, yes.                                                  17   about it.
18      Q The Medium post is Exhibit -- do you                 18      Q Do you remember who you might have been
19   believe that's -- what ultimately was Exhibit 200?        19   discussing it with, if anyone?
20      A Yes.                                                 20      A I don't recall.
21      Q So it's sometimes hard to tell, but if you           21      Q Okay. What did you ultimately go with,
22   look in your e-mail, at the top of page 1, you write,     22   what word?
23   "See attached. We're really starting to flow. We are      23      A I can't recall. But it looks like this
24   getting close. See comments attached."                    24   edit, we just took this out.
25      A Yep.                                                 25      Q Fair enough. And leaving aside this



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                                                      Page 364                                                    Page 366
 1   particular document, this particular Medium post, how        1       A   Typically, no.
 2   do you prefer Kik to describe people who bought Kin?         2       Q   Who does?
 3      A I think the most accurate term today -- if              3       A   That'd be our communications guy.
 4   I were asked to be true today -- this is off the top of      4       Q   Who at the time -- we're in May of 2017.
 5   my head and maybe there are better words -- but it's         5         Who was that?
 6   probably the word "purchasers."                              6       A I would believe it to be Rod.
 7      Q Just the fact that they bought Kin either               7       Q Is he still your communications guy?
 8   in September 2017 or some other time, they purchased         8       A He is not.
 9   Kin?                                                         9       Q When did he leave Kik?
10      A Correct.                                               10       A Recently.
11      Q Why not participants?                                  11       Q Why did he leave Kik?
12      A I think it's just like a stylistic thing.              12       A He was let go.
13   Like, participant -- participants in what sum? Like,        13       Q Why?
14   you know, is it some relay race? It's more of a             14       A The only reason that I'm hesitating is
15   marketing thing I think. I just think it's an unclear       15    because it feels, like, a little crappy to talk about
16   word.                                                       16    somebody else being let go.
17      Q In terms of substance -- is it possible                17       Q Sure. I don't want to get into stuff.
18   that someone in September of 2017 bought Kin and has        18         Was his being let go in any way in
19   done nothing to participate in the Kin ecosystem to         19    connection with this investigation?
20   date?                                                       20       A No.
21      A It's possible.                                         21       Q Was it in connection with problems about
22      Q Is that a concern you have with the word               22    communicating about Kin?
23   "participants," or is it just a stylistic thing?            23       A No.
24      A I hadn't thought of that. So no, that                  24       Q Okay. Was it personal matters?
25   wasn't a concern.                                           25       A I think it was -- I think the gist of it --


                                                      Page 365                                                    Page 367
 1         (Simultaneous speakers.)                               1   and you let me know if you want more details -- was we
 2       A I just think it's an unclear word.                     2   hired a new head of marketing, Matt, our chief
 3       Q Fair enough. I'll take that back from you.             3   marketing officer. He inherits a team when he comes
 4   I'll take them both back actually. Thank you.                4   in. There is many people in place. He has to put the
 5        We also see an actual -- again, we're in                5   team in place that he feels is best. And he did not
 6   May, public announcement -- we see an actual press           6   feel that Rod was the right choice for his team.
 7   release by Kik. Does that ring a bell for you?               7      Q That's fine. That's good. As I said
 8      A Typically, whenever we would do                         8   yesterday, we see documents and don't really -- you
 9   announcements, we would also file a press release. So,       9   know, we don't have opportunities to talk to people
10   like, seems likely.                                         10   about what actually happened and what it felt like. So
11      Q What does that mean to file a press                    11   I'm going to seize that opportunity.
12   release? What happens?                                      12         Impressionistically, from our end, it seems
13      A I'm not exactly sure what happens. My best             13   like a lot of people at Kik, including more senior
14   guess from my knowledge of it is if you're doing            14   people, left the company shortly before or maybe after
15   something and making an announcement, you know, you         15   the Kin token sale?
16   talk to a bunch of different people, you stand on a         16      A Yep.
17   stage at a Token Summit. You also can write a press         17      Q That's our impression.
18   release and post it to the newswire just in case            18      A You have the right impression.
19   anybody happens to come across it and wants to write a      19      Q Why did that happen?
20   story.                                                      20      A Why did that happen? That is a good
21         Usually they don't result in stories so I'm           21   question.
22   not sure the effectiveness of press releases. But it        22      Q And I'm very happy not to talk about the
23   seems to be a common practice in the industry.              23   individuals in personal situations if that makes you
24       Q Typically, do you review press releases               24   uncomfortable. Just generally, I just wanted to see
25   before they're sent out?                                    25   what was happening within Kik.



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                                                     Page 368                                                      Page 370
 1       A Why that happened is because as we started            1       A I believe that's Dany Fishel.
 2   to struggle with Kik in 2014, the impression -- you         2       Q And have you replaced -- at least on the
 3   know, the simplest explanation is the people running        3   Kin side, have you replaced the earlier team with
 4   the company don't know what they're doing. We need to       4   people who might have more familiarity -- or at least
 5   bring in new people. So that's what we did.                 5   willing to learn about crypto and being a part of a
 6     Q In 2014?                                                6   crypto project?
 7     A Starting in 2014, 2015, 2016, 2017 -- 2016,             7      A In some cases, yes. In some cases, they
 8   2017, we brought in a lot of new people, new leaders,       8   were internal promotions. Each -- it's a sort of
 9   who had the experience who could help us turn this          9   case-by-case basis.
10   around because, obviously, the previous leadership team    10       Q That's fair. Let's go back to May.
11   didn't know what they were doing because if they did,      11        At the time of the May announcement that
12   we wouldn't be in this situation. So I made the hard       12   we've been looking at for a while now, what was the
13   decision to effectually swap out a bunch of my first       13   plan for distributing and selling Kin tokens?
14   leadership for this new leadership team, one person at     14      A In May?
15   a time. That new leadership team came in.                  15      Q Yeah. When you made the public
16         Many of them tried to help to the best of            16   announcement, what was the plan?
17   their ability. But for whatever reason, things only        17      A I think the plan, loosely, would be the
18   got worse. As things got worse, people started to          18   plan of any new cryptocurrency, which is we're going to
19   blame each other and blame me for things getting worse.    19   create a new cryptocurrency. There is only going to be
20   And the team itself became incredibly dysfunctional.       20   so much of it. We're going to sell some to people who
21          But as you're, you know, declining and              21   want to be a part of this. And we're also going to
22   failing, it's pretty much impossible to hire new           22   integrate it into Kik.
23   people. You know, it would be very hard for me to say      23      Q And eventually -- just talking about the
24   to somebody, hey, you should go work here, it's great      24   sale itself, leaving out those other -- the creation
25   to work here. Because that would not be the truth.         25   and integration -- at the time, was there a plan for a


                                                     Page 369                                                      Page 371
1    The truth was it was horrible to work here.                1    two-step selling process?
2          That would be the truth. So as it became             2       A I don't believe so, no.
3    clear that we weren't going to die, and we actually had    3       Q When did that emerge?
4    a winnable strategy once again --                          4       A I can't recall exactly when that emerged.
5       Q The Kin project?                                      5    But my best guess would be somewhere, obviously, after
6       A The Kin cryptocurrency business model and             6    the announcement. But, obviously, before the sale.
7    strategy around that business model. It -- I needed to     7       Q And just to clarify terms. In the event,
8    clean up the team. And that's what I did.                  8    in terms of what actually happened, was there a process
9       Q And so it was you trying -- the people --             9    where rights to Kin tokens were first sold to wealthier
10   the phenomenon of people leaving the company, that was     10   private investors through SAFTs?
11   you -- during and after the Kin transformation or          11      A Sorry. What's the question? Sorry. Can
12   business model -- you cleaning out earlier -- the          12   you say it again? I just blanked.
13   earlier team?                                              13      Q That's fine. I want to understand what
14      A So I think if you look at -- I have two               14   actually happened. And then ask you when the plan for
15   leadership teams today. We talked a little bit about       15   that emerged.
16   that earlier, right? The Kik business side and the Kin     16      A Okay.
17   business unit. If you look at the people that report       17      Q So in terms of what actually happened, were
18   to me today across each of those two teams, I believe      18   rights to Kin first sold to wealthy investors via SAFT,
19   when we announced Kin, the people that reported to me      19   S-A-F-T, agreements?
20   then versus the people that report to me today, other      20      A We created a SAFT agreement and did do a
21   than my EA, who still reported to me then, still           21   presale to accredited investors. I believe so, yes,
22   reports to me today -- but in terms of, like, the          22   would be a good way to describe that.
23   leadership team members, only one person who reported      23      Q So can we call that the presale?
24   to me then still reports to me today.                      24      A Yeah, let's call that the presale.
25      Q Who is that?                                          25      Q That happened, I guess, because the prefix



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 1   "pre," that happened before the public sale?               1   well.
 2     A That happened before the sale, yes.                    2       Q And the opportunity to get cash quickly
 3      Q Okay. The sale. Okay. When did the plan               3   into the business presale, why was that helpful?
 4   for that structure -- first the presale, then the          4      A Because we didn't have much cash. And we
 5   sale -- emerge?                                            5   were spending cash, and we were running out of cash.
 6      A I can't recall exactly. But it seemed to              6       Q So it helped -- we talked about a runway
 7   be a thing in the industry at that time. So I assumed      7   yesterday. Did this help with the runway?
 8   that's where it started, but I'm not sure. I can't         8      A Yes.
 9   recall.                                                    9      Q Would that help the Kin project also to get
10      Q Why was it done that way with that two-step          10   cash in early?
11   process?                                                  11      A Would that help the Kin project?
12        MR. GIBBS: Just --                                   12       Q I'm trying to see if this was just to get
13         THE WITNESS: Based on advice from counsel.          13   cash into Kik, the company, or if getting cash from
14         MR. GIBBS: I think he's answered as far as          14   presale investors was helpful for building out or
15   he's comfortable answering. He knows I'm going to         15   developing the Kin project specifically?
16   instruct him not to disclose the contents of advice       16      A Say that one more time.
17   from counsel, but I --                                    17      Q Absolutely. You get cash in from presale
18         THE WITNESS: We were advised to do it that          18   investors --
19   way by counsel.                                           19      A Yep.
20        MR. GIBBS: That was right where I didn't             20       Q -- and that helps extend the runway?
21   want you to go. But that's fine.                          21       A Yep.
22         BY MR. LEASURE:                                     22       Q So what I'm trying -- I'm trying to
23     Q I don't want to know about advice from                23   understand if the cash that was brought in was used
24   counsel or what advice they gave you.                     24   just to keep funding Kik, the business, and keep it
25         Was there -- leaving that aside --                  25   alive, or was it used in some way to help forward the


                                                Page 373                                                          Page 375
 1      A No. I can't even say that. I'll stop.                1    Kin project and advance of the token sale?
 2        (Simultaneous speakers.)                             2       A The cash was used to keep Kik running, yes.
 3         BY MR. LEASURE:                                     3    Because we had to keep Kik running. It was also used
 4      Q Was there an independent business reason to          4    to put together and create the cryptocurrency as well.
 5   sell -- aside from advice from counsel was there a        5       Q On that latter piece -- put together and
 6   business reason you were aware of to sell first to        6    create the cryptocurrency -- how was it deployed?
 7   accredited investors via a SAFT and then to a public      7            What happened?
 8   sale?                                                     8       A We had to write an ERC-20 smart contract.
 9      A I'm trying to figure out what was advice             9    We had to get that audited. We had to write the public
10   from counsel versus what was not.                         10   -- the token sale contract. We had to integrate it
11     Q I'm trying to figure out if there was a               11   into Kik. We had to do a bunch of different things
12   "what was not" in there that we can talk about.           12   related to the Kin sale.
13     A That's what I'm trying to figure out as               13      Q Pay for those efforts, both Kik employees
14   well.                                                     14   working on that or maybe contractors working for Kik?
15      Q Take your time.                                      15      A Yes.
16      A I think -- so maybe -- why did we do -- why          16      Q Anything else?
17   did we split the two apart is -- like, I don't think I    17      A Probably were other things. But related to
18   can talk about. But I think what was compelling about     18   those things two things like Kik or creating Kin.
19   doing a presale is you had people who deeply understood   19      Q I think Kik -- correct me if I'm wrong --
20   blockchains and sort of the crypto industry.              20   Kik didn't spend all of the money raised in the presale
21         And you had people who just understood              21   by September of 2017; is that right?
22   blockchain and cryptocurrencies period and so could       22      A Correct.
23   understand Kin as a business model for Kik and other      23      Q And is that money still being used both for
24   developers. And I also think there was an opportunity     24   Kik, the business, and for Kin, the project?
25   to get cash into the business quickly in a presale as     25      A Yes.



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                                                   Page 376                                                       Page 378
1       Q Okay.                                                 1       A Okay.
2       A I would say Kik the messenger.                        2       Q As always, take your time. I'm going to
3       Q Thank you. That's a better way. That's                3   point you to specific parts because, obviously, 18A in
4    what I was trying to ask, in fact.                         4   particular is a larger document.
5          And people who bought SAFTs, they didn't             5         My first question is going to be: What is
6    get Kin tokens the day they bought a SAFT; am I getting    6   Exhibit 18A?
7    that right?                                                7     A Looks like the presentation used at a board
8       A Correct.                                              8   meeting on May 23rd.
9       Q How did the SAFT work?                                9       Q What's Exhibit 27?
10      A My understanding is SAFT stands for Simple           10       A Looks like meeting minutes from that
11   Agreement for Future Tokens. So they would invest         11   meeting.
12   money today with the promise of getting tokens in the     12      Q Do you remember this meeting?
13   future.                                                   13      A I don't recall it specifically. But it
14      Q What happened if those public sale -- if             14   looks familiar.
15   the tokens were never created?                            15     Q Do you remember any discussion at that
16      A I don't recall exactly. But I think there            16   meeting about Kin?
17   would be some sort of refund. But I don't recall          17     A It looks like we did discuss Kin, yes.
18   exactly.                                                  18       Q Do you remember that discussion, though?
19      Q We see references in earlier documents               19       A I do not.
20   before the public -- before the SAFTs were executed and   20       Q That's okay. Let me point you to a few
21   the sale -- about within Kik, the idea of selling         21   places in Exhibit 18A, the board decks, just to orient
22   tokens to people in different tranches maybe over time.   22   you. If I could point you to the one ending Bates
23         Does any of that ring a bell for you?               23   stamp 106872.
24      A It does ring a bell.                                 24      A Okay.
25      Q What can you tell me about that?                     25       Q "Where we are."


                                                   Page 377                                                       Page 379
 1      A Selling -- sorry. Say it again. Selling?              1      A Yes.
 2      Q Selling to different people in different              2      Q Do you see that?
 3   tranches. Maybe like a phased sale and --                  3      A Yes.
 4      A I believe, in the presale, one of the                 4      Q Does this appear to be shortly before the
 5   things that was common -- like in any time you're          5   publication of the white paper and the Token Summit?
 6   selling something, it's -- like, the first person to       6      A I can't recall exactly when Token Summit
 7   buy it, you know, is taking that first leap. So they       7   was so -- but from the notes, it looks like it was
 8   would get a better price. So I think that was a common     8   before.
 9   thing in the industry at the time. I can't recall if       9      Q That's fair. Again, I just want to orient
10   we ended up doing that or not.                            10   you to my best sense --
11             MR. MITCHELL: Did people who -- did people      11      A When was the Token Summit?
12   who purchased tokens using a SAFT get a discount to the   12      Q May 25th --
13   price that was paid by the public?                        13      A Okay. Looks like two days before.
14             THE WITNESS: They did.                          14      Q Something like that. Let me point you to
15             MR. MITCHELL: A 30 percent discount?            15   page 26 of the deck, which is 106893.
16             THE WITNESS: I believe so.                      16      A 893. Okay.
17             BY MR. LEASURE:                                 17      Q Again, we were talking about the plan for a
18      Q Let me show you a document that might                18   token sale and what the structure might look like. I
19   relate to some of this. This is a document previously     19   want you to take a look at the chart here. It's
20   -- this is a document with my handwriting on it so I'll   20   entitled "Token Sale Structure (Soft Cap)."
21   give you one without it -- marked Exhibit 18A. I'm        21      A Uh-huh.
22   going to give you an accompanying document with it        22      Q If you can take a look at that and just say
23   because I think it might relate to it, the same board     23   is that rough -- first, do you believe that was the
24   meeting. This is a document previously marked as          24   plan at the time for the sale of Kin?
25   Exhibit 27.                                               25      A I think -- I can't remember exactly the



                                                                               17 (Pages 376 to 379)
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                                                    Page 380                                                         Page 382
 1   conversation. But this looks like a straw man of what     1    percent of them?
 2   could be the structure.                                   2          THE WITNESS: Correct.
 3       Q So this wasn't finalized at this point?             3          MR. MITCHELL: Did that change at the time?
 4       A I don't believe so, no.                             4          THE WITNESS: That's what we ended up
 5       Q Do you remember when it was finalized?              5    doing. We might have looked at other options between
 6       A I do not remember.                                  6    here and there. But that's what we ended up doing.
 7       Q Does this -- how does this -- I think you           7          MR. MITCHELL: Do you remember looking at
 8   said straw man?                                           8    any other options?
 9       A Yes.                                                9          THE WITNESS: I remember us looking at lots
10       Q How did this straw man differ from what             10   of different options for different parts of this. I
11   actually happened?                                        11   can't recall if we specifically looked at that option.
12       A So 10 trillion tokens, that was true.               12         MR. MITCHELL: Was there ever a point where
13   Float offered. I would say, amount initially sold, 10     13   -- the plan to just sell less than 10 percent?
14   percent. The 10 percent number is true. The tranches,     14         THE WITNESS: Not that I recall.
15   I can't recall what ended up we'd be doing for the        15         BY MR. LEASURE:
16   SAFT. I can't remember if it was just, like, a flat       16      Q Can I point you quickly to Exhibit 27. Are
17   30 percent discount across all presale investors. I       17   these the minutes of the board meeting from May 23rd,
18   can't recall. And then I don't think there was any        18   2017?
19   discounts in the public sale.                             19      A They appear to be.
20       Q Right. Okay. At this time -- correct me             20      Q How are these typically drafted at Kik?
21   if I am wrong --                                          21      A I believe Nancy Wojtas would write these.
22       A I can keep going actually. Soft cap, we             22   They would be circulated. And then they would be
23   didn't end up going with the soft cap. We ended up        23   approved.
24   going with the hard cap.                                  24      Q By whom?
25       Q Of 100 million?                                     25      A By the board members, that they're


                                                    Page 381                                                         Page 383
 1      A 125 million.                                          1   accurate.
 2      Q I apologize.                                          2      Q So you would be a part of that approval?
 3      A Sale time, I don't think that's the amount            3      A Correct.
 4   of time we used in the end. But I can't recall             4      Q Okay. Just to see if it refreshes any
 5   exactly.                                                   5   recollection. Under the section "Kin Ecosystem," do
 6      Q Okay. So at this time, there was some                 6   you see that?
 7   straw man or consideration in place for doing a SAFT       7      A Yes.
 8   versus a public sale structure?                            8      Q "Mr. Livingston reviewed with the board the
 9      A Yes. That's what it appears to be.                    9   road map for the Kin ecosystem. He explained the
10      Q But the details were altered after this?             10   vision of the Kin ecosystem, which encompasses a
11      A Yeah. I would say the details were                   11   decentralized ecosystem."
12   iterated on.                                              12           It goes on, "He reviewed the proposed
13      Q And you don't recall --                              13   allocation of Kin. 60 percent to the Kin Foundation
14      A And the structure was iterated on with the           14   and 40 percent to Kik with 10 percent to be sold in the
15   details also.                                             15   presale and public sale of Kin."
16      Q Okay. Fair enough. But you don't recall              16           Do you see where I read that?
17   when the final details were agreed upon?                  17      A Yes.
18     A I do not. I'm sure it's in an e-mail                  18      Q Does that refresh any recollection of the
19   somewhere.                                                19   discussion at this meeting, the discussion of the plan,
20          MR. MITCHELL: The 10 trillion total                20   anything you can shed some light on?
21   supply, did that ever -- the plan at this point in time   21      A I'm not sure. Like, could you be more
22   of this document was for -- the Exhibit 18A was for       22   specific? Like, I'm not sure what your question is.
23   there to be 10 trillion tokens overall; is that right?    23   Did we talk about 60 percent for the Kin Foundation and
24          THE WITNESS: Yes.                                  24   40 percent for Kik?
25          MR. MITCHELL: And that Kik would sell 10           25      Q Yes.



18 (Pages 380 to 383)
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                                                 Page 384                                                        Page 386
 1      A I think we did.                                       1         MR. MITCHELL: Can I ask just a couple
 2      Q Okay. And you presented this plan to the              2   quick ones on this?
 3   board?                                                     3         MR. LEASURE: Of course you can. Let's not
 4     A Correct.                                               4   go off the record.
 5      Q Do you recall any discussion around that              5         MR. MITCHELL: At the time, this time in
 6   with board members once you presented that?                6   late May, part of the plan was to sell Kin tokens to
 7      A Nothing specific. But I'm sure we                     7   the public, right?
 8   discussed it, why those numbers.                           8         THE WITNESS: Yes.
 9      Q Okay. Did the board approve the -- if you             9         MR. MITCHELL: And were there any points
10   look on page 2, it says, "Resolved that the board         10   after May where Kik sort of had a plan of like, okay,
11   hereby approves the timeline proposed roadmap Kin         11   we're not going to sell to the public. We're just
12   allocation and white paper."                              12   going to sell to the accredited investors?
13        Do you see that?                                     13         THE WITNESS: I can't recall any specific
14      A On the same page?                                    14   discussions. But I do recall selling this to the
15     Q I'm sorry. Page 2, 78789. There is a                  15   public was very important to me personally and to my
16   "Whereas."                                                16   view of the success of the project.
17     A Yes.                                                  17          MR. MITCHELL: Why?
18      Q And then there is a "Resolved."                      18          THE WITNESS: Because we had a -- the
19      A Yes.                                                 19   vision for Kin is, was, and has always been very
20      Q Did the board approve the timeline proposed          20   ambitious. You know, it's basically putting together a
21   roadmap Kin allocation and white paper?                   21   fundamentally new economic structure, a fundamentally
22      A I think when it says, approved the white             22   new business model, and a fundamentally new way of
23   paper, I'm not sure what that means. I don't recall       23   working together to take on what have become digital
24   ever, like, reading the white paper or asking people to   24   monopolies. And that is a very ambitious task.
25   approve it. I think maybe approved the idea that we       25          So I knew and believed that what would


                                                 Page 385                                                        Page 387
 1   had a white paper. But I can't recall. I think what        1   maximize the odds of success would be to have as many
 2   this is getting at is the board is good to proceed with    2   people in as many countries as possible feel like they
 3   the currently proposed timeline roadmap allocation and     3   were part of that from the very beginning.
 4   white paper.                                               4          MR. MITCHELL: By buying tokens?
 5     Q Got it. And yesterday, we talked briefly               5          THE WITNESS: Correct.
 6   about whether there was an act or event that finally       6          MR. MITCHELL: Was there any point between,
 7   authorized the sale of Kin tokens? If you recall, we       7   say, this point in the end of May and September where
 8   talked about whether there was a big red button that       8   Kik had a plan of not selling to the public?
 9   somebody pushed?                                           9          THE WITNESS: I don't recall any specific
10     A Yes.                                                  10   discussions. It might have been discussed, though. I
11      Q Do you recall a board resolution subsequent          11   can't recall.
12   to this that was the equivalent of that big red           12          MR. MITCHELL: Was there any point between
13   button --                                                 13   May and September when -- sorry.
14     A From a governance point of view?                      14          During this time, were there discussions
15      Q Yeah. Where the board said, proceed to the           15   about how much to sell to the public versus how much to
16   sale?                                                     16   sell to the accredited investors?
17      A I believe there would be, but I can't                17          THE WITNESS: There were discussions, yes.
18   recall specifically.                                      18          MR. MITCHELL: Sort of tell me about those.
19     Q You don't know which board meeting that               19          What were the options that people weighed?
20   was?                                                      20          THE WITNESS: I don't recall all of the
21     A I don't recall which board meeting it was.            21   steps. But where we landed with 50 million presale and
22   And I don't recall, like, what the governance             22   then 75 million sold -- tokens sold in the public sale
23   equivalent is of pushing the big red button.              23   for a combined 125 million. With the 30 percent
24      Q Fair enough.                                         24   discount, it would make the 50 million and the 75
25         Why don't we go off the record.                     25   million. Meaning, they would get equal parts of that



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                                                     Page 388                                                    Page 390
 1   10 percent, 5 percent each.                                 1      A I did.
 2           And that felt symbolically like a very cool         2      Q You went to various public fora, meetings
 3   statement, that both the private accredited side and        3   and the like, and talked about Kin?
 4   the public side would be participating from day one         4     A Yeah.
 5   equally.                                                    5      Q Did you meet with people who were
 6           MR. MITCHELL: So the plan was to have the           6   interested or thinking about buying Kin?
 7   public get about half?                                      7      A Like on -- yes, I did. Like, on the
 8           THE WITNESS: Yes.                                   8   presale side, I definitely met with people. I am just
 9           MR. LEASURE: Off the record.                        9   thinking of, like, the different categories of people I
10           THE VIDEOGRAPHER: This ends Disc Number 1.         10   met with. I also did lots of public talks. Did some
11   Going off the record.                                      11   of those people end up buying Kin, probably. Although,
12           The time on the monitor is 11:02 a.m.              12   I'm not sure. So I'd say yes.
13           (A brief recess was taken.)                        13         MR. MITCHELL: Why do public talks?
14           THE VIDEOGRAPHER: This begins Disc Number          14         THE WITNESS: To explain the vision of Kin.
15   2. We are back on the record. The time is 11:17 a.m.       15         BY MR. LEASURE:
16           BY MR. LEASURE:                                    16      Q Sure.
17       Q      Back on the record after a brief break          17       MR. MITCHELL: One more practical question.
18   during which, Mr. Livingston, did you have any             18       In terms of actually people you met
19   substantive conversations about this investigation with    19   individually or, you know, who is representing some
20   SEC staff?                                                 20   entity, what ones do you remember meeting?
21      A I did not.                                            21        THE WITNESS: I remember meeting with
22       Q      So we've talked about May, a Medium post,       22   Polychain -- I remember Polychain, Pantera. I did call
23   the white paper. Rolling the camera forward, how did       23   to some others. I can't remember their specific names.
24   -- how, if at all, did Kik market the Kin token sale?      24   Those are the ones that I recall specifically.
25      A When you say how did we market the token              25         MR. MITCHELL: Where did you meet with


                                                     Page 389                                                    Page 391
 1   sale, what do you mean by "market"?                         1   Polychain?
 2      Q Did Kin market -- did Kin market the token             2          THE WITNESS: I can't recall.
 3   sale?                                                       3          MR. MITCHELL: In New York City?
 4      A Did we -- did we explain Kin in many                   4          THE WITNESS: I can't recall.
 5   different forums, yes. Did we explain that we were          5          MR. MITCHELL: Did you meet with them
 6   doing a token sale, yes.                                    6   before or after the announcement at Token Summit?
 7      Q Why did Kin -- Kik do that?                            7          THE WITNESS: I cannot recall.
 8      A Because we wanted as many people to be a               8          MR. MITCHELL: Did you go to San Francisco
 9   part of it as possible.                                     9   to meet with anybody?
10      Q So you wanted to -- you and others at Kik             10          THE WITNESS: I can't recall specifically.
11   wanted to go to public fora and explain the Kin            11   Actually, I know, at a minimum, I went to Fortress
12   project, right?                                            12   Capital and met with them. So I recall that. Outside
13      A Yeah. The vision for Kin, yeah.                       13   of that, I cannot recall specifically who else I met.
14      Q And you wanted to encourage as many people            14          BY MR. LEASURE:
15   as possible to then participate in the project, right?     15       Q Was there a road show held in connection
16      A To be part of it from day one, yes.                   16   with Kin marketing events or talking about Kin?
17      Q And to be part of it by day one, they would           17       A Did we go around the world to explain the
18   buy Kin tokens, right?                                     18   Kin vision, I think yes.
19      A Yeah.                                                 19       Q Was that called a road show?
20      Q Okay. I'm not going to quibble about the              20       A I think that's typically the term for going
21   word "marketing," but spread awareness, whatever term      21   on the road, yes.
22   you want to use, Kik did that?                             22       Q Why did you -- who did that?
23      A Yep.                                                  23       A Who did which?
24      Q Okay. And did you participate in that                 24       Q The road show.
25   effort?                                                    25       A Who put it together? Who was part of it?



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                                                    Page 392                                                  Page 394
 1       Q Good question. First, who put together?              1   form of -- written down in the form of a deck.
 2       A I can't recall. Like, it was a group                 2      Q Do you recognize it?
 3   effort.                                                    3      A Not specifically, no.
 4       Q Did you go?                                          4      Q I'll represent to you that this was -- we
 5       A I did go to many events, yes.                        5   can see custodians when we get document production.
 6      Q Who else went with you?                               6   This was in your files, but I can't tell you how it got
 7      A I'm sure Rod, our head of communications at           7   there or what is the date of the document.
 8   the time, would have gone to many of them. And then        8      A Yeah. I don't think -- like, I'm sure it
 9   different people for other ones. Like, for example, I      9   would have been shared with me. I don't recall
10   know I went to TechCrunch Disrupt in China. I can't       10   specifically reviewing it. It might have happened,
11   recall when they did that. But I believe it was only      11   though. I just can't recall.
12   Rod and I at that one, for example.                       12      Q That's fine. I actually just want to point
13      Q How about where else did you go on the road          13   to specific pieces and ask -- use them to ask you what
14   show?                                                     14   happened and what you remember, okay?
15      A I think I did something in Europe in                 15     A Sure.
16   London, I seem to recall. I think I spoke in San          16      Q I guess first, maybe for context in the
17   Francisco. I can't recall where else.                     17   document, can I point you to the second page, that's
18       Q And who went with you to London and San             18   107737. It has --
19   Francisco, if anyone?                                     19      A Do you mind if I actually just look at the
20     A I would say Rod. But I can't recall who               20   rest of this --
21   else.                                                     21      Q Take your time.
22       Q Did anyone who didn't work for Kik                  22      A Okay. Sorry. Your question?
23   participate in the road show?                             23      Q You had a chance to look at it.
24     A I cannot recall. I cannot recall. I don't             24           Is there any other context you can give me
25   -- nobody comes to mind. But it's possible.               25   having reviewed the document?


                                                    Page 393                                                  Page 395
1       Q In addition to the road show, globally,               1         A I'd only be speculating on what this could
2    sort of the -- the marketing or spread-the-word efforts    2   be.
3    prior to the public sale, did anyone who didn't work       3         Q That's fine.
4    for Kik help out with that?                                4         A I can do that if you want.
5       A I'm not sure if CoinFund would have helped            5         Q No, I don't. The second page, 107737.
6    with that in terms of identifying where we should          6           Do you see the table of contents?
7    speak, where crypto -- people interested in                7         A I do.
8    cryptocurrencies would be or what events they might be     8         Q Does that give you any sense of what the
9    at. But I can't recall specifically.                       9   purpose of this document is, or where it fits in to the
10      Q How about anyone not sort of being paid by           10   timeline we've been discussing?
11   Kik, was there some...                                    11      A Looks like how we're going to get people
12      A I can't recall anybody specifically.                 12   excited about Kin.
13      Q Okay. Let me show you a document. I'm                13     Q So communicating about Kin to the public
14   going to mark this as Exhibit 202.                        14   and the plan for doing so?
15           (SEC Exhibit No. 202 was marked for               15     A Yep.
16   identification.)                                          16         Q Do you have any sense, just based on the
17           BY MR. LEASURE:                                   17   org chart of Kik at the time, who would have been
18      Q Look at Exhibit 202, and let me know when            18   responsible for thinking about these efforts?
19   you're ready. I'll represent for the record it's a        19       A I would think it would be led by Rod. But
20   multi-page document with the title "Kik Token Event       20   ultimately, it'd be Erin's responsibility.
21   Communications Strategy." And it begins with the Bates    21      Q Let me point you to the -- the next page is
22   stamp KIK 107736.                                         22   107738. It has "key audiences."
23           What is this document?                            23      A Yes.
24      A The title says it's a communications                 24         Q Can you take a look at that.
25   strategy. It looks like a strategy written down in the    25           Were these the audiences for Kik's



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                                                        Page 396                                                    Page 398
 1   communication efforts around Kin?                              1   you remember, in advance of the public sale?
 2      A I think this is a list. I'm not sure about                2     A There is -- in crypto, there is always tons
 3   the categorization. But this is a list of many of              3   of false information on different -- in many different
 4   people who were interested in cryptocurrencies at the          4   ways.
 5   time.                                                          5      Q Sure. Particularly, with respect to Kin,
 6      Q Were these people Kik targeted into the                   6   did anything -- does anything jump out that concerned
 7   subsequent efforts it made to communicate about Kin?           7   you or bothered you being circulated at the time?
 8      A I think what this is just trying to do is,                8     A Nothing specific comes to mind.
 9   like, there's lots of different people here. And it's          9      Q Who handled Kik's presence on sites like
10   trying to do its best to put them into a structure to         10   Reddit?
11   make it sort of easier to comprehend.                         11      A I can't recall who specifically was
12           So I think, like, individual boxes, yes.              12   responsible for that at the time.
13   These are all groups that exist. I'm not sure I would         13      Q Did you do anything?
14   have put them in these three buckets, but somebody did.       14      A I can't recall anything specifically. If I
15      Q Can I point you a little further in the                  15   were to guess -- like, I obviously posted to Medium. I
16   document to the page with the Bates stamp ending 745.         16   might have commented on Reddit. Although, I think I
17   And it comes with the title of "Community Management."        17   actually created my Reddit account later. You could --
18      A Okay.                                                    18   I'm ted_on_reddit is my username. You can look at when
19      Q Let me pause you on this. When it's                      19   my Cake day is. Actually, I believe I created that
20   talking about community management, I see icons for           20   after, even much after the token sale.
21   Reddit, Slack. Did Kik use sites like Reddit or Slack         21      Q I see in e-mails there is some assignments
22   to communicate about the Kin token event?                     22   being given to people within Kik about sort of
23      A Yes.                                                     23   community channels to monitor or post on.
24      Q What were the major websites that you used,              24           Does any of that ring a bell?
25   if you remember?                                              25      A Yeah. It doesn't ring a bell. But


                                                        Page 397                                                    Page 399
 1      A I would guess Reddit and Twitter and Medium               1   intuitively, it makes sense.
 2   would be the big ones. I can't recall exactly what we          2       Q But did you have any -- did you, yourself,
 3   did with Slack.                                                3   have any assignments on particular...
 4      Q How about Telegram? Did they have a                       4       A It's possible, but not that I can recall.
 5   presence on there?                                             5       Q That's fine. Let me point you to 748 of
 6      A Yep. Telegram.                                            6   this document. That's page 13.
 7      Q YouTube?                                                  7       A Yes.
 8      A I would think so, yes.                                    8       Q There is a reference to rolling thunder.
 9      Q We saw Medium. Did you -- this talks                      9       A Yep.
10   about, I guess -- people have to manage the presence          10       Q What is that? It's a cool name. What is
11   that Kik has on various websites like Reddit, right?          11   it?
12           Let me ask that -- so for example, someone            12       A What is rolling thunder?
13   at Kik has to post things or keep an eye on the               13       Q Yeah.
14   community postings that are happening on those various        14       A I think the term "rolling thunder" is used
15   websites?                                                     15   a lot in the industry. And it's this idea that you
16      A I wouldn't say "has to." I would say, you                16   want to create, like, an increasing rolling excitement
17   know, there is two options. One is you could let --           17   around something. So in this case, we wanted to create
18   like, people would post about Kin on Reddit, whether we       18   a rolling increasing excitement around Kin.
19   were there or not. The advantage to being there is if         19       Q Did that happen?
20   people are spreading false information, then we can, to       20           Was there an effort to do that?
21   the best of our ability, correct it.                          21       A Yes.
22      Q Did Kik do that on various sites like                    22       Q Let me point you to -- maybe it's helpful
23   Reddit?                                                       23   to have an actual context -- 107749, the next page.
24      A I believe we did, yes.                                   24       A Okay.
25      Q Was there false information going on, do                 25       Q Says, "Phase 2 rolling thunder."



22 (Pages 396 to 399)
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                                                   Page 400                                                          Page 402
 1      A Okay.                                                 1      A That's what it looks like, yes.
 2      Q Was this the plan to generate increased               2      Q    Did that happen?
 3   attention or interest in Kin?                              3      A I'm sure -- we definitely met with media.
 4      A These look like various things we were                4   I can't remember the specifics of which media we met
 5   doing to create awareness around Kin.                      5   where and how. But definitely, we met with media.
 6      Q And you participated in some of these                 6      Q    How does that -- someone sets up with a
 7   efforts?                                                   7   reporter and you provide them information about the Kin
 8      A Yep.                                                  8   offering; is that right?
 9      Q Okay. Maybe more specifically, let me                 9      A I think -- I don't know specifically. But
10   point you to the next page, which ends in Bates stamp     10   if I were to guess, it's reaches out to reporter and
11   750, "Participant Road Show."                             11   says, "Kin is going to launch its own cryptocurrency.
12     A Okay.                                                 12   It's really exciting. Here is why you should hear the
13      Q Is this referring to a plan for the road             13   story from Ted."
14   show we talked about earlier?                             14      Q    Did you personally meet with some of the
15      A This looks like a list of people we could            15   reporters?
16   meet who could be interested -- who were interested in    16      A I can't recall any specific meetings, but
17   cryptocurrencies and could be interested in Kin.          17   I'm sure I did.
18      Q Just for the record, I'm just going to read          18      Q    Okay. Fair enough. Again, I am using this
19   it. "Goal, Ted to meet with top 2 to 3 crypto             19   to sort of orient us. Were there other major events or
20   participants in each market." And then it lists out, I    20   measures taken beyond what we've talked about in terms
21   guess, five or six places with different people or        21   of spreading the word about Kin in advance of the
22   entities there.                                           22   public sale?
23        Do you see that?                                     23      A Not to my recollection.
24      A I do.                                                24      Q    Okay. Fair enough. I'll take that back.
25      Q Which of these happened?                             25   Thank you. Talking briefly about public awareness and


                                                   Page 401                                                          Page 403
 1      A I can't recall specifically which of them             1   talking about -- we've talked about Kin so far. I want
 2   happened. Like, I do recall meeting with Pantera. I        2   to go back in time and talk about Kik's messaging app
 3   do recall meeting with Tim Draper. I do recall meeting     3   business.
 4   with Polychain. I do recall meeting with Brock Pierce.     4      A Sure.
 5         I don't recall any others. I met Anthony,            5      Q When Kik wanted to market, promote, talk
 6   I seem to recall, at an event one time. But I don't        6   about Kik, the messaging app, how did it do that?
 7   think I sat down privately with him, but it's possible.    7      A When we were launching new features that we
 8   I can't recall. I don't recall meeting with any of the     8   wanted to explain to the world and why they're
 9   other names on this list.                                  9   exciting, we would do Medium posts, we would speak at
10      Q That's fine. And is this in connection               10   events, we would call reporters. Many similar things
11   with what we've been calling the presale, trying to       11   to what we just talked about.
12   identify different presale interest?                      12      Q Did it communicate it inside Kik, the
13      A Yep. I think that's correct.                         13   messaging app, to the messaging app users?
14      Q Is it fair to say that whichever these               14      A For the most part, no.
15   particular ones did or didn't happen, you went to         15      Q Why not?
16   various places, including places in the U.S., and met     16      A If you build great features, users will
17   with potential presale investors?                         17   discover them naturally over time. And so one of the
18      A Correct.                                             18   common critiques I've gotten over the years is we don't
19      Q Okay. Did you -- the next page, 751, has a           19   do enough to market new features inside the app. And
20   road show -- has more information about a road show.      20   my view is if it's a feature that users love, they'll
21        Do you see that?                                     21   tell other users about it, they'll use it with them,
22      A Yep.                                                 22   and they will discover it on their own.
23      Q Was this an effort to also reach out to              23      Q And then moving to the Kin sale. Was that
24   media? Am I reading this correctly, or is this            24   promoted at all in the Kik messaging app, do you know?
25   something else?                                           25      A Not to my recollection.



                                                                                23 (Pages 400 to 403)
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                                                     Page 404                                                       Page 406
 1      Q Why not?                                              1    at once.
 2      A We have a history of typically not                    2       Q And Kin wasn't ready for that?
 3   promoting new features inside the app. Again, letting      3       A No blockchain in the world is ready for
 4   them spread organically through the messenger. But I       4    that.
 5   think on top of that, in any case, but especially in       5       Q So it had to be a more gradual buildup?
 6   this case, this is a brand new technology. You know,       6       A Yes.
 7   it was a very early technology, very fragile               7       Q I want to talk a bit -- so we've talked
 8   technology. And so probably -- whenever we're rolling      8    about how Kik was trying to spread the word about the
 9   out a new feature, we rolled out a few users at a time.    9    upcoming public sale of Kin, right?
10   That's a common practice in the industry.                  10      A Trying to create awareness around what we
11          You know, when you don't know if something          11   were doing with Kin, why it was an exciting new vision,
12   is going to work, you don't roll it out to everybody at    12   and why people should purchase tokens.
13   the same so everybody has a bad experience right away.     13      Q If you had to summarize Kik's pitch on
14   You roll it out slowly. So I think, especially in this     14   those points, what would be your high level summary?
15   case, like with blockchain technology being so young,      15      A Of which?
16   we would want to roll it out in a very slow and            16      Q Of all of them. You're trying to spread
17   controlled way.                                            17   awareness that you're about to be selling this token.
18      Q Was there a concern within Kik or Kik's               18   It's a major event for the company. And you want
19   executive team about scaring off Kik messaging app         19   people to be enthusiastic about it, right?
20   users by rolling out Kin too quickly inside the            20      A I think the bullets of my message were --
21   messaging app?                                             21   and I recall this actually because I think we did it
22     A Scaring off -- you know, Kik users had used            22   many times -- is, you know, on one side, digital apps
23   Kik Points and had loved them. So from a product point     23   are becoming more and more important in our lives.
24   of view, from an idea point of view, I don't think it      24   We're using them to communicate with our friends, share
25   would be scary for users. I think probably what was        25   pictures, order food. Pretty much, we run our lives


                                                     Page 405                                                       Page 407
 1   scary is Kik Points was running on a tried and trued       1    through our phones.
 2   and highly scaled technology, which is a centralized       2            And yet, increasingly, those apps are being
 3   database. So we had much more conviction that it would     3    owned and run by a smaller and smaller number of
 4   work well.                                                 4    companies. And we're now on the path to where there
 5           Whereas, blockchain was sort of the exact          5    will only be a few companies left. And every app we do
 6   opposite. It was something that was brand new, did not     6    and everything we do in our lives will be controlled by
 7   work well, and almost nobody in the world had used yet.    7    those few companies. And that ultimately -- that will
 8   So I think when you say "scare off," I think there were    8    lead to less innovation, that will lead to less choice,
 9   high odds that the experience, the technology would        9    and ultimately, less freedom. We think the world needs
10   break, and therefore, give Kik users a bad experience.     10   a better way.
11      Q Got it. So the worry was that if you put              11           And we think a cryptocurrency is the only
12   it into the Kik messaging app immediately, as of the       12   way to create that better way. So we are creating a
13   public sale, it simply might not -- there might be         13   new cryptocurrency to create a fundamentally new
14   glitches or tech issues or it just might not work          14   business model for developers and their consumers to
15   correctly?                                                 15   band together, make money in a new way that's better
16      A I think the concern was if I -- because I'm           16   for their consumers, and work together as one to take
17   not sure quite -- that's not quite what I was saying.      17   on these monopolies together, to advert a future
18   The concern was is if we put Kin into Kik and then         18   disaster in global society where few companies run the
19   tried to get everybody to use it right at the              19   world.
20   beginning, that that was would increase the odds that      20      Q Let me just give you a reaction and follow
21   the technology would break, and therefore, be a bad        21   it with a question to that. That -- I can see why that
22   idea.                                                      22   would be appealing vision and that I would want to --
23      Q Because just too many people would be                 23   you know, I would cheer for you. But was there a pitch
24   trying to use it at once?                                  24   why I should spend money and then buy the tokens?
25      A Too many people would be trying to use it             25      A So how are we going to solve this problem,



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                                                 Page 408                                                          Page 410
 1   I guess, is your question?                                 1   work. And so this needs to be an ecosystem. An
 2      Q Sure. I can -- I could just give you money            2   ecosystem of developers, of creators, of consumers, all
 3   as a charity and help you, wish you the best in            3   coming together, owning this currency, contributing in
 4   Facebook. But why should I give you my money and           4   their own ways to grow demand for the cryptocurrency,
 5   participate?                                               5   and therefore, make the cryptocurrency they own more
 6      A Because if you just give us money, that's             6   valuable, but in doing so, making everybody else's
 7   not going to change anything. Like, lots of people had     7   cryptocurrency more valuable at the same time.
 8   given us lots of money, and yet, we were still here,       8      Q Right. And we spent a lot of time talking
 9   and monopolies were increasingly owning the future. If     9   yesterday about -- I think it was termed a value
10   it was just about money, like, we would have been fine.   10   proposition in a document, but I think what you termed
11   We wouldn't have needed to move into a crypto business    11   yesterday, the fundamental economics of
12   model. The problem was much bigger than just money.       12   cryptocurrencies, right?
13      Q I guess I'm saying it sounds like, from              13      A Yep.
14   what you're saying, the pitch was you should want --      14      Q That as demand increases, value -- you
15   "You, the potential buyer of Kin, should want to avoid    15   know, value will rise, and everyone shares in that --
16   a future dominated by a monopoly like Facebook" --        16   in that gain, right?
17      A Uh-huh.                                              17      A Correct.
18      Q -- "so give us money to avoid that"?                 18      Q Okay. That idea, that value proposition,
19      A No.                                                  19   that fundamental of crypto economics, did you present
20      Q Okay.                                                20   that as part -- to people as part of raising awareness
21      A So how are we going to solve that?                   21   about the Kin token sale?
22   Cryptocurrency offers the one potential solution that     22      A I can't recall specifically, but people
23   we've seen in our, you know, eight or nine-year           23   cannot understand Kin without understanding these
24   history, whatever it was at the time --                   24   fundamentals of crypto economics.
25      Q Right.                                               25      Q So you expected people that bought Kin


                                                 Page 409                                                          Page 411
 1      A -- to change the course of this, what felt            1   likely did understand that?
 2   like an inevitable -- what feels like an inevitable        2       A We understand it a lot better now than we
 3   future. How are we going to do that? Like, you have        3   did back then, even, like, me. So it's hard to say
 4   to understand the fundamentals of cryptocurrencies and     4   what exactly I or anybody else understood exactly back
 5   crypto economics. So we did our best to explain that.      5   then. But that's, you know, sort of the foundation --
 6   Like, why are cryptocurrencies -- why was Bitcoin a        6   foundational idea of Bitcoin. You can guarantee the
 7   fundamental innovation? Because you can guarantee the      7   scarcity of a digital asset. And that's what opens up
 8   scarcity of a digital asset. What does that mean?          8   everything that makes, from my point of view,
 9        Once the asset is created, there will never           9   cryptocurrencies powerful.
10   be more. So if demand of that asset goes, supply is       10       Q Got it. And you don't know sitting here
11   fixed, and the price will go up. Why is that              11   today if you did or did not communicate that?
12   important? That creates a fundamentally new business      12       A I don't recall.
13   model for consumer app developers, like Kik, but like     13          MR. MITCHELL: So we'll mark a DVD that has
14   every other consumer developer out there. It also puts    14   on its face the SEC seal and 4 -- it says "4-I have two
15   developers and consumers on the same team.                15   questions." And on that -- well, and on that, it has a
16         Consumers can only spend what they earn,            16   file. I'll turn on the TV. That file is a video file.
17   and so every developer's job is no longer to extract      17          (SEC Exhibit No. 203 was marked for
18   value, but is actually to find ways to get their users    18   identification.)
19   compensated for the value they provide. How all this      19          MR. GIBBS: In the interest of time, while
20   works -- and maybe one other thing. The exciting part     20   you're working on that, why don't I just note for the
21   about this is, you know, if this were just being Kik,     21   record our objection to the marking of the video file
22   it would never work because, you know, at any point,      22   on the ground that, as I understand it, the file that
23   Kik could stop accepting Kik Points or Kin or any other   23   is being marked is a clip of a longer video. And so we
24   cryptocurrency.                                           24   would object that the exhibit that's being marked is
25          This is why a Starbucks coin would never           25   incomplete because it is a portion of a longer video.



                                                                              25 (Pages 408 to 411)
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                                                  Page 412                                                         Page 414
 1         MR. MITCHELL: So, Mr. Livingston, you can           1    sell at a higher price. And that's the thing that was
 2   see the screen?                                           2    just never possible. Amazon Credits, is the demand
 3         THE WITNESS: I can.                                 3    guaranteed to be the same? No. They can make more
 4         MR. MITCHELL: All right. Do you recognize           4    whenever they want.
 5   what this is?                                             5             UNIDENTIFIED SPEAKER: But nobody expects
 6         THE WITNESS: I do not.                              6    the value of Amazon Credits to go up. Everybody
 7         MR. MITCHELL: Okay. Do you know who that            7    expects the value of Amazon Credits to always be paying
 8   guy -- are you on the screen?                             8    one to one with the dollar.
 9         THE WITNESS: I am on the screen.                    9             MR. LIVINGSTON: Right. I think it's,
10         MR. MITCHELL: Do you know who the other             10   like, different. Like, I think the Amazon Credits is
11   person is?                                                11   like a different way to use U.S. dollars; where this
12         THE WITNESS: I cannot recall who that is.           12   is, like, a fundamentally different financial (audio
13         MR. MITCHELL: Okay.                                 13   interference.)
14         (VIDEO PLAYING.)                                    14            UNIDENTIFIED SPEAKER: My second question
15         UNIDENTIFIED SPEAKER: I have two questions          15   for you is: What will Kik do in order to guarantee the
16   for you, actually. First of all, you said that            16   value of Kin going forward?
17   cryptocurrencies were the first digital -- scarce         17            MR. LIVINGSTON: So we cannot guarantee the
18   digital asset, but Amazon Credits existed before          18   value of Kin. You know, I think, once you create a
19   cryptocurrencies. And isn't there a finite amount of      19   cryptocurrency, it's on exchanges, and the price of it
20   Amazon Credits? And for that matter, all bank             20   is set by the market based on supply and demand. And
21   balances, as well as, for that matter, a work out         21   so, you know, even though supply is fixed, if demand
22   quote?                                                    22   goes down, the price is going to go down. But I think
23         MR. LIVINGSTON: So what I said is a                 23   what we can guarantee is we are all in this, you know.
24   cryptocurrency for the first time ever can guarantee      24   This is something we've been working towards for a long
25   the scarcity of a digital asset. You know, we ran Kik     25   time. But this is something that you see in our


                                                  Page 413                                                         Page 415
 1   Points. Are there only so many Kik Points? No. We         1    financial best interest, because of 30 percent. But,
 2   can create more whenever we want. And you're just         2    actually, like, just to be honest, like, this is
 3   going to have to trust us that we don't create too        3    something we have to do. We cannot compete with
 4   many. And so I think, you know, you'll get Amazon         4    Facebeook. We can't -- everything we do, they copy it
 5   Credits. They create -- they create more all the time.    5    two years later. They have way more developers, way
 6   Do you think they have, like -- like, running low on      6    more scale. And that was the process, really, the
 7   the Amazon Credits. What do we do?                        7    turning point, is when we saw Snapchat's S-1. And
 8        UNIDENTIFIED SPEAKER: Will we have an                8    looked at them, we're like, "Wait, even Snapchat is
 9   internal ledger for Kin to decide how much Kin is         9    struggling?" Like, this company has raised
10   created?                                                  10   $2.5 billion. They have 2,000 employees. They have an
11         MR. LIVINGSTON: So that's the beautiful             11   amazing insight, amazing brand. Kik got everything
12   thing about the blockchains. We know with Bitcoin, for    12   perfectly, and even they are struggling to compete with
13   example, there's only going to ever be 22 million, or     13   Facebook.
14   whatever it is.                                           14            UNIDENTIFIED SPEAKER: So there is nothing
15          UNIDENTIFIED SPEAKER: 21 million.                  15   backing the Kin token?
16          MR. LIVINGSTON: 21 million. Thank you. I           16            MR. LIVINGSTON: The only thing backing any
17   appreciate that. Sorry. And this -- so that's the         17   cryptocurrency is demand. Like, you know, why is
18   beautiful thing, is like as a developer, as anybody in    18   Bitcoin worth what it's worth? Why is Ether worth what
19   the ecosystem, even look at Bitcoin, and say so there's   19   it's worth? It's because there is a fixed supply and
20   only going to ever being 21 million Bitcoins. So the      20   there is so much demand. If demand goes down, then the
21   supply is fixed. So if the demand for Bitcoin goes up,    21   price will go down. If demand goes up, the price will
22   economics 101, supply stays the same, demand goes up,     22   go up.
23   price is going to go up. And therefore, if I buy it       23            (END VIDEO.)
24   today if I think the demand is low because I think        24            BY MR. LEASURE:
25   tomorrow the demand will be higher, I will be able to     25      Q Was that you?



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                                                    Page 416                                                   Page 418
 1         A Yes.                                               1   cannot understand Kin.
 2         Q Do you know where that was?                        2      Q And I take it in talking at, I think it was
 3         A I think it was in San Francisco, but I             3   called the Bitcoin Meetup, is also a helpful frame of
 4   don't recall exactly.                                      4   reference for people who don't know about Kin yet,
 5         Q I can represent to you that from the -- I          5   right?
 6   think we pulled that off of YouTube. I think the data      6      A Correct.
 7   around it looks like you were at a San Francisco           7      Q Because they do know about Bitcoin, right?
 8   Bitcoin Meetup. Does that sound right?                     8      A Correct.
 9         A It sounds familiar.                                9      Q Bitcoin is the most well-known
10         Q Okay. And was that in connection with             10   cryptocurrency, right?
11   raising awareness about the upcoming Kin token sale?      11      A Correct. It's the first and most
12      A I think that was about raising awareness             12   well-known, yes.
13   about Kin.                                                13      Q Okay.
14         Q Kin. Sure. Okay. But my point is that             14         You also said -- correct me if I'm
15   was -- do you have any reason to doubt that that was      15   wrong.
16   before the actual sale itself?                            16         You were asked why you -- what is Kik going to
17         A No. I don't have any reason to doubt that,        17   do to guarantee the value of this cryptocurrency,
18   no.                                                       18   correct?
19         Q Okay. You don't know either way?                  19      A Correct.
20         A I don't recall specifically.                      20      Q And you answered you can't guarantee the
21         Q And first, I want to apologize, one of my         21   value of a cryptocurrency, correct?
22   nightmares is watching myself talk on video, so I         22      A Correct.
23   apologize to you. It's painful for me to watch myself.    23      Q And that's accurate, right?
24            Is what you said accurate?                       24      A That's accurate.
25         A I believe so, yes.                                25      Q You stated -- and correct me if I'm


                                                    Page 417                                                   Page 419
 1      Q Okay. Would you agree -- we've been                   1   wrong -- "But we guarantee we are all in on this"?
 2   talking an awful lot yesterday and today about what you    2     A Yep.
 3   see as the fundamental economics of crypto.                3      Q Was that accurate?
 4      A Yep.                                                  4      A Yes.
 5      Q Would you say you were describing your view           5      Q And what does that mean?
 6   on that to the audience there?                             6      A That means that we were going to do
 7      A Yes.                                                  7   everything we could to integrate Kin into Kik and have
 8      Q And you think you described it accurately?            8   it be the currency of exchange inside Kik.
 9      A Yes.                                                  9      Q Support the project?
10      Q Okay. So, for example, if demand rises --            10      A Be an active participant in the ecosystem.
11   if demand rises in the future, the value of a coin will   11   We could have said the exact same thing about Bitcoin
12   go up?                                                    12   or Ethereum or any other cryptocurrency. But we were
13      A Correct.                                             13   saying because it was in our financial interest,
14      Q And that there was nothing actually -- that          14   because we own 30 percent of all Kin, that we were
15   the future value of Kin wasn't backed by any --           15   going to go all in on Kin.
16   anything other than the laws of supply and demand?        16      Q Right.
17      A Correct.                                             17      A If we own 30 percent of Bitcoin, maybe we'd
18      Q Okay. You compared -- in that analysis,              18   go all in on Bitcoin, but we didn't.
19   you compared Kin to Bitcoin, right?                       19      Q As an outsider, I wasn't there --
20      A Uh-huh.                                              20      A Yep.
21      Q Why did you compare Kin to Bitcoin?                  21      Q -- watching that video, it seems like at
22      A Bitcoin was the first cryptocurrency that            22   least the questioner was concerned about how is Kik
23   was able to guarantee the scarcity of a digital asset.    23   going to support or relate to the Kin project.
24   So if you understand Bitcoin, then you can understand     24         Does that seem right to you?
25   Kin. But if you do not understand Bitcoin, then you       25      A I think -- actually, I remember this



                                                                             27 (Pages 416 to 419)
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                                                         Page 420                                                      Page 422
 1   exchange.                                                      1    things that come to mind.
 2      Q Okay.                                                     2          I think we probably said something about
 3      A I think my recollection -- I didn't know                  3    the Kin Reward Engine, that we either set that up or
 4   for sure, but my recollection is this is sort of like a        4    set that up with the Foundation. I can't recall the
 5   Bitcoin maximalist, you know, somebody -- the term is          5    specifics.
 6   somebody who believes in Bitcoin and nothing but               6       Q You don't recall if the Reward Engine was
 7   Bitcoin, and Bitcoin is sort of like a religion. And           7    the Foundation, you guys --
 8   so was questioning the idea that a company like Kik            8       A I seem to recall us talking about the
 9   would launch its own cryptocurrency because that was           9    Foundation would start off -- like, we would control it
10   unheard of at the time, and was sort of having a               10   and run it, and then we would decentralize it and make
11   negative reaction to that.                                     11   it independent over time.
12      Q Oh, the idea of being why would a                         12         But, you know, in day one, it's a brand new
13   centralized -- if I could use the lingo right.                 13   thing, so somebody's got to set it up. So at that
14      A Yeah.                                                     14   moment in time, obviously, we would set it up.
15      Q Why would have centralized company with its               15      Q And in terms of -- I don't want to call it
16   own CEO and management structure be entering the crypto        16   culture, but the crypto space at that time, was it
17   space?                                                         17   generally important, the concept that ultimate
18      A Every cryptocurrency to date had been                     18   governance be run by a decentralized organization at
19   launched by small groups of people who were working            19   some point in the future?
20   together but were new and unestablished, and yet, here         20      A Say that one more time.
21   was an established company creating a cryptocurrency.          21      Q Yeah. I'm trying understand crypto culture
22      Q And so that distinguished Kin from                        22   at the time.
23   everything that had been out there at the time?                23      A Yeah.
24      A We were certainly the first.                              24      Q Was the goal -- was it expected that a
25      Q Do you think that helped distinguish Kin?                 25   cryptocurrency would ultimately be run by some sort of


                                                         Page 421                                                      Page 423
 1       A Yes.                                                      1   disinterested foundation or decentralized organization
 2       Q From its, I guess I can say, competitors or               2   in the future?
 3   other coins that people were looking at the time, the           3      A I think there's lots of different views on
 4   fact that Kik was there, Kik was established with a             4   governance in the crypto industry at large.
 5   track record, that helped distinguish it?                       5      Q Yeah.
 6       A I would say we have a long history of Kik                 6      A We were -- you know, we were a developer,
 7   being first. So maybe -- like, we're the first chat             7   and so in many ways, we were the target audience for
 8   app to go viral, the first chat app to launch                   8   Kin, and so we understood ourselves. It would give us
 9   platforms, the first chat app in the western world to           9   a huge sort of insight into what other developers would
10   launch bots, and the first VC-backed company, to my            10   probably want as well. If I were another developer and
11   knowledge, in the world to launch cryptocurrency. So I         11   I were building for Kin, I wouldn't want Kik
12   guess that's what distinguishes us broadly.                    12   controlling it.
13       Q And do you think people -- do you suspect                13          We've seen enough of that, like Facebook
14   that people who bought Kin may have liked that feature         14   controlling their platform, Twitter controlling their
15   of Kin, that Kik was there?                                    15   platform, and then the rug being pulled out from under
16       A I think it was definitely a positive for                 16   developers. So I felt it was important on behalf of
17   sure.                                                          17   other developers that this be not decentralized but
18       Q When you -- in advance of the Kin sale,                  18   independent over time and decentralized to the maximum
19   when you were talking to people about how -- what role         19   degree possible. But it's unclear even today how
20   Kik would play in the project, what did you say?               20   exactly decentralized governance can and will work in
21       A My understanding -- I can't recall exactly.              21   the future.
22   I'm sure we have lots of documents that share it. But          22      Q Got it. And I apologize for saying
23   my best recollection is we were going to create it. We         23   decentralized. The independence, though, that was
24   were going to integrate it into Kik. We were -- and we         24   something you thought was important to get people
25   were going to set up the Foundation. Those were three          25   interested in the Kin project?



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                                                   Page 424                                                     Page 426
1       A If I were a developer, I would want to know           1      A I do.
2    that there was a desire for this Kin Foundation, which     2      Q In promoting or discussing Kin prior to the
3    controlled 60 percent of all Kin, to be independent        3   public sale, did you ever compare the crypto space in
4    over time.                                                 4   2017 to the dot-com area?
5       Q Otherwise, Kik would favor itself?                    5      A I did.
6       A Could favor itself. I don't think we ever             6      Q Why did you do that?
7    would, but --                                              7      A I think I wanted to -- I don't recall
8       Q No. Sure. But they don't know you, right?             8   specifically, let me say that. But if I were to
9       A Yeah.                                                 9   speculate, I wanted to make it clear that what I was
10      Q So there's -- to encourage them to                   10   trying to do, I believe, is -- dot-com, there was a lot
11   participate, you don't want them to trust you; you want   11   of -- a lot of excitement at the time. Ultimately, a
12   them to have a sense that there might be an independent   12   lot of the things that people were excited about turned
13   body in the future?                                       13   out to be failures.
14      A That thought was the goal, yes.                      14          And yet, a few of the things that people
15      Q Got it.                                              15   were excited about or even not excited about at the
16         MR. MITCHELL: What do you mean                      16   time turned out to be massive. And I think I was just
17   independent? What makes a body independent?               17   simply drawing the comparison that I felt the same way
18         THE WITNESS: Independent meaning if --              18   and do feel the same way about cryptocurrencies today,
19   it's not just enough for Ted, for example, to think       19   that most of them will be failures, but some of them
20   something is a good idea. It has to be a majority of      20   will change the world.
21   independent people who agree with him. And if they        21     Q And you think Kin could be one that becomes
22   disagree with him, that it wouldn't go through. That      22   massive and changes the world?
23   would be independent to me.                               23     A I absolutely believe that, yes.
24         MR. MITCHELL: Is the Kik Foundation                 24      Q Okay. And was that part of how you
25   independent of -- sorry. Is the Kin ecosystem             25   described or encouraged people to participate in the


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 1   foundation independent of Kik today?                       1   Kin sale?
 2          THE WITNESS: I think we talked about this           2     A I think that's how I described my belief in
 3   a little yesterday, but maybe not. Like, to me,            3   the vision.
 4   independence is a spectrum, not a black or white. You      4      Q In advance of the Kin sale?
 5   know, today, the directors of the Kin Foundation, and      5      A Yes. Absolutely.
 6   the Kin Foundation controls that 6 trillion Kin, is        6      Q Can we roll the next?
 7   myself and William. So if I think it's a bad -- I          7         (SEC Exhibit No. 204 was marked for
 8   think something is a good idea and he thinks something     8   identification.)
 9   is a bad idea, and he disagrees with me, it goes to a      9         MR. MITCHELL: Okay. So I'm going to mark
10   vote, then it won't happen.                               10   the DVD as Exhibit 204. It's a DVD with the SEC seal
11          So I would say yes, the Kin Foundation is          11   on it and words "6-I think this is like the dot-com."
12   independent today. But, you know, maybe I can             12          MR. GIBBS: Just for the record, we have
13   influence William. So it would be good to have more       13   the same objections to the extent it's a clip as
14   and more independent people on the board contributing     14   opposed to the entire discussion.
15   to those decisions over time.                             15          MR. LYNCH: And did you say you were going
16          MR. MITCHELL: Can Mr. Mougayar cause the           16   to give us a copy for us to take with us?
17   Kin Foundation to do things over your objection?          17         MR. MITCHELL: I have them right here.
18          THE WITNESS: No.                                   18         MR. LEASURE: Yes. So maybe two things for
19          MR. MITCHELL: So you and Mr. Mougayar have         19   the record while we're dealing with our AV situation.
20   to both agree for the Kin Foundation to do anything?      20          MR. LYNCH: Yeah.
21          THE WITNESS: Correct.                              21         MR. LEASURE: These -- we pulled -- we'll
22          BY MR. LEASURE:                                    22   represent to you we pulled these off of YouTube and
23      Q But just to summarize that, you have a               23   burned them to a DVD. I think they're publicly
24   preference for a more independent Kin ecosystem           24   available. But we will give you copies of the clips
25   foundation than exists at present?                        25   we're showing -- a copy of the DVD containing the clips



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 1   we are showing.                                            1   2001, whatever year it was. It's going to be that all
 2         MR. GIBBS: Okay. That's fine. Just to be             2   over again. And I think for us it's -- we believe
 3   clear, my objection is to the incompleteness of the        3   that, you know, a few huge economic entities are going
 4   portion that is being made part of this record here        4   to come out of this space. And I think, actually, a
 5   today.                                                     5   few huge economic entities have already come out of
 6            MR. LEASURE: Understood.                          6   this space. And so I think, you know, it's like
 7            MR. GIBBS: Okay.                                  7   everything. It's risk and reward. I think, you know,
 8            MR. MITCHELL: I apologize. I literally            8   we have a good story. I think we're trying to do it in
 9   closed it. For the record, this laptop is just afraid      9   a fair way. And I think our heart is in the right
10   of Mr. Murtha and opened up when he touched it.           10   place. And we're going to do everything we can. What
11         MR. SCHLEGELMILCH: Just to clarify, you             11   really scares me at the end of the day is disappointing
12   also objected to playing the whole video because it's     12   people. And I think what scares me by doing a crowd
13   too time consuming, right, before we started?             13   sale is before, if Kik failed, I would disappoint a
14          MR. GIBBS: Yeah. That's why I said --              14   bunch of rich people. Now, if Kik failed, I would
15   what I'm talking about is what's included as an exhibit   15   disappoint a bunch of regular people. And that really
16   to the record.                                            16   weighs on us. It really weighs on me. So we are going
17         MR. SCHLEGELMILCH: I just want to say your          17   to do everything we can to make it a win for everybody.
18   objection is used to be a damned if we do and damned if   18          (END VIDEO.)
19   we don't objection, just for the record.                  19            BY MR. LEASURE:
20        MR. GIBBS: But it's not. Because my point            20          Q Okay. Having watched that, that was you
21   is the entire thing should be attached in the exhibit.    21   speaking?
22   Okay? I'm not -- I never suggested you should sit here    22      A Yep.
23   and play the entire video. So --                          23      Q Okay. And that was -- do you know where
24         MR. SCHLEGELMILCH: Okay. I now                      24   that was?
25   understand.                                               25      A I believe that's the same San Francisco


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 1          MR. GIBBS: Okay.                                   1    event.
 2          MR. MITCHELL: I put an image up on the             2       Q Okay. And that was prior to the public --
 3   screen. Is that you on the left?                          3    the sale of tokens to the public?
 4          THE WITNESS: That is me.                           4       A Correct.
 5          MR. MITCHELL: And do you know who the              5       Q Okay. And that was part of the effort to
 6   gentleman on the right is?                                6    raise interest in the token sale?
 7          THE WITNESS: I can't recall.                       7       A To raise awareness about the -- about Kin,
 8          MR. MITCHELL: Okay.                                8    yes.
 9          (VIDEO PLAYING.)                                   9       Q Yeah. Okay. You compared the current
10          MR. LIVINGSTON: So I think -- for me, I            10   crypto space, in 2017 at least, to the dot-com era; is
11   think this is, like, for better and for worse, you        11   that right?
12   know. There is a lot of hype right now. And people        12      A Correct.
13   are going to make a lot of money. People have made a      13      Q And is what you said an accurate statement
14   lot of money. People are going to lose a lot of money     14   of your views at the time?
15   here. This is coming, right? It's been happening          15      A Yes, it is.
16   multiple times as we've moved through this innovation.    16      Q That the space -- you know, there might be
17   At the end of the day, Amazon and Google tailor the       17   a significant amount of losers in the space, but that
18   dot-com. And so this is how I view, like, tokens at       18   one or two giant entities might come out of that space?
19   ICOs. I think 90 percent of them probably are going to    19      A I used the word "entities" there. I'm not
20   go to zero. People are going to lose a lot of money.      20   sure entities -- currencies is what I meant.
21   And regulators are going to come in and they're going     21      Q Okay.
22   to say how do we make this modernization but still we     22      A But yes.
23   can save for the consumers. And everybody is going to     23      Q And that -- I've been using the word
24   try to figure this out and it's going to be crazy. I      24   "project" for Kin, just to avoid nomenclature. Were --
25   was in like, high school, I think, like, 2001 -- 2000,    25   were you attempting to convey that the Kin project



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                                                   Page 432                                                      Page 434
 1   could eventually become what you described as a huge      1       A You should look at -- as anybody -- any
 2   economic entity?                                          2    participant in any crypto project and ecosystem, you
 3      A I think, I did think, do think, and was              3    should evaluate which ones are going to be most used in
 4   trying to convey that I think Kin can become one of the   4    the world and why. And you should focus your efforts
 5   most used cryptocurrencies in the world, and that the     5    on contributing to the ones that have the best odds of
 6   most used cryptocurrency in the world is going to have    6    succeeding.
 7   a lot of demand, and therefore, it's going to have a      7       Q And you were trying -- as part of these
 8   lot of value.                                             8    efforts, you were trying to convey that Kin, as
 9      Q Okay. You also said -- I get that this is            9    compared to others, had better odds of succeeding?
10   on a stage, talking to people. So I don't want to --      10      A That Kin from my point of view and my
11   so I don't want to force you to over-interpret words      11   experience and all the data we had seen absolutely had
12   you said. But you said that you think, like               12   a better view -- better chance of succeeding than other
13   everything, it's risk and reward.                         13   cryptocurrencies.
14           Do you recall that?                               14      Q Towards the end of that clip, you talk
15      A I do.                                                15   about not success but failure. You talk about how
16      Q What did -- what did you mean by that?               16   before, if Kik failed, you would disappoint, I don't
17      A I think what I meant by that is, you know,           17   have your exact words, but a bunch of rich people.
18   at the end of the day, I think there's only going to be   18      A Uh-huh.
19   a few heavily used cryptocurrencies in the world. And     19      Q Do you remember that?
20   so I think that's where I was trying to tie it back to    20      A Uh-huh.
21   dot-com. Like, there are millions of websites. But at     21      Q I take it you're referring to private --
22   the end of the day, today, we only really use ten of      22   you know, private investors in Kik, the company, right?
23   them.                                                     23      A Yep.
24           So when you, as a developer or a consumer         24      Q But you also said, correct me if I'm wrong,
25   or somebody that just buys cryptocurrencies, any of       25   that now, if Kik fails, you will disappoint a bunch of


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 1   those people, and you're thinking about where to invest    1   regular people, and that that weighs on you.
 2   your time, your effort, your attention, your money, if     2         Do you remember that?
 3   you were to build an app for Ethereum, like lots of        3      A I do.
 4   people are doing right now, I think Ethereum -- my         4      Q What did you mean by that?
 5   personal view is Ethereum will not be one of the most      5      A I said Kik. I think I meant Kin. And I
 6   used cryptocurrencies in the world.                        6   think what I meant by that is, you know, we're sparking
 7           And so all those people who are investing          7   a new ecosystem here, a new currency with a new vision
 8   their time building Ethereum apps, they will have          8   and a new sort of go-to-market strategy. And for it to
 9   risked their time and, in many cases, their money with     9   work, thousands of -- thousands, hundred thousands,
10   the team members, employees, and they will not have       10   millions, hundreds of millions of people, billions of
11   gotten a return because they will not have an app that    11   people ultimately would have to contribute their time,
12   gets used. And Ethereum will not be a high-demand         12   effort, and money in many different ways if Kin was
13   currency.                                                 13   going to be successful.
14      Q Got it. So your view was in the crypto               14         And so if Kin ultimately was not
15   space in 2017, and maybe in 2018, it's a -- you thought   15   successful -- like, if Kik wasn't successful, I would
16   that most of the projects would likely fail?              16   only really be disappointing our venture capitalists,
17      A Yes.                                                 17   investors. But if Kin was not successful -- you know,
18      Q But a handful would have enormous success?           18   I would have explained to the world why I saw this
19      A Yes.                                                 19   better way to compete with monopolies and how it could
20      Q And that if you were -- if you were someone          20   work. And if that didn't end up being true, that
21   looking at a menu of where to invest your time, money,    21   really scared me, that I would disappoint a lot of
22   efforts --                                                22   people. And I was trying to convey that.
23      A Yeah.                                                23       Q And why would you disappoint them?
24      Q -- you should look at the risk/reward in             24        If it's on millions or billions of people
25   that light; is that accurate?                             25   to make it a success, why does it matter -- why would



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 1   you be the one disappointing them?                        1    that. But certainly, that's the logic of the whole
 2      A Because it was my idea.                              2    thing. That's the only thing that makes it a viable
 3      Q So we were talking about efforts to raise            3    business model.
 4   awareness about Kin prior to the public sale. We've       4       Q So you would expect if someone asked you
 5   seen a few video clips. In those efforts, did you or      5    what's Kik's business model, that's what you would have
 6   others at Kik talk about whether Kin would trade on       6    said?
 7   exchanges?                                                7       A I'm not sure. Again, these things are very
 8      A I don't recall any specific, but I'm sure I          8    clear to me today. I think they were clear back then.
 9   would -- Kin as a cryptocurrency cannot work and as a     9    But it was a long time ago, so I don't recall exactly.
10   business model cannot work, unless it's traded on         10      Q That's fine. Did people ask about that?
11   exchanges.                                                11      A I don't recall exactly.
12      Q And we talked about the reasons for that             12      Q Fine. We see you on YouTube --
13   yesterday?                                                13      A Uh-huh.
14      A Correct.                                             14      Q -- and at various conferences.
15      Q Did people ask you?                                  15           How about -- we talked about more old
16      A I don't recall specifically.                         16   school media like newspapers?
17      Q How about after the sale? Have people been           17      A Yeah.
18   asking Kik about whether Kin will trade on exchanges?     18      Q Does any of that ring a bell, the
19      A Plenty.                                              19   interviewing -- interviews with newspaper reporters?
20      Q Yeah. Let me represent to you just -- when           20      A I don't have any specific recollection, but
21   I get on the gloves and go onto Reddit, it seems like a   21   it wouldn't surprise me.
22   common topic on various social media channels when        22      Q The Wall Street Journal, do you remember
23   people talk about Kin. Is that a fair statement?          23   any coverage there?
24      A It is one of the more common topics. I               24      A I don't have a specific recollection, but
25   would say that's fair.                                    25   it wouldn't surprise me.


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 1      Q And why do you think that is?                         1      Q Fair enough. Let me show you a document
 2      A I think there's some subset that want to be           2   I'm marking as Exhibit 205.
 3   able to actively trade in cryptocurrencies and want to     3           (SEC Exhibit No. 205 was marked for
 4   be actively able to trade in Kin. And that's difficult     4   identification.)
 5   to do with -- or more difficult to do when Kin is not      5           BY MR. LEASURE:
 6   on bigger exchanges.                                       6      Q Take a look at and let me know when you're
 7      Q Okay. And you think those are the people              7   ready. I'm going to have to make a few representations
 8   I'm seeing or that one can see on social media asking      8   to you about what this is because it doesn't have a
 9   about Kin's tradability on exchanges?                      9   Bates stamp.
10     A Yes.                                                  10      A Okay.
11      Q Okay. Fair enough. Another topic in terms            11      Q First, I'll represent to you I printed this
12   of what I'm calling the marketing efforts or the -- you   12   off of a website called Factiva --
13   know, the awareness-raising efforts in advance of the     13      A Uh-huh.
14   public sale. Did you or others at Kik describe Kik's      14      Q -- that carries news articles. I printed
15   own business model here? In other words, how Kik          15   it off on October 16th, 2018. It says page 3 of 3.
16   stands to gain from the Kin project?                      16   Page 3 of 3. It says this is three pages. The third
17      A I think so. I think in the video you just            17   page is actually blank --
18   showed, I talked about how it would be in our own         18      A Okay.
19   financial interest because we own 30 percent of all       19      Q -- so I took it off. With those
20   Kin.                                                      20   representations in mind, does this appear to be a copy
21      Q And did you explain to people that, "Look,           21   of a Wall Street Journal article about Kin?
22   in the future, value rises. This might be something       22      A It does.
23   that, you know, we sell pieces of our Kin to make a       23      Q Okay. Do you remember this article from
24   gain"?                                                    24   the time?
25      A I'm not sure if, where, how I would explain          25      A It's refreshing my memory. I don't



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1    remember anything that's in it. But I recall now that      1   this as an investment.
2    there was a Wall Street Journal article.                   2      Q Okay. And why do you think so?
3       Q Okay. And this is dated August 29th, 2017.            3      A Because I think it would create an
4    Is that the ballpark of when you remember that article?    4   expectation of people that was not accurate, an
5       A I don't recall, but I assume that's when it           5   expectation among people who didn't understand
6    was if you printed it then.                                6   cryptocurrencies; what they were, how they worked.
7       Q Fair enough.                                          7      Q And do you remember who gave you --
8          MR. MITCHELL: Do you remember a Wall                 8      A I do not.
9    Street Journal article before the token distribution       9      Q -- that briefing point?
10   event ended?                                              10      A I don't think there was a briefing point.
11         THE WITNESS: Not specifically.                      11   That's just a general thing I recall when you asked,
12         BY MR. LEASURE:                                     12   things to stay from. I recall that being one of those
13      Q The journal says Paul Vigna, V-i-g-n-a.              13   things.
14      A Yep.                                                 14      Q Got it. The second paragraph of this
15      Q Do you remember that person?                         15   article which reads, "In doing so, Kik, which has
16      A Yep.                                                 16   encountered growth issues, is trying to tap into the
17      Q Who's that?                                          17   surging interest in cryptocurrencies," there's a URL,
18      A He's a reporter, I believe, at the Wall              18   I'll own it, the quote continues, "and digital tokens
19   Street Journal.                                           19   associated with them. It also is experimenting with a
20      Q Did you either meet with him or talk with            20   potential way for its investors to essentially cash out
21   him about the Kin offering?                               21   of the company without actually selling their equity."
22      A I don't have a specific recollection, but I          22         Let me pause there. There's a couple of
23   know I've met with him over the years. And so from        23   assertions made there. Was it true that at the time,
24   this, it looks like I must have met with him about Kin    24   Kik was trying to tap into the surging interest in
25   at this time as well.                                     25   cryptocurrencies in digital tokens?


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1       Q And was that Rod and his group who was                1      A I would say no. I would say this was --
2    trying to arrange for meetings with the reporters at       2   Kik wasn't trying to tap into the surging interest.
3    this time?                                                 3   Kik was realizing -- I was realizing that my dream of
4       A Yep.                                                  4   having this fundamentally new business model was now,
5       Q Okay. And I take it this isn't the only               5   for the first time ever, not only just a good idea, but
6    one, that you might have met with other reporters?         6   also economically viable.
7       A Yeah.                                                 7      Q Did you correct this article?
8       Q Okay. All right. And did you get, like,               8      A I did not.
9    talking points or briefing books in advance of that?       9      Q Did anyone at Kik?
10         How did that process work for you?                  10      A No.
11      A Yeah. I would get briefing books, talking            11      Q Okay. The second piece of what I read,
12   points. But for the most part, I typically look at        12   that Kik -- that it is also experimenting with a
13   those, but I write my own talking points after.           13   potential way for its investors to essentially cash out
14      Q You throw what you were given behind your            14   of the company without actually selling their equity.
15   shoulder and handle it yourself?                          15        Was that true?
16      A It's helpful for me to formulate my own              16      A I think what the author is trying to do
17   thoughts, like, one point of view. Sometimes I include    17   here -- and I'm guessing.
18   some of it, sometimes I include all of it, sometimes I    18      Q Please.
19   include none of it.                                       19      A -- is trying to explain in their own words
20      Q Just curious. The points that people                 20   this new crypto business model. And I think they had a
21   wanted you to say or encouraged you to say, were there    21   very limited understanding of what this is, why it
22   things they didn't want you to talk about or they         22   would work, and why we would do it. And so, you know,
23   didn't want you to say?                                   23   when you asked me is this true in the last sentence
24      A Were there points that they didn't want me           24   there, like, what the business model is now for the
25   to talk about? I think we did want to stay away from      25   shareholders of Kik is not a way to cash out of the



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 1   company. It's a fundamentally new business model for      1    on this first page that begins, "The company said" --
 2   shareholders as well.                                     2       A Yeah.
 3          Before, your options are to sell the               3       Q -- do you see that? "The company said it
 4   company or go public. That's it. But now, there is a      4    hopes that the tokens will entice more developers to
 5   third option, which is to own a big piece of an asset,    5    build apps for the platform. If they receive the
 6   have that asset be very valuable, and dividend that       6    tokens as payment, and those coins then appreciate in
 7   asset out to shareholders.                                7    value, developers would gain even more from working on
 8       Q Let me ask about that. Has Kik distributed          8    Kik."
 9   this asset as a dividend to shareholders?                 9            First, was that a true statement of the
10       A We have not.                                        10   vision at the time?
11       Q Have you considered it?                             11      A I think this is the journalist trying to
12       A That's the whole model. We've absolutely            12   explain the vision in their own words. I would say
13   considered it, and I'm looking forward to the day when    13   this is not how I would explain it.
14   we can do that.                                           14      Q It begins with, "The company said." Are
15       Q When would that day -- like, what has to            15   you saying the company did not say that?
16   happen for that day to come?                              16      A I think what the company did say is that
17       A I think we have to -- maybe it's based on           17   the currency -- like, it's a fundamentally new business
18   advice from counsel.                                      18   model for Kik and every other developers. It's the
19       Q Okay. Don't give me that advice.                    19   currency that creates that business model, so it's the
20       A Yeah.                                               20   currency that is going to entice developers to build
21       Q Which lawyer?                                       21   apps that integrate Kin. I think everything after that
22       A Cooley's.                                           22   is their interpretation.
23       Q Okay. When?                                         23      Q About the coins appreciating in value?
24       A Ongoing. Like, this is the -- being able            24      A Yeah. For example, "would gain even more
25   to have this asset become more valuable and to then       25   from working on Kik," like, that sentence doesn't make


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 1   dividend -- to sell some of that asset to -- you know,     1   sense.
 2   as the revenue plan for the company, but also to be        2      Q Oh, that should say Kin?
 3   able to dividend some of that asset as the reward for      3      A And it shouldn't even say "working." It
 4   shareholders with investors in the team, that is the       4   should say "from integrating Kin into their apps."
 5   fundamental of what makes this a win for that group.       5      Q Fair enough. Okay.
 6      Q Got it. And I should have asked this more             6      A So that's why I said, like, we wouldn't say
 7   clearly. In terms of the envisioned dividend one           7   that because it's just factually incorrect.
 8   day --                                                     8      Q Understood.
 9      A Yeah.                                                 9      A Logically incorrect.
10      Q -- is it a dividend of Kin or is it cash             10      Q Let me point you to one other piece of this
11   obtained from selling Kin?                                11   article before we're done with it. It's on the second
12      A We don't know, for tax reasons mainly, but           12   page. Towards the middle, there's a paragraph
13   my preference would be a dividend of Kin.                 13   beginning, "By offering a token."
14      Q And then the investors of Kik Interactive            14            Do you see that?
15   could do what they want with the Kin?                     15      A Yep.
16      A Correct.                                             16      Q It reads, "By offering a token rather than
17      Q Okay. Other than advice of counsel, which            17   equity, the company hopes to raise funds without
18   I do not want to hear about, are there business reasons   18   diluting existing shareholders. But shareholders' path
19   why Kin -- excuse me -- why Kik has yet to act to         19   to monetizing their holdings in the company will now be
20   distribute Kin or cash obtained by selling Kin to         20   tied to the token. Mr. Livingston explained," quote,
21   investors?                                                21   "'it was a very hard sell,'" end quote, "to Kik's
22      A No. Only -- it would only based --                   22   investors. Mr. Livingston said of the plan," quote,
23      Q Advice of counsel?                                   23   "'there was a lot of disagreement,'" end quote.
24      A It would be advice of counsel.                       24      A Uh-huh.
25      Q I don't want to know. The last paragraph             25      Q Did you say that?



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                                                     Page 448                                                         Page 450
 1       A I did say it was a very hard sell. There              1      A No. Not to my knowledge.
 2   was a lot of disagreement, yes.                             2      Q Fair enough. The last line of this article
 3       Q And tell me about that hard sell in that              3   quotes you, and it reads, quote, "'It's a fundamentally
 4   disagreement.                                               4   new way to exit,'" end quote, "he said of the digital
 5       A You also shared the previous paragraph,               5   tokens." Did you say that?
 6   which provides context for this. So maybe I should          6      A I did.
 7   explain the previous paragraph first.                       7      Q And the exit you're describing is for
 8       Q That's great.                                         8   investors out of their Kik Interactive equities?
 9       A I think this is one of the biggest                    9      A No.
10   misconceptions in sort of, like, the general audience.     10      Q Who is exiting and what are they exiting?
11   For example, this journalist thinking about this is --     11      A Maybe "exit" is the wrong term. What I was
12   oh, it's a token instead of equity. The token and the      12   trying to get at is this is a fundamentally new way for
13   equity, actually, they're fundamentally different. But     13   investors to monetize their equity holdings. So
14   people don't understand crypto. They don't understand      14   before, the only ways you could exit were by selling to
15   what it is, where it's going, and so they're trying to     15   another company or by doing an IPO. That was the only
16   compare it to something they know.                         16   two options in history. The third option was to go
17          Like, for me, it wasn't that we were                17   bankrupt. Those are the only ways in history that you
18   offering a token instead of equity. It's that we were      18   could exit.
19   opting for a fundamentally new business model. We were     19          And likewise, that this was, you know, a
20   getting a new asset that would have guaranteed scarcity    20   brand new monetization model for developers, it was
21   that we would own, and therefore, our shareholders         21   also a brand new monetization model for investors and
22   would own pro rata that asset, whatever is left over at    22   their holdings. And so what I meant by this is, you
23   the end of the day.                                        23   know, a way to exit, a way to get paid, get a return
24          So when I read that, I'm like, no, that's           24   from their investment in the company.
25   fundamentally untrue, logically untrue for what is a       25          So, actually, logically, I don't think


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1    crypto business model. So that's why I'm saying when       1    there actually will be any exit at the end of the day.
2    I -- what was a hard sell? Not that above, because         2    There might just be a dividend, but that would be it.
3    what's above is logically untrue. What was a hard sell     3       Q Right. Have there -- has there been --
4    was convincing our investors that this could be a          4    since the -- since the sale of Kin tokens in September
5    fundamentally new business model. Let me play it back.     5    of 2017, have investors in Kik Interactive pushed for
6          What I was trying to convince the board and          6    there to be a dividend?
7    the investors in a very tough time was that I was the      7       A I think there was a time when it was
8    first in the world to discover the third monetization      8    raised. Like, wow, if this is a great new business,
9    model in the history of the internet and that it would     9    like, why don't we try it out a little bit and get a
10   work for us. There was obviously a lot of skepticism       10   bit of a dividend. I can't recall exactly. But
11   that I would be the first in the world to discover the     11   ultimately, we decided not to do that.
12   third monetization model in the history of the             12         So I think that idea might have been
13   internet. And so that made it a very hard sell.            13   floated at some point, but we never did that.
14         And there was a lot of disagreement about            14      Q I think we talked about this earlier. The
15   that because it's a very -- it was a crazy idea and it     15   decision not to do that or when to do that isn't driven
16   was a very tough time in the company.                      16   by business considerations other than advice of counsel
17      Q So we talked about yesterday, I think it's            17   discussions; am I right?
18   fair to characterize, you perceived a challenge in         18      A There were business considerations, but I
19   raising this idea inside the company and then talking      19   would say those would directly factor into the advice
20   about it and persuading people inside the company about    20   from counsel. I couldn't pull them apart for you.
21   the Kin project, right?                                    21      Q Fair enough. I don't want to push.
22      A Correct.                                              22         Rounding out marketing or awareness raising
23      Q Is that what you're referring to there?               23   efforts for the Kin sale, did you go on podcasts?
24      A Yes.                                                  24      A Yes. I believe I did. I don't remember
25      Q Anything else?                                        25   any specifically, but I would assume so.



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                                                      Page 452                                                       Page 454
 1      Q Just to ring a bell, did you appear on a                1   stickers was the minimum viable product, right?
 2   Finance Magnates podcast as part of the promotion            2      A Uh-huh.
 3   efforts?                                                     3      Q    Those stickers and the ability to unlock
 4      A Rings a bell, but I can't remember                      4   that, how was -- how was that marketed or communicated
 5   specifically.                                                5   in advance of the public sale?
 6      Q Okay. Any others ring a bell?                           6      A I don't recall.
 7      A I can't remember any specifically.                      7      Q    Did you tell anyone about it?
 8      Q We're going to talk more this afternoon                 8      A We had certainly lots of discussions about
 9   about a term "minimum viable product" prepared for the       9   it internally. Do you mean externally?
10   public sale. Do you know that term?                         10      Q    I do. And I apologize, yes.
11      A I do.                                                  11      A I'm not sure. Like, I believe it was in
12      Q And what was the minimum viable product for            12   the SAFT document, but I'm not sure. Some people would
13   the public sale -- in connection with the public sale?      13   have seen that if it was in there. I believe it was on
14      A What is a minimum viable product or what               14   the website. I believe it was part of the token sale
15   was our minimum viable product?                             15   materials. But I can't recall any of those things
16      Q Let's take it one by one.                              16   specifically.
17         What is a minimum viable product?                     17      Q    You think on the website.
18      A A minimum viable product is an industry                18          What do you remember?
19   term to help people think about what is the minimum set     19      A I don't recall what was on the website
20   of sort of functionality that can be built and              20   beyond the white paper.
21   incorporated in a launch that satisfies everything that     21      Q    So do you know if -- were the stickers
22   needs to be satisfied for this to -- for this launch to     22   themselves shown on the website?
23   achieve what it's trying to achieve.                        23      A I don't recall, but I don't think so.
24      Q And what was the minimum viable product                24      Q    Okay.
25   developed in connection with the Kin sale?                  25      A But I don't recall.


                                                      Page 453                                                       Page 455
 1     A So when it came to launching Kin inside of               1       Q Was there a description that they would be
 2   Kik, like, obviously, we had to create Kin, but we also      2   available on the website?
 3   wanted there to be ways to use Kin on day one. And           3       A I don't recall.
 4   then there would be many, many more ways to use Kin,         4       Q Don't recall either way?
 5   obviously, over time. And so when it came to, okay,          5       A Don't recall.
 6   well, what's that -- you know, there's lots of things        6       Q Okay. So you went on -- you went on a road
 7   that are happening, but one of the things that's             7   show. You went to conferences. You met with
 8   happening is Kin is getting integrated into Kik.             8   journalists. You went on at least one podcast,
 9          So the question is, okay, well, what does             9   correct?
10   that thing need to solve for? Like, if we did any           10      A Uh-huh.
11   less, it would not be viable. So from there, there          11       Q Did you tell anyone about the availability
12   were technology considerations. There were user             12   of sticker packs?
13   experience considerations. There were strategic             13       A I don't recall. I, you know, do recall
14   considerations. And then there were also compliance         14   talking about Kik Points. Kik Points -- using Kik
15   considerations.                                             15   Points to buy stickers was a -- you know, a widely used
16         And so when we look at all of those                   16   thing, so probably would talk about that. But in terms
17   considerations and all the different options, what we       17   of what we would do with stickers for Kin and at the
18   ended up launching, what we called the minimum viable       18   time of the token sale, I don't specifically recall.
19   product of Kin inside Kik, was the ability to unlock        19       Q Is it fair to say that the availability
20   different levels of stickers based on your Kin balance      20   of -- the ability to unlock levels of sticker packs,
21   to be able to verify your status to other people in         21   that wasn't a primary part of your pitch about the Kin
22   Kik, the chat community.                                    22   project?
23      Q Got it. And we'll talk more about how that             23       A I think the primary part of the Kin project
24   idea evolved or was developed.                              24   was the vision for sure and what we would do. I think
25           The ability to unlock various levels of             25   part of the explanation was our history with Kik



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1    Points, which stickers were the first thing we did with      1      A There was the use case of unlocking
2    Kik Points, so I'm sure that was part of it.                 2   stickers inside Kik.
3              In terms of what the exact functionality           3      Q And other than that, were there any others
4    would be on the day of the token sale, I can't recall        4   that you know of?
5    what exactly I said or didn't say.                           5      A I don't believe. Not to my knowledge. I
6       Q You don't recall ever saying there will be              6   don't think there were others.
7    sticker packs available?                                     7      Q So to the extent there weren't use cases
8       A I don't recall not saying it. I don't                   8   other than unlocking stickers, why did people buy Kin
9    recall.                                                      9   then in September of 2017?
10      Q You don't know either way?                             10      A A lot of people ended up buying Kin.
11      A I don't know either way.                               11      Q Yeah.
12      Q Okay. Did Kik purchase online                          12      A So I can't speculate or have any way of
13   advertisements in advance of the public sale?               13   knowing why all of them bought Kin. But, you know,
14      A I believe we did, yes.                                 14   whenever I would speak at events, people would --
15      Q From whom?                                             15   whenever they would come up to me after, they would say
16      A I can't recall exactly. But I think                    16   to me, "This is what the world has been waiting for.
17   Facebook and Google, if I had to guess.                     17   The world needs this. And I want to be part of this."
18      Q Did -- as part of that, did Kik target                 18      Q Let me just -- let me just push on that and
19   certain types of users or demographics for Facebook or      19   get your impression.
20   Google ads?                                                 20      A Sure.
21      A I can't recall. Like, I don't know. I                  21      Q If someone wanted to be part of the
22   don't recall. And I don't think I knew at the time,         22   ecosystem in the future where there were use cases?
23   actually.                                                   23   Like, let's say you could, you know, buy certain
24      Q Who would have led that effort?                        24   content with Kin or a developer could integrate it into
25      A Probably somebody in marketing, but I'm not            25   his or her app, right?


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 1    sure who.                                                   1      A Uh-huh.
 2           MR. MITCHELL: Someone -- excuse me.                  2      Q Let's say they were even enthusiastic about
 3           Someone who worked for Erin Clift?                   3   doing so. Why would they buy in September of 2017?
 4           THE WITNESS: Yes, that would be my guess.            4         In other words, why wouldn't they wait for
 5           BY MR. LEASURE:                                      5   use cases to be realized and then buy?
 6        Q Fair enough. We saw some potential use                6      A I think there is many different ways that
 7    cases --                                                    7   people could contribute to the success of a
 8        A It might not have been, though. It might              8   cryptocurrency. I think that's the transformative
 9    have been somebody in Israel. I'm not sure. Now that        9   feature of a cryptocurrency is everybody has stake,
10    I say that, I'm not sure.                                  10   everybody becomes evangelists. And so everybody
11        Q I apologize for interrupting.                        11   operates in their own self-interest to create more
12        A Sorry. I apologize for interrupting you.             12   demand, and therefore, make their own Kin more
13        Q We talked -- we saw some potential use               13   valuable, they'll be making everybody else's Kin more
14    cases in the white paper. Do you remember that?            14   valuable as well.
15        A Yep.                                                 15         Some of those could be consumers using it
16        Q As part of talking about or promoting the            16   in an app. Some of those could be developers. Those
17    upcoming Kin sale, were other specific use cases           17   could be brands. Those could be just people who want
18    discussed?                                                 18   to evangelize it to their friends and family.
19        A I can't -- I'm sure we talked about it,              19      Q But other than just the desire to
20    like a digital economy, what are all the ways that         20   evangelize future use cases, why would you buy --
21    people can exchange -- create and exchange value           21   again, I'm struck on: Why wouldn't you just wait for
22    through their phones. So I'm sure we did talk about        22   the ecosystem to have a use case --
23    other ways, but nothing specifically comes to mind.        23         MR. GIBBS: Objection to form. It's
24        Q Were there use cases in place at the time            24   argumentative.
25    of the public sale in September of 2017?                   25         BY MR. LEASURE:



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 1      Q You can answer.                                          1   didn't -- couldn't know which ones were and which ones
 2      A What does that mean? I don't know what                   2   were not.
 3   that means, what my lawyer just said.                         3         MR. MITCHELL: What ones do you know?
 4          MR. MURTHA: It's an irrelevant objection.              4         THE WITNESS: I don't have specific
 5   You can answer the question.                                  5   recollection. I remember -- I seem to recall some of
 6          MR. GIBBS: It means I think he's just                  6   our previous platform partners at the time buying some
 7   arguing with you instead of asking a question to seek         7   Kin. I seem to recall maybe Betaworks was on those. I
 8   information. That's what it means.                            8   could be wrong on that. So I don't have any specific
 9          THE WITNESS: Okay. So then I --                        9   recollection.
10          MR. GIBBS: You can answer if you have an              10          MR. MITCHELL: And anyone other than
11   answer.                                                      11   Betaworks?
12          THE WITNESS: Okay. Can you repeat the                 12        THE WITNESS: I can't recall.
13   question?                                                    13        MR. MITCHELL: And you think Betaworks
14          BY MR. LEASURE:                                       14   bought in the public sale?
15      Q Sure. Again, if no use cases were in                    15        THE WITNESS: I can't recall when they
16   place, why buy in September of 2017, as opposed to when      16   bought. I can't even recall if they did buy. I
17   the ecosystem is further developed?                          17   remember that was -- that's a name that jumps to my
18      A I think the biggest reason is, like, Kik                18   memory.
19   wasn't the only one struggling to compete in this            19          MR. MITCHELL: Okay. So then sitting here
20   monopoly-controlled world. Many developers were. And         20   right now, do you know any developers who bought Kin
21   so to hear a billion dollar -- CEO of a billion dollar       21   tokens in the sale to the public?
22   company say, "Hey, I'm struggling like you, and I think      22         THE WITNESS: I don't think there would be
23   this is a solution for us," a lot of people are saying,      23   a way for me to know because it's not a question we
24   "I think this could be a solution for us, too."              24   asked. I can only speculate.
25          And so to be part of that on day one -- to            25         MR. MITCHELL: In the last 14 months or


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 1   be part of that movement on day one and say, "Hey,            1   13 months, have you been working with developers who
 2   you're going to go do what you're going to do in Kik,         2   are interested in the Kin token idea?
 3   and I'm going to do what I'm going to do in my app, and       3         THE WITNESS: Actually, yeah. There are
 4   we're going to all do this together," was a very              4   developers at a minimum on Reddit who are building
 5   powerful proposition.                                         5   applications for Kin, who do claim to have bought Kin
 6         Q Do you know what percentage of purchasers             6   in the token sale.
 7   were -- in the public sale were developers versus other       7         MR. MITCHELL: Who?
 8   types of people?                                              8         THE WITNESS: For example, Kinny the Tip
 9      A I can't say for sure. But I would say at                 9   Bot was built by people in the Reddit community -- in
10   the time, even back then, most people who had gotten         10   the Reddit community. That app is alive on Android
11   into cryptocurrencies, were excited about Bitcoin, were      11   Google Playstore today.
12   excited about the blockchain, were developers.               12        MR. MITCHELL: So the Kinnit bot?
13         Q But you don't know?                                  13         THE WITNESS: Sorry? Kinny the Tip Bot.
14         A But I don't know.                                    14         MR. MITCHELL: Kinny the Tip Bot.
15         Q And did Kik ever gather data about that?             15         THE WITNESS: Correct. So those are
16         A Not to my knowledge. Nothing I can think             16   developers who came together, met through the
17   of.                                                          17   community, and decided to launch this application
18           MR. LEASURE: Okay. Let's go off the                  18   together.
19   record.                                                      19         MR. MITCHELL: Okay. Anybody else?
20           MR. MITCHELL: Can I follow up on that real           20         THE WITNESS: There's quite a few examples
21   quick? What developers bought Kin tokens in the sale         21   like that in the community today. That's the biggest
22   to the public?                                               22   one that comes to mind. But I'm quite sure -- I'm
23           THE WITNESS: I know some developers that             23   pretty sure there are others, but you could find out if
24   we know did specifically buy it. But I am sure that          24   you go on Reddit and find it.
25   many people who bought it were developers. But we            25         MR. MITCHELL: Sure. How big is it?



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 1           How big is the tip bot?                            1   blockchain?
 2           THE WITNESS: What?                                 2      A Correct.
 3           MR. MITCHELL: You said it's the biggest --         3      Q And so I could -- just like with any
 4           THE WITNESS: No. I said it's the name              4   crypto, I could use -- I could trade it to other people
 5   that comes to mind. It's the most obvious example.         5   for anything, right?
 6   They built a great app. So I personally like it, so        6      A Right.
 7   that's why it comes to mind. But there are others.         7      Q I could give it away. I could trade it for
 8           MR. MITCHELL: Are there any other                  8   a service. I could trade it for money. I could do
 9   developers that you've worked with since the sale --       9   anything I wanted with it?
10           THE WITNESS: Why don't you -- like, I             10     A Correct.
11   didn't work with those developers. They did work as       11      Q Okay. And did Kik -- apologies if I've
12   part of the developer program. But I'm pretty sure --     12   asked this before. Did Kik track that in the, let's
13   I'm not sure. I think my best guess would be that I       13   say, weeks after the September 2017 sale, what was
14   recall them saying they bought Kin in the original        14   happening on Ether?
15   token sale.                                               15     A Not to my knowledge.
16           MR. MITCHELL: On Reddit, they said that?          16      Q Okay.
17           THE WITNESS: Correct.                             17      A Not that I recall.
18           MR. MITCHELL: They didn't say it you              18      Q And did Kik have any way of knowing what
19   personally?                                               19   people were doing with their Kin on the Ethereum
20           THE WITNESS: No. I haven't talked to              20   blockchain?
21   token sale purchasers personally. I probably have and     21      A Not that I can think of.
22   didn't know, but it's not something I do -- I do on       22      Q And if you --
23   Reddit.                                                   23      A I'm not sure.
24           MR. LEASURE: Off the record.                      24      Q Let me ask that in a better way. Whether
25           THE VIDEOGRAPHER: This concludes Disc             25   they were using it to buy goods and services, whether


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 1   Number 2. Going off the record.                            1   they were using it, you know, to trade it for other
 2         The time is 12:46 p.m.                               2   currencies, is there a way that Kik had to tell what
 3         (Recess.)                                            3   people were doing with it?
 4         THE VIDEOGRAPHER: This begins Disc                   4      A No.
 5   Number 3. We are back on the record.                       5      Q Okay.
 6         The time on the video monitor is 2:04 p.m.           6      A I don't think so.
 7         BY MR. LEASURE:                                      7     Q Inside the Kik messaging app, I could use
 8      Q Back on the record after a lunch break                8   Kin to unlock sticker packs -- sticker packs for
 9   during which, Mr. Livingston, did you have any             9   status, correct?
10   substantive conversations about this investigation with   10      A Correct.
11   SEC staff?                                                11      Q And by "unlock," that means I didn't have
12     A I did not.                                            12   to pay for those stickers. I would just show that I
13      Q So let's say I'm someone who bought Kin in           13   had a certain amount of Kin and get access to sticker
14   the September 2017 token sale.                            14   packs?
15      A Okay.                                                15      A Yeah. You would verify that you owned a
16      Q What could I do with my Kin?                         16   certain amount of Kin. And based on that verification,
17      A You could use it inside Kik to unlock                17   it would unlock certain sticker packs.
18   different levels of status represented by different       18      Q And that, not to restate what you said, it
19   levels of stickers, send those to anybody inside the      19   was the minimum viable product?
20   Kik community. You could trade it back and forth.         20     A That was the product experience we launched
21         Just like any cryptocurrency, we can't              21   with on day one inside Kik.
22   control what you can do with it. You could integrate      22      Q And just to be clear, I see references in
23   it into an app if you wanted to do that as well.          23   the documents to MVP, or minimum viable product.
24      Q Okay. Let's start with the trading. I                24      A Yeah. I think that's the MVP inside of
25   take it at that point, Kin was on the Ethereum            25   Kik. Like, the reason I am hesitating is --



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                                                   Page 468                                                       Page 470
 1      Q Yeah.                                                 1   cetera.
 2      A -- you know, there's also, like, the MVP              2      Q Could -- again, I bought Kik -- let's say I
 3   for creating the token and, like, creating the smart       3   bought Kin on day one of the public sale.
 4   contract to do the token sale. Like, there's -- that       4           Could I engage in peer-to-peer transactions
 5   wasn't the only thing. That was the MVP inside of Kik.     5   inside the Kik messaging app with my Kin?
 6      Q Got it. Okay. And other than -- on top --             6      A You could not. Not to my knowledge.
 7   other than unlocking sticker packs within the Kik          7      Q Why not?
 8   messaging app, what else, if anything, could I in          8      A Why not? The reason for that was the
 9   September 2017 do with the Kin that I bought?              9   blockchain technology was very new and immature. And
10     A I believe that was the only thing you could           10   so I think our concern was with the current state of
11   do inside of Kik.                                         11   blockchain technology, if we enabled that, there's a
12      Q Okay.                                                12   potential that we could crash the Ethereum network,
13      A There might have been other things with              13   which would not just hurt all Kin users inside of Kik,
14   earning, but I can't recall specifically.                 14   obviously, but would hurt all users of Ethereum
15      Q Did Kik, or anyone set up at that time               15   broadly. And we didn't want to do that.
16   inside the Kik messenger app, a wallet for me to hold     16      Q At some point, and I apologize, I can't
17   my Kin inside Kik?                                        17   remember where, I think I may have seen or heard a
18     A I believe some users were giving Kik,                 18   reference to concerns about safety as well. That if
19   depending on sort of their status within the community.   19   people on day one could buy or could transfer Kik --
20   And so they would have a wallet with Kin in it for        20   Kin to each other inside the Kik messaging app, there
21   people to purchased Kin in the token sale. I think we     21   might be safety concerns.
22   would -- they would access their preexisting wallet.      22           Does any of that ring a bell or is that not
23          So I don't think a new wallet was created          23   consistent with your memory?
24   for them, but I'm not 100 percent sure.                   24      A I think safety has always been a concern
25      Q Preexisting wallet inside of the Kik                 25   for us, so it doesn't surprise me that we would be


                                                   Page 469                                                       Page 471
 1   messaging app or outside of it?                           1    thinking about safety in peer-to-peer transfers as
 2     A So any wallet is a public thing on the                2    well.
 3   blockchain. So it's not like -- you know, there's no      3       Q But do you remember thinking -- do you
 4   inside or outside. It's just a different way to view      4    remember specifically thinking about that in connection
 5   what's happening on the blockchain.                       5    with peer-to-peer transfers for Kin?
 6      Q And were you describing what I've seen               6       A Yeah, I think -- I do remember thinking
 7   referred to as an airdrop to certain Kik messenger app    7    about safety broadly when it comes to cryptocurrencies,
 8   users?                                                    8    and specifically when it comes to cryptocurrencies
 9      A That was part of it, yes. So certain Kik             9    inside Kik.
10   users got Kin given to them for free based on their       10      Q Okay. And, again, we're on day one. I
11   historical participation in the community. Getting        11   bought -- say I bought in the Kin sale in
12   those first users using it, they could unlock stickers.   12   September 2017. Could I, at that time, earn Kin via
13   And then also, anybody who purchased it in the token      13   the Kin Rewards Engine?
14   sale could also unlock stickers.                          14      A As a developer?
15      Q Okay.                                                15      Q As anyone?
16       MR. MITCHELL: The people who Kik gave Kin             16      A So the Reward Engine is for developers.
17   to outside the sale, did that happen at that same time    17      Q Okay.
18   that the sale happened?                                   18      A The Reward Engine was not running then and
19         THE WITNESS: I can't recall the exact               19   is not running today.
20   timing.                                                   20      Q That's what I was going to ask you.
21         BY MR. LEASURE:                                     21           It's not running today?
22      Q And why did Kik give them Kin?                       22      A Correct.
23      A I think it was just another -- I can't               23      Q In terms of today -- so we've walked
24   recall. My guess would be that it's just another way      24   through what could or couldn't be done with Kin as of
25   to test this out, this new technology, new product, et    25   September 2017.



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                                                   Page 472                                                        Page 474
 1       A Uh-huh.                                              1   application they're inside of.
 2       Q It's now November of 2018.                           2           MR. SCHLEGELMILCH: Okay.
 3          What has changed?                                   3           THE WITNESS: But not what the exact
 4       A Many things have changed. Where do you               4   transaction was inside that app.
 5   want me to start?                                          5           MR. SCHLEGELMILCH: Okay. And when you say
 6       Q Okay. Can I do -- is there a wallet inside           6   what application they're inside of, what does that
 7   of Kik?                                                    7   mean?
 8       A There is a wallet inside of Kik.                     8           THE WITNESS: So today, I think we have
 9       Q So I can show my balance -- that wallet              9   roughly ten apps live in the Apple app store or the
10   shows my balance inside the Kik messaging app?            10   Google Playstore that have integrated Kin, places
11       A So there is a wallet in Kik today. It's on          11   consumers around the world can go to earn and spend and
12   the new fork of Stellar blockchain. There's also the      12   use Kin.
13   old wallet for the Ethereum blockchain, the new wallet    13           MR. SCHLEGELMILCH: Okay.
14   for the Stellar -- fork of Stellar blockchain, if we      14           THE WITNESS: So you can tell by the
15   just call it the Kin blockchain.                          15   blockchain which applications those transactions are
16          Today, you can use it to earn in the               16   being generated by.
17   marketplace by doing things like filling out surveys.     17           MR. SCHLEGELMILCH: Okay. Are there
18   And you can spend it on things like chat themes. You      18   transactions that are not being generated by those
19   can spend it on chat themes. That's today the extent      19   apps?
20   of the functionality in Kik.                              20           THE WITNESS: On the -- on the fork of
21       Q Inside the Kik messaging app?                       21   Stellar, not to my knowledge. Just by those apps.
22       A Correct.                                            22           MR. SCHLEGELMILCH: Okay. Okay.
23          MR. MITCHELL: And the tokens that are              23           MR. MITCHELL: Can people exchange Kin
24   being transacted there, are those tokens on the new --    24   tokens that are on the Stellar -- fork of Stellar
25   on the Kin blockchain or on the Ethereum blockchain?      25   blockchain for other currencies?


                                                   Page 473                                                        Page 475
 1         THE WITNESS: It's technically both. Like,            1           THE WITNESS: Not yet.
 2   so if you -- you can earn and spend on stickers on the     2           BY MR. LEASURE:
 3   Ethereum blockchain, and then you can earn and spend on    3      Q So currently, there are developers and apps
 4   chat themes on the new Kin blockchain.                     4   that will accept Kin in exchange for goods or services?
 5         MR. MITCHELL: So if someone earns tokens,            5      A Yes.
 6   there's actually a transaction on the Ethereum             6      Q Okay. Rolling back the clock. It's
 7   blockchain that adds -- gives them Kin tokens?             7   September of 2017.
 8         THE WITNESS: I believe so, yes. There are            8           Which developers or apps accepted Kin?
 9   ways to earn Kin that exist on the Ethereum blockchain.    9      A Just Kik.
10         MR. MITCHELL: From inside the Kik app?              10      Q That's it? You were unaware of any others?
11         THE WITNESS: Correct. That's my                     11      A Correct.
12   understanding.                                            12      Q Okay.
13         MR. SCHLEGELMILCH: I think you said in              13           MR. MITCHELL: What did Kik accept them
14   response to an earlier question that Kik did have not     14   for?
15   the ability to -- Kik had the ability to see how many     15           THE WITNESS: Kik allowed you to unlock
16   transactions there were, but with the ERC-20              16   stickers based on your balance.
17   blockchain, it couldn't tell what those transactions      17           MR. MITCHELL: So did Kik -- did Kik
18   were, whether it was -- whether it was through an         18   provide any goods and services to people in return for
19   exchange or whatever sort of the tenor of the             19   Kin tokens?
20   transaction.                                              20           THE WITNESS: If you're saying in terms of
21         Is that also true with respect to the               21   actually spending them where Kik would take your tokens
22   Stellar fork blockchain, you can tell sort of the         22   in return for something, no.
23   quantity of them but not their character, like, what      23           MR. MITCHELL: And what about the opposite?
24   they're for?                                              24   Did Kik provide goods and services -- I'm sorry.
25         THE WITNESS: I think you can tell what              25           The opposite would be: Did Kik pay people



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 1   Kin -- at the time of September of 2017, did Kik have     1   all the options, it was the best option on all of those
 2   any systems where it was paying people Kin tokens for     2   criteria, yes.
 3   them to do goods and services for Kik?                    3      Q What were the other options being
 4         THE WITNESS: So the airdrops were given to          4   considered?
 5   Kik users based on how much of a power user they were     5      A I don't remember any specific options being
 6   inside the Kik ecosystem. So in a way, they were          6   considered. I think what I do remember is, you know,
 7   getting paid for being good users. I'm not sure. I        7   some of those different pieces. So from a technology
 8   know either then or shortly after, we rolled out the      8   point of view, Ethereum could handle almost no
 9   ability to earn, I believe, from doing surveys. But I     9   transactions per second. So if we did lots of earning
10   can't remember the exact sequencing of that in timing.   10   and spending, like we had with Kik Points, millions of
11         MR. MITCHELL: Was that -- were there               11   people earning and spending, if we just put that on the
12   surveys at the time that people got their -- made the    12   blockchain, the whole thing would grind to a halt.
13   decision to buy Kin tokens?                              13          In fact, I do remember doing a calculation
14         THE WITNESS: I can't recall.                       14   that if we simply wanted to give 10 Kin to all of your
15         MR. MITCHELL: Okay.                                15   users just to get them started, just one time 10 Kin,
16         BY MR. LEASURE:                                    16   even if they never used it from there, they never
17      Q So we see in documents, starting around May         17   earned more or spent any of it, that operation alone
18   of 2017, some discussion about should there be an MVP,   18   would bring the Ethereum network to a halt for
19   what should the MVP be for the upcoming token sale.      19   something like 30 days.
20      A Uh-huh.                                             20     Q Just the distribution of 10 to Kik users?
21      Q Does that ring a bell with you, that there          21     A Correct. So there's a technology piece.
22   were discussions about that?                             22   The punch line there is the technology was very young.
23      A It does.                                            23   There was a product piece. There was word outside Kik
24      Q Okay. At a high level -- I'm going to walk          24   is a chat community. You're interacting with new
25   you through some documents to see if it refreshes your   25   people. When you interact with new people, signals of


                                                   Page 477                                                     Page 479
 1   recollection. What do you remember about those            1   status are important.
 2   discussions as they evolved over time?                    2         And so it felt like there would be a good
 3      A About what the MVP was?                              3   utility there for our user base to be able to do that
 4      Q Yeah.                                                4   with Kin. And then there was also strategic. We had
 5      A So I think when you're launching any new             5   outlined our entire vision for the world to publicly
 6   product, you're trying to figure out what is the          6   see and copy in May. We were very concerned that once
 7   minimum viable version of that product. What defines      7   again, we would get copied and crushed, and our very
 8   viable is depending on what the product is you're         8   concern that once again we will get copied and crushed.
 9   launching. In the case of Kin, I think the pieces that    9   And so we wanted to move quickly.
10   would contribute to viability would be it has to work    10         MR. MITCHELL: What user base were you just
11   from a user point of view, you know.                     11   mentioning that would like the stickers or...
12         It has to work well for the users that are         12         THE WITNESS: I don't understand the
13   exposed to it. It has to work from a technology point    13   question.
14   of view. The technology needs to be able to support      14         MR. MITCHELL: Am I right you just said
15   it. It has to work from a compliance point of view and   15   that you -- that you considered that the stickers --
16   all applicable laws. And it has to work from a           16   that this was a chat app and that showing status was --
17   strategic and timing point of view.                      17   had value --
18          So I think those would be the four things         18         THE WITNESS: Uh-huh.
19   that would contribute to what we decided would be our    19         MR. MITCHELL: -- to the user base.
20   minimum viable product, that first product we would      20         THE WITNESS: Correct.
21   launch with Kin.                                         21         MR. MITCHELL: Is that right?
22       Q And this -- the access to sticker packs as         22         THE WITNESS: Correct.
23   an MVP, it complied -- it met those criterion you just   23         MR. MITCHELL: What user base?
24   described?                                               24         THE WITNESS: The user base of Kik.
25      A I think it was the -- it was the best -- of         25         MR. MITCHELL: The messaging app?



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 1         THE WITNESS: Correct.                               1    ensuring that this met the legal definition of a
 2         BY MR. LEASURE:                                     2    currency, which is how we viewed it.
 3      Q I think you mentioned one of the criteria            3          MR. MITCHELL: Again, we're just staying on
 4   or things being looked at was compliance; is that         4    this subject. The "this" you're talking about is that
 5   right?                                                    5    the Kin token met the definition of the currency?
 6      A Yep.                                                 6          THE WITNESS: Correct.
 7      Q Did Kik attempt to develop sticker packs as          7          BY MR. LEASURE:
 8   an MVP in part of concerns for compliance with            8       Q I'm going to show you a document that's
 9   securities laws?                                          9    previously been marked as Exhibit 179. Take a look and
10      A We considered all applicable laws when               10   let me know when you're ready. I'll identify it for
11   we -- you know, money transmission is another area I      11   the record. It's a one-page printout of an e-mail
12   would put into compliance. And it was also technology.    12   chain ending June 10th, 2017, with the subject "Crypto
13      Q Okay. But, again, was it in part of -- out           13   MVP/Alpha," A-l-p-h-a.
14   of concern for complying with the securities laws?        14      A Uh-huh.
15      A I'm trying to think. I don't want to do              15      Q And has the Bates stamp KIK 103267.
16   the privileged thing. We were getting advice at the       16         Mr. Livingston, what is this document?
17   time on this initial product. Some of that advice --      17      A This appears to be an e-mail -- e-mail
18   again, I'm just trying to --                              18   thread.
19         MR. GIBBS: Let me see if I can help.                19      Q Okay. From Eran Ben-Ari?
20         THE WITNESS: Okay.                                  20      A Yep.
21         MR. GIBBS: It's okay in answering his               21      Q Okay. And do you -- do you remember this
22   question to identify the subject matter of the advice.    22   e-mail discussion?
23         THE WITNESS: So yes.                                23      A I do.
24         BY MR. LEASURE:                                     24      Q Okay. Backing up for a minute. We've been
25      Q So you discussed with Kik's counsel what             25   a talking about the MVP. Can you -- can you place this


                                                 Page 481                                                           Page 483
 1   MVP should accompany the public sale?                     1    in the context of discussions about what an MVP should
 2    A Yes.                                                   2    be?
 3      Q That was Cooley?                                     3       A An MVP should be a minimum viable product
 4      A Yes, to the best of my knowledge.                    4    that satisfies all pieces of what you're trying to
 5       Q No one else -- no other counsel you                 5    launch and test out.
 6   remember?                                                 6       Q And this is people discussing the sticker
 7       A I know we had a bunch of different counsels         7    packs as a potential MVP. Do I have that right?
 8   in the company at the time. I can't remember which law    8       A That's what it looks like.
 9   firms were working on what.                               9       Q Okay. Eran's e-mail on June 5th that
10      Q Fair enough. Okay. Let me show you a                 10   begins the chain, do you see this?
11   document.                                                 11      A Yep.
12        MR. MITCHELL: Earlier, you talked about              12      Q He writes, "Hi, all. Below is a link to
13   compliance in terms of not wanting to violate -- having   13   the spec I wrote a few weeks ago. This was approved by
14   product violate the law. Did I understand that right?     14   Nancy and later used as the basis for what Jairaj,"
15       THE WITNESS: I think we -- I don't know.              15   J-a-i-r-a-j, "implemented within Kik."
16   We wanted to make sure that anything we did, whether a    16         Do you recall the specs that Eran is
17   token sale or anything we've done ever in the history     17   referring to here?
18   of the company, would comply with all known laws.         18      A I don't recall the specific spec, but I
19         MR. MITCHELL: So I guess I'm trying to              19   have a recollection of generally being similar to what
20   understand. Was your concern that somehow -- that         20   we launched, is my guess.
21   giving people access to the stickers might violate some   21      Q Specs for the sticker packs?
22   law?                                                      22      A Right. And the functionality of unlocking
23          THE WITNESS: I think we -- I don't think           23   stickers based on your balance.
24   it was about the stickers violating a law. I think it     24      Q Got it. And just from this e-mail, is it
25   was about the broader idea of, you know, making --        25   right that around this time, the actual stickers



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 1   themselves are being developed by people at Kik?            1   entire product bottom up, and the MVP will not be used
 2      A It looks like that, yes.                               2   in any way." Let me pause there because he says "we
 3       Q Do you remember that process, how they went           3   discussed."
 4   about doing that?                                           4         Do you recall discussions along the lines
 5     A I don't recall specifically. But from                   5   that this e-mail is referring to?
 6   this, it looks like they worked with Phil and Ilan to       6      A I do not, but I'm sure they happened.
 7   get these stickers.                                         7      Q Okay. Was there -- again, leaving aside a
 8       Q Okay. The next sentence says, "This                   8   discussion, did you have in mind that once Kin was
 9   definition was written with one purpose only," in all       9   integrated into Kik, that the entire product, sticker
10   caps, "COMPLIANCE."                                        10   packs, would be rebuilt from the bottom up?
11      A Uh-huh:                                               11      A I think maybe what's the context here of,
12       Q "This is not an MVP for product purposes             12   like, what would be rebuilt is important.
13   nor to satisfy any good user experience with crypto        13      Q Please.
14   participants."                                             14      A I think to understand this, you have to
15          Do you -- do you -- did you agree with Eran         15   understand where Kin came from, which is -- the
16   that the definition was written with one purpose only,     16   original idea was let's take Kik Points and put it on a
17   compliance?                                                17   blockchain. Like, if Kik Points alone was a
18     A I think this is a bit of a complicated                 18   cryptocurrency, it would be the most used
19   question, I think. You know, as I said, we were --         19   cryptocurrency in the world.
20   when we lunched this thing about this minimum viable       20         And so to have that product, with all the
21   product, we were thinking about it from a bunch of         21   different ways to earn and spend it, and then to try to
22   points of view; the technology point of view, the          22   put it on the blockchain meant that, like I said, even
23   product point of view, the compliance point of view,       23   just giving 10 Kin to our millions of users was not a
24   and the strategic point of view.                           24   viable option with the current state of the technology.
25          So I think what Eran is saying here is this         25         And so what we had to do is we had to take


                                                     Page 485                                                      Page 487
 1   spec from -- this spec is saying it's looking at what      1    all the things we had done and wanted to do with Kik
 2   are all the options, and it's -- this one is               2    Points and narrow it down to what the blockchain
 3   primarily -- it's looking at it from a compliance first    3    technology could support today. I think for Eran,
 4   point of view.                                             4    myself, and a lot of people, you know, that was a hard
 5      Q Okay. But the overall sticker packs and               5    thing to do, you know, sort of a frustration with a
 6   their development --                                       6    technology.
 7      A Uh-huh.                                               7          But at the same time, when you launch
 8      Q -- it's your view that that was not merely            8    something, you get in the game, people get excited, it
 9   developed for compliance purposes?                         9    accelerates the rate with which we could build out Kin
10      A I think it was the intersection of what the           10   from there. So when -- like, rebuild, you know, there
11   technology could allow, what would be -- meet all          11   was no earning and spending here. So I don't know if
12   applicable laws from a compliance point of view, what      12   rebuild, it's -- we would have to expand the product.
13   users would find valuable, and what we could launch and    13      Q Okay. So you don't -- you don't recall --
14   get in market with, knowing that we had shared the         14   it sounds like you don't recall the discussion that
15   whole vision with the entire world, so that we could do    15   Eran is referring to here?
16   now today. It was the intersection of all of those         16      A I don't recall. I do not recall this
17   four. And I think -- yeah, it was the intersection of      17   specific discussion.
18   all those four.                                            18      Q Okay. I'll take that back. Thank you.
19          MR. MITCHELL: And the users that you were           19         So, obviously, you've described to me the
20   just mentioning, those are the Kik app users?              20   thinking that you recall going into deciding on sticker
21          THE WITNESS: Yep.                                   21   packs as an MVP for Kin. Was there business or market
22          BY MR. LEASURE:                                     22   analysis done to decide what sticker packs appeal
23      Q Okay. He further writes that -- following             23   versus other potential MVPs?
24   where I was just reading, he writes, "We discussed that    24      A Not that I can specifically think of.
25   once we integrate Kin into Kik, we will rebuild the        25      Q Okay. I guess this might follow up from



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 1   that, but let me ask anyway. Did Kik ever get any        1    we saw, from my point of view, a lot of bad things
 2   feedback from potential Kin purchasers prior to the      2    happening, like just blatant scams.
 3   public sale about sticker packs?                         3          And so I remember us wanting to be very
 4     A I did hear from people that they thought it          4    careful to make it clear that we were not like them in
 5   was cool. Most -- these people I heard from were not     5    any way, and that this was a legitimate project based
 6   Kik users previously, but they became Kik users,         6    on years of thinking and not just some scam like so
 7   thought it was cool that they could bring their Kin      7    many other projects we saw at the time.
 8   into Kik and unlock stickers, and that they had done     8       Q And did anyone say, you know, to avoid
 9   that and used that and thought it was cool.              9    being seen like some of those other projects, we should
10      Q Okay. So after the public sale, you heard           10   slow down this project, build out more?
11   from some users that they had signed up for Kik and      11      A I think we -- like, we constantly
12   accessed sticker packs?                                  12   reevaluated the launch date for the token sale. I
13      A Right.                                              13   think we pushed it back multiple times. And that was
14      Q Okay. Can you tell me anything more about           14   for different reasons each time. That was for
15   those users or those discussions?                        15   technology reasons, you know, the technology took
16      A Now, they're sort of offhand discussions            16   longer to build than we thought. That was for product
17   that was largely --                                      17   reasons, you know, we were still building out the
18      Q People you knew already or people who               18   product.
19   reached out to you?                                      19         That was for compliance reasons, you know,
20      A People I knew already.                              20   based on advice from -- it was a topic of discussion
21      Q Like, a business or acquaintances or                21   with counsel at the time. But from my point of view, I
22   friends or anything?                                     22   wanted to launch Kin as soon as possible.
23      A This case I'm thinking of, it was somebody          23      Q Let me show you a document that might bear
24   from Cointree.                                           24   on some of this. This is a document previously marked
25      Q Oh, okay. So someone who had worked with            25   as Exhibit 151. Take a look and let me know when


                                                   Page 489                                                     Page 491
 1   you guys on the Kin project?                             1    you're ready. I'll identify it for the record as a
 2     A Uh-huh.                                              2    two-page printout of an e-mail chain ending June 13th,
 3      Q Do you remember which person?                       3    2017, with the subject "Board Materials." Exhibit 151
 4      A It was -- what's his name? I could find             4    has the Bates stamp Kik Foundation Cap 2701.
 5   out. Daniel.                                             5       A Okay.
 6      Q Someone -- Daniel from Cointree?                    6       Q What is this document?
 7      A Yes.                                                7       A It's an e-mail from Fred.
 8      Q Got it. Okay. Moving forward in time.               8       Q Okay. Just to point -- to move it ahead
 9         So were there discussions in June involving        9    maybe, do you see you are on the first e-mail in the
10   board members about whether to delay the public sale     10   chain, your name is there?
11   and build additional functionality for Kin?              11      A I do, yep.
12     A I think we were constantly evaluating what           12      Q Okay. And then it looks like you're off
13   are all the options for the intersection of product,     13   the chain in the top. Do you see that?
14   technology, compliance, and timing.                      14      A I do see that.
15      Q And so you were always doing that -- we see         15      Q Okay. So I just want to focus on the part
16   some references in June. Does anything ring a bell of    16   you're on. Does this appear to be referring to a board
17   discussions with Fred Wilson and other people at the     17   meeting, an upcoming board meeting?
18   board, anything like that, at that time?                 18      A It does appear to be, yeah.
19      A Yeah, rings a bell.                                 19      Q Okay. Something in June 2017, the board,
20      Q Tell me what you remember.                          20   right?
21      A I remember us being concerned about what            21      A Uh-huh.
22   was happening in the industry at large at the time,      22      Q He writes, "Just so you both know, I'm
23   that a lot of sort of irresponsible things were          23   increasingly nervous about the speculative fever in the
24   happening, a lot of scams were going on, you know,       24   token sale world. I will advocate that we take a very
25   there was a lot of excitement in the market. But also,   25   cautious approach so Kik doesn't become the poster



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                                                   Page 492                                                      Page 494
 1   child for bad behavior."                                  1       Q So would you agree that there was on the
 2         Do you see that?                                    2    one hand attention to get into the market as soon as
 3      A I do.                                                3    possible to not be copied and crushed?
 4      Q And you were referring earlier to concern            4       A It's not a matter of whether we get copied.
 5   about scams and things happening in this space.           5    It's only a matter of whether we get crushed. And the
 6        Is that what Fred was concerned about here           6    sooner we get in market, the larger lead we have, the
 7   or something else?                                        7    stronger we are as an ecosystem by the day that
 8      A I think what Fred was concerned about                8    Facebook inevitably copies us and comes to crush us.
 9   here -- I can't say for him for sure.                     9       Q Understood. And there was a tension
10      Q Of course.                                           10   between that on the one hand versus trying to do this
11      A But if I were to guess, it's what I was              11   responsibly, not even optically appearing like, you
12   concerned about as well, which as -- you know, we         12   know, scams you were seeing out there?
13   viewed crypto as a fundamentally new business model, a    13      A Yes. We have the best vision of anybody in
14   new way to compete, a new way to build value for          14   the world, but we also took the most cautious approach
15   consumers. But so many of these other projects just       15   of anybody in the world. And if we could do those two
16   sort of looked like they had an idea overnight and were   16   things, we think that would be the best possible option
17   launching a token sale and in cases selling very high     17   of all the options.
18   dollar amounts for those tokens.                          18      Q Let me point you to what Fred subsequently
19         And so I don't think here the concern is            19   wrote. He writes on Item 2, if you see that --
20   that we had bad behavior. I think it was that we          20      A Uh-huh.
21   wanted to do everything we could so that we wouldn't      21      Q -- "We should not sell tokens to the,"
22   get incorrectly lumped in with those that were            22   quote, "'crowd,'" end quote, "until we have implemented
23   exhibiting bad behavior.                                  23   Kin inside Kik and can show it working just like Kik
24      Q Got it. Okay. And did you and Ted -- you             24   Points. We should show that we can settle off chain
25   are Ted. Did you and Fred talk about that?                25   and on chain before offering Kin to the crowd."


                                                   Page 493                                                      Page 495
 1      A Well, he sent this e-mail to me. And                  1           Let me pause there. Can you -- first, do
 2   everything he, like -- it was, like, a very interesting    2   you recall Fred proposing this?
 3   time. Like, for me, it was super exciting because I        3       A I do.
 4   knew we were going to go all in on this dream I had had    4       Q And did you discuss this proposal with
 5   for years. And that by doing that, it could save Kik,      5   Fred?
 6   but also save the consumer app industry broadly.           6      A I don't recall specifically discussing it.
 7         It could potentially become the most used            7   But I do recall me have similar thoughts, I believe, at
 8   cryptocurrency in the world. And so I was very excited     8   the time.
 9   on one side and very eager to get in the game knowing      9       Q Is it fair to say Mr. Wilson wanted to slow
10   that competition was coming and that people once again    10   down the project until certain development milestones
11   would try to copy and crush us. On the other side, I      11   were reached?
12   and along with Fred and many others were very concerned   12     A I think what we're getting at here is we
13   about the state of the token market, seeing many          13   had an evolving understanding of what exactly a utility
14   people -- even today, I think many of the top ten         14   was and also what exactly -- how exactly compliance
15   currencies are never going to be used.                    15   would work in this space. And so at this time, I would
16         And so saying like we don't want any part           16   say it's not that he wanted to slow it down per se.
17   of that. And so how do you balance those two things is    17           You know, he wanted to make sure we had the
18   a very delicate thing. On one side, it's exciting.        18   right utility, as we all did. And this is what was our
19   You know this is a massive opportunity, and you know      19   understanding of what that utility might be at the
20   competition is coming once again.                         20   time.
21         And after having spent ten years of your            21       Q Can you explain to me -- I think you said
22   life on this, this time, you want to win. But at the      22   you had an evolving understanding of utility at this
23   same time, seeing all of this bad behavior in the         23   time.
24   market, and making sure that you are not going to get     24      A Uh-huh.
25   incorrectly lumped into that bad behavior.                25       Q Can you explain that to me?



46 (Pages 492 to 495)
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                                                     Page 496                                                      Page 498
 1       A Yeah. I think when we looked at minimum               1   2017, with the subject "Draft E-mail." It has the
 2    viable product, like I talked about earlier, there were    2   Bates stamp KIK 113490.
 3    four factors; compliance, technology, product, and         3      A Okay.
 4    timing. And so what are all of the options there? You      4      Q Do you recognize this document?
 5    know, like anything, you start out, you sort of have       5      A I do not.
 6    one option. And then as you work through, one of our       6      Q Okay. Have you ever seen this document or
 7    values is we look at all the options, we try to            7   been forwarded this document?
 8    generate all of the options on all those factors.          8      A I don't recall specifically seeing it
 9           And so the option we ultimately went with           9   before.
10    is different than what this initial option here has       10      Q Okay. Have you had a chance took take a
11    proposed.                                                 11   look at it?
12       Q Right. This isn't what you guys did?                 12      A I have not.
13       A Correct.                                             13      Q Okay.
14       Q And you couldn't settle -- in the event, in          14      A So should I read through it?
15    September 2017, you couldn't settle off chain and off     15      Q Yes, please.
16    chain?                                                    16      A All right.
17          MR. MITCHELL: Off chain -- excuse me. Off           17      Q I'm showing you this in part to see if it
18    chain and on chain.                                       18   refreshes any recollections of a board meeting that is
19           MR. LEASURE: Correct. I misread that.              19   either consistent or inconsistent of what's in here.
20           THE WITNESS: So, for example, we do not do         20         Let me start by asking: Did reading that
21    off chain settling today. Why do we not do it?            21   help refresh any recollections of a June 2017 board
22    Because then you get into money transmittal licensing     22   meeting and discussions around it?
23    laws. So, for example, here, what he's proposing          23      A It did not.
24    turned out to be not viable from a compliance point       24      Q Rats.
25    of view.                                                  25      A I would tell you if it did. I -- like,


                                                     Page 497                                                      Page 499
 1         BY MR. LEASURE:                                       1   there were many discussions going on at the time about
 2      Q Did you implement Kin inside Kik and show              2   the exact structure and how we could make it work and,
 3   it working?                                                 3   you know, presale and different discounts they got. I
 4      A We did.                                                4   believe the discounts they ultimately got are different
 5      Q Through sticker packs?                                 5   than what's here, for example. So there was a lot of
 6      A Yes.                                                   6   discussions around this.
 7      Q Any other way?                                         7      Q Sure.
 8      A No.                                                    8      A So I don't recall this specific discussion.
 9      Q Okay. I'll take that back. I'm going to                9      Q Let me point to one of two things and see
10   show you a document previously marked as Exhibit --        10   if you can recall discussion, you know, generally at
11   well, first, this is referring to a board meeting          11   this time of what people are saying.
12   mid-June. Do you remember a board meeting in mid-June      12      A Yeah.
13   discussing Kin?                                            13      Q It starts, it says, "At the last board
14      A Not specifically. There were many board               14   meeting, before Fred and Jim had to drop off the call,
15   meetings going on at the time, so --                       15   the proposed course of action suggested to ensure
16      Q I got you. I understand. Let me show you              16   minimum risk to the company and the board (in
17   a document and see if it refreshes anything. I'm           17   recognition of the frothiness of the cryptocurrency
18   showing you a document previously marked as                18   markets generated this time) was to conduct a
19   Exhibit 181. Take a look at it and let me know when        19   $100 million presale and eliminate the public token
20   you're ready. To help you, I think this is -- well,        20   distribution event."
21   this is a multi-page printout of an e-mail with an         21         Let me pause there. Was that in
22   attachment. I believe the attachment contains of the       22   consideration, not -- just not doing a public
23   text of -- that's in the e-mail.                           23   distribution even at all?
24      A Okay.                                                 24      A I don't recall it specifically being a
25      Q It's -- Exhibit 181 is dated June 14th,               25   discussion. But I'm sure it was one of the options we



                                                                               47 (Pages 496 to 499)
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                                                      Page 500                                                     Page 502
 1   would have looked at at the time, yeah.                      1   compliance point of view, from a product point of view,
 2      Q What did you think about that?                          2   from a technology point of view, and it allowed us to
 3      A I thought it was a bad option.                          3   establish our leadership sooner, get in market sooner,
 4      Q Why?                                                    4   build momentum sooner, then we should absolutely do it.
 5      A Because at this point -- I'm not sure about             5      Q Okay. Did Mr. Wilson have a different
 6   this point specifically, but at this point or around         6   view?
 7   this point, it was clear through the presale                 7      A Not to my recollection.
 8   conversations that we were going to get the money, and       8      Q He didn't push -- okay. That's fine. Let
 9   that this was no longer about the money. And so maybe        9   me point you to one other section. This is on the
10   the lowest risk thing to do would be to only do a           10   second page, 113491.
11   presale.                                                    11      A Uh-huh.
12         But in doing that, you would eliminate the            12      Q It writes, "We reached out to the lead
13   option for the broader public to join the project on        13   investor on the presale and talked about extending the
14   day one. And for this project to succeed, this              14   time before the company would conduct the TDE and
15   ambition, this scope of vision, required as many people     15   offered the reason why. And much to our surprise, the
16   as possible in as many countries as possible to become      16   proposed delay was viewed adversely and would impact
17   stakeholders in the project in day one.                     17   the lead investor's decision to participate in the
18         And so for me, this was no longer about the           18   presale."
19   money. This was about launching Kin with the most           19      A Uh-huh.
20   momentum possible.                                          20      Q Let me pause there. Do you recall this
21      Q All right. The next sentence there reads,              21   outreach -- this outreach described here to a lead
22   "The conversion of the SAFT rights into Kin would occur     22   investor?
23   at the time the Kin ecosystem was fully functional          23      A Generally -- not specifically, but
24   versus at the time there was a minimal viable product."     24   generally, I am aware of it, yeah.
25         Did you see that?                                     25      Q Tell me what you're aware of.


                                                      Page 501                                                     Page 503
 1      A I do.                                                   1       A That what is written here is we were trying
 2      Q Okay. On that topic, a discussion of, you               2   to figure out the right option on all those different
 3   know, converting SAFT rights at a fully functional time      3   factors of how to launch the ecosystem. One of the
 4   versus at a time when there's a minimum -- minimal           4   options was to wait longer and, you know, build on
 5   viable product, do you remember discussion about that?       5   chain, off chain, which we later realized was not an
 6      A Not specifically. When I look at this, you              6   option from compliance. But it looks like it was one
 7   know, what exactly the definition is of fully                7   of things being considered at the time.
 8   functional versus minimum viable, like, to me, there         8          And that when we -- it looks like here, I
 9   is -- minimum viable is where you start. To me,              9   didn't do the reach out. But it looks like here that
10   there's the end vision, a currency used by billions of      10   pushing back the launch of the ecosystem was viewed
11   people and thousands of applications. That's the end        11   adversely by this investor's decision to participate,
12   vision. And then what is fully functional in between,       12   which to me, is not to my surprise at all.
13   I'm not sure.                                               13       Q Why?
14      Q Were you -- around this time, were you                 14       A For the same reason that I wanted to get in
15   suggesting to Mr. Wilson that Kin should go to market       15   market as soon as possible is probably the same reason
16   with only limited utility as opposed to full utility?       16   they should want to get in market as soon as possible,
17      A I don't think I was suggesting that. I                 17   which is you have figured out one of the biggest --
18   think probably what I was suggesting is that we should      18   what I believe will one day be viewed as the biggest
19   try to get in market as soon as possible to establish       19   opportunities in human history. You are better
20   leadership in this race.                                    20   positioned than anybody to launch this and go after
21      Q Okay. And if that means not having the                 21   that, but you have shared this with the world.
22   time to build out more things, that it was worth doing?     22          Whenever you have an opportunity that is
23      A That -- if it meant that we would not be on            23   this big, there will no doubt at some point be
24   side from a compliance point of view, we absolutely         24   competition. And every day we delay is a day we give
25   should not do it. But if we were on side from a             25   to the competition to one day catch up.



48 (Pages 500 to 503)
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                                                     Page 504                                                  Page 506
 1      Q Do you know who the lead investor is that's            1      A I haven't looked at it yet, but I can do
 2   being referred to here?                                     2   that.
 3      A I don't know specifically. But if I had to             3      Q Please.
 4   guess, I would say it's Pantera.                            4      A It looks like a board resolution.
 5       Q Okay. I'll take that back. Thank you.                 5      Q Okay. And it's dated June 20- -- well, the
 6        MR. MITCHELL: Are you aware of anyone from             6   e-mail attaching is dated June 26th. Do you see that?
 7   Kik reaching out to Pantera in the way described in         7      A Yep.
 8   this e-mail?                                                8      Q Okay. Can I point you to the board
 9          THE WITNESS: I don't know specifically.              9   resolution on the page with Bates stamp ending 326?
10   But it looks like somebody did reach out to them.          10      A Yep.
11             MR. MITCHELL: Any idea who?                      11      Q There are several whereases.
12             THE WITNESS: I don't know who. But if I          12        Do you see that?
13   had to guess, I would think it would be Peter or -- I      13      A I do.
14   would think it would be Peter.                             14      Q Second whereas, "Whereas the corporation
15             MR. MITCHELL: Peter Heinke?                      15   proposes to offer for sale to the public an app coin
16             THE WITNESS: Yes.                                16   called Kin at such time as the Kin ecosystem is
17        MR. MITCHELL: And if you wanted to know,              17   functional."
18   who could tell you who's being described here?             18        Do you see that?
19             THE WITNESS: Where? I'm sorry.                   19      A Yep.
20             MR. MITCHELL: This Exhibit 181, is there         20      Q Following down that, there's a whereas
21   somebody who could tell you who the lead investor          21   right above where it's redacted.
22   referenced here is?                                        22      A Yep.
23        THE WITNESS: I would guess Peter or Nancy             23      Q "Whereas the corporation proposes to raise
24   would be good people to ask.                               24   up to an additional $50 million in a public token
25             MR. MITCHELL: Oh, Nancy Wojtas --                25   distribution event once the Kin ecosystem is built


                                                     Page 505                                                  Page 507
1          THE WITNESS: Well, Nancy wrote this                   1   out."
2    e-mail. So I hope -- like, I wonder if -- is there is       2           Do you see that?
3    a question in, like, is there a way to find out who's       3      A I do.
4    being referenced here?                                      4      Q Okay. Do you recall a board meeting where
5          MR. MITCHELL: Yeah, that's what I was                 5   it was agreed upon to take those courses of action?
6    asking.                                                     6       A Not specifically. But I think it makes
7          THE WITNESS: I would -- have you asked                7   sense, based on these notes.
8    Nancy?                                                      8      Q Okay. I want to show you then -- point you
9          MR. MITCHELL: No.                                     9   to Exhibit 49 because the language looks different and
10         THE WITNESS: Okay. Or have you asked                 10   it's a few days later.
11   Peter? He's also on this e-mail.                           11      A Okay.
12         BY MR. LEASURE:                                      12      Q Okay. Exhibit 49, you see it's June 28th.
13      Q We'll take it back. Let me show you two               13   I guess that's two days later.
14   more around the time. And these are probably best          14      A I do, yeah.
15   shown together. I'm handing you documents that have        15      Q Okay. If I can point you to the board
16   previously been marked Exhibits 48 and 49. Take a look     16   resolution, Exhibit 49. The second whereas states,
17   at Exhibits 48 and 49 and let me know when you're          17   "Whereas the corporation proposes to offer for sale to
18   ready. I'll identify Exhibit 48 for the record.            18   the public an app coin called Kik at such time as the
19         It's June 26th, 2017 e-mail with an                  19   corporation can introduce the MVP defined below."
20   attachment. It has a Bates stamp KIK 103324.               20           Do you see that?
21   Exhibit 49, the June 28th e-mail with an attachment,       21      A Yep.
22   KIK 117728. Are you ready?                                 22      Q And do you see that there's a "define"
23      A Ready.                                                23   below MVP?
24      Q Do you recognize Exhibit -- let's start               24      A Yep.
25   with 48. Do you recognize this document?                   25      Q Okay. My question is -- and I apologize



                                                                               49 (Pages 504 to 507)
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                                                     Page 508                                                    Page 510
 1   for the buildup on this. These appear to have              1       Q Why --
 2   different languages for the -- for lack of a better        2       A I don't know -- which is that the term
 3   word, triggering or accompanying event for the public      3    "built out" is unspecific and it's unclear. You know,
 4   sale?                                                      4    one day, if we'd be looking back on this, what did we
 5      A Yep.                                                  5    mean by "built out"? Whereas in this version, we're
 6      Q And they're two days apart?                           6    very specific about -- we've replaced built out with
 7      A Yep.                                                  7    the MVP, which is specifically described.
 8      Q Is there anything you can to do to help me            8       Q And was there a discussion about wanting to
 9   understand what's happening or why we see two different    9    have more specific language in the board resolution?
10   board resolutions at this time?                            10        Anything ring a bell for you?
11      A I don't have a specific recollection. But             11      A Nothing specific rings a bell. But I do
12   if I were to offer you my best guess --                    12   know, like, in these, we want to be specific about
13      Q Please.                                               13   what's being approved.
14      A -- it was a desire to be more specific                14      Q Is there any debate -- or do you recall at
15   about when exactly we would do the public sale. You        15   this time about what needed to be in place at the time
16   know, in the first one, application -- where is it --      16   of the public sale?
17   before the rollout of the Kin ecosystem could mean         17       A I do recall we were constantly evaluating
18   anything. It's very unclear what exactly that means.       18   all the options on product, technology, compliance, and
19   Whereas here, it's very specific about what it means.      19   timing.
20      Q Let me go to the first one. If I can point            20         MR. MITCHELL: So Exhibit 48, that's an
21   you to the whereas above the redacted piece.               21   executed board resolution?
22      A Uh-huh.                                               22         THE WITNESS: Yes.
23      Q It says the public token distribution event           23         MR. MITCHELL: The board members all --
24   will happen, quote, "once the Kin ecosystem is built       24         THE WITNESS: Yeah.
25   out."                                                      25         MR. MITCHELL: -- approved it?


                                                     Page 509                                                    Page 511
 1       A Uh-huh.                                              1          THE WITNESS: Yep.
 2       Q Do you see that?                                     2          MR. MITCHELL: Do you remember anyone after
 3       A Yep.                                                 3    that point raising a concern with the resolution?
 4       Q Was the Kin ecosystem built out at the time          4          THE WITNESS: I don't recall.
 5   of the token distribution event?                           5          MR. MITCHELL: You don't recall anybody?
 6      A Depends on how you define "built out." I              6          THE WITNESS: Yeah. Obviously, at some
 7   think that was the problem with this document.             7    point, it got raised because it got changed, but I
 8       Q Was it functional?                                   8    don't recall why.
 9       A It was functional.                                   9          MR. MITCHELL: Do you know why the
10       Q And you don't know if it was -- you don't            10   second -- do you know why the second resolution was
11   know if -- the term "built out" is too vague for you to    11   circulated and then executed?
12   be able to say whether it was or wasn't built out in       12         THE WITNESS: I do not recall.
13   September 2017?                                            13         MR. MITCHELL: Do you know who changed
14     A The term "built out" is very general and               14   the -- who drafted the language that's in Exhibit 49?
15   could mean many number of things. Is Ethereum built        15         THE WITNESS: I do not. But my guess would
16   out today? I'm not sure because it's not working very      16   be Nancy, but I do not.
17   well, and people are talking about how to do Plasma.       17         MR. MITCHELL: Why? Why do you guess it's
18   So is Ethereum built out today? I don't know. It's         18   Nancy?
19   not very specific. It's hard to evaluate with that         19         THE WITNESS: Because my understanding is
20   terminology.                                               20   she drafts all of these resolutions.
21       Q Okay. Let me just see if I understand                21         MR. MITCHELL: But you don't remember -- I
22   your -- what you -- what you recall. You don't -- you      22   just want to make sure I understand. You don't
23   don't know why there are board resolutions with            23   remember anything about -- well, let me say it in a
24   different language at this time?                           24   positive way.
25      A I have a hypothesis of why.                           25         You don't remember anything about anyone



50 (Pages 508 to 511)
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                                               Page 512                                                               Page 514
 1   raising concerns about Exhibit 48 that led to              1   technology providers to help us with this process, but
 2   Exhibit 49?                                                2   I can't remember specifically.
 3         THE WITNESS: I do not.                               3      Q Yeah. And I take it -- I think for
 4         MR. MITCHELL: Is there any other time that           4   compliance purposes, it was important that Kik do this
 5   you remember at Kik sort of having a board resolution      5   process and know who people were who were signing up to
 6   get executed, and then people going back and wanting to    6   buy Kin, right?
 7   edit it and make another version?                          7      A That was a -- one of the reasons, but not
 8           THE WITNESS: I do not.                             8   the primary reason, in my point of view.
 9         BY MR. LEASURE:                                      9      Q What was the primary reason?
10      Q I'll take both of them back from you.                10      A Compliance was a factor. This is a brand
11   Thank you.                                                11   new space. Many people were selling tokens with no
12       So in the public sale, Kik required people            12   registration whatsoever. In fact, most were -- you
13   to register?                                              13   know, that was the path of least friction when selling
14      A Uh-huh.                                              14   a token. And yet, we were one of the few that required
15      Q Is that right?                                       15   passport registration. Why?
16      A Yes.                                                 16         Well, you know, we weren't sure how -- my
17      Q And it gathered information from them?               17   recollection is how AML laws would apply. So we said
18      A Yes.                                                 18   it doesn't hurt certainly to get everybody to register
19      Q Do you remember what categories of                   19   with their passports. That was sort of a nice side
20   information they gathered?                                20   benefit. The real reason we did this, from my point of
21      A I don't remember specifically. I know we             21   view, it was -- because it was the only way we could
22   gathered passports for some people. I'm not sure. I       22   guarantee a fair distribution of the public sale tokens
23   think we gathered social security numbers for some        23   to everybody who wanted to join the project on day one.
24   people. Various different things.                         24      Q You were worried that some people might get
25      Q So name?                                             25   a disproportionate amount of Kin on day one?


                                               Page 513                                                               Page 515
 1      A Yep.                                                  1       A Before the Kin token sale, to my
 2      Q Age?                                                  2    recollection, there was no token sale that had ever
 3      A I believe so.                                         3    been done like Kin before. Every token sale previously
 4      Q Citizenship or passport?                              4    traded off between one of two options. One is to do an
 5      A I believe so, yeah.                                   5    uncapped sale, so anybody who wants to participate can.
 6      Q And people have to give a passport photo?             6         But then the amount you end up selling
 7      A Like, everything on the passport, yeah.               7    those tokens for frequently becomes, from our point of
 8      Q Yeah. Sure. Right. So I had to give a                 8    view, in my point of view, an irresponsible amount of
 9   passport photo; is that right?                             9    money. The other option is to cap the sale. But then
10      A Uh-huh. Yes. I believe a photo of their              10    a couple of big people come in, take it all the way
11   passport and a photo of them.                             11    from everybody else, and all the sort of, quote,
12      Q Okay. So you could see if it looked like             12    unquote, unsophisticated people on the technology side
13   them?                                                     13    don't have an ability to participate on day one because
14      A Yes.                                                 14    it's all gone before they can get there.
15      Q And some people got -- not kicked, but               15        Q Got it.
16   kicked -- not kicked out of the registration, but         16        A And so the only way to have both a
17   people at Kik would ask for additional information or     17    responsible amount of money, from our point of view,
18   different photos; is that right?                          18    what was a responsible amount of money, and to
19      A I'm not sure.                                        19    guarantee that everybody would be able to participate
20      Q Did Kik review the things that were                  20    was to make everybody register with their passports.
21   submitted by people?                                      21          That was what would have allowed us to say
22      A Yes.                                                 22    one allocation per one human being. And that was the
23      Q Do I have it right, that Kik may have hired          23    only way to do that.
24   a company to help them with this process?                 24        Q And you were comfortable with -- it sounds
25      A I think we hired several different                   25    like you went through a -- you. It sounds like Kik



                                                                               51 (Pages 512 to 515)
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                                                     Page 516                                                         Page 518
 1   went through a relatively significant diligence process     1   to think that's correct, incorrect?
 2   to ask people to affirm who they were?                      2       A I have no reason to think it's correct or
 3         A Yeah. It took a ton of work to set up that          3   incorrect.
 4   process. We got a ton of passports. I personally            4      Q No reason either way?
 5   reviewed, I think, a couple of hundred passports, for       5      A Yeah.
 6   example. It was a ton of work to do it this way, but        6      Q That wasn't something you looked at?
 7   we felt that that was worth it. Because it was the          7      A Not that I recall.
 8   only way, from our point of view, that we could provide     8      Q Okay. How about -- I understand it sounds
 9   a fair token sale.                                          9   like it was important for you that people -- that this
10         Q     Got it. And you were comfortable with the      10   was a fair process where people could participate,
11   work that was done. Let me put it in a better way.         11   right?
12             Enough work was done that you were               12      A Uh-huh.
13   comfortable that people were who they said they were?      13      Q Did you look at the distribution of the
14         A Yes.                                               14   dollar value of Kin that people purchased?
15         Q     Okay. And that they -- their age, their        15      A Not that I can recall. I can recall
16   information was what they said it was?                     16   hearing different dollar points, but I can't recall
17         A Yes.                                               17   specifically what those were. For example, how many
18         Q     Their country was where they said it was       18   people bought a thousand dollars or less. I can't
19   from?                                                      19   recall what those numbers are, though.
20         A Yes.                                               20      Q Yeah. That's -- I'm asking -- let me ask
21         Q     Okay. What can you tell me about the           21   it more impressionistically. Are you able to say
22   average? There were 10,000 purchasers, I think,            22   whether a lot of Kin was purchased by a lot of small
23   roughly, of Kin in the public sale.                        23   holders, or it was lumpy and a few people purchased a
24             Is that in the ballpark?                         24   significant dollar value of Kin?
25         A Uh-huh.                                            25          Are you able to say impressionistically


                                                     Page 517                                                         Page 519
 1      Q Okay. Why don't you tell me about -- did              1    either way?
 2   you look at average demographics, average age, country?    2       A I cannot. But I can say that, like, sort
 3             Was that data something you looked at?           3    of the first step of the token sale evenly split all
 4      A I think we had data on all those different            4    the tokens that were available by all the people they
 5   things. I don't recall looking at any specific data.       5    had registered so that everybody had a fair opportunity
 6      Q That wasn't something you were interested             6    to purchase tokens up to an equal cap.
 7   in?                                                        7       Q Okay.
 8      A I think we were interested in countries. I            8       A So, like, in that first phase, everybody
 9   don't recall what the data was there. I'm sure we were     9    would be able to at most get, I believe it was
10   interested in other things, but I don't recall anything    10   somewhere around $6,000 worth of Kin.
11   specific.                                                  11      Q And then there was a second phase where
12      Q Can you ballpark what percentage of -- by             12   people could get more?
13   dollar amount, if possible, what percentage of dollar      13      A Yes.
14   value of Kin was purchased by people in the U.S. versus    14      Q Okay. I'll tell you, I had seen in the
15   other countries?                                           15   data. There are some people who bought a million
16      A I don't recall. But if I had to guess, I              16   dollars worth of Kin.
17   would say something like 30 percent maybe. But maybe       17         Does that -- does that sound right to you?
18   it's more. I can't recall.                                 18      A Could be, yeah.
19      Q How about age? Do you know the average age            19      Q Okay. That wouldn't surprise you if that
20   of a Kin purchaser?                                        20   were --
21      A I do not.                                             21      A No, that wouldn't surprise me.
22      Q If I was to represent to you we saw an                22      Q Okay. How about you -- prior to the Kin
23   average age of around 35 --                                23   project, you had been the CEO of a company running a
24      A Okay.                                                 24   messaging app, right?
25      Q -- does that sound -- do you have a reason            25      A Correct.



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                                                 Page 520                                                         Page 522
1       Q And we've talked about the people -- anyone          1       Q Okay. We've seen the use cases in the
2    around the world can use the Kik messaging app.           2    white paper.
3       A Yep.                                                 3       A Uh-huh.
4       Q But we've talked about sort of who the               4       Q Was there any market analysis done prior to
5    audience was for that app and how it changed over time.   5    the public sale about how people might want to actually
6       A Uh-huh.                                              6    use Kin in the future?
7       Q Do you have data or do you have a sense of           7       A I think -- I don't know exactly what
8    what the overlap is between the people who bought Kin     8    analysis was done. I think some of it came from the
9    in the public sale versus people who use the Kik          9    experience with Kik Points. Some of it probably could
10   messaging app?                                            10   have come from analysis of the market. Some of it
11      A I do not.                                            11   could have just been, you know, innovative thinking and
12      Q Do you know -- so you don't know if it's             12   ideas. It could have come from any number of places.
13   almost all Kik users, if it's almost not any Kik users    13      Q Yeah. And we've talked about a lot of that
14   who bought Kin? You don't know either way?                14   today. We've seen -- we talked about -- or yesterday.
15      A I do not.                                            15   We've talked about Kik Points in your experience, and
16      Q How old did you have to be to buy Kin?               16   we talked about CoinFund market analysis.
17      A I can't recall.                                      17         I'm trying to see if there was anything
18      Q 18, 21?                                              18   else done to see, okay, how is Kin -- how might Kin be
19      A Maybe 18. I can't recall.                            19   used in the future that you can think of.
20      Q And is that still the -- can a 14-year-old           20      A I'm sorry. What's the question?
21   now hold -- own Kin?                                      21      Q The question is: Was there anything other
22      A Kin is a cryptocurrency. And so like any             22   than Kik Points experience, CoinFund's analysis, that
23   cryptocurrency, once you own it, you get to decide what   23   you recall being done to study how might people use Kin
24   to do with it.                                            24   in the future?
25      Q So yes, I guess?                                     25      A Maybe -- I guess I'm not -- like, what were


                                                 Page 521                                                         Page 523
 1       A Probably. Yes.                                       1   the use cases we put in the white paper? That was not
 2       Q Okay. Yeah. We see an analysis performed             2   meant to be an exhaustive list of all the ways that Kin
 3   on behalf of Kik by a company called Sylvain Labs,         3   would ever be used.
 4   S-y-l-v-a-i-n.                                             4      Q Let's go off the use cases. I'm trying to
 5      A Uh-huh.                                               5   see if Kik commissioned or did itself any studies about
 6       Q Does that ring a bell for you?                       6   using Kin.
 7       A Yep.                                                 7      A I can't recall.
 8       Q What was their -- what were they asked to            8      Q Okay. Okay. Let's --
 9   do in connection with Kin?                                 9         MR. MITCHELL: Can I just ask a follow-up
10      A I think they were asked to create a                  10   on the identity process? Earlier, you talked about the
11   proposal for what the brand of Kik could become to turn   11   process that Kik used to sort of verify identify of the
12   around growth of the chat app.                            12   people who registered for the sale.
13       Q Did it have anything to do with Kin?                13         Do you recall that?
14       A Sylvain was also involved with Kin, so              14         THE WITNESS: Uh-huh. Yep.
15   there was -- maybe you're referring to something else     15         MR. MITCHELL: Did Kik use -- sorry. Were
16   that I'm thinking of.                                     16   there -- were there some countries that Kik was not
17     Q Yeah. I see them doing like a wallet study            17   willing to sell Kin into?
18   and things like that, that seem relevant to Kin the       18         THE WITNESS: Yes.
19   project. Does any of that ring a bell?                    19         MR. MITCHELL: For example, what?
20     A Got it. No, that doesn't ring a bell.                 20         THE WITNESS: China and Canada.
21      Q Is that something -- who -- was that                 21         MR. MITCHELL: All right. And did Kik rely
22   something --                                              22   on that process, that client identification process, in
23      A Probably Erin and Hayeon would work with             23   deciding whether or not to sell to people because it
24   Sylvain on -- like, they're the ones who worked with      24   thought they were in China or Canada?
25   Sylvain on everything.                                    25         THE WITNESS: Yes.



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                                                 Page 524                                                           Page 526
 1          MR. MITCHELL: As part of the registration          1          A As of today, I have heard of it, yes.
 2   process, did Kik ask any questions to people who were     2          Q You don't know if you had heard of it prior
 3   registering about what assets they held?                  3    to the Kin sale?
 4          THE WITNESS: I can't recall. Like, what            4          A I don't know if I heard of it before the
 5   assets, like, what dollars, or what do you mean?          5    public sale or after the public sale. I don't recall.
 6          MR. MITCHELL: Yeah. How much -- what               6          Q Okay. Do you know how you came to hear of
 7   assets they held.                                         7    it?
 8          THE WITNESS: Not to my recollection.               8          A I don't recall.
 9          MR. MITCHELL: Did Kik take any steps to            9          Q Okay. Prior to the public sale, did you
10   verify, you know, how much money or how much assets the   10   believe that the sale of Kin tokens to U.S. purchasers
11   people who were registering for the public sale held in   11   without registering that sale with the SEC was legal?
12   deciding whether it was willing to sell to them?          12         A Sorry. Say that one more time.
13          THE WITNESS: Not to my recollection.               13         Q Sure. Kin -- let me -- let me break it up.
14          MR. LEASURE: Off the record.                       14   That might make it easier.
15          THE VIDEOGRAPHER: Going off the record.            15         A Okay.
16          The time is now 3:11 p.m.                          16         Q Kin sold Kin tokens to the -- to the
17          (A brief recess was taken.)                        17   public, right?
18          THE VIDEOGRAPHER: We are back on the               18         A Yes.
19   record. The time is 3:18 p.m.                             19         Q In 2017. And that included the public in
20          BY MR. LEASURE:                                    20   the U.S., correct?
21      Q    We're back on the record after a brief            21         A Correct.
22   break during which, Mr. Livingston, did you have any      22         Q And it did so without registering that
23   substantive conversations about this investigation with   23   offering and sale with the U.S. Securities and Exchange
24   SEC staff?                                                24   Commission?
25      A I did not.                                           25         A Correct.


                                                 Page 525                                                           Page 527
 1       Q Okay. I want to reiterate for the nth                1         Q Okay. Did you believe that was legal?
 2   time --                                                    2         A Yes.
 3       A Okay.                                                3         Q Why did you believe that?
 4       Q -- that I don't want you to tell me about            4         A Based on advice from -- well, I had
 5   conversations you had with a lawyer.                       5    conversations with --
 6          MR. LEASURE: I'm going to -- as I said I            6            MR. GIBBS: That's fine.
 7   would yesterday prior to going on the record, I'm going    7            THE WITNESS: How do I say that?
 8   to alert counsel that this area of questioning might       8            MR. GIBBS: It's --
 9   intrude upon -- or at least answers he might give might    9            THE WITNESS: What am I saying again when
10   involve the attorney-client privilege. So pay             10    it's attorney-client privilege?
11   attention. And we obviously welcome you asserting         11            MR. GIBBS: What you need to not do is
12   privilege here.                                           12    disclose the content of a communication between
13          BY MR. LEASURE:                                    13    yourself and the lawyers.
14       Q We've seen references in documents to               14            THE WITNESS: Okay.
15   securities laws and even a case called Howey.             15            MR. GIBBS: If you can answer the question
16       A Uh-huh.                                             16    without revealing the content of the communication,
17       Q Are you -- have you -- prior to the public          17    then go ahead.
18   sale of Kin tokens, had you heard of a case called        18            THE WITNESS: So I can say I was having
19   Howey or the Howey test?                                  19    discussions with counsel? Okay.
20       A I can't recall the first time I heard about         20            MR. LEASURE: And you're asserting
21   the Howey test or a Howey case, but I certainly have      21    privilege over that?
22   heard of it today.                                        22            MR. GIBBS: Over the content of those
23       Q You certainly have heard of it --                   23    discussions, yes.
24       A Heard of it today.                                  24            BY MR. LEASURE:
25       Q As of today?                                        25         Q Okay. Which counsel?


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                                                Page 528                                                       Page 530
 1       A Cooley's.                                           1   sell to Canadians.
 2       Q Anyone else?                                        2         MR. MITCHELL: Why did you only have
 3       A I can't recall who beyond Cooley's.                 3   discussions with Canada, with regulators in Canada?
 4       Q And this was prior to the public sale?              4         THE WITNESS: We had registrations, I
 5       A This is prior, yes.                                 5   believe, from 130 countries. So having conversations
 6       Q Okay. So would you agree that you were              6   with everybody would be a difficult thing to do. We
 7   aware of potential securities laws issues relating to     7   also had discussions with counsel on this topic.
 8   Kin when planning the Kin token sale?                     8         MR. MITCHELL: You had discussions with
 9       A Yes.                                                9   counsel on the topic of who to talk to?
10       Q And you consulted with counsel about those         10         THE WITNESS: Correct.
11   issues?                                                  11         MR. MITCHELL: Did you -- other than --
12       A Yes.                                               12   sorry. Other than Canadian law and U.S. law, did Kik
13       Q Okay. And did Kin decide not to sell Kin           13   analyze the Kin token sales to see whether the
14   tokens to people in certain countries --                 14   securities laws of other countries -- any other
15       A Uh-huh.                                            15   countries would apply to the sale?
16       Q -- because of concerns over those                  16         THE WITNESS: I don't recall. I don't
17   countries' securities laws?                              17   recall if we did or did not look at countries beyond
18       A I think we decided to not sell in                  18   Canada and U.S.
19   countries, Canada and China, after having discussions    19         MR. SCHLEGELMILCH: Where were the largest
20   with counsel.                                            20   number of Kin purchasers located?
21       Q Okay. Let me try this: Why did Kin not             21         THE WITNESS: I do not know. That data
22   sell -- why did Kik not sell Kin to Canadian             22   could be found.
23   purchasers?                                              23         BY MR. LEASURE:
24       A I think I put it publicly on the internet          24      Q Can we -- let's drill down a bit into what
25   why. From my point of view -- we met with the OSC.       25   happened with the Ontario Securities Commission, the


                                                Page 529                                                       Page 531
 1   From my point of view, they wouldn't say definitively     1   OSC.
 2   one way or the other what was or was not a security       2     A Sure.
 3   when it came to cryptocurrencies. From my point of        3      Q First, it sounds like there was a physical
 4   view, they still haven't said that publicly.              4   meeting at the OSC.
 5          And because of that, I was not willing to          5     A Yep.
 6   take the risk in Canada. And as my home country, I        6      Q Did you go to that?
 7   felt that this was -- that's where we had discussions     7      A I did.
 8   because that's the country we were in. And I was          8      Q Okay. How did -- what was the genesis of
 9   disappointed with their lack of what I viewed as would    9   that meeting? How did the idea for the meeting come
10   be clear guidance. And so I said, you know what, we'll   10   up? Who approached who?
11   just exclude all of Canada.                              11     A My recollection is that Peter, our CFO,
12          MR. MITCHELL: Were there any other                12   heard through sort of a friend of a friend sort of
13   countries that you thought didn't give clear guidance?   13   thing that the OSC, he was unsure of us -- the idea of
14         THE WITNESS: I thought no country gave             14   us selling tokens. And so my recollection is that he
15   clear guidance.                                          15   recommended we go see them and talk to them.
16          MR. MITCHELL: Were there any other                16      Q Do you have any more detail about what the
17   countries you excluded because they hadn't given clear   17   friend of the friend said to Peter about the OSC or its
18   guidance, other than Canada?                             18   concerns?
19        THE WITNESS: We only had conversations in           19      A Just that they -- I seem to recall the word
20   Canada, to my knowledge, with securities people. So I    20   "unhappy" being used, but -- unhappy about us selling
21   think back then, nobody had given clear guidance. But    21   tokens. But I can't recall specifically.
22   with Canada, it was different because we had had a       22      Q And it was specifically about Kik selling
23   conversation. And based on that conversation, and then   23   tokens?
24   we had discussions with counsel. We also had             24      A Yes.
25   discussions with counsel, we ultimately decided not to   25      Q Why?



                                                                            55 (Pages 528 to 531)
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                                              Page 532                                                             Page 534
 1      A I can't -- I don't know.                              1   meeting?
 2      Q Okay.                                                 2     A My recollection is, no, it wasn't purely a
 3      A It was just, "Hey, a friend of a friend who           3   result of that meeting. It was part of ongoing
 4   knows the OSC," I seem to recall the word used,            4   discussions with them, but I can't say for sure.
 5   "unhappy," but I can't recall specifically, "We should     5       Q With "them," being OSC?
 6   go see them."                                              6       A Yes.
 7      Q And you did?                                          7      Q So is it possible that your counsel had
 8      A And we did.                                           8   further interactions with OSC on the topic of Kin?
 9      Q Who went from your side?                              9       A Yes.
10      A I believe myself and Peter. We might have            10       Q Okay. Let me --
11   had a lawyer with us, but I cannot recall.                11       A It's definitely possible, yeah.
12      Q Do you know -- you don't remember if you             12       Q Do you know if they did?
13   did or didn't bring a lawyer with you?                    13       A I seem to recall that they did, yes.
14      A It seems like we would have, but I don't             14       Q Okay. And what can you tell me about how
15   recall if we did or did not.                              15   it went?
16      Q Tell me about the meeting itself then.               16         MR. GIBBS: You're asking about the later
17           What happened?                                    17   interactions just between the lawyer and the OSC?
18      A It was a while ago. I can't recall                   18         MR. LEASURE: Yes.
19   specifically. What I seem to understand -- what I         19         MR. GIBBS: Okay. Don't relay the content
20   seemed to recall is that I explained the vision for       20   of any communication from the lawyers to you about
21   Kin, why we were doing it, as I have done today. I        21   those interactions. We're asserting privilege over the
22   seem to recall explaining sort of the fundamentals of     22   communication by the lawyer to the client about the
23   crypto economics and how all this works and why it        23   lawyer's interactions with the regulators.
24   could be -- actually be a solution to the problems we     24        THE WITNESS: I only heard about
25   were facing -- we and most consumer companies were        25   interactions with the OSC, from my recollection, since


                                              Page 533                                                             Page 535
 1   facing.                                                   1    then through the lawyer.
 2         I seem to recall them not saying one way or         2            MR. GIBBS: So I'll instruct you not to
 3   the other whether they would be supportive or not         3    answer.
 4   supportive of us doing that.                              4            MR. LEASURE: Okay.
 5      Q What did they say?                                   5
 6      A I can't recall. I seem to recall them                6            BY MR. LEASURE:
 7   largely just being in listing mode.                       7       Q I'm going to show you a document previously
 8      Q Was there a -- sometimes a meeting ends              8    marked Exhibit 186. This is a multi-page document.
 9   with a next steps or what will happen after that.         9    It's a letter with a large attachment. I'm going to
10      A Uh-huh.                                              10   just be pointing you to the letter, if this helps you.
11       Q Did the meeting end with next steps in mind         11      A Okay.
12   or something else expected to happen?                     12      Q Exhibit 186 is a letter with attachments
13       A I don't recall having any clear next steps          13   dated November 2nd, 2017. It appears to be from the
14   at the end of the meeting.                                14   Blakes law firm to the OSC. It has the Bates stamp SEC
15      Q So at that point, roughly, can you --                15   OSCE 5.
16   roughly, can you tell me when that meeting was?           16      A Uh-huh.
17      A I cannot.                                            17      Q Have you seen this letter before?
18      Q It was before the public sale, I take it?            18      A I saw it last week.
19      A Yes.                                                 19      Q Okay. You didn't see it at the time,
20      Q Okay. What happened after that?                      20   November 2nd?
21      A I don't know specifically. I just know it            21      A Not that I recalled at least as of last
22   got to the point where we decided, based on where -- we   22   week.
23   had conversations with counsel, and then later decided,   23      Q Sure. So you don't remember whether or not
24   you know what, let's just exclude Canada.                 24   you reviewed it in advance to it being sent?
25      Q And was that just purely the result of that          25      A No.



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                                                   Page 536                                                       Page 538
1       Q Who is Blakes?                                        1      A Correct.
2       A I believe they're a law firm in Canada.               2      Q And I'll just represent to you it appears
3       Q Okay. And -- well, were they Kik's law                3   that this letter from your lawyers to the OSC says the
4    firm?                                                      4   same thing, that it wasn't clear.
5       A I believe so, yes.                                    5      A Yep.
6       Q And did they represent Kik in connection              6      Q Okay. And then, just going on, it says,
7    with the Kin offering?                                     7   "In fact, the first time that the OSC staff
8       A I believe so, yes.                                    8   definitively communicated the position that the ITD
9       Q It sounds like they weren't your primary.             9   constituted an offering of securities was in the
10   It sounds like that was Cooley.                           10   telephone call to me from Ms. Chaukos," C-h-a-u-k-o-s,
11      A Correct.                                             11   "on September 5, shortly before the scheduled launch
12      Q Okay. Got it. Let me just read a few                 12   date."
13   lines and see if it jogs any recollection, if there's     13         Did you see where I read that?
14   anything you can say.                                     14      A No. Sorry. Where?
15      A Uh-huh.                                              15      Q Second-to-last paragraph.
16      Q After the first paragraph, the letter                16      A On the first page?
17   reads, "We acknowledge your expression of OSC staff's     17      Q Correct.
18   current position that the ITD constituted an offering     18      A Okay. Okay.
19   of securities."                                           19      Q Okay. What can you tell me about the
20           And do you see that the ITD is a defined          20   communication referred to here on September 5?
21   term relating to the sale of Kin?                         21      A I don't recall hearing about this
22      A Yep.                                                 22   communication.
23      Q Okay. When did you come to -- well, first,           23      Q So prior to the token distribution event,
24   did you ever come to understand yourself the OSC's        24   if I can call it that, did you ever hear that OSC staff
25   position on whether Kin sales were sales of securities?   25   had definitively communicated a position that the sale


                                                   Page 537                                                       Page 539
1       A I did not recall having definitive guidance           1   constituted an offering of securities?
2    any time before the token sale that they were saying       2      A Not that I recall.
3    for sure that they believed this was an offering of        3      Q Did anyone -- well, you didn't hear that.
4    securities.                                                4         Do you know if anyone at Kik knew that?
5       Q Okay. Right. The letter continues, "We                5      A I -- how could I know that? I don't recall
6    continue to disagree with that characterization,           6   hearing that from anybody.
7    although, that is not the focus of this response. I        7      Q Okay. You don't recall hearing that from
8    do, however, wish to correct the record where you          8   anybody. Had you known that, do you think your
9    indicated that OSC staff's position had been               9   approach to the public sale would have changed?
10   communicated to me in the meeting on August 14th and      10      A I don't think so.
11   discussions on August 21st. Those statements are not      11      Q You would have proceeded with not selling
12   entirely accurate nor fair to myself or Kik."             12   in Canada or China, but selling in other countries?
13           Now, the letter continues, but I just want        13      A Yes.
14   to look at those dates.                                   14      Q Okay. Are you aware of any distinctions
15      A Uh-huh.                                              15   between how Canadian law and U.S. law treats the
16      Q Were those meetings that are referred to             16   definition of securities?
17   here meetings that you were -- that you were describing   17      A I'm not aware.
18   earlier, that you were present at?                        18      Q Okay. So if something is a security under
19      A I was present at one meeting with the OSC            19   Canadian law, are you aware of any reason why it
20   in person. I'm not sure which of these two or if          20   wouldn't be a security under U.S. law?
21   either of these two were that meeting.                    21      A I'm not aware of any reason why it would or
22      Q Okay. And your recollection is you didn't            22   would not be.
23   leave that meeting with a clear impression from the OSC   23      Q This is just something you don't know
24   about whether they thought Kin sales were sales of        24   about?
25   securities, right?                                        25      A Right.



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                                          Page 540                                                           Page 542
 1       Q Okay. Kik didn't register the offering and       1         MR. LEASURE: Great.
 2   sale with Kin with the U.S. SEC prior to the public    2         MR. SCHLEGELMILCH: Mr. Livingston, the
 3   sale, correct?                                         3   Blakes firm, that's Kik's law firm, correct?
 4       A Correct.                                         4         THE WITNESS: I believe so, yes.
 5       Q Did Kik reach out to the SEC prior to the        5         MR. SCHLEGELMILCH: Okay. If you look at
 6   public sale?                                           6   the letter, there's an appendix that begins on SEC
 7       A Not to my knowledge.                             7   OSCE, and 13 is the last number.
 8       Q Why not?                                         8         THE WITNESS: Okay.
 9           MR. GIBBS: Same privileged instruction.        9         MR. SCHLEGELMILCH: And this appears to be
10           If you can answer the question without        10   information that the Blakes firm provided to the OSC on
11   revealing the content of attorney-client              11   Kik's behalf.
12   communications, do. If not, don't.                    12         THE WITNESS: Okay.
13           THE WITNESS: I cannot.                        13         MR. SCHLEGELMILCH: Is that -- that's how
14           BY MR. LEASURE:                               14   you read this as well?
15       Q I'm sorry. I just want to clear up an           15         THE WITNESS: I think what this is, is of
16   ambiguity. Is --                                      16   all the people that had registered so far -- I'm not
17       A Why we did not approach the SEC, I feel         17   sure if this was pre-token sale or post-token sale.
18   like I cannot reveal.                                 18         MR. SCHLEGELMILCH: Well, the letter is
19       Q You can't answer the question without           19   dated November 2nd, 2017, correct?
20   revealing privileged communications?                  20         THE WITNESS: Correct.
21       A Correct.                                        21         MR. SCHLEGELMILCH: Okay. And so whether
22           MR. LEASURE: And you're instructing him       22   this data is before the token sale or after the token
23   not to answer on that basis?                          23   sale, you'll agree with me, will you not, that the
24           MR. GIBBS: I am indeed.                       24   lion's share of the participants in the Kin ITD are in
25           MR. LEASURE: Great. Just to clarify the       25   the United States?


                                          Page 541                                                           Page 543
 1   record.                                                1          THE WITNESS: I don't know about the term
 2          MR. GIBBS: Yeah.                                2   "lion's share."
 3          BY MR. LEASURE:                                 3          MR. SCHLEGELMILCH: Okay. Fair enough.
 4      Q Okay. I'm sorry. Just because I don't             4   Let's use numbers. 3,500 of them.
 5   fully remember if we covered the waterfront here.      5          THE WITNESS: Okay.
 6          There was discussion about whether or not       6          MR. SCHLEGELMILCH: Is that right?
 7   to reach out to the U.S. SEC in advance of the Kin     7          THE WITNESS: That's what it says.
 8   sale?                                                  8          MR. SCHLEGELMILCH: Is that consistent with
 9          MR. GIBBS: You can go ahead and answer          9   your understanding?
10   that. I --                                            10         THE WITNESS: I'm not sure if this is
11          THE WITNESS: Yes.                              11   registration or the people who actually ended up
12          MR. GIBBS: Because it's the subject of the     12   purchasing. But if it -- let's assume for a second it
13   communication.                                        13   is the people that actually ended up purchasing, what I
14          THE WITNESS: Yes.                              14   would want to know is what the total count is and what
15          BY MR. LEASURE:                                15   the participation amount is, to answer your question.
16      Q And were to ask you the contents of that,        16         MR. SCHLEGELMILCH: Well, it says the total
17   that would -- well, can you tell me the contents of   17   participation amount is $16 million, U.S. dollars.
18   that communication?                                   18          THE WITNESS: Yes. But we'd have to add up
19      A I cannot.                                        19   that entire column to figure out what percentage --
20      Q Because of attorney-client privilege?            20          MR. SCHLEGELMILCH: I understand.
21      A I cannot because of attorney-client              21          THE WITNESS: -- the United States was.
22   privilege.                                            22          MR. MITCHELL: Roughly how much -- roughly
23          MR. LEASURE: And you're instructing him        23   how many -- roughly how much did all of the people in
24   not to provide that information?                      24   the public sale pay to Kik for Kin tokens?
25          MR. GIBBS: I am indeed.                        25          THE WITNESS: I believe it was $48 million.



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                                                 Page 544                                                     Page 546
 1             MR. MITCHELL: Okay.                            1       A No.
 2             THE WITNESS: So it looks like roughly a        2       Q But it's possible that Peter, Eileen, if
 3   third.                                                   3    she was there, maybe Nancy, somebody on -- working for
 4             (Simultaneous speakers.)                       4    Kik may have?
 5         MR. MITCHELL: And roughly how many people          5       A Yes.
 6   purchased Kin tokens in the public sale?                 6       Q Okay. And you would expect if someone did,
 7             THE WITNESS: 10,000.                           7    it might be one of those people?
 8             MR. SCHLEGELMILCH: Okay. So --                 8       A Yes.
 9             THE WITNESS: Roughly a third.                  9       Q Okay. Thanks. I'll take it back.
10             MR. SCHLEGELMILCH: Okay. That's what I'm       10      A No problem.
11   getting at. And the next highest country by              11      Q In the -- I want to ask a few sort of basic
12   participant is the United Kingdom, which only has 758?   12   structural questions about the private and public sale.
13             THE WITNESS: Correct.                          13      A Sure.
14             MR. SCHLEGELMILCH: Okay. That's all I          14      Q Kik raised dollars from the private sale,
15   have.                                                    15   right?
16             BY MR. LEASURE:                                16      A Correct.
17      Q I'll take that back from you. Thank you.            17      Q Where did it put those dollars?
18       MR. MITCHELL: Just one more question.                18      A Where did it put those dollars? Into a
19         Blakes sent Exhibit 186 to the OSC for Kik,        19   bank account?
20   on Kik's behalf?                                         20      Q Do you know where?
21             THE WITNESS: Sent this?                        21      A I do not recall where.
22             MR. MITCHELL: The letter. The letter           22      Q That's fine. And were they -- were all of
23   that's Exhibit 186.                                      23   the dollars put into one bank account?
24          THE WITNESS: I would assume so, but I'm           24      A I don't know.
25   not sure.                                                25      Q Were they -- do you know if a separate


                                                 Page 545                                                     Page 547
 1         MR. SCHLEGELMILCH: Well, the first                  1   account was -- if the proceeds were segregated into
 2   sentence of the letter is, "I write on Kik's behalf,"     2   different accounts by each unique purchaser?
 3   correct?                                                  3      A I do not know.
 4         THE WITNESS: Yes.                                   4      Q Okay. You don't know either way?
 5             MR. SCHLEGELMILCH: Okay.                        5      A No, not that I recall.
 6             THE WITNESS: I don't recall seeing this         6      Q Would you expect them to be segregated by
 7   letter.                                                   7   Purchaser 1, Purchaser 2, Purchaser 3?
 8             BY MR. LEASURE:                                 8     A No.
 9     Q At this time, did -- was -- Blakes was                9      Q Would you expect them to be pooled
10   Kik's law firm, right?                                   10   together?
11     A Right.                                               11      A I would expect them to be put into a bank
12      Q Did they have a point person within Kik who         12   account. I'm not sure if that would be separate bank
13   dealt with Blakes?                                       13   accounts or one bank account. I'm not sure.
14     A I'm not sure. I'm not sure if they would,            14      Q You don't know either way?
15   for example, work with Peter. It might have been, or     15      A Right.
16   they might have worked with Nancy who worked with        16      Q Who owned -- who controlled those -- that
17   Peter. I'm not sure.                                     17   bank account or bank accounts after the private sale?
18      Q Was -- I can't remember when Eileen came on         18     A Kik Interactive, Inc., the company.
19   board for Kik. Had she came on board at this point?      19      Q Okay. Sure. So let's say a private sale
20     A I can't remember when exactly she came on            20   purchaser -- and let me back up a bit. And Kik, I
21   board.                                                   21   think you've testified earlier, used that money in part
22      Q Okay.                                               22   for the Kin project and part to fund Kik into Kik's
23      A But I think it was before November 2nd.             23   messenger app business; is that right?
24      Q Okay. So it sounds like you didn't -- you           24     A Yes.
25   don't recall reviewing this letter, right?               25      Q So Kik directed how that money would be



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                                                    Page 548                                                      Page 550
 1   spent?                                                     1   knowledge. I just -- please, if you're going to keep
 2      A Correct.                                              2   us here, focus on things that you actually need to ask
 3      Q Okay. Let's say I'm a private sale                    3   him as opposed to things you already know, please.
 4   purchaser and I wanted to direct how my money -- the       4         BY MR. LEASURE:
 5   portion of that -- of my contribution that's in that       5     Q Who controlled the Kik -- the public sale
 6   bank account would be directed or spent.                   6   proceeds after the public sale?
 7        Could I do so?                                        7      A The revenue from the public sale, who
 8      A You could try to influence it, I guess, but           8   controlled that revenue?
 9   not -- like, at the end of the day, the final decision     9       Q Yeah.
10   was ours. Yes.                                            10       A Kik.
11      Q Sure. I could influence it by calling you            11      Q Okay. So if I'm a Kin purchaser and I
12   up and saying, "Hey, Ted, I'd like you to do this"?       12   said, "Hey, I'd like you to spend this on XYZ," that
13      A Yeah. "Have you thought about," or                   13   wasn't my right to direct how that money would be
14   whatever, yeah.                                           14   spent?
15      Q Right. But I couldn't directly control the           15       A Correct.
16   money in that account?                                    16       Q And would you say Kik pooled the proceeds
17      A Correct.                                             17   from the public sale?
18      Q Okay. Same questions for the public sale.            18      A I would say best of my knowledge, the way
19        They paid Ether, right?                              19   the smart contract worked, is you send Ether to the
20      A They paid Ether to buy Kin, correct.                 20   smart contract. The smart contract sent Kin to you.
21      Q Better way of putting it. Thank you.                 21   And then that Ether came to us. I'm not sure if that
22          And Kik exchanged the majority of that             22   was in one wallet or many wallets, but certainly came
23   Ether as -- into dollars at some point?                   23   under our control, yes.
24     A We sold Ether for dollars over time, yes.             24      Q Got it. Kin created -- sorry.
25   I believe we still have some of that Ether.               25          As part of the Kin project, Kik created 10


                                                    Page 549                                                      Page 551
 1      Q Okay. So it has both -- the proceeds of               1   trillion Kin tokens; is that right?
 2   that are both some Ether, some dollars?                    2       A Correct.
 3      A Yes.                                                  3      Q Okay. Were each of them equal?
 4      Q And did -- has it pooled that -- let's say            4      A Yes.
 5   the Ether, is it held in one wallet?                       5      Q Did any -- none of them had, like, special
 6      A I'm not sure.                                         6   or additional value?
 7      Q Is it held in separate wallets, segregated?           7      A No.
 8      A I don't know how it's held.                           8      Q If the value of one of them went up in the
 9      Q Okay. Is it held in -- do you know if                 9   market, would you expect the value of all the others to
10   there is 10,000 wallets for each Kin purchaser's          10   go up by the same amount?
11   contribution?                                             11      A What is the value? The value is --
12      A That feels like it would be impractical,             12      Q Let's say --
13   but not impossible. I don't know.                         13      A I'm just going to answer. Like, there's
14      Q You don't know?                                      14   no, like, magical thing that makes one worth the same
15      A We could find out. Yeah.                             15   as all the others at any point. It's -- you know, all
16      Q It would be more practical to put it in one          16   Kin are created equal. And so if somebody says, "I
17   wallet, would you agree with that?                        17   want to buy Kin and I'm willing to pay this price,"
18     A I don't know. Yeah, I guess so. Sure.                 18   then, you know, maybe somebody says, "Okay. I'll sell
19      Q Okay.                                                19   you my Kin for that," but then it's gone, you know.
20       MR. GIBBS: Jeff, I don't mean to                      20      Q Right.
21   interrupt, but can I just make a request, please?         21      A So does that make the other Kin worth that
22   We're really late in the second day. People have          22   much? No, not necessarily.
23   flights to make. And you've just spent ten minutes        23      Q I understand your point. All Kin were --
24   asking him a bunch of questions about facts you already   24      A There's no magical mechanism.
25   know that are undisputed and where he has no unique       25      Q All Kin were created equal.



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 1      A Yes.                                                  1   document?
 2      Q If I were to offer to pay more for Kin held           2       A Not immediately. I'm looking at the title.
 3   by Kik than Kin held by somebody else, that would be       3   Based on the title on the first page, I don't recognize
 4   irrational?                                                4   it.
 5      A But possible.                                         5       Q Okay.
 6      Q It's possible.                                        6       A I see that there are Bates numbers, so that
 7      A Right.                                                7   gives me a hint of what it might be, but I don't
 8      Q But a rational person would treat all Kin             8   recognize it.
 9   as the same value?                                         9       Q Okay. Did you review any document like
10      A A rational person would say, "Hey, I want            10   this at any point?
11   to buy Kin. Who wants to sell Kin," and then buy it       11       A It's possible, but I don't recall reviewing
12   from the person who is offering it for the lowest         12   this document when I look at this right now.
13   price.                                                    13       Q Okay. Okay. I'll take it back.
14      Q Okay. And some Kin was held by the public            14          Is Kin tradable for other tokens?
15   after the public sale?                                    15       A It is.
16      A Yes.                                                 16       Q And we're -- if I wanted to do that, what
17      Q And some by the Foundation?                          17   would I do?
18      A Yep.                                                 18       A You have different options. You could find
19      Q And some by Kik, right?                              19   somebody who -- on the street, you know.
20      A Correct.                                             20       Q Sure.
21      Q And those were all equal?                            21       A "Hey, I have Kin. You have Bitcoin. Do
22      A All the Kin that they held were equal.               22   you want to trade?" That's possible. There's also
23   Correct.                                                  23   exchanges that help make that process more efficient
24      Q All three of those --                                24   for people who want to do that. I'm not exactly sure
25      A Were technologically equal, yes.                     25   which exchanges you can do that with Kin today.


                                                Page 553                                                       Page 555
 1      Q Okay. And you would have -- you have no               1      Q Okay. Generally in the crypto space, there
 2   reason to think they'd be of different value just          2   are exchanges that allow people to exchange a
 3   because they were held by Kik versus the public?           3   cryptocurrency for another?
 4      A No.                                                   4      A Correct.
 5      Q Okay.                                                 5      Q Or a cryptocurrency for, if I can use the
 6       MR. MITCHELL: Would a rise and demand                  6   term, fiat currency, like a dollar?
 7   affect the value of Kik's Kin differently than it would    7      A Correct.
 8   affect the value of the public's Kin?                      8      Q Okay. You don't know which exchanges Kin
 9         THE WITNESS: No, not logically. It's                 9   is listed on?
10   possible, but no, not logical.                            10       A I know it was on Bancor, for example. But
11            BY MR. LEASURE:                                  11   outside of that, I don't know specifically. I don't
12      Q I'm going to introduce you very quickly a            12   recall.
13   document, Exhibit 206.                                    13      Q I apologize. B-a-n --
14        (SEC Exhibit No. 206 was marked for                  14      A Bancor. B-a-n-c-o-r.
15   identification.)                                          15      Q Thank you. We talked earlier, I think you
16         BY MR. LEASURE:                                     16   testified, correct me if I'm wrong, that it's important
17      Q Take a look at it. I'm going to ask you a            17   for the Kin project to allow people to have liquidity
18   very short series of questions. The first one of which    18   in Kin for other instruments?
19   is: Do you recognize this document?                       19      A Correct.
20      A I do not, not immediately.                           20      Q Okay. And getting listed on exchanges
21      Q Okay.                                                21   would help with that liquidity?
22      A I'm not actually sure what this is, RFA.             22     A Correct.
23   I'm not even sure what "RFA" stands for. Do you want      23       Q Okay. And do you hope that Kin will be
24   me to read it, or what's your --                          24   listed on exchanges?
25      Q Eyeballing it, you don't recognize this              25       A At some point, for Kin to achieve the



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 1   vision it wants to achieve, it would accelerate its       1          Do you see that?
 2   ability to do that by being listed on more exchanges      2       A I do.
 3   than it is today.                                         3       Q And the Kin Foundation Twitter handle
 4      Q Okay. And people who hold Kin -- we talked           4    responds, "We have been given indication from multiple
 5   about this earlier. People who hold Kin have been         5    exchanges that they plan to list the token. No
 6   asking when will Kik be listed -- when will Kin be        6    specifics available yet, though."
 7   listed on exchanges?                                      7       A Yep.
 8       A Correct.                                            8       Q Let me pause there. Do you know who wrote
 9      Q Okay. I'm going to show you a document I'm           9    that Tweet from the Kin Foundation?
10   marking Exhibit 207.                                      10      A I do not.
11           (SEC Exhibit No. 207 was marked for               11      Q Okay. You suspect it might be -- is it
12   identification.)                                          12   fair to say it might be someone -- an employee in
13           BY MR. LEASURE:                                   13   Israel who managed that account?
14      Q Take a look at Exhibit 207 and let me know           14      A Might have been somebody in Israel. Might
15   when you're ready. This one is shorter. I'll              15   have been somebody in the U.S., in the New York office.
16   represent to you this document, Exhibit 207, does not     16   Could have been actually somebody in Waterloo. There's
17   have a Bates stamp. I'll represent to you this is a       17   somebody on the community team today who's in Waterloo.
18   Tweet --                                                  18         So it's hard for me to say who exactly.
19      A Yep.                                                 19   But a Kik employee would have wrote this.
20      Q -- that we at the SEC saw on Twitter and             20      Q Yeah. But it wasn't you?
21   printed out. It looks like in August of 2018. The         21      A No, not to my recollection.
22   Tweet appear -- just to recognize it, the Tweets here     22      Q Fair enough. When they -- whoever it is,
23   appear to be dated September 17 and September 18 of       23   when the Kin Foundation Twitter handle says they have
24   2017.                                                     24   been -- that, "We have been given indication from
25      A Uh-huh.                                              25   multiple exchanges that they plan to list the token,"


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 1      Q Do you see that at this point?                        1   let me pause there.
 2      A Yep.                                                  2         Do you know what exchanges are being
 3      Q And the Twitter account is -- one of the              3   referred to?
 4   Twitter accounts here is Kin Foundation.                   4      A I do not.
 5           Do you see that?                                   5      Q Had Kik gotten -- this is prior to the
 6      A I do.                                                 6   public -- the completion of the public sale, correct?
 7      Q Let me -- let me just ask a few basic                 7     A I can't recall when the public sale
 8   things. Have you seen this Tweet before?                   8   completed, but I'll take -- if you're saying it did,
 9      A I don't recall seeing this Tweet before.              9   then yes.
10      Q Okay. Kin Foundation had a Twitter account           10      Q Right. That's fine. And it's around the
11   in September of 2017?                                     11   time of the public sale, in any event, right, September
12      A Yes.                                                 12   of 2017?
13      Q How -- who ran that?                                 13      A Yes.
14      A I'm not exactly sure, but I think it was a           14      Q That's fair?
15   team in Israel if I had to guess.                         15      A That's fair.
16      Q Okay. That they would post things or reply           16      Q Okay. Had Kik gotten indication or been in
17   to Tweets to them on that Twitter handle?                 17   communications with exchanges at that point?
18      A Yes.                                                 18     A I can't recall what conversations exactly
19      Q Okay.                                                19   had happened at that point, but I -- you know, when a
20           MR. MITCHELL: Were those Kik employees?           20   new cryptocurrency gets created, they would go on to
21           THE WITNESS: Yes.                                 21   exchanges. So I have no reason to believe that there
22           BY MR. LEASURE:                                   22   wouldn't be multiple exchanges who had told us -- had
23      Q Okay. And just to read out what we're                23   indicated to us that they plan to list Kin as a token
24   seeing here, a Twitter user says, "Hey," emoticon, "any   24   on their exchange.
25   news on the exchanges Kin will be available on?"          25      Q You don't know what exchanges they were or



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                                                  Page 560                                                       Page 562
 1   if that communication happened?                           1   a bell.
 2       A No.                                                 2      A Sure.
 3      Q Okay. I'll take that back. Has Kik made              3      Q Kraken, K-r-a-k-e-n?
 4   efforts to get Kin listed on exchanges?                   4      A I don't remember a specific conversation,
 5      A Yes.                                                 5   but it wouldn't surprise me.
 6      Q Tell me about that.                                  6      Q Binance.
 7      A For Kin to work as a business model for              7      A Yep.
 8   developers, they would need to be able to sell Kin in     8     Q There has been --
 9   some cases on exchanges for dollars to pay for their      9     A We had conversations with them. Again, I
10   expenses. That's what made it a fundamentally new        10   wasn't involved in many of these conversations. I'm
11   business model. And so as part of that, we -- you        11   not sure if I was -- I did meet someone from an
12   know, there's sort of better exchanges and worse         12   exchange at ConsenSys this year in 2018, but I recall
13   exchanges, more popular exchanges and less popular       13   who that was.
14   exchanges.                                               14      Q Okay. Coinrail? I think they might be a
15         And so I think this was a period where what        15   Korean exchange.
16   exactly -- how cryptocurrencies and exchanges would      16     A That one doesn't ring a bell.
17   work together was rapidly changing. Whereas, you know,   17     Q Okay. What have you been involved in
18   very shortly before this, it seemed like, from our       18   yourself?
19   point of view, from my point of view, exchanges would    19     A What have I been involved with when it
20   just list tokens on their own.                           20   comes to exchanges?
21         Whereas today, you know, exchanges won't           21      Q Yes, please.
22   list tokens without sort of direct contact and           22      A I've been getting updates from different
23   discussion with the projects themselves.                 23   members of the team who have been working with
24      Q And so you expected that prior -- prior to          24   exchanges. I've had a couple of conversations with
25   the public sale, your expectation was exchanges would    25   exchanges or people that work at exchanges themselves.


                                                  Page 561                                                       Page 563
 1   just start listing and allowing trading in Kin?           1      Q In this post -- I take it it's a somewhat
 2      A Yes.                                                 2   new world for exchanges than it was before the public
 3      Q And that's changed since the public sale?            3   sale. I think that's what you testified to, that they
 4      A For the entire industry, yes.                        4   want contact from the project.
 5      Q Oh, right. Not just for Kin?                         5      A Correct.
 6      A Yes.                                                 6      Q What do they want?
 7      Q And they expect contact from, you said, the          7      A I think they want many different things.
 8   project itself?                                           8   For example, they want to see the utility. They
 9      A Yes.                                                 9   also -- in certain cases, I seem to recall they want
10      Q And that would be, like, the Kin project?           10   legal opinions as well.
11      A Any project that. The people whose                  11      Q That the tokens aren't securities?
12   brainchild this was.                                     12      A Yes.
13      Q Okay. And in this -- in the Kin case, that          13      Q Has Kik provided them that?
14   would be you or people at Kik?                           14      A I'm not sure what exactly we have provided
15      A Correct.                                            15   to exchanges. But I seem to recall that there was some
16      Q Got it. And so Kik has reached out to               16   technical reason, nothing to do with crypto or
17   exchanges as part of that?                               17   securities, but just to do with the definition of a
18      A Correct.                                            18   legal opinion of why it was difficult to give a legal
19      Q Which ones?                                         19   opinion.
20      A I know we reached out to Bittrex. We've             20      Q Can you amplify that?
21   had conversations with them. We've had conversations     21         What do you know about that?
22   with Coinbase. Beyond that, no names immediately come    22         MR. GIBBS: I want to caution you again.
23   to mind. But I know we've had conversations with many.   23   If you can answer the question without revealing the
24      Q Okay. Let me just give you a few other              24   content of communications with counsel, by all means,
25   names to see if any -- if contact with them might ring   25   do. Otherwise, don't.



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                                                    Page 564                                                        Page 566
 1           THE WITNESS: Yes. I had conversations.             1           Other than -- well, let me ask just one
 2   My understanding of this would come from conversations     2   followup question. Other than the video to Bittrex,
 3   with Eileen, who was our internal counsel.                 3   are you aware of any other -- sort of something similar
 4           BY MR. LEASURE:                                    4   and evidence of utility that Kik has provided to an
 5      Q Understood. Again, that caution applies.              5   exchange?
 6   Do you know what an opinion letter from a law firm is?     6           THE WITNESS: Nothing comes to mind.
 7      A I do not.                                             7           MR. SCHLEGELMILCH: What about evidence of
 8      Q Okay. Has Kik given -- to your knowledge,             8   utility that Kik has provided to anyone -- any other
 9   has Kik given an opinion letter to an exchange?            9   sort of entity or thing regarding the Kin token?
10      A Not to my knowledge.                                 10           THE WITNESS: Nothing comes to mind.
11      Q Have exchanges asked for one?                        11           MR. SCHLEGELMILCH: Okay. Thank you.
12      A I can't say for sure, but I feel like they           12           BY MR. LEASURE:
13   have asked for it.                                        13      Q Bittrex. You have -- did you have contact
14      Q Okay. And do you know why Kik hasn't given           14   with them?
15   an opinion letter to an exchange?                         15      A I did speak to the CEO of Bittrex.
16           MR. GIBBS: Same instruction.                      16      Q Who is that?
17           THE WITNESS: Yeah. It's attorney-client           17      A I can't remember his name.
18   privilege.                                                18      Q Let me give you -- I see an e-mail between
19           MR. LEASURE: And you're instructing him           19   you guys in September of 2017, just to be -- just to
20   not to answer that?                                       20   move this along.
21           MR. GIBBS: I am.                                  21      A Sure.
22           MR. LEASURE: Okay.                                22      Q A person named Bill Shihara, S-h-i --
23           MR. SCHLEGELMILCH: While you're looking           23      A That's the one, yeah.
24   for documents, I just want to make sure I understood      24      Q -- h-a-r-a. I see an e-mail setting up a
25   your testimony. Did you say that the exchanges were       25   discussion in September of 2017.


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 1   also looking for -- and I'm not trying to misquote you.   1       A Yep.
 2   I'm just trying to bring you back -- for evidence of      2       Q Can you give me any color about that
 3   utility or something like that, something to effect of    3    discussion, what happened?
 4   that?                                                     4       A I can't recall specifically, but my best
 5           THE WITNESS: Yes. I think exchanges               5    guess is I explained the vision of Kin to him.
 6   wanted to see that you could buy a cryptocurrency and     6       Q And how did they react?
 7   use it, and we demonstrated that to exchanges.            7       A They thought it was awesome.
 8           MR. SCHLEGELMILCH: To which ones?                 8       Q That's great. And what happened next?
 9           THE WITNESS: I can't recall specifically.         9       A From what I can tell, nothing happened
10   I think Bittrex, we showed that to. I can't recall who    10   next.
11   else.                                                     11      Q And why is that?
12           MR. SCHLEGELMILCH: Do you remember how you        12      A I don't know.
13   did that, how you demonstrated that to Bittrex?           13      Q Did they -- and did they ask for a legal
14           THE WITNESS: I think we took a video of it        14   opinion, anything like that?
15   and sent it to them.                                      15      A I can't recall.
16           MR. SCHLEGELMILCH: Okay. So there's a             16      Q Coinbase --
17   video that you sent to Bittrex?                           17      A Yeah.
18           THE WITNESS: I believe so, but I'm not            18      Q Has there been recent -- I'll represent to
19   100 percent sure.                                         19   you we got -- I think from a letter from counsel, we
20           MR. SCHLEGELMILCH: Okay. Has that video           20   heard that there was some recent-ish, maybe in the last
21   been provided, Counsel?                                   21   couple months, interactions with Coinbase.
22           MR. MITCHELL: Yes, I think so.                    22           Does that ring a bell for you?
23           MR. SCHLEGELMILCH: It has?                        23      A It does.
24           MR. MITCHELL: I believe it has.                   24      Q Tell me about it.
25           MR. SCHLEGELMILCH: Thank you. Thank you.          25      A I can't recall the last couple of months.



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                                                Page 568                                                          Page 570
 1   I do know that their CTO reached out somewhat recently,    1      Q Okay. Do you know what exchanges?
 2   I would say, in the last two weeks about Kin.              2      A I do not. A lot of them.
 3      Q Okay. Let's back up. What is Coinbase?                3      Q A lot of them. Has he had success so far?
 4      A Coinbase is a place to buy, sell, and                 4      A I'm not sure.
 5   manage cryptocurrencies, is how I'd describe it.           5      Q Well, I mean, has a major exchange listed
 6      Q So it's an exchange, like the other ones              6   Kin?
 7   we've been describing?                                     7      A Not yet.
 8     A Yep.                                                   8      Q And I take it his efforts are to get larger
 9      Q Okay. And there was outreach from Coinbase            9   exchanges to list Kin?
10   to Kik?                                                   10      A Correct.
11      A Yes.                                                 11      Q Okay. So other than Kik and its role and
12      Q What do you know about that outreach?                12   the Kin Foundation, are you aware of anyone else
13        What were they saying?                               13   reaching out to exchanges to get Kin listed?
14      A That they were looking at listing Kin and            14      A I am not.
15   they wanted to learn more.                                15      Q Okay.
16      Q And what did they want to learn?                     16      A That's not true, actually.
17      A I'm not sure.                                        17      Q Okay.
18      Q Did Kik give them information?                       18      A I have heard in the Reddit community people
19      A I'm not sure.                                        19   reaching to exchanges to get Kin listed.
20      Q Okay. Did Kik file an application to be              20      Q And do exchanges come back to them? Just
21   listed?                                                   21   from what you're seeing in Reddit, do exchanges have a
22       A I believe we did, yes.                              22   dialog with those people?
23      Q And did that application go into the                 23      A It looks like they do, yes.
24   securities laws, anything like that?                      24      Q Do those people provide legal analyses to
25      A I'm not sure.                                        25   the exchanges?


                                                Page 569                                                          Page 571
 1      Q Don't know. Do you know who prepared it?             1       A I don't know.
 2      A I would think Eileen, but I'm not sure.              2       Q Okay. A few quick questions about the
 3      Q Did you review it before it was sent?                3    Foundation. The Foundation has a series of agreements
 4      A No, I don't think so.                                4    with Kik Interactive; is that right?
 5     Q Okay. Are you -- so Kik -- sorry. I guess             5       A Correct.
 6   Kik as the face or the sponsor of the Kin project is      6       Q What do those agreements provide for?
 7   talking to exchanges -- has been talking to exchanges,    7       A So the Kin Foundation today, as I
 8   correct?                                                  8    understand it, has two members and two board members,
 9      A Correct.                                             9    myself and William. We have one consultant, which is
10      Q Okay. How about -- are you aware of other            10   Juan. And I believe we have our own counsel, but I'm
11   parties trying to get Kin listed on exchanges and         11   not sure, separate counsel.
12   reaching out to exchanges?                                12          So there's many things that the Foundation
13      A I am aware that the Kin Foundation hired a           13   needs to do that it doesn't yet have employees to do.
14   consultant to reach out to exchanges, to get Kin listed   14   And so I believe the contract is contracting Kik to do
15   on exchanges.                                             15   those things for it.
16      Q Who was the consultant?                              16      Q Okay.
17      A His name is -- his first name is Juan. I             17      A But I'm not exactly sure.
18   can't remember his last name.                             18      Q That's fine. And we can read the contract
19      Q Is he affiliated with a company or it's --           19   and see. But the Foundation doesn't have employees and
20   he's a solo person?                                       20   needs things to be done on its behalf?
21      A He is a consultant hired by the Kin                  21      A Correct.
22   Foundation.                                               22      Q And it contracted with Kik Interactive to
23      Q Okay. And has he been reaching out to                23   provide those employees and those services?
24   exchanges on behalf of the Kin Foundation?                24      A In some cases, yes.
25      A Yes.                                                 25      Q Okay. In other cases, the Foundation does



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                                                   Page 572                                                       Page 574
 1   things on its own?                                         1   that work is -- are those being done for the Kin
 2       A For example, we contracted with Juan to              2   Foundation, just the part where the decision has to be
 3   approach exchanges, and it did that on its own, yes.       3   made whether to do the investment?
 4       Q Right. It reaches its own contracts with             4          THE WITNESS: Sorry. Say that again.
 5   others?                                                    5          MR. MITCHELL: In what you just described,
 6       A Yeah.                                                6   what part of -- what work is being done there for the
 7       Q Okay. Has the Foundation to date paid Kik            7   Kin Foundation under those agreements?
 8   for services Kik has rendered to the Foundation?           8          THE WITNESS: What work in that scenario is
 9       A I don't believe so.                                  9   being done by Kik?
10       Q Does it owe Kik money?                              10          MR. MITCHELL: For the Kin Foundation.
11       A I believe there was a loan agreement                11          THE WITNESS: Oh, that's what I'm saying.
12   between Kik and Kin, yes.                                 12   It's sort of a complicated thing to -- you know, what's
13       Q And how will the Foundation pay Kik back,           13   been done by Kik for itself to grow the value of its
14   if you know?                                              14   Kin and therefore the Kin of everybody else versus
15       A It has the same business model as everybody         15   what's being done for the Kin Foundation specifically,
16   else in the ecosystem, which is it holds a large piece    16   which is also trying to grow the Kin economy for itself
17   of that asset and it can sell that -- pieces of that      17   and for everyone else.
18   asset for dollars.                                        18          MR. MITCHELL: So the people you were
19       Q Got it. So the idea is if it needs to pay           19   describing just then who might be out talking to
20   Kik for services rendered, it can sell some Kin?          20   possible partners --
21       A Yep.                                                21          THE WITNESS: Yep.
22       Q And pay Kik the proceeds of that?                   22          MR. MITCHELL: -- who is paying them?
23       A Yeah. Kik or anybody else.                          23          THE WITNESS: Kik.
24       Q Okay. And so Kik employees currently are            24          MR. MITCHELL: And is Kik getting
25   working under this agreement for the Foundation?          25   reimbursed for that?


                                                   Page 573                                                       Page 575
 1      A I think it's -- well, if I step back for a            1         THE WITNESS: No, not to my knowledge.
 2   second, I think it's -- part of it is a question in        2         MR. LEASURE: I think we need to take a
 3   what exactly the Kin Foundation is responsible for.        3   disc or tape break.
 4   And so I think, fundamentally, what the Kin Foundation     4         MR. MITCHELL: Oh, sorry.
 5   is responsible for is the fair and productive spending     5         MR. LEASURE: We'll go off the record.
 6   of its 6 trillion Kin.                                     6         THE VIDEOGRAPHER: This ends Disc Number 3.
 7          There is other ideas in the past of                 7   Going off the record. The time is 4:10 p.m.
 8   different things they could be responsible for. But at     8         (Recess.)
 9   the end of the day, I think that is what it is             9         THE VIDEOGRAPHER: This begins Disc
10   responsible. For example, we talked about renaming the    10   Number 4. We are back on the record.
11   Kin Foundation, the Kin reserves. So when I look at       11         The time is now 4:13 p.m.
12   that, the reason I give that context, there were          12         MR. MITCHELL: Mr. Livingston, during the
13   employee working on that, like, largely, that's just      13   break, did you have any substantive conversations with
14   spending decisions that William and I say yes or no to.   14   the staff about the case?
15      Q Okay.                                                15         THE WITNESS: I did not.
16      A So Kik employees are doing many things in            16         MR. MITCHELL: Has Kik done work for the
17   the ecosystem. Some of them are finding partners,         17   Kin Foundation that it expects to get reimbursed for
18   talking to them about, you know, why Kin is great, et     18   under the services agreement?
19   cetera, and then bringing them to the Foundation and      19         THE WITNESS: It's unclear to me what
20   saying, "Hey, if you give them this much Kin, then        20   work -- because it's just a brand new thing. Nobody
21   maybe they will develop for the Kin ecosystem. Do you     21   has ever done this before -- what work Kik is doing for
22   want to do that?" And William and I can make the          22   itself and what work it is doing for the Foundation.
23   decision, yes or no.                                      23         MR. MITCHELL: Why is that unclear to you?
24      Q Got it.                                              24         THE WITNESS: For example, Kik is paying
25       MR. MITCHELL: In that example, what of                25   employees to go out and find developers to integrate



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 1   Kin. Is Kin doing that for the Foundation and it           1   for itself for its own selfish participation in the
 2   should get reimbursed or is Kik doing that for itself      2   ecosystem and what Kik should get reimbursed for that
 3   because it holds 3 trillion Kin? It's unclear.             3   the Kin Foundation -- work it's doing for the Kin
 4          MR. MITCHELL: Okay. Has the Foundation              4   Foundation.
 5   instructed Kik to do that work?                            5          MR. MITCHELL: And are people working those
 6          THE WITNESS: It's unclear to me. I'm not            6   issues out?
 7   sure.                                                      7         THE WITNESS: I think we're iterating
 8          MR. MITCHELL: I guess I don't understand.           8   through the options.
 9   If there are only two board members at the Foundation,     9           MR. MITCHELL: Who's the "we"?
10   how could the Kik -- how could the Foundation have        10           THE WITNESS: Myself and William largely
11   given Kik that instruction but you not know about it?     11   and -- I think the lead would be myself and William,
12          THE WITNESS: I guess what I meant by that          12   but also in discussions with employees from Kik as
13   was I'm not sure what's in the services agreement. I      13   well.
14   wasn't involved in the drafting of that. I don't          14           MR. SCHLEGELMILCH: Are any other Kin
15   recall personally William and I -- or I taking a vote     15   owners doing work for the Foundation?
16   to go tell Kik to do this.                                16        THE WITNESS: Are any -- maybe if the
17          MR. MITCHELL: And what about -- have you           17   question is: Are any other Kin owners meeting with
18   and William taken a vote or in any way told Kik to do     18   William and I in sort of a board meeting setting? No.
19   any specific work?                                        19   Well, only Juan -- I believe Juan is an owner of Kin.
20          THE WITNESS: I think what William and I            20   He may be. But other than him, I would say no.
21   have done is Kik employees have come to us with           21         MR. SCHLEGELMILCH: But he's meeting as a
22   proposals for partners and the Kin they would get to      22   consultant, right?
23   join the ecosystem in lieu of having the Kin Rewards      23           THE WITNESS: Correct.
24   Engine at this point. And William and I have              24           MR. SCHLEGELMILCH: So -- but I guess the
25   instructed them whether we agree or disagree with that    25   Kin Foundation doesn't have any services agreement or


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 1   proposal.                                                  1   any other sort of agreement with any other Kin owners,
 2         MR. MITCHELL: Anything other than those              2   correct?
 3   kinds of interactions?                                     3           THE WITNESS: Not to my knowledge.
 4         THE WITNESS: Not that I can think of.                4           MR. SCHLEGELMILCH: Only with Kik?
 5          MR. MITCHELL: Okay. Now, let me just                5           THE WITNESS: To the best of my knowledge,
 6   put -- have you put on your Kik CEO hat. Is Kik -- are     6   yes.
 7   there any Kik employees who are tracking their hours to    7           BY MR. LEASURE:
 8   say, "This amount of work I'm doing, I'm doing for the     8      Q Was there ever a consideration of hiring a
 9   Foundation under the services agreement"?                  9   CEO for the Foundation?
10        THE WITNESS: Not to my knowledge. It's               10     A Yes.
11   possible, though, but not to my knowledge.                11      Q Tell me about that.
12         MR. MITCHELL: Is anybody planning to do             12      A I think it's been unclear and is still
13   that?                                                     13   unclear what exact role the Kin Foundation will play
14           THE WITNESS: Not to my knowledge, but it's        14   over the next five or ten years. Lots of different
15   possible.                                                 15   crypto projects have tried lots of different ways, many
16         MR. MITCHELL: It's possible that it might           16   of which haven't worked or have been damaging to the
17   happen in the future?                                     17   overall success of the project.
18        THE WITNESS: Or that people might be doing           18         And so we're trying to figure out what is
19   it today.                                                 19   the best -- what is the role at the end of the day of
20          MR. MITCHELL: Okay. Is there any plan for          20   the Kin Foundation. That, I think, has been the
21   Kik to sort of assemble a bill and say, "This is the      21   primary discussion. Like, "Should we be doing this or
22   work that Kik did, and we'd like to get reimbursed for    22   should we be doing that?" I think where I have
23   it"?                                                      23   landed -- but, again, this is an ongoing discussion --
24           THE WITNESS: There is evolving plans on           24   is the Kin Foundation should manage the spending of its
25   what would be fair. It's unclear what Kik should pay      25   6 trillion Kin reserves. That's what it should do.



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                                                      Page 580                                                       Page 582
 1         Some of that, I think, over time will be              1    there who now accept or are working on integrating Kin
 2   the Kin Reward Engine. That will be payment to              2    into their platforms?
 3   partners. That will be bounties to developers for           3       A Yes.
 4   improving things like the blockchain. There will be         4       Q Okay. And Kik has a group -- as part of
 5   many different ways that it will spend that 6 trillion      5    the Kin side of its -- of its business, has a group
 6   Kin. It's unclear at this point what the exact right        6    working to identify and encourage developers to join
 7   structure inside the Kin Foundation should be to            7    the Kin ecosystem?
 8   accomplish that. It's unclear right now if that will        8       A Correct.
 9   require a CEO or not.                                       9       Q Okay. And so there have been some
10      Q It's unclear to you if it requires active              10   milestones on the way of developers signing on in 2018,
11   day-to-day managers solely wearing the Foundation hat?      11   right?
12      A Correct.                                               12      A Yes. Correct.
13      Q Whereas that work -- a lot of that work                13      Q Okay. So we've covered the blockchain,
14   might just stay within Kik, and maybe come up with a        14   Kinnit, getting developers on board. I'm trying to
15   billable structure or some other long-term resolution       15   hear from your perspective other key milestones in the
16   for that relationship?                                      16   Kin project for 2018.
17      A It's unclear. Like, at some point, you                 17      A I think -- so Kinnit became the first app
18   know, I think many -- like, for example, we talked          18   ever to get approved by Apple for the iOS app store
19   about the Kin Foundation putting up RFPs for different      19   where you could both earn and spend a cryptocurrency in
20   things that, you know, we want a developer program run      20   the app.
21   in Korea. And if you, you know, submit the winning          21      Q Oh, I see. So getting the Apple iOS store
22   bid, we'll give you, you know, 50,000 Kin or whatever       22   approval was a big deal?
23   it might be. It's unclear if that's something that          23      A Yeah. I believe it was the first in the
24   William and I can do.                                       24   world.
25         Should we hire a CO to do that? Can that              25      Q Okay. I'm sorry. I want to keep hearing


                                                      Page 581                                                       Page 583
 1    be crowd-sourced? We're not sure at this point.            1    the milestones from your perspective.
 2       Q Okay. So it's still a work in progress,               2       A I think the other big milestone is
 3    what the structure will look like?                         3    developers going live with apps that integrate Kin.
 4       A Yes.                                                  4       Q Okay.
 5       Q Okay. I want to turn to where we -- events            5       A I believe there's roughly ten apps in the
 6    after the public sale, the key, sort of, milestones in     6    iOS and Android app stores, Playstore, live today that
 7    your mind for the Kin project after the public sale.       7    you can go download where you can earn and spend Kin.
 8       A Sure.                                                 8       Q Okay. And the goal is obviously to get
 9       Q We talked a lot about the blockchain, the             9    more?
10    Stellar fork.                                              10      A Yes.
11       A Uh-huh.                                               11      Q What else in terms of key milestones from
12       Q I think I see that there was -- there's               12   your perspective?
13    something called Kinnit --                                 13      A From my perspective, those are the key
14       A Yep.                                                  14   milestones.
15       Q -- that came about.                                   15      Q Okay. Let me show you -- I think it's
16           What can you tell about Kinnit?                     16   another Medium post.
17       A Kinnit was an app developed by Kik                    17      A Okay.
18    employees in Israel as an example of an open-sourced       18      Q I'll walk you through it. I'm marking this
19    app you can build and integrate in Kin.                    19   as Exhibit 208.
20       Q And the hope is by doing that, other apps             20         (SEC Exhibit No. 208 was marked for
21    might be encouraged to accept Kin in their app?            21   identification.)
22       A That it would lower the barriers to                   22         BY MR. LEASURE:
23    adoption by other developers, yes.                         23      Q There you go. Take a look and let me know
24       Q Okay. And other developers -- I think you             24   when you're ready. Exhibit 208, which does not have a
25    identified today that there are other developers out       25   Bates stamp, I'll represent to you is a Medium post or



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1    a document I found on the Medium website that I printed      1       A I would agree.
2    off on November 1st, 2018.                                   2       Q Okay. In terms of -- we talked about the
3       A Okay.                                                   3    blockchain a lot yesterday.
4       Q And it has a date of September 26th. And                4       A Uh-huh.
5    my understanding from data is that that's September          5       Q I don't want to re-go back there. I think
6    26th, 2018. It says, "Kin, One Year In."                     6    we talked about expanding the ecosystem to other apps,
7       A Uh-huh.                                                 7    correct, through Kinnit and getting other apps to
8       Q Did you write this?                                     8    launch Kin in their app, in their platforms, right?
9       A I believe I wrote a first draft of this,                9       A Right.
10   then I worked with other people to edit it, and then it      10      Q Launch Kin inside Kik, what happened in
11   was posted under my name.                                    11   2018 on that?
12      Q Okay. Why did you -- why did you -- did                 12      A We -- in 2018, we integrated the SDK -- the
13   you want -- I take it you wanted this posted.                13   new SDK that integrated into the new fork of Stellar
14      A This was a recommendation from the                      14   blockchain. We created a marketplace inside of Kik
15   marketing team that -- to be honest, this was not on my      15   that allowed you to earn Kin and see your Kin and see
16   raider, but it felt like -- the logic was that it was a      16   all of your transactions on that new fork of Stellar
17   one-year anniversary. And as such, we should                 17   blockchain. And we integrated a way to purchase chat
18   commemorate it on behalf of the community by me, the         18   themes inside of Kik with Kin.
19   brainchild -- this being my brainchild, by writing this      19      Q Got it.
20   post.                                                        20          MR. MITCHELL: That's inside the messaging
21      Q And is it fair to say at least the                      21   app?
22   marketing team wanted you and other people at Kik to be      22          THE WITNESS: Correct.
23   out there publicly talking about the Kin project still?      23          MR. MITCHELL: And does Kik the -- Kik, the
24      A I think they just thought it would be a                 24   company, controls the messaging app?
25   nice thing to do.                                            25          THE WITNESS: Correct.


                                                       Page 585                                                      Page 587
 1       Q For the Kin community?                                 1           MR. MITCHELL: Did people outside Kik, the
 2       A Yeah.                                                  2    company, make changes to the messaging app?
 3       Q Okay. To hear from the founder of the                  3           THE WITNESS: Not to my knowledge.
 4   project?                                                     4           BY MR. LEASURE:
 5       A Yes.                                                   5       Q It might be helpful if I can point you to
 6       Q Okay. So, again, under the title "Kin, One             6    the second page. There's a sort of diagram there
 7   Year In," it says, "It's been one year since the Kin         7    showing what appears to me to be a winding road.
 8   token distribution event. Since then, we have been           8           Do you see that?
 9   following a three-step strategy to make Kin the most         9       A I do.
10   used cryptocurrency in the world. One, create a              10      Q Okay. Did you write this?
11   scalable blockchain; two, launch Kin inside Kik; three,      11      A I did not.
12   expand the ecosystems to other apps. We have made            12      Q Did you review this before it was
13   great progress on three."                                    13   published?
14           Let me pause there. Is that accurate?                14      A I did not.
15       A Yes.                                                   15      Q Okay. Who wrote this?
16       Q Okay. And is the "we," are you reflecting              16      A I assume somebody from the marketing team.
17   both Kik and the Kin project? I want to understand           17      Q Okay. Who led that at that time?
18   what's within the "we."                                      18      A I think this would have been created by the
19       A I think when I refer to "we," I mean the               19   communications team, which would be Rod at the time,
20   ecosystem broadly, all of the participants.                  20   but I'm not sure.
21       Q Okay. And your -- whether the CEO or not,              21      Q Okay. I just want to point to a few things
22   you're a player in that ecosystem --                         22   and tell me if you can give me context on what might be
23       A Correct.                                               23   being referred to here.
24       Q -- and a key player in that system, would              24      A Sure.
25   you agree?                                                   25      Q First, on April 13th -- I take it this is



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 1   2018, the dates listed here.                               1      Q -- "Kin blockchain launches."
 2         Does that seem right to you?                         2      A Yeah.
 3     A April 13th.                                            3      Q That's the fork we've been discussing
 4      Q Do you see that? It's on the second line.             4   already today?
 5      A Yes, I do see that.                                   5      A Correct.
 6      Q Okay. And is that -- do you believe that's            6      Q Okay. On June 6th -- there's 06/07.
 7   referring to events in 2018?                               7        Do you see that?
 8      A I do.                                                 8      A Correct.
 9     Q Okay. It references the first Kin                      9      Q "Kin blockchain reaches 1.2 million
10   ambassadors event held in New York City?                  10   transactions per day at a rate of 20 transactions per
11     A Yep.                                                  11   second."
12      Q What can you tell me about that?                     12        Do you see that?
13      A Kik employees put together an event to               13      A Yep, I do.
14   identify the most active people in various social media   14      Q And do you know what those transactions --
15   channels and to invite them to New York.                  15   like, if you had to characterize it as transactions,
16      Q Did you go?                                          16   are you able to characterize what they were?
17      A I did.                                               17      A I believe they were test, earn, and spend
18      Q Okay. And this -- and when you say active            18   transactions.
19   people in social media channels, are these developers     19      Q Oh, okay. We talked earlier about tests on
20   or are these just sort of active social media users?      20   the Kin blockchain. Are those those?
21      A It's unclear which are developers and which          21      A Yep.
22   are not or even what are their professions. Just that     22      Q So this was showing that the Kin blockchain
23   they were very passionate and knowledgeable about Kin,    23   has greater capacity to handle a lot of transactions?
24   the Kin project broadly.                                  24      A Correct.
25      Q And they were -- oh, so they were people             25      Q Got it.


                                                Page 589                                                        Page 591
 1   who were enthusiastic about Kin?                           1            MR. SCHLEGELMILCH: Can I just ask a dumb
 2     A Correct.                                               2   question? What is a test transaction?
 3      Q Sorry. I apologize. And what was the                  3            THE WITNESS: It's a transaction like, you
 4   purpose of having that event?                              4   know, I send you one Kin and you send me back one Kin.
 5      A I think it was an event to -- you know, you           5   Like, it's just programmatically doing that a bunch of
 6   had all of these people who loved Kin, were                6   times.
 7   evangelizing Kin, were contributing to Kin, you know,      7            MR. MITCHELL: The test part is -- the
 8   people that went on to build apps. And we thought it       8   purpose is to test the blockchain as opposed to
 9   would be cool -- my recollection is we thought it would    9   actually buy yourself something?
10   be a cool way to bing them together and have them meet    10            THE WITNESS: Correct.
11   in person.                                                11            MR. LEASURE: Got it.
12      Q Okay. And then with the hope of them being           12            MR. SCHLEGELMILCH: So I think I asked you
13   enthusiastic about -- continuing to be enthusiastic       13   yesterday how many transactions were occurring on the
14   about Kin, right?                                         14   Stellar blockchain per day. I think you gave me a
15      A They were already very enthusiastic about            15   pretty high number. 50,000, somewhere in that
16   Kin. I think this is more of about, you know, "Hey,       16   magnitude. Am I getting that right? Maybe it was an
17   we're all a community doing this together. We should      17   even higher number than that.
18   all meet each other. And you" -- "we should meet each     18            THE WITNESS: I don't recall giving that
19   other. You guys should meet me. I want to meet you,"      19   number. I recall saying I believe roughly 10,000
20   et cetera.                                                20   people did a transaction, yesterday.
21      Q Networking?                                          21            MR. SCHLEGELMILCH: Okay.
22      A Coming -- I don't know about networking.             22            THE WITNESS: And depending on how many
23   Coming together as a community and meeting in person.     23   transactions they made each, you could do the math for
24      Q Okay. Meeting people. "05/08" --                     24   yourself.
25      A Yep.                                                 25            MR. SCHLEGELMILCH: Okay.



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                                                 Page 592                                                          Page 594
 1         THE WITNESS: But I'm not sure how many              1   about this yesterday -- spearheaded it was Natasha.
 2   each day.                                                 2      Q Right.
 3         MR. SCHLEGELMILCH: Yeah. My memory is               3      A But she has since gone on mat leave
 4   sort of irrelevant here. I'm just trying to -- so when    4   recently, so I'm not sure who it is today, but we could
 5   you say that approximately 10,000 people did a            5   find out.
 6   transaction on the blockchain per day, is that -- are     6      Q Fair enough. Last, I just want to ask
 7   those test transactions?                                  7   about an acronym I'm not sure I recognize. Under -- at
 8         THE WITNESS: Those are real transactions.           8   the end of this diagram, there's 14,281 MAWs.
 9   That is real earning and spending transactions in one     9      A Yep.
10   of the ten apps that is available publicly today.        10      Q What's that?
11         MR. SCHLEGELMILCH: Okay. Thank you. I              11      A That acronym is a new acronym that we're
12   understand now.                                          12   playing around with, which is monthly active wallets,
13         BY MR. LEASURE:                                    13   as opposed to monthly active users. I think the thing
14      Q Moving further down on this diagram,                14   we're trying to demonstrate with Kin is you see lots of
15   there's "06/27, Kik integrates Kin." Do you see that?    15   cryptocurrencies where there are lots of transactions.
16      A I do.                                               16          But how many of those transactions are
17      Q What's that referring to?                           17   actually people earning or spending the cryptocurrency
18      A I think that's Kik integrating the new Kin          18   versus buying it or selling it? So this 14,000 says
19   blockchain.                                              19   14,000 people in the last 30 days actually earned or
20      Q Got it. Okay. "07/11, Kin developer                 20   spent the cryptocurrency.
21   program launches."                                       21      Q Got it. Okay. I can point you to a few
22      A Yep.                                                22   places. But throughout this document, it describes
23      Q What's that program?                                23   what Kin has done. Let me give you an example. The
24      A That was a program to find and mentor other         24   bottom of page 3 of 6, under the section "Expand the
25   developers around the world to integrate Kin into the    25   Ecosystem to Other Apps."


                                                 Page 593                                                          Page 595
 1   app they already had or wanted to build.                 1          Do you see that section?
 2      Q And was this developer program part of the          2       A Yep.
 3   Kin part of Kik Interactive, Inc.?                       3       Q And the second paragraph begins, "Kin
 4     A It was put together by Kik employees who             4    worked with large partners, like Blackhawk Network," et
 5   were part of the Kin part of Kik Interactive, Inc.,      5    cetera.
 6   yes.                                                     6       A Yep.
 7      Q Thank you. And it looks like on 08/15,              7       Q In using Kin like that, is that shorthand
 8   they found -- they identified 40 participants and        8    for the Kin team working in Kin Interactive -- Kik
 9   accepted them?                                           9    Interactive?
10      A Yes.                                                10      A I think it depends on the context. I think
11      Q And do you know how they identified them?           11   this is one of the parts that's sort of confusing about
12      A They put out applications. I think they             12   crypto, is like who is Kin, what is Kin. And, you
13   got something, like, 200 applications. They reviewed     13   know, if you were to explain the nuance every time of
14   those applications. And then based on their own          14   who exactly you mean within Kin, it would be a very
15   criteria, they chose 40. I can't -- I don't -- sitting   15   complicated and wordy thing to explain.
16   here, I don't recall what those criteria were or being   16         So here, when Kin worked with large
17   aware of them at the time.                               17   partners, you know, that's referring to Kik employees
18      Q Aside from the specific criteria, do you            18   working on Kin worked with large partners.
19   know generally what they were looking for?               19      Q Okay. I got it. And then let me try one
20     A I think they were looking for -- my guess            20   more just to see if there is nuance and we can unpack
21   would be -- and I don't know. My guess would be smart    21   it. Page 4 of 6, "Finally, Kin has launched the Kin
22   developers who could build good apps.                    22   developer program."
23     Q And if we wanted to know more about that,            23         Do you see that?
24   who within Kik would we ask?                             24      A Yep.
25     A I think the woman who -- I think we talked           25      Q Is that, again, Kik employees working on



                                                                               71 (Pages 592 to 595)
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                                                Page 596                                                   Page 598
 1   behalf of the Kin project?                                 1           THE WITNESS: Okay.
 2     A Yes.                                                   2           MR. MITCHELL: The next line says "Kin Kong
 3      Q Okay. I think I'm done with this document.            3   Bot."
 4       MR. MITCHELL: So I want to ask you a                   4          THE WITNESS: Yep.
 5   couple of questions about some of these partners. And      5          MR. MITCHELL: What is that?
 6   I'm going to do it really quickly because Patrick sent     6          THE WITNESS: I believe that was a bot
 7   us a letter that has -- I'm going to give you what's       7   developed by Kik employees.
 8   marked as 209. This is just a letter earlier from this     8          MR. MITCHELL: Okay. So do you have -- do
 9   week. And you can see it has a chart at the bottom.        9   you know -- this -- the line just -- we -- was that
10        (SEC Exhibit No. 209 was marked for                  10   there's a distribution to the Kin Kong Bot.
11   identification.)                                          11          Do you know -- is there some separate legal
12          THE WITNESS: Okay.                                 12   entity other than Kik?
13         MR. MITCHELL: Okay. So you have the                 13          THE WITNESS: I don't -- no, not in this
14   original. I've given copies to you lawyers. Do you        14   case.
15   see the chart -- have you ever seen this letter before?   15          MR. MITCHELL: Okay. Do you know --
16          THE WITNESS: I have not.                           16   there's a number there. Do you know whether there
17         MR. MITCHELL: Okay. Great.                          17   is -- whether Kin tokens were given out to people
18         THE WITNESS: Not that I recall.                     18   through the Kin Kong Bot or who got Kin -- who got --
19         MR. MITCHELL: There's a chart on the                19          THE WITNESS: Yeah, I believe they were
20   bottom. We just asked to get a list of the                20   given to users through the Kin Kong Bot.
21   distributions of Kin tokens.                              21          MR. MITCHELL: More like Kik app users?
22          THE WITNESS: Okay.                                 22          THE WITNESS: I'm not sure if it was in Kik
23          MR. MITCHELL: So this is great, because it         23   or in a separate app. I can't recall.
24   just says, like, entity names. And I just want to run     24          MR. MITCHELL: Okay.
25   through them and ask your sort of understanding of who    25          THE WITNESS: It might have actually been


                                                Page 597                                                   Page 599
 1   they are.                                                  1   developed at a hackathon. I can't recall what the
 2            THE WITNESS: Okay.                                2   specifics are on this one.
 3            MR. MITCHELL: So first is: Do you see the         3          MR. MITCHELL: Gotcha. There's not an
 4   first line, it says that there were 9,000 -- there's a     4   entity called Kin Kong Bot?
 5   recipient column and a date and a description.             5          THE WITNESS: No.
 6            Do you see this?                                  6          MR. MITCHELL: All right.
 7            THE WITNESS: I do.                                7          THE WITNESS: Not to my knowledge.
 8            MR. MITCHELL: So under the "Recipient"            8          MR. MITCHELL: Next line, IMVU.
 9   column, do you see the 9,000 Kik users?                    9          THE WITNESS: Yep.
10            THE WITNESS: Yep.                                10          MR. MITCHELL: What -- the description, I
11            MR. MITCHELL: Earlier, we had talked about       11   can just read. It says it's a partner.
12   Kik giving Kin to power users.                            12          THE WITNESS: Yep.
13            THE WITNESS: Yep.                                13          MR. MITCHELL: What is IMVU?
14            MR. MITCHELL: Does this refresh your             14          THE WITNESS: It's an avatar community app.
15   recollection about when that happened?                    15          MR. MITCHELL: Avatar, like the movie?
16            THE WITNESS: It doesn't. I believe we            16          THE WITNESS: Avatar, like the profile
17   also gave it to Kik users as part of the token sale,      17   picture and sort of creating a digital avatar, a
18   but I'm not sure.                                         18   digital representation of who you want to portray as
19            MR. MITCHELL: In September?                      19   yourself.
20            THE WITNESS: In September, yes.                  20          MR. MITCHELL: And is there -- there is --
21            MR. MITCHELL: Okay. So then this is going        21   is there an entity that's running that?
22   to get a little repetitive --                             22          THE WITNESS: There is an independent
23            THE WITNESS: This is after the token --          23   company. I'm not sure their legal name, but I assume
24            MR. MITCHELL: This is going to get a             24   it's something like IMVU, Inc.
25   little repetitive, but it will make it fast.              25          MR. MITCHELL: Sure. Where?


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                                               Page 600                                                     Page 602
 1          THE WITNESS: I'm not sure. If I had to             1   IMVU.
 2   guess, I think it's in California, but I'm not sure.      2       THE WITNESS: I believe they received that
 3          MR. MITCHELL: Okay. And did they get Kin           3   from Kik.
 4   tokens?                                                   4        MR. MITCHELL: Developer program. There's
 5          THE WITNESS: I believe so.                         5   a -- do you see a line for developer program?
 6          MR. MITCHELL: Why?                                 6          THE WITNESS: Yep.
 7          THE WITNESS: To -- as their compensation           7          MR. MITCHELL: Was there a group of
 8   for joining the Kin ecosystem, and also I believe to      8   different developers that received tokens?
 9   kick start their Kin economy inside their app.            9           THE WITNESS: Yep.
10          MR. MITCHELL: Okay. Flip to the next              10           MR. MITCHELL: Okay. And why did they get
11   page. Perfect365. What's that?                           11   them?
12          THE WITNESS: It is a fashion app.                 12           THE WITNESS: For the same reason.
13          MR. MITCHELL: Where -- I'm sorry.                 13        MR. MITCHELL: Okay. It was
14          Run by some other entity other than Kik?          14   compensation --
15          THE WITNESS: Correct.                             15          THE WITNESS: Compensation and to kick
16          MR. MITCHELL: Where?                              16   start their Kin economy in their apps.
17          THE WITNESS: I believe in China is where          17           MR. MITCHELL: Great. From where?
18   they're headquartered.                                   18           THE WITNESS: From the Kin Foundation.
19          MR. MITCHELL: And did they get Kin tokens?        19         MR. MITCHELL: Are these transactions
20          THE WITNESS: They did.                            20   actually coming out of Kin's wallet?
21          MR. MITCHELL: Why?                                21          THE WITNESS: The Kin Foundation's wallet,
22          THE WITNESS: For the same reason as IMVU.         22   I believe so, yes.
23          MR. MITCHELL: All right. Lykke,                   23         MR. MITCHELL: And, obviously, you don't in
24   L-y-k-k-e, do you see that?                              24   your head know the developer -- the names of those
25          THE WITNESS: Correct.                             25   developers, but do you think there's someone at Kik who


                                               Page 601                                                     Page 603
 1         MR. MITCHELL: What's that?                          1   has a list of those developers?
 2         THE WITNESS: Lykke is an exchange.                  2          THE WITNESS: Yes. I believe those are the
 3         MR. MITCHELL: It's a place people trade             3   40 developers referenced in the previous document.
 4   tokens?                                                   4         MR. MITCHELL: Okay. Any of them in the
 5         THE WITNESS: Yes.                                   5   United States?
 6         MR. MITCHELL: And did they get -- I'm               6         THE WITNESS: I believe so, yes.
 7   sorry. Where is it?                                       7        MR. MITCHELL: Okay. Madlitz,
 8         THE WITNESS: I believe it's in                      8   M-a-d-l-i-t-z.
 9   Switzerland.                                              9           THE WITNESS: Yep.
10         MR. MITCHELL: And did Kik -- sorry. Let            10           MR. MITCHELL: What's that?
11   me go on this one. Did they get Kin tokens?              11           THE WITNESS: It's another app company.
12        THE WITNESS: I believe they did.                    12           MR. MITCHELL: Where is it?
13        MR. MITCHELL: From -- did they get them             13         THE WITNESS: It's based in Toronto, I
14   from Kik or from the Foundation or from someone else?    14   believe.
15        THE WITNESS: I believe from the                     15           MR. MITCHELL: What kind of app?
16   Foundation.                                              16           THE WITNESS: I think it's a comedy app,
17         MR. MITCHELL: Okay. Why?                           17   but I'm not sure.
18         THE WITNESS: I believe as payment to list          18          MR. MITCHELL: And they got -- they
19   Kin on their exchange, but I'm not sure.                 19   received Kin tokens?
20         MR. MITCHELL: Okay. Let me just flip --            20         THE WITNESS: Yep.
21   go back up two lines -- two earlier lines. Perfect365,   21           MR. MITCHELL: From whom?
22   whose Kin did they receive?                              22           THE WITNESS: Kin Foundation.
23        THE WITNESS: I believe the Kin                      23           MR. MITCHELL: Why?
24   Foundation's.                                            24           THE WITNESS: For the same reason.
25         MR. MITCHELL: And then same question for           25           MR. MITCHELL: Okay. And then Tanner Philp



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                                                   Page 604                                                    Page 606
 1   is a Kik employee, right?                                  1      Q Okay. How would Kin -- how would Kin do
 2         THE WITNESS: Correct.                                2   that?
 3         MR. MITCHELL: And he got Kin tokens?                 3      A I think the context of this -- these AMAs,
 4         THE WITNESS: Yes, it looks like that.                4   maybe it's helpful to understand, is it's my -- what I
 5         MR. MITCHELL: Leaving aside the list, do             5   want to do is it's my opportunity to be transparent
 6   you know whether he got Kin?                               6   with the Kin community and to answer -- the original
 7         THE WITNESS: I don't know.                           7   intent was to answer questions about the Kin vision.
 8         MR. MITCHELL: You don't know. That's                 8   So, you know, so that people could really understand
 9   fine. So sitting here today, do you know if he             9   what I was thinking and why when I conceived of this.
10   received -- if Philp has received tokens from either      10         The format I use is people post questions,
11   Kik or the Foundation?                                    11   and I go to my way not to see the questions ahead of
12         THE WITNESS: I am not sure.                         12   time, so I'm answering them on the spot on video, where
13         MR. MITCHELL: Okay.                                 13   I'm seeing them for the first time. In terms of this
14         BY MR. LEASURE:                                     14   question, you asked, well, how could Kin pull out of
15      Q Let me go on. We talked earlier today                15   the U.S. or how could Kik, Inc., pull out of the U.S.?
16   about public appearances you made talking about the Kin   16         My answer to that would be based on --
17   project prior to the public sale.                         17   would reveal conversations with counsel.
18      A Should I still hold onto this?                       18      Q Does Kik have plans to pull out of the
19      Q No. I'll take it back.                               19   U.S.?
20      A Yep.                                                 20      A Today, no.
21      Q After the public sale, you continued to              21       Q I'm sorry. Does Kin have plans to pull out
22   talk about the Kin project in public?                     22   of the U.S.? I misspoke.
23      A Yep.                                                 23       A Kin is a cryptocurrency that exists on the
24      Q Like, you've gone on Reddit or other social          24   blockchain.
25   media channels?                                           25      Q Okay.


                                                   Page 605                                                    Page 607
 1      A Yep.                                                  1      A And so any country that has the internet
 2      Q Okay. Why are you doing that?                         2   will have Kin.
 3      A To share my view of where Kin is at.                  3      Q Okay. So to date, there are no plans?
 4      Q Okay. And your -- is it fair to say you               4      A To pull out what out of the U.S.?
 5   continue to put a face on the Kin project?                 5      Q To pull Kin and the Kin project out of the
 6      A I think I continue to be one of the more              6   U.S.
 7   prominent faces of the Kin project, yes.                   7      A If you're referring to Kin, the
 8      Q Okay. You do monthly "ask me anythings" on            8   cryptocurrency, it's impossible to pull Kin, the
 9   Reddit?                                                    9   cryptocurrency, out of any country, unless you shut
10     A Yes.                                                  10   down the internet.
11      Q Okay. You do that for the same reasons we            11      Q Okay.
12   just described?                                           12       How much of your time since the
13      A Yes.                                                 13   public sale has been spent on the Kik messenger app
14      Q Okay. I saw a monthly "ask me anything"              14   side of the business versus the Kin project side of the
15   you posted. I think it was posted May of 2018.            15   business?
16     A Okay.                                                 16     A Roughly 50/50.
17      Q Again, I'm just going to characterize what           17      Q Okay. Since the public sale, aside from
18   I saw and just ask you if you recall doing that.          18   the distributions that we just walked through, that
19      A Okay.                                                19   Brent just walked through --
20      Q I think there was a question posed to you            20     A Uh-huh.
21   about the SEC and the Kin project. And it appeared        21      Q -- has Kik sold any of its holdings of Kin?
22   that you stated that Kin could pull out of the U.S. or    22      A Not to my knowledge.
23   out of certain jurisdictions.                             23     Q Okay. Is that -- and it receives more each
24        Does any of that ring a bell for you?                24   quarter. Do I have that right?
25      A It rings a bell.                                     25     A It vests more each quarter. But I think,



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                                                   Page 608                                                             Page 610
 1   technically, it's already received them.                        1          THE WITNESS: Because if I were a developer
 2      Q I apologize. Vests more each quarter.                      2   of another app and somebody came to me and said
 3      A Yep.                                                       3   integrate our cryptocurrency, but at the end of the
 4      Q So it could sell more each quarter as the                  4   day, we control everything, so really you're not
 5   vesting schedule continues?                                     5   building for an open economy, you're building for a
 6      A Correct.                                                   6   company's platform, that personally, I would not build
 7      Q Does it have plans currently to sell more                  7   for that.
 8   Kin?                                                            8          And so it's important to me for myself, and
 9      A At some point, Kik will, like everybody in                 9   therefore, I felt like it was the right thing to do for
10   the ecosystem, need to sell Kin to get dollars to fund         10   everybody else, for there to be an independent body
11   its own operations.                                            11   responsible for the allocation of that 6 trillion Kin.
12      Q Sure.                                                     12          MR. MITCHELL: That's one of the things
13      A But when exactly we do that has not yet                   13   that makes you -- makes this project different than
14   been decided.                                                  14   Twitter, which can control its own data and its API and
15      Q Okay.                                                     15   things like that?
16          And in terms of the distributions --                    16          THE WITNESS: There are many things that
17   Brent just walked you through some distributions that's        17   make it different --
18   happened over time, right?                                     18          MR. MITCHELL: Sure.
19      A Uh-huh.                                                   19          THE WITNESS: -- but this is one of the
20      Q Does Kik Interactive have plans to                        20   things that makes it different, yes.
21   distribute more Kin to developers or other ecosystem           21          MR. MITCHELL: Okay. And you thought it
22   participants in the future?                                    22   would make it attractive to people, to get them to join
23      A There are potential strategies in the                     23   and participate?
24   future where Kik might do that, but there's also               24          THE WITNESS: If somebody asked me to join
25   options where Kik does not do that.                            25   a platform that didn't have an independent foundation


                                                   Page 609                                                             Page 611
 1      Q And how about on the Foundation side?                      1   or didn't have a plan to have an independent foundation
 2          Does the Foundation have plans?                          2   over time, I would not join. So how could I ask anybody
 3      A Yes, it does.                                              3   else to join such a platform?
 4      Q And do you expect in the future the                        4         MR. MITCHELL: Okay.
 5   Foundation will continue to distribute Kin to members           5         BY MR. LEASURE:
 6   of the -- people participating in the ecosystem?                6      Q So we've covered a lot of different topics
 7      A That's the whole point.                                    7   about Kik, the Kin project, and you, over the past two
 8      Q Okay.                                                      8   days of testimony, right?
 9      A Yes.                                                       9      A Uh-huh.
10          MR. MITCHELL: Practical question. The                   10      Q So as we're winding down, I just want to
11   Foundation has a wallet that holds the Kin tokens?             11   offer you an opportunity. As the CEO of Kik and as
12          THE WITNESS: Correct.                                   12   the -- I think the term is founder of Kin, is there
13          MR. MITCHELL: Who controls that?                        13   anything else you think we need to know on our side as
14          THE WITNESS: I believe -- if the question               14   we continue our investigation about Kin?
15   is who technically would make the transfers if the Kin         15         MR. LYNCH: I'm wondering, you know, if
16   Foundation board members would vote, I believe it's Kik        16   you're getting to the end. This is -- this seems like
17   employees.                                                     17   the kind of last question you ask, you know, do you
18          MR. MITCHELL: Did you ever consider sort                18   want clarify anything. And usually, we'd just like to
19   of not having a foundation, just -- just having Kik fill the   19   talk to him.
20   roles that you have that are currently being run by Kik        20         If you want him to answer, he can. But
21   and the Foundation?                                            21   it seems like that's the question you're asking.
22          THE WITNESS: Not to my recollection.                    22         MR. LEASURE: It is, but it's -- I just
23          MR. MITCHELL: I guess -- why not? I just                23   want to --
24   don't -- I'm still trying to understand why the -- why         24         (Simultaneous speakers.)
25   it had the Foundation.                                         25         THE WITNESS: That's usually what reporters



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                                                   Page 612                                                          Page 614
 1   ask at the end of the interview. But I'm not sure how      1        PROOFREADER'S CERTIFICATE
 2   this is different to that.                                 2
 3          MR. LEASURE: No. Let me say this. Let me            3   In the Matter of: KIK INTERACTIVE
 4   give him a chance to answer, then we'll go off the         4   Witness:        Edward "Ted" Livingston
 5   record and let you talk to your client. Is that fair?      5   File Number:      HO-12869-A
 6          THE WITNESS: It's hard for me to know how           6   Date:          Thursday, November 8, 2018
 7   to answer that question without knowing how these          7   Location:       Washington, D.C.
 8   things work.                                               8
 9          And I have never done one of these                  9      This is to certify that I, Christine Boyce,
10   before, so I think I should not answer that               10   (the undersigned) do hereby certify that the foregoing
11   question.                                                 11   transcript is a complete, true and accurate transcription
12          MR. LEASURE: Fair enough.                          12   of all matters contained on the recorded proceedings of
13          We are going off the record.                       13   the investigative testimony.
14          THE VIDEOGRAPHER: Going off the record.            14
15          The time is 4:48 p.m.                              15
16          (A brief recess was taken.)                        16   _____________________________             ___________________
17          THE VIDEOGRAPHER: We are back on the               17   (Proofreader's Name)             (Date)
18   record. The time is now 4:51 p.m.                         18
19          BY MR. LEASURE:                                    19
20      Q Back on the record after a brief break               20
21   during which, Mr. Livingston, did you have any            21
22   substantive conversations about this investigation with   22
23   SEC staff?                                                23
24     A I did not.                                            24
25      Q Okay. We have no further questions for you           25


                                                   Page 613                                                          Page 615
 1   at this time. Should we have additional questions for      1               REPORTER'S CERTIFICATE
 2   you, we'll reach out to your attorneys.                    2
 3          Is there anything you wish to add or                3           I, Melinda Johnson, CSR, reporter, hereby
 4   clarify to the testimony you've given over the past two    4   certify that the foregoing transcript of 299 pages is a
 5   days?                                                      5   complete, true and accurate transcript of the testimony
 6     A There is not.                                          6   indicated, held on Thursday, November 8, 2018, at
 7          MR. LEASURE: Counsel, do you have any               7   Washington, D.C. in the matter of: Kik Interactive.
 8   additional clarifying questions you wish to ask            8
 9   Mr. Livingston?                                            9           I further certify that this proceeding was
10          MR. GIBBS: We do not.                              10   recorded by me, and that the foregoing transcript has
11          MR. LEASURE: All right. Thank you for              11   been prepared under my direction.
12   your time. We're off the record.                          12
13          THE WITNESS: Thank you.                            13                  Date:________________________
14          THE VIDEOGRAPHER: This is Disc 4 of 4.             14           Official Reporter:__________________________
15   Going off the record. The time is 4:52 p.m.               15           Diversified Reporting Services, Inc.
16          (Whereupon, at 4:52 p.m., the examination          16
17   was concluded.)                                           17
18                  *****                                      18
19                                                             19
20                                                             20
21                                                             21
22                                                             22
23                                                             23
24                                                             24
25                                                             25



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